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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEBRASKA

---------------------------------------------------------- X
In re:                                                     : Chapter 11
                                                           :
SPECIALTY RETAIL SHOPS HOLDING                             : Case No. 19-80064-TLS
CORP., et al.,1                                            :
                                                           :
                                    Debtors.               : (Jointly Administered)
                                                           :
---------------------------------------------------------- X Re: Docket Nos. 35

                                  INTERIM ORDER
                              PURSUANT TO 11 U.S.C.
                       §§ 105, 361, 362, 363, 364, AND 507 AND
                     FED. R. BANKR. P. 2002, 4001 AND 9014 (I)
              AUTHORIZING DEBTORS AND DEBTORS IN POSSESSION
             TO OBTAIN POSTPETITION FINANCING, (II) AUTHORIZING
            THE DEBTORS TO USE CASH COLLATERAL, (III) GRANTING
             LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE
           EXPENSE STATUS, (IV) GRANTING ADEQUATE PROTECTION TO
        THE PREPETITION LENDERS, (V) MODIFYING THE AUTOMATIC STAY,
    (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

            Upon the motion (the “Motion”)2              of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) pursuant to §§ 105, 361, 362, 363, 364(c)(1), 364(c)(2)

and 364(c)(3), and 364(d) of title 11 of the United States Code (the “Bankruptcy Code”), Rules

2002, 4001, and 9014 of the Federal Rules of Bankruptcy Procedure (as amended, the

“Bankruptcy Rules”), and Rule 4001-2 of the Local Bankruptcy Rules for the United States



1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
     Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
     R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
     Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
     LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
     (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
2
     Capitalized terms used but not defined in this Order shall have the same meanings ascribed to such terms in the
     Ratification Agreement or Loan Agreement, as applicable.




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Bankruptcy Court for the District of Nebraska (the “Local Rules”), inter alia seeking, among

other things:

       (1)      authorization for ShopKo Properties, LLC, a Minnesota limited liability company

(“Properties”), Penn-Daniels, LLC, a Delaware limited liability company (“Penn”), ShopKo

Stores Operating Co., LLC, a Delaware limited liability company (“ShopKo Operating”),

ShopKo Holding Company, LLC, a Wisconsin limited liability company formerly known as

ShopKo Holding Company, Inc. (“ShopKo Holdco”), ShopKo Optical Manufacturing, LLC, a

Wisconsin limited liability company (“Optical”), Specialty Retail Shops Holding Corp., a

Delaware corporation formerly known as SKO Group Holding Corp. (“Parent” or “Company”),

ShopKo Institutional Care Services Co., LLC, a Delaware limited liability company (“ShopKo

Institutional”), Retained R/E SPE, LLC, a Delaware limited liability company (“Retained R/E”),

and Pamida Stores Operating Co., LLC, a Delaware limited liability company (“Pamida

Operating”, and together with Properties, Penn, ShopKo Operating, ShopKo Holdco, Optical,

Parent, ShopKo Institutional and Retained R/E, each as debtor and debtor-in-possession,

individually a “Borrower” and collectively, “Borrowers”) to obtain, and for ShopKo Finance,

LLC, a Delaware limited liability company (“ShopKo Finance”), SVS Trucking, LLC, a

Minnesota limited liability company (“SVS”), ShopKo Gift Card Co., LLC, a Minnesota limited

liability company (“GiftCard”), Pamida Transportation, LLC, a Nebraska limited liability

company (“Transportation”), and Place’s Associates’ Expansion, LLC, a Missouri limited

liability company (“Expansion”, and together with ShopKo Finance, SVS, GiftCard and

Transportation, each as debtor and debtor-in-possession, individually a “Guarantor” and

collectively, “Guarantors”) to guarantee, unconditionally, on a joint and several basis, post-

petition financing in the form of a revolving credit, letter of credit, and term loan facility in




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accordance with the terms and conditions set forth in the Pre-Petition Loan Agreement (as

defined below), as ratified and amended by that certain Ratification and Amendment Agreement

dated as of January 16, 2019 (the “Ratification Agreement”) a copy of which is attached hereto

as Exhibit 1 (as amended, supplemented or otherwise modified from time to time in accordance

with the terms and conditions set forth herein, the “Loan Agreement”), by and among the

Borrowers, the Guarantors, Wells Fargo Bank, National Association, as administrative agent and

collateral agent (as “Prepetition ABL Agent,” “Prepetition Term Loan B Agent,” “ABL Agent,”

“Term Loan B Agent,” or “Agent,” as applicable), and issuing bank (as “Issuing Bank”), the

revolving loan lenders party thereto (the “Prepetition ABL Lenders or “ABL Lenders,” as

applicable); the term loan B lenders party thereto (the “Prepetition Term Loan B Lenders” or

“Term Loan B Lenders,” as applicable and, together with the term loan B-1 lenders under the

Pre-Petition Loan Agreement (the “Term Loan B-1 Lenders”), the “Lenders”), and the other

Financing Agreements (as defined in the Ratification Agreement), and in accordance with this

order (“Interim Order”), secured by perfected senior priority security interests in and liens on the

Collateral (as defined below) pursuant to §§ 364(c)(2) and 364(c)(3), and 364(d) of the

Bankruptcy Code (subject to the Carve-Out and the Permitted Liens (each as defined below));

       (2)     authorization for Borrowers and Guarantors to remit all collections, asset

proceeds and payments to Agent and Lenders for application, or deemed application, first to all

Pre-Petition ABL Obligations (as defined below) until such obligations are fully repaid, and then

to the repayment of all Post-Petition ABL Obligations (as defined below) in accordance with the

Loan Agreement and the other Financing Agreements, and to deem all Pre-Petition Obligations

with respect to Letters of Credit to have been issued or provided, as applicable, under the Loan

Agreement and the other Financing Agreements;




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       (3)      authorization for the Debtors to grant superpriority administrative claim status,

pursuant to § 364(c)(1) of the Bankruptcy Code, to the Agent, for the benefit of itself and the

other Lenders, in respect of all Post-Petition Obligations (subject to the Carve-Out (as defined

below));

       (4)      as set forth below, subject to Section 4.1 of this Interim Order, approval of certain

stipulations by the Debtors as set forth in this Interim Order in connection with the Pre-Petition

Loan Agreement (as each term is defined below);

       (5)      authorizing and directing the Debtors to pay the principal, interest, fees, expenses

and other amounts payable under the Financing Agreements as such become due, including,

without limitation, letter of credit fees (including issuance and other related charges), continuing

commitment fees, closing fees, audit fees, appraisal fees, liquidator fees, structuring fees,

administrative agent’s fees, the reasonable and documented fees and disbursements of the

Agents’ and Lenders’ respective attorneys, advisors, accountants and other consultants, all to the

extent provided in, and in accordance with, the applicable Financing Agreements;

       (6)      as set forth below, authorization to use Cash Collateral and all other Pre-Petition

Collateral and to provide adequate protection to the Agent and the Lenders (each in their

respective capacities under the Pre-Petition Loan Documents (as defined below)) to the extent set

forth herein;

       (7)      as set forth below, authorization to provide adequate protection to the Agent and

the Lenders (each in their respective capacities under the Pre-Petition Loan Documents (as

defined below));




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       (8)     effective only upon entry of a Final Order (as defined below), the waiver of the

Debtors’ right to assert claims to surcharge against the Collateral (as defined below) pursuant to

§ 506(c) of the Bankruptcy Code, to the extent set forth below;

       (9)     the modification of the automatic stay imposed by section 362 of the Bankruptcy

Code to the extent necessary to implement and effectuate the terms and provisions of this Interim

Order to the extent hereinafter set forth;

       (10)    the setting of a final hearing on the Motion (“Final Hearing”) to consider entry of

a final order (the “Final Order”) authorizing, among other things, the borrowing under the

Financing Agreements on a final basis, as set forth in the Motion and the Loan Agreement filed

with the Court, including the granting to Agent and Lenders the senior security interests and liens

described above and super-priority administrative expense claims (subject to the Carve-Out); and

       (11)    related relief.

       The initial hearing on the Motion having been held by this Court on January 16, 2019

(the “Interim Hearing”), and upon the record made by the Debtors at the Interim Hearing,

including the Motion, the Declaration of Russell Steinhorst in Support of First Day Motions (the

“First Day Declaration”), the Declaration of Stephen Spencer in Support of Debtors’ Motion for

Entry of Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, and 507 and

Fed. R. Bankr. P. 2002, 4001 and 9014 (i) Authorizing Debtors and Debtors in Possession to

Obtain Postpetition Financing, (ii) Authorizing the Debtors to Use Cash Collateral, (iii) Granting

Liens and Superpriority Administrative Expense Status, (iv) Granting Adequate Protection to

Prepetition Lenders, (v) Modifying the Automatic Stay, (vi) Scheduling a Final Hearing, and

(viii) Granting Related Relief (the “Spencer Declaration”), and the filings and pleadings in the

above-captioned chapter 11 cases (the “Cases”), the Court having found that the relief requested




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in the Motion is in the best interests of Debtors, their estates, their creditors and other parties in

interest, and represents a sound exercise of the Debtors’ business judgment and is essential for

the continued operation of the Debtors’ businesses; it appearing to the Court that granting the

interim relief requested in the Motion is necessary to avoid immediate and irreparable harm to

the Debtors and their estates pending the Final Hearing; and appropriate notice of the Motion, the

relief requested therein, and the Interim Hearing (the “Notice”) was appropriate under the

circumstances; and the Notice having been served by the Debtors in accordance with Bankruptcy

Rule 4001 and 9014 and the Local Rules on (i) counsel to the Agent; (ii) the office of the U.S.

Trustee; (iii) the holders of the thirty (30) largest unsecured claims, on a consolidated basis,

against the Debtors’ estates (the “30 Largest Unsecured Creditors”); (iv) the Internal Revenue

Service and applicable state taxing authorities; (v) any party that has asserted or may assert a lien

in the Debtors’ assets; (vi) the office of attorneys general for the states in which the Debtors

operate; (viii) the United States Attorney’s Office for the District of Nebraska; (ix) all parties

who have filed a notice of appearance and request for service of papers pursuant to Bankruptcy

Rule 2002; and (x) the United States Securities and Exchange Commission (collectively, the

“Noticed Parties”) and the opportunity for a hearing on the Motion was appropriate and no other

notice need be provided; and after due deliberation sufficient cause appearing therefor;

        THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW3:




3
  The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the
extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
extent any of the following conclusions of law constitute findings of fact, they are adopted as such.




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       A.      Petition. On January 16, 2019 (the “Petition Date”), each Debtor filed a voluntary

petition (each, a “Petition”) under chapter 11 of the Bankruptcy Code. The Debtors continue to

operate their businesses and manage their properties as debtors-in-possession pursuant to

§§ 1107(a) and 1108 of the Bankruptcy Code.

       B.      Disposition. The Motion is hereby granted in accordance with the terms of this

Interim Order. Any objections to the Motion with respect to the entry of the Interim Order that

have not been withdrawn, waived, resolved, or settled are hereby denied and overruled.

       C.      Jurisdiction and Venue. The Court has jurisdiction of this proceeding and the

parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334. The Motion is a

“core” proceeding as defined in 28 U.S.C. §§ 157(b)(2)(A), (D) and (M). Venue of the Cases

and the Motion in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       D.      Committee Formation. As of the date hereof, the United States Trustee for the

District of Nebraska (the “U.S. Trustee”) has not yet appointed an official committee of

unsecured creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (a

“Committee”). The statutory and legal predicates for the relief sought herein are sections 105,

361, 362, 363, 364 and 507 of the Bankruptcy Code and Bankruptcy Rules 2002, 4001, 9013 and

9014 and the applicable provisions of the Local Rules.

       E.      Notice. Proper, timely, adequate, and sufficient notice of the Motion has been

provided in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules,

and no other or further notice of the Motion with respect to the relief requested at the Interim

Hearing or the entry of this Interim Order shall be required.

       F.      Debtors’ Acknowledgments and Agreements.           After consultation with their

attorneys and financial advisors, and without prejudice to the rights of any Committee appointed




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in these Cases or other parties-in-interest as and to the extent set forth in Section 4.1 of this

Interim Order, the Debtors, on their behalf and on behalf of their estates, admit, stipulate,

acknowledge and agree that:

                (i)      Pre-Petition Loan Documents. Prior to the commencement of the Cases,

Agent and the Lenders made loans, advances and provided other financial accommodations to

Borrowers (the “Pre-Petition Borrowers”), pursuant to the terms and conditions set forth in (1)

the Pre-Petition Loan Agreement (as defined in the Ratification Agreement and referred to herein

as the “Pre-Petition Loan Agreement”); and (2) all other agreements, documents and instruments

executed and/or delivered with, to, or in favor of Agent or any Lender in connection with the

Pre-Petition Loan Agreement, including, without limitation, all security agreements, notes,

guarantees, mortgages, Uniform Commercial Code financing statements and all other related

agreements, documents and instruments executed and/or delivered in connection therewith or

related thereto (all of the foregoing, together with the Pre-Petition Loan Agreement, as all of the

same have heretofore been amended, supplemented, modified, extended, renewed, restated

and/or replaced at any time prior to the Petition Date, collectively, the “Pre-Petition Loan

Documents”).

                      (ii)       Pre-Petition Loan Obligations.   As of the Petition Date, the

Debtors were indebted to Agent and the Lenders under the Pre-Petition Loan Documents in

respect of outstanding Revolving Loans in an aggregate amount of not less than $295 million

(the “Pre-Petition ABL Obligations”), plus all other Loans, Letters of Credit, Bank Products, and

all other Obligations (each as defined in the Pre-Petition Loan Agreement) in an aggregate

outstanding principal amount of not less than $400 million, plus interest accrued and accruing

thereon, together with all costs, fees, expenses (including attorneys’ fees and legal expenses) and




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other charges accrued, accruing or chargeable with respect thereto (collectively, the “Pre-Petition

Obligations”, as such term is further defined in the Ratification Agreement). The Pre-Petition

Obligations constitute allowed, legal, valid, binding, enforceable and non-avoidable obligations

of Debtors, and are not subject to any offset, defense, counterclaim, avoidance,

recharacterization or subordination pursuant to the Bankruptcy Code or any other applicable law,

and Debtors do not possess, shall not assert, hereby forever release, and are forever barred from

bringing any claim, counterclaim, setoff or defense of any kind, nature or description, in any

such case, arising out of, connected with, or relating to any and all acts, omissions or events

occurring prior to the entry of this Interim Order, which would in any way affect the validity,

enforceability and non-avoidability of any of the Pre-Petition Obligations or liens and security

interest securing the same described in clause (F)(iii) below, including, without limitation,

avoidance, disallowance, disgorgement, recharacterization, or subordination (equitable or

otherwise) pursuant to the Bankruptcy Code or applicable non- bankruptcy law. The Debtors

and their estates (a) have no claims, objections, challenges, causes of action, and/or choses in

action, including without limitation, avoidance claims under Chapter 5 of the Bankruptcy Code

or applicable state law equivalents or actions for recovery or disgorgement, against the Agent or

Lenders or any of their respective affiliates, agents, attorneys, advisors, professionals, officers,

directors and employees arising out of, based upon or related to the Pre-Petition Loan

Documents or Pre-Petition Obligations; and (b) have waived, discharged, and released any right

to challenge any of the Pre-Petition Obligations, including the priority of the Pre-Petition

Obligations, and the validity, extent, and priority of the liens securing the Pre-Petition

Obligations.




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           (iii)       Pre-Petition Collateral.        As of the Petition Date, the Pre-Petition

Obligations were fully secured pursuant to the Pre-Petition Loan Documents by valid, perfected,

enforceable and non-avoidable first-priority security interests and liens granted by Debtors for

fair consideration and reasonably equivalent value to Agent, for the benefit of itself and the other

Lenders under the Pre-Petition Loan Documents, in and upon all of the Pre-Petition Collateral

(as defined in the Ratification Agreement and hereinafter referred to as the “Pre-Petition

Collateral”), subject only to the Carve Out, and to the liens specifically permitted under Section

9.8 of the Pre-Petition Loan Agreement to the extent that such security interests, liens or

encumbrances are (A) valid, perfected and non-avoidable security interests, liens or

encumbrances existing as of the Petition Date securing valid, binding and unavoidable debt

permitted under the Pre-Petition Loan Documents (or perfected after the Petition Date pursuant

to section 546(b) of the Bankruptcy Code), and (B) senior to, have not been, and are not subject

to being subordinated to Agent’s and Lenders’ liens on and security interests in the Pre-Petition

Collateral under the Pre-Petition Loan Documents or otherwise avoided, and, in each instance,

only for so long as and to the extent that such encumbrances are and remain senior and

outstanding (hereinafter referred to as the “Permitted Liens”). The Debtors do not possess and

will not assert any claim, counterclaim, setoff or defense of any kind, nature or description which

would in any way affect the validity, enforceability and non-avoidability of any of Agent’s and

Lenders’ liens, claims or security interests in the Pre-Petition Collateral.

           (iv)        Default by the Debtors. The Debtors acknowledge and stipulate that the

Loan Parties are in default of their obligations under the Pre-Petition Loan Documents.

            (v)        Proof of Claim. The acknowledgment by Debtors of the Pre-Petition

Obligations and the liens, rights, priorities and protections granted to or in favor of Agent and




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Lenders in respect of the Pre-Petition Collateral as set forth herein and in the Pre-Petition Loan

Documents shall be deemed a timely filed proof of claim on behalf of Agent and the Lenders in

these Cases.

            (vi)        Intercreditor Agreement. Agent and Sun Retail Finance Holdings, LLC, a

Delaware limited liability company are parties to that certain Intercreditor Agreement dated as of

February 7, 2012 (as amended, supplemented or otherwise modified from time to time, the

“Intercreditor Agreement”), which (x) confirms the senior priority of the security interests of

Agent in the assets and properties of Borrowers and Guarantors to the security interests of Pre-

Petition Junior Lender; (y) acknowledges and confirms the subordination of all liens and claims

held by the Pre-Petition Junior Lender against each Borrower and Guarantor and the Pre-Petition

Collateral to all such liens and claims held by the Agent and Lenders, and (z) provides certain

other rights and obligations between Agent and Lenders, on the one hand, and the Pre-Petition

Junior Lender, on the other hand, relating to the Pre-Petition Collateral.

       G.        Findings Regarding the Post-Petition Financing.

               (i)      Post-Petition Financing. The Debtors have requested from each of the

Agent and the Lenders, and the Agent and Lenders are willing, to extend certain loans, advances

and other financial accommodations on the terms and conditions set forth in this Interim Order,

the Loan Agreement and the other Financing Agreements (as defined in the Ratification

Agreement), respectively.

            (ii)        Need for Post-Petition Financing. The Debtors do not have sufficient

available sources of working capital, including cash collateral, to operate their businesses in the

ordinary course of business without the financing requested in the Motion. The Debtors’ ability

to maintain business relationships with their vendors, suppliers and customers, to pay their




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employees, and to otherwise fund their operations is essential to the Debtors’ continued viability

as the Debtors seek to maximize the value of the assets of the Estates (as defined below). The

ability of the Debtors to obtain sufficient working capital and liquidity through the proposed

post-petition financing arrangements with the Agent and Lenders as set forth in this Interim

Order, the Loan Agreement, and other Financing Agreements, as applicable, is vital to the

preservation and maintenance of the going concern value of each Debtor. Accordingly, the

Debtors have an immediate need to obtain the post-petition financing in order to, among other

things, permit the orderly continuation of the operation of their businesses, minimize the

disruption of their business operations, and preserve and maximize the value of the assets of the

Debtors’ bankruptcy estates (as defined under § 541 of the Bankruptcy Code, the “Estates”) in

order to maximize the value of the Estates.

           (iii)      No Credit Available on More Favorable Terms. The Debtors are unable to

procure financing in the form of unsecured credit allowable as an administrative expense under

§§ 364(a), 364(b), or 503(b)(1) of the Bankruptcy Code or in exchange for the grant of a

superpriority administrative expense, junior liens on encumbered property of the Estates, or liens

on property of the Estates not subject to a lien pursuant to § 364(c)(1), 364(c)(2) or 364(c)(3) of

the Bankruptcy Code. The Debtors have been unable to procure the necessary financing on

terms more favorable, taken as a whole, than the financing offered by each of the Agent and

Lenders pursuant to the Financing Agreements.

           (iv)       Budget. The Debtors have prepared and delivered to Agent and Lenders

an initial 13-week budget (as defined in the Ratification Agreement, the “Budget”) a summary of

which is attached hereto as Exhibit 2. Such Budget has been thoroughly reviewed by the

Debtors and their management and sets forth, among other things, the projected cash receipts and




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disbursements of the Debtors for the periods covered thereby. The Debtors represent that the

Budget is achievable in accordance with the terms of the Financing Agreements and this Interim

Order. The Agent and Lenders are relying upon the Debtors’ compliance with the Budget in

accordance with Section 5.3 of the Ratification Agreement, the other Financing Agreements, and

this Interim Order in determining to enter into the post-petition financing arrangements provided

for herein. For the avoidance of doubt, all references to the Budget shall be subject in all

respects to any permitted variances.

            (v)       Business Judgment and Good Faith Pursuant to § 364(e). The terms of the

Financing Agreements and this Interim Order are fair, just and reasonable under the

circumstances, are ordinary and appropriate for secured financing to debtors-in-possession,

reflect the Debtors’ exercise of their prudent business judgment consistent with their fiduciary

duties, and are supported by reasonably equivalent value and fair consideration. The terms and

conditions of the Financing Agreements and this Interim Order have been negotiated in good

faith and at arms’ length by and among the Debtors and Agent, with all parties being represented

by counsel. Any credit extended under the terms of this Interim Order shall be deemed to have

been extended in good faith by the Agent and Lenders, as that term is used in § 364(e) of the

Bankruptcy Code.

           (vi)       Good Cause. The relief requested in the Motion is necessary, essential

and appropriate, and is in the best interest of and will benefit the Debtors, their creditors and

their Estates, as its implementation will, among other things, provide the Debtors with the

necessary liquidity to (1) minimize disruption to the Debtors’ businesses and ongoing operations,

(2) preserve and maximize the value of the Debtors’ Estates for the benefit of all the Debtors’




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creditors, and (3) avoid immediate and irreparable harm to the Debtors, their creditors, their

businesses, their employees, and their assets.

             (vii)      Immediate Entry.      Sufficient cause exists for immediate entry of this

Interim Order pursuant to Bankruptcy Rule 4001(c)(2). No party appearing in the Cases has

filed or made an objection to the relief sought in the Motion or the entry of this Interim Order, or

any objections that were made (to the extent such objections have not been withdrawn, waived,

resolved, or settled) are hereby overruled.

       Based upon the foregoing, and after due consideration and good cause appearing therefor;

       IT IS HEREBY ORDERED THAT:

Section 1.       Authorization and Conditions to Financing.

                 1.1    Motion Granted. The Motion is granted in accordance with Bankruptcy

Rule 4001(c)(2) to the extent provided in this Interim Order. Except as otherwise expressly

provided in this Interim Order, any objection to the entry of this Interim Order that has not been

withdrawn, waived, resolved or settled, is hereby denied and overruled on the merits.

                 1.2    Authorization to Borrow, Guaranty, and Use Loan Proceeds. Borrowers

are hereby authorized and empowered to immediately borrow and obtain Loans, Letters of Credit

and to incur indebtedness and other Post-Petition Obligations (as defined in the Ratification

Agreement and hereinafter referred to as the “Post-Petition Obligations” and solely as related to

the Revolving Loans A and Revolving Loans A-1, the “Post-Petition ABL Obligations”), and the

Guarantors are hereby authorized to guaranty such Post-Petition Obligations, up to an aggregate

amount equal to the sum of (i) 115% of all disbursements for the Interim Financing Period (as

defined below) in the “Total Disbursements” line item of the Budget, plus (ii) all interest, costs,

and fees, accrued or accruing under the Loan Agreement and other Financing Agreements, all




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pursuant to the terms and conditions of this Interim Order, the Loan Agreement, and the other

Financing Agreements during the period commencing on the date of this Interim Order through

and including the entry of the Final Order (the “Interim Financing Period”). Subject to the terms

and conditions contained in this Interim Order and the Financing Agreements, Borrowers shall

use the proceeds of the Loans, Letters of Credit and other credit and financial accommodations

provided by Agent and Lenders under the Loan Agreement and the other Financing Agreements

solely for payment of expenses set forth in the Budget and amounts owing to Agent and Lenders

and Debtors’ Professionals in accordance with the terms and conditions of the Financing

Agreements and this Interim Order.

               1.3    Financing Documents

                      (a)     Authorization.    Debtors are hereby authorized to enter into,

execute, deliver, perform, and comply with all of the terms, conditions and covenants of the

Loan Agreement and the other Financing Agreements. Upon execution and delivery of the Loan

Agreement and the other Financing Agreements, such agreements and documents shall constitute

valid and binding obligations of the Debtors, enforceable against each Debtor party thereto in

accordance with the terms of such agreements, documents and this Interim Order. Subject to the

rights of the Committee and all other parties in interest under Section 4.1 hereof (as provided in

Section 1.5 hereof), no obligation, payment, transfer or grant of security under the Loan

Agreement, the other Financing Agreements or this Interim Order shall be stayed, restrained,

voidable, or recoverable under the Bankruptcy Code or under any applicable law (including,

without limitation, under § 502(d) of the Bankruptcy Code), or be subject to any defense,

reduction, setoff, recoupment or counterclaim. The Debtors are hereby authorized and directed

to pay, in accordance with this Interim Order, the principal, interest, fees, expenses and other




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amounts described in the Financing Agreements as such become due and without need to obtain

further Court approval, including, without limitation, closing fees, letter of credit fees (including

issuance, fronting, and other related charges), unused facility fees, continuing commitment fees,

backstop fees, exit fees, servicing fees, yield maintenance premiums, audit fees, appraisal fees,

liquidator fees, structuring fees, administrative agent’s fees, the reasonable and documented fees

and disbursements of the Agent’s attorneys, advisors, accountants, and other consultants,

whether or not such fees arose before or after the Petition Date, and whether or not the

transactions contemplated hereby are consummated, to implement all applicable reserves and to

take any other actions that may be necessary or appropriate, all to the extent provided in this

Interim Order or the Financing Agreements. Upon execution and delivery, the Loan Agreement

and other Financing Agreements shall represent valid and binding obligations of the Debtors,

enforceable against each of the Debtors and their estates in accordance with their terms.

                       (b)      Approval; Evidence of Borrowing Arrangements.            All terms,

conditions and covenants set forth in the Financing Agreements (including, without limitation,

the Loan Agreement) are approved to the extent necessary to implement the terms and provisions

of this Interim Order.       All such terms, conditions and covenants shall be sufficient and

conclusive evidence of (a) the borrowing arrangements by and among Debtors, Agent and

Lenders, and (b) each Debtor’s assumption and adoption of all of the terms, conditions, and

covenants of the Loan Agreement and the other Financing Agreements for all purposes,

including, without limitation, to the extent applicable, the payment of all Obligations arising

thereunder, including, without limitation, all principal, interest, fees and other expenses,

including, without limitation, all of Agent’s and Lenders’ consultant fees, professional fees,

attorney fees and legal expenses, as more fully set forth in the Financing Agreements.




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                      (c)    Amendment. Subject to the terms and conditions of the Loan

Agreement and the other Financing Agreements, Debtors and Agent may amend, modify,

supplement or waive any provision of the Financing Agreements (a “DIP Loan Amendment”)

without further approval or order of the Court, so long as (a) such DIP Loan Amendment is not

material (for purposes hereof, a “material” DIP Loan Amendment shall mean any DIP Loan

Amendment that operates to increase the interest rate other than as currently provided in the

Financing Agreements, increase the Maximum Credit, increase or add an additional early

termination fee, prepayment or repayment premium, add specific new events of default or

enlarge the nature and extent of default remedies available to Agent and Lenders following an

event of default) and is undertaken in good faith by Agent, Lenders and Debtors; (b) the Debtors

provide prior written notice of the DIP Loan Amendment (the “DIP Loan Amendment Notice”)

to (i) the U.S. Trustee, and (ii) counsel to any Committee, or in the event no such Committee is

appointed at the time of such DIP Loan Amendment, the 30 Largest Unsecured Creditors

(collectively, the “Notice Parties”), and (c) the Debtors file the DIP Loan Amendment Notice

with the Court; provided, however, that neither consent of the Notice Parties nor approval of the

Court will be necessary to effectuate any such amendment, modification or supplement, and

provided further that such amendment, modification or supplement shall be without prejudice to

the right of any party in interest to be heard. Any material DIP Loan Amendment to the

Financing Agreements must be approved by the Court to be effective.

              1.4     Payment of Pre-Petition Debt. The Debtors are authorized to repay all

Pre-Petition Obligations in accordance with the Loan Agreement, the other Financing

Agreements and this Interim Order, including, without limitation, Sections 1.5 and 1.6 of this

Interim Order. For the avoidance of any doubt, the rights of the Committee with respect to the




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validity, extent, and priority of the Pre-Petition Obligations and the liens securing the Pre-

Petition Obligations are fully reserved and preserved to the extent provided in section 4.1 of this

Interim Order.

                 1.5   Payments and Application of Payments & Collateral Proceeds; Gradual

Roll-Up. The Debtors are authorized to make all payments and transfers of Estate property to

the Agent as provided for, permitted and/or required under the Loan Agreement and the other

Financing Agreements, which payments and transfers shall not be avoidable or recoverable from

the Agent or any Lender under §§ 547, 548, 550, 553 or any other section of the Bankruptcy

Code, or by reason of any other claim, charge, assessment, or other liability, whether by

application of the Bankruptcy Code, other law or otherwise. All proceeds of the Collateral (as

defined herein) received by the Agent or any Lender, and any other amounts or payments

received by the Agent or any Lender in respect of the Post-Petition Obligations, may be applied

or deemed to be applied by the Agent, in its discretion, first to the indefeasible repayment in full

of the Pre-Petition ABL Obligations, and then in repayment of the Post-Petition Obligations, all

in accordance with the Loan Agreement, the other Financing Agreements and this Interim Order.

Without limiting the generality of the foregoing, the Debtors are authorized without further order

of this Court to pay or reimburse Agent and the Lenders for future costs and expenses, including,

without limitation, all professional fees, consultant fees and legal fees and expenses paid or

incurred by the Agent or the Lenders in connection with the financing transactions as provided in

this Interim Order and the Financing Agreements, all of which shall be and are included as part

of the principal amount of the Post-Petition Obligations and secured by the Collateral (as defined

herein).




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               1.6     Continuation of Pre-Petition Procedures. Except to the extent expressly

set forth in the Financing Agreements, all pre-petition practices and procedures for the payment

and collection of proceeds of the Collateral (as defined herein), the turnover of cash, the delivery

of property to the Agent and the Lenders, including the Deposit Account Control Agreements (as

such term is defined in the Loan Agreement) and any other similar lockbox or blocked

depository bank account arrangements, are hereby approved and shall continue without

interruption after the commencement of the Cases.


Section 2.     Post-Petition Lien; Superpriority Administrative Claim Status.

               2.1     Post-Petition Lien.

                       (a)     Post-Petition Lien Granting. To secure the prompt payment and

performance of any and all Post-Petition Obligations (as defined in the Loan Agreement) of

Debtors to the Agent and Lenders of whatever kind, nature or description, absolute or contingent,

now existing or hereafter arising, Agent, for the benefit of itself and the other Lenders, shall have

and is hereby granted, effective as of the Petition Date, valid and perfected first-priority security

interests and liens, superior to all other liens, claims or security interests that any creditor of any

of the Debtors’ Estates may have (but subject to the Carve-Out (as defined below) and the

Permitted Liens), in and upon all of the Collateral (as defined in the Loan Agreement and

referred to herein as the “Collateral”). For the avoidance of doubt, solely for purposes of this

Interim Order, “Collateral” does not include (i) any of the Debtors’ unexpired real property

leases to the extent that such unexpired leases prohibit the non-consensual grant of security

interests or liens in such unexpired leases (in which case, the Collateral shall include the

proceeds of such unexpired leases) and (ii) prior to the entry of the Final Order, any property




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recovered as a result of transfers or obligations avoided or actions maintained or taken Chapter 5

of the Bankruptcy Code (the “Avoidance Actions”).

                       (b)    Lien Priority in Collateral. The liens and security interests of

Agent and Lenders granted under the Financing Agreements and this Interim Order in the

Collateral securing all Post-Petition Obligations (as defined in the Loan Agreement) shall be first

and senior in priority to all other interests and liens of every kind, nature and description,

whether created consensually, by an order of the Court or otherwise, including, without

limitation, liens or interests granted in favor of third parties in conjunction with §§ 363, 364 or

any other section of the Bankruptcy Code or other applicable law; provided, however, that

Agent’s and Lenders’ liens on and security interests in the Collateral shall be subject only to (a)

Permitted Liens, and (b) the Carve-Out (as defined below).

                       (c)    Right of Repayment. The right of Agent and Lenders to repayment

in accordance with the Financing Agreements and this Interim Order from the sale or other

disposition of the Collateral, or any proceeds thereof, shall be first and senior in priority to all

other rights of repayment of every kind, nature, and description (other than the Carve-Out).

                       (d)    Post-Petition Lien Perfection.       This Interim Order shall be

sufficient and conclusive evidence of the priority, perfection and validity of the post-petition

liens and security interests granted herein, effective as of the Petition Date, without any further

act and without regard to any other federal, state or local requirements or law requiring notice,

filing, registration, recording or possession of the Collateral, or other act to validate or perfect

such security interest or lien, including without limitation, control agreements with any financial

institution(s) party to a Deposit Account Control Agreement or holding a Blocked Account (as

defined in the Loan Agreement) or other depository account consisting of Collateral (a




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“Perfection Act”). Notwithstanding the foregoing, if Agent, shall, in its sole discretion, elect for

any reason to file, record or otherwise effectuate any Perfection Act, then Agent is authorized to

perform such act, and the Debtors are authorized to perform such act to the extent necessary or

required by Agent, which act or acts shall be deemed to have been accomplished as of the date

and time of entry of this Interim Order notwithstanding the date and time actually accomplished,

and in such event, the subject filing or recording office is authorized to accept, file or record any

document in regard to such act in accordance with applicable law. Agent may choose to file,

record or present a certified copy of this Interim Order in the same manner as a Perfection Act,

which shall be tantamount to a Perfection Act, and, in such event, the subject filing or recording

office is authorized to accept, file or record such certified copy of this Interim Order in

accordance with applicable law. Should Agent so choose and attempt to file, record or perform a

Perfection Act, no defect or failure in connection with such attempt shall in any way limit, waive

or alter the validity, enforceability, attachment, or perfection of the post-petition liens and

security interests granted herein by virtue of the entry of this Interim Order.

                       (e)     Nullifying Pre-Petition Restrictions to Post-Petition Financing.

Notwithstanding anything to the contrary contained in any pre-petition agreement, contract,

lease, document, note or instrument to which any Debtor is a party or under which any Debtor is

obligated, except as otherwise permitted under the Financing Agreements, any provision that

restricts, limits or impairs in any way any Debtor from granting Agent security interests in or

liens upon any of the Debtors’ assets or properties (including, among other things, any anti-lien

granting or anti-assignment clauses in any leases or other contractual arrangements to which any

Debtor is a party) under the Financing Agreements or this Interim Order, as applicable, or

otherwise entering into and complying with all of the terms, conditions and provisions hereof or




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of the Financing Agreements, shall not (a) be effective and/or enforceable against any such

Debtor(s), Agent or Lender(s), as applicable, or (b) adversely affect the validity, priority or

enforceability of the liens, security interests, claims, rights, priorities and/or protections granted

to Agent and Lenders pursuant to this Interim Order or the Financing Agreements, in each case,

to the maximum extent permitted under the Bankruptcy Code and other applicable law.

               2.2     Superpriority Administrative Expenses. For all Post-Petition Obligations

now existing or hereafter arising pursuant to this Interim Order, the Financing Agreements or

otherwise, Agent, for the benefit of itself and the other Lenders, is granted an allowed

superpriority administrative claim pursuant to § 364(c)(1) of the Bankruptcy Code, having

priority in right of payment over any and all other obligations, liabilities and indebtedness of

Debtors (other than the Carve-Out), whether now in existence or hereafter incurred by Debtors,

and over any and all administrative expenses or priority claims of the kind specified in, or

ordered pursuant to, inter alia, §§ 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b),

364(c)(1), 546(c), 726, 1113 or 1114 of the Bankruptcy Code (other than the Carve-Out),

whether or not such expenses or claims may become secured by a judgment lien or other non-

consensual lien, levy or attachment, which allowed superpriority administrative claim shall be

payable from and have recourse to all pre-petition and post-petition property of the Debtors and

all proceeds thereof (the “Post-Petition Superpriority Claim”).

               2.3     Carve-Out.

               (a)     Carve-Out. As used in this Interim Order, the “Carve Out” means the sum

of (i) all fees required to be paid to the Clerk of the Court and to the Office of the United States

Trustee under section 1930(a) of title 28 of the United States Code plus interest at the statutory

rate; (ii) all reasonable fees and expenses up to $50,000 incurred by a trustee under section




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726(b) of the Bankruptcy Code (the “Chapter 7 Trustee Carve-Out”); (iii) to the extent allowed

at any time, whether by interim order, procedural order, or otherwise (and, in the case of the

Committee Professionals (as defined below), subject to the Budget), all unpaid fees and expenses

(the “Allowed Professional Fees”) incurred by persons or firms retained by the Debtors pursuant

to section 327, 328, or 363 of the Bankruptcy Code (the “Debtor Professionals”) and, (subject to

the Budget) the Creditors’ Committee pursuant to section 328 or 1103 of the Bankruptcy Code

(the “Committee Professionals” and, together with the Debtor Professionals, the “Professional

Persons”) at any time before or on the first business day following delivery by the Agent of a

Carve Out Trigger Notice (as defined below), whether allowed by the Court prior to or after

delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional Fees of Professional

Persons in an aggregate amount not to exceed $2,500,000 incurred after the first business day

following delivery by the Agent of the Carve Out Trigger Notice, to the extent allowed at any

time, whether by interim order, procedural order, or otherwise (the amounts set forth in this

clause (iv) being the “Post-Carve Out Trigger Notice Cap”).4 For purposes of the foregoing,

“Carve Out Trigger Notice” shall mean a written notice delivered by email (or other electronic

means) by the Agent to the Debtors, their lead restructuring counsel, the U.S. Trustee, and

counsel to the Creditors’ Committee, which notice may be delivered following the occurrence

and during the continuation of an Event of Default and acceleration of the Post-Petition




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    Notwithstanding the foregoing, up to $500,000 of the Post-Carve Out Trigger Notice Cap may
         be used to pay Allowed Professional Fees of Professional Persons incurred prior to the
         delivery of a Carve Out Trigger Notice to the extent such Allowed Professional Fees
         exceed the Professional Fee Carve Out Cap (as defined below).




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Obligations under the Loan Agreement, respectively, stating that the Post-Carve Out Trigger

Notice Cap has been invoked.

               (b)    Fee Estimates. Not later than 7:00 p.m. New York time on the third

business day of each week starting with the first full calendar week following the Closing Date,

each Professional Person shall deliver to the Debtors a statement setting forth a good-faith

estimate of the amount of fees and expenses incurred during the preceding week by such

Professional Person (through Saturday of such week, the “Calculation Date”) (collectively,

“Estimated Fees and Expenses”), along with a good-faith estimate of the cumulative total amount

of unreimbursed fees and expenses incurred through the applicable Calculation Date and a

statement of the amount of such fees and expenses that have been paid to date by the Debtors

(each such statement, a “Weekly Statement”); provided, that within one business day of the

occurrence of the Termination Declaration Date (as defined below), each Professional Person

shall deliver one additional statement (the “Final Statement”) setting forth a good-faith estimate

of the amount of fees and expenses incurred during the period commencing on the calendar day

after the most recent Calculation Date for which a Weekly Statement has been delivered and

concluding on the Termination Declaration Date. If any Professional Person fails to deliver a

Weekly Statement within three calendar days after such Weekly Statement is due, such

Professional Person’s entitlement (if any) to any funds in the Carve Out Accounts (as defined

below) with respect to the aggregate unpaid amount of Allowed Professional Fees for the

applicable period(s) for which such Professional Person failed to deliver a Weekly Statement

covering such period shall be limited to the aggregate unpaid amount of Allowed Professional

Fees included in the Budget (as defined in the Ratification Agreement, the “Budget”) for such

period for such Professional Person; provided, that such Professional Person shall be entitled to




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be paid any unpaid amount of Allowed Professional Fees in excess of Allowed Professional Fees

included in the Budget for such period for such Professional Person from a reserve to be funded

by the Debtors from all cash on hand as of such date and any available cash thereafter held by

any Debtor pursuant to paragraph 2.3(c) below. Any deemed draw and borrowing pursuant to

paragraph 2.3(c)(i)(x) for amounts under paragraph 2.3(a)(iii) above shall be limited to the

greater of (x) the sum of (I) the aggregate unpaid amount of Estimated Fees and Expenses

included in such Weekly Statements timely received by the Debtors prior to the Termination

Declaration Date plus, without duplication, and (II) the aggregate unpaid amount of Estimated

Fees and Expenses included in the Final Statements timely received by the Debtors pertaining to

the period through and including the Termination Declaration Date, and (y) the aggregate unpaid

amount of Allowed Professional Fees included in the Budget for the period prior to the

Termination Declaration Date (such amount, the Professional Fee Carve Out Cap”). For the

avoidance of doubt, the Agent shall be entitled to maintain at all times a reserve (the “Carve-Out

Reserve”) in an amount (the “Carve-Out Reserve Amount”) equal to the sum of (i) the greater of

(x) the aggregate unpaid amount of Estimated Fees and Expenses included in all Weekly

Statements timely received by the Debtors, and (y) the aggregate amount of Allowed

Professional Fees contemplated to be unpaid in the Budget at the applicable time, plus (ii) the

Post-Carve Out Trigger Notice Cap, plus (iii) an amount equal to the amount of Allowed

Professional Fees set forth in the Budget for the following week occurring after the most recent

Calculation Date, plus (iv) the amounts contemplated under paragraph 2.3(a)(i) and 2.3(a)(ii)

above. Not later than 7:00 p.m. New York time on the fourth business day of each week starting

with the first full calendar week following the Closing Date, the Debtors shall deliver to the ABL

Agent or Term Loan B Agent a report setting forth the Carve-Out Reserve Amount as of such




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time (the “Fee Report”), and, in setting the Carve-Out Reserve, the Agent or Lenders shall be

entitled to rely upon such reports in accordance with the Loan Agreement. Prior to the delivery

of the first report setting forth the Carve-Out Reserve Amount, the Agent shall calculate the

Carve-Out Reserve Amount by reference to the Budget for subsection (i) of the Carve-Out

Reserve Amount.

              (c)     Carve Out Reserves. The delivery of each Fee Report shall be

accompanied by a formal borrowing request through the CEO portal and shall be (i) deemed a

draw request and notice of borrowing by the Debtors for Revolving Loans under the Loan

Agreement in an amount equal to the difference between (a) the current balance of the Pre-Carve

Out Trigger Notice Reserve (as defined below) and (b) the greater of (x) the aggregate unpaid

amount of Estimated Fees and Expenses included in all Weekly Statements timely received by

the Debtors (as reflected in the Fee Report), and (y) the aggregate amount of Allowed

Professional Fees contemplated to be unpaid in the Budget at the applicable time; and (ii) a

direction from the Debtors to Agent to promptly wire the proceeds of such draw request to the

Pre-Carve Out Trigger Notice Reserve (as defined below); provided that, upon the foregoing

funding, the Agent and Lenders shall have no further obligation to fund the Pre-Carve Out

Trigger Notice Reserve on account of any Allowed Professional Fees incurred through the

Calculation Date for the most recent Fee Report delivered in accordance with Section 2.3(b)

above. On the day on which a Carve Out Trigger Notice is given by the Agent to the Debtors

with a copy to counsel to the Creditors’ Committee (the “Termination Declaration Date”), the

Carve Out Trigger Notice shall be deemed a draw request and notice of borrowing by the

Debtors for Revolving Loans under the Loan Agreement in an amount equal to the sum of (x) the

amounts set forth in paragraphs (a)(i) and (a)(ii), above, and (y) the then unpaid amounts of the




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Allowed Professional Fees up to the Professional Fee Carve Out Cap (any such amounts actually

advanced shall constitute Revolving Loans), and shall also constitute a demand to the Debtors to

utilize all cash on hand as of such date and any available cash thereafter held by any Debtor to

fund a reserve in an amount equal to the then unpaid amounts of the Allowed Professional Fees

(which cash amounts shall reduce, on a dollar for dollar basis, the draw requests and applicable

Revolving Loans pursuant to the foregoing clause of this paragraph (c)). The Debtors shall

deposit and hold such amounts in a segregated account at the Agent (or such other institution as

the Agent and the Debtors agree) in trust exclusively to pay such unpaid Allowed Professional

Fees (the “Pre-Carve Out Trigger Notice Reserve”). On the Termination Declaration Date, the

Carve Out Trigger Notice shall also be deemed a request by the Debtors for (1) Revolving Loans

under the Loan Agreement in an amount equal to the Post-Carve Out Trigger Notice Cap (any

such amounts actually advanced shall constitute Revolving Loans), and shall also constitute a

demand to the Debtors to utilize all cash on hand as of such date and any available cash

thereafter held by any Debtor to fund a reserve in an amount equal to Post-Carve Out Trigger

Notice Cap (which cash amounts shall reduce, on a dollar for dollar basis, the draw requests and

applicable Revolving Loans pursuant to the foregoing clause of this paragraph (c)). The Debtors

shall deposit and hold such amounts in a segregated account at the Agent in trust exclusively to

pay such Allowed Professional Fees benefiting from the Post-Carve Out Trigger Notice Cap (the

“Post-Carve Out Trigger Notice Reserve” and, together with the Pre-Carve Out Trigger Notice

Reserve, the “Carve Out Reserves”). On the third business day following the Termination

Declaration Date and the deemed requests for the making of Revolving Loans as provided in this

paragraph (c), notwithstanding anything in the Loan Agreement to the contrary, including with

respect to (1) the existence of a Default or Event of Default, (2) the failure of the Debtors to




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satisfy any or all of the conditions precedent for the making of any Revolving Loans under the

Loan Agreement, (3) any termination of the Commitments following an Event of Default, or (4)

the occurrence of the Maturity Date, each Lender with an outstanding Commitment shall make

available to the Agent, as applicable, such Lender’s pro rata share of such Loans, as applicable.

For the avoidance of doubt, the Carve Out Reserves shall constitute the primary source for

payment of Allowed Professional Fees entitled to benefit from the Carve Out, and any lien

priorities or superpriority claims granted pursuant to this Interim Order to secure payment of the

Carve Out shall be limited to any shortfall in funding as provided below.

               (d)     Application of Carve Out Reserves. (i) All funds in the Pre-Carve Out

Trigger Notice Reserve shall be used first to pay the obligations set forth in subparagraphs

(a)(i) through (a)(iii) of the definition of Carve Out set forth above (the “Pre-Carve Out

Amounts”), but not, for the avoidance of doubt, the Post-Carve Out Trigger Notice Cap (other

than amounts up to $500,000 to the extent the Pre-Carve Out Amounts exceed the Professional

Fee Carve Out Cap), until paid in full. If the Pre-Carve Out Trigger Notice Reserve has not been

reduced to zero, subject to clause (iii), below, all remaining funds shall be distributed first to the

Agent on account of the applicable Obligations until indefeasibly paid in full, in cash, all

Commitments have been terminated, and all Letters of Credit have been cancelled (or all such

Letters of Credit have been fully cash collateralized or otherwise back-stopped, in each case to

the satisfaction of the applicable Issuing Bank), and thereafter to the Prepetition ABL Lenders

in accordance with their rights and priorities as of the Petition Date.

               (ii)    All funds in the Post-Carve Out Trigger Notice Reserve (other than up to

$500,000, which may be used to pay Pre-Carve Out Amounts to the extent they exceed the

Professional Fee Carve Out Cap) shall be used first to pay the obligations set forth in clause (iv)




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of the definition of Carve Out set forth above (the “Post-Carve Out Amounts”).               If the

Post-Carve Out Trigger Notice Reserve has not been reduced to zero, subject to clause (iii),

below, all remaining funds shall be distributed first to the Agent on account of the applicable

Obligations until indefeasibly paid in full, in cash, all Commitments have been terminated, and

all Letters of Credit have been cancelled (or all such Letters of Credit have been fully cash

collateralized or otherwise back-stopped, in each case to the satisfaction of the applicable Issuing

Bank), and thereafter to the Prepetition ABL Lenders in accordance with their rights and

priorities as of the Petition Date.

                (iii)   Notwithstanding anything to the contrary in the Financing Agreements or

this Interim Order, if either of the Carve Out Reserves is not funded in full in the amounts set

forth in this paragraph (c), then, any excess funds in one of the Carve Out Reserves following the

payment of the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be

used to fund the other Carve Out Reserve to the extent of any shortfall in funding prior to making

any payments to the ABL Agent or the Prepetition ABL Lenders, as applicable.

                (iv)    Notwithstanding anything to the contrary in the Financing Agreements or

the Interim Order, following the third business day after delivery of a Carve Out Trigger Notice,

the ABL Agent, the Prepetition ABL Agent, the Term Loan B Agent, and the Prepetition Term

Loan Agent shall not sweep or foreclose on cash (including cash received as a result of the sale

or other disposition of any assets) of the Debtors until the Carve Out Reserves have been fully

funded, but shall have a security interest in any residual interest in the Carve Out Reserves, with

any excess paid as provided in paragraphs (ii) and (iii) above.

                (v)     Notwithstanding anything to the contrary in this Interim Order, (i) the

failure of the Carve Out Reserves to satisfy in full the Allowed Professional Fees shall not affect




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the priority of the Carve Out with respect to any shortfall (as described below), and (ii) subject to

the limitations with respect to the ABL Agent, ABL Lenders, Prepetition ABL Agent and

Prepetition ABL Lenders set forth in paragraph (b), above, in no way shall the Initial Budget,

any Approved Budget, Annual Operating Forecast, Carve Out, Post-Carve Out Trigger Notice

Cap or Carve Out Reserves be construed as a cap or limitation on the amount of the Allowed

Professional Fees due and payable by the Debtors. For the avoidance of doubt and

notwithstanding anything to the contrary herein or in the Loan Agreement, the Carve Out shall

be senior to all liens and claims securing the Loan Agreement, the Adequate Protection Liens,

and the Diminution in Value claims, and any and all other forms of adequate protection, liens, or

claims securing the Post-Petition Obligations or the Pre-Petition Obligations.

       (d)     No Direct Obligation To Pay Allowed Professional Fees. The Agent and the

Lenders shall not be responsible for the payment or reimbursement of any fees or disbursements

of any Professional Person incurred in connection with the Cases or any Successor Cases under

any chapter of the Bankruptcy Code. Nothing in this Final Order or otherwise shall be construed

to obligate the Agent or the Lenders, or any Issuing Bank, in any way, to pay compensation to, or

to reimburse expenses of, any Professional Person or to guarantee that the Debtors have

sufficient funds to pay such compensation or reimbursement.

       (e)     Payment of Allowed Professional Fees Prior to the Termination Declaration

Date. Any payment or reimbursement made prior to the occurrence of the Termination

Declaration Date in respect of any Allowed Professional Fees shall not reduce the Carve Out;

provided that, upon the funding in the first sentence of Section 2.3(c) above, the Agent and

Lenders shall have no further obligation to fund the Pre-Carve Out Trigger Notice Reserve on




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account of any Allowed Professional Fees incurred through the Calculation Date for the most

recent Fee Report delivered in accordance with Section 2.3(b) above.

       (f)     Payment of Carve Out On or After the Termination Declaration Date. Any

payment or reimbursement made on or after the occurrence of the Termination Declaration Date

in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a dollar-

for-dollar basis. Any funding of the Carve Out shall be added to, and made a part of, the

Obligations secured by the Post-Petition Collateral and shall be otherwise entitled to the

protections granted under this Final Order, the Financing Agreements, the Bankruptcy Code, and

applicable law.

               2.4     Payment of Carve-Out.

                       Payment from the Carve-Out, whether by or on behalf of the Agent or any

Lender, shall not and shall not be deemed to reduce the Post-Petition Obligations, and shall not

and shall not be deemed to subordinate any of any of Agent’s or Lender’s liens and security

interests in the Pre-Petition Collateral, any other Collateral, the Pre-Petition Adequate Protection

Superpriority Claim (as defined below), or the Post-Petition Superpriority Claim to any junior

pre- or post-petition lien, interest or claim in favor of any other party.

               2.5     Excluded Professional Fees.

                       (a)     Notwithstanding anything to the contrary in this Interim Order,

neither the proceeds of Collateral or any Loans, Letters of Credit or any other credit or financial

accommodations provided under or in connection with the Financing Agreements shall be used

to pay any Allowed Professional Fees or any other fees or expenses incurred by any Professional

in connection with any of the following:




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                     (i)     an assertion or joinder in any claim, counter-claim, action,

      proceeding, application, motion, objection, defense or other contested matter seeking any

      order, judgment, determination or similar relief: (A) challenging the legality, validity,

      priority, perfection, or enforceability of (I) the Pre-Petition Obligations or Agent’s and

      any Lender’s liens on and security interests in the Pre-Petition Collateral, or (II) the Post-

      Petition Obligations or Agent’s or any Lender’s liens on and security interests in the

      Collateral; (B) invalidating, setting aside, avoiding, recharacterizing or subordinating, in

      whole or in part, (I) the Pre-Petition Obligations or the Agent’s and Lenders’ liens on and

      security interests in the Pre-Petition Collateral, or (II) the Post-Petition Obligations or

      Agent’s or Lenders’ liens on and security interests in the Collateral; or (C) preventing,

      hindering or delaying Agent’s or Lenders’ assertion or enforcement of any lien, claim,

      right or security interest or realization upon any Collateral in accordance with the terms

      and conditions of the Loan Agreement, the Financing Agreements, and this Interim

      Order;

                     (ii)    a request to use Cash Collateral (as such term is defined in

      section 363 of the Bankruptcy Code) without the prior written consent of Agent;

                     (iii)   a request for authorization to obtain debtor-in-possession financing

      or other financial accommodations pursuant to section 364(c) or § 364(d) of the

      Bankruptcy Code or otherwise incur Indebtedness (as defined in the Loan Agreement)

      without the prior written consent of Agent (except to the extent permitted under the

      Financing Agreements);

                     (iv)    the commencement or prosecution of any action or proceeding of

      any claims, causes of action or defenses against Agent or any Lender or any of their




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       respective officers, directors, employees, agents, attorneys, affiliates, successors or

       assigns, including, without limitation, any attempt to recover or avoid any claim or

       interest or disgorge any payments under chapter 5 of the Bankruptcy Code or any

       applicable state law equivalents;

                      (v)     the cost of investigation into any claims against Agent or any

       Lender arising under or in connection with the Pre-Petition Loan Documents in excess of

       $50,000; or

                      (vi)    any act which has or could directly, materially and adversely

       modify or compromise the rights and remedies of Agent or any Lender under this Interim

       Order, or which directly results in the occurrence of an Event of Default under this

       Interim Order or any Financing Agreements.

               2.6    Limited Use of Cash Collateral; Adequate Protection.

                      (a)     Authorization to Use Cash Collateral. Subject to the terms and

conditions of this Interim Order, the Loan Agreement, the Financing Agreements, and in

accordance with the Budget, Borrowers shall be and are hereby authorized to use the Cash

Collateral (as defined in section 363 of the Bankruptcy Code) for the period commencing on the

date of this Interim Order and terminating upon the date on which the Agent delivers an

Enforcement Notice (as defined below) to counsel for the Debtors, counsel for the Committee (if

appointed), and the U.S. Trustee, subject to the liens and security interests granted to the Agent

and the Lenders; provided that during the Default Notice Period (as defined herein) the Debtors

may use Cash Collateral solely for the following amounts and expenses: (i) to fund the Carve

Out Reserves, as set forth in paragraph 2.3 above; and (ii) to meet payroll obligations and, as

agreed by the Agent, in its sole discretion, to pay expenses critical to the administration of the




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Debtors’ estates Nothing in this Interim Order shall authorize the disposition of any assets of the

Debtors or their Estates outside the ordinary course of business, or any Debtor’s use of Cash

Collateral or other proceeds resulting therefrom, except as expressly permitted in this Interim

Order, the Financing Agreements and in accordance with the Budget.

                       (b)     Replacement Liens. As adequate protection for the diminution in

value of their interests in the Collateral (including Cash Collateral) on account of the Borrowers’

use of such Collateral (including Cash Collateral), the imposition of the automatic stay and the

subordination to the Carve-Out on a dollar-for dollar basis (collectively, the “Diminution in

Value”), the Agent, for the benefit of itself and the Lenders, is hereby granted pursuant to §§ 361

and 363 of the Bankruptcy Code, and solely to the extent of the Diminution in Value, valid,

binding, enforceable and perfected replacement liens upon and security interests in all Collateral

(the “Pre-Petition Replacement Lien”). The Pre-Petition Replacement Lien shall be junior and

subordinate only to (A) the Carve-Out (B) the Permitted Liens, and (C) Agent’s and Lenders’

liens on the Collateral to secure the Post-Petition Obligations, and shall otherwise be senior to all

other security interests in, liens on, or claims against any of the Collateral.

                       (c)     Section 507(b) Priority Claims. As adequate protection for the

Diminution in Value, the Agent, for the benefit of itself and Lenders, is hereby granted as and to

the extent provided by section 507(b) of the Bankruptcy Code, and solely to the extent of the

Diminution in Value, an allowed superpriority administrative expense claim in each of the Cases

and any successor bankruptcy cases (the “Pre-Petition Adequate Protection Superpriority

Claim”). The Pre-Petition Adequate Protection Superpriority Claim shall be junior only to (A)

the Carve-Out, and (B) the Post-Petition Superpriority Claim, and shall otherwise have priority




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over all administrative expense claims and unsecured claims against Debtors and their Estates

now existing or hereafter arising, of any kind or nature whatsoever.

                        (d)    Adequate Protection Payments and Protections.          As further

adequate protection (the “Adequate Protection Payments”) for the Diminution in Value, the

Debtors are authorized and directed to provide adequate protection to the Agent and Lenders in

the form of payment in cash (i) upon entry of this Interim Order of the reasonable fees, expenses,

and disbursements (including without limitation, the reasonable and documented fees, expenses,

and disbursements of counsel and third-party consultants and other vendors, including without

limitation, financial advisors and auditors) incurred by the Agent arising prior to the Petition

Date, and (ii) the reasonable fees, expenses, and disbursements (including without limitation, the

fees, expenses, and disbursements of counsel and third-party consultants and other vendors,

including without limitation, financial advisors and auditors) incurred by the Agent arising

subsequent to the Petition Date.

Section 3.     Default; Rights and Remedies; Relief from Stay.

               3.1      Events of Default. The occurrence of any of the following events shall

constitute an “Event of Default” under this Interim Order: (a) any Debtor’s failure to perform, in

any respect, any of their obligations under this Interim Order; or (b) an “Event of Default” under

the Loan Agreement or any of the other Financing Agreements (except for an Event of Default

under Section 5.4(m) of the Ratification Agreement, neither of which shall not be considered an

“Event of Default”).5



5
 NTD: Ratification Agreement addresses the EoD pursuant to Section 10.1(g) of the Pre-Petition
Loan Agreement.




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               3.2    Rights and Remedies upon Event of Default. Upon the occurrence of and

during the continuance of an Event of Default, (a) the Debtors shall be bound by all restrictions,

prohibitions and other terms as provided in this Interim Order, the Loan Agreement and the other

Financing Agreements, and (b) the Agent shall be entitled to take any act or exercise any right or

remedy (subject to Section 3.4 below) as provided in this Interim Order or any Financing

Document, as applicable, including, without limitation, declaring all Obligations immediately

due and payable, accelerating the Obligations, ceasing to extend Loans or provide or arrange for

Letters of Credit on behalf of Debtors, setting off any Obligations with Collateral or proceeds in

Agent’s or any Lender’s possession, and enforcing any and all rights with respect to the

Collateral. Agent and Lenders shall have no obligation to lend or advance any additional funds

to or on behalf of Debtors, or provide any other financial accommodations to Debtors,

immediately upon or after the occurrence of an Event of Default or upon the occurrence of any

act, event, or condition that, with the giving of notice or the passage of time, or both, would

constitute an Event of Default.

               3.3    Expiration of Loan Commitment. Upon the expiration of Borrowers’

authority to borrow or otherwise obtain other credit accommodations from Agent and Lenders

pursuant to the terms of this Interim Order and the Financing Agreements (except if such

authority shall be extended with the prior written consent of Agent, which consent shall not be

implied or construed from any action, inaction or acquiescence by Agent or any Lender), unless

an Event of Default set forth in Section 3.1 above occurs sooner and the automatic stay has been

lifted or modified pursuant to Section 3.4 of this Interim Order, all of the Post-Petition

Obligations shall immediately become due and payable and Agent and Lenders shall have no




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obligation whatsoever to make or extend any loans, advances, provide any financial or credit

accommodations to Debtors or permit the use of Cash Collateral.

               3.4     Modification of Automatic Stay.        The automatic stay provisions of

section 362 of the Bankruptcy Code and any other restriction imposed by an order of the Court

or applicable law are hereby modified without further notice, application or order of the Court to

the extent necessary to permit Agent and each Lender to perform any act authorized or permitted

under or by virtue of this Interim Order or the Financing Agreements, as applicable, including,

without limitation, (a) to implement the post-petition financing arrangements authorized by this

Interim Order and pursuant to the terms of the Financing Agreements, (b) to take any act to

create, validate, evidence, attach or perfect any lien, security interest, right or claim in the

Collateral, (c) to assess, charge, collect, advance, deduct and receive payments with respect to

the Pre-Petition Obligations or the Post-Petition Obligations, as applicable, including, without

limitation, all interests, fees, costs and expenses permitted under the Financing Agreements

(subject to Section 5.12 of this Interim Order) and apply such payments to the Pre-Petition

Obligations or Post-Petition Obligations pursuant to the Financing Agreements and/or this

Interim Order, as applicable, and upon an Event of Default, (d) declare a termination, reduction

or restriction on the ability of the Debtors to use Cash Collateral and (e) to take any other action

and exercise all other rights and remedies provided to it by this Interim Order, the Financing

Agreements or applicable law other than those rights and remedies against the Collateral upon

the expiration of the Default Notice Period (as defined below). In addition, and without limiting

the foregoing, upon the occurrence of an Event of Default and after providing five (5) business

days (the “Default Notice Period”) prior written notice (the “Enforcement Notice”) to (i) counsel

for the Debtors, (ii) counsel for the Committee (if appointed), and (iii) the U.S. Trustee, the




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Agent, acting on behalf of itself and the Lenders, without further notice, application or order of

the Court, shall be entitled to take any action and exercise all rights and remedies provided to it

by this Interim Order, the Financing Agreements or applicable law that Agent may deem

appropriate in its sole discretion to proceed against and realize upon the Collateral or any other

assets or properties of Debtors’ Estates upon which the Agent, for the benefit of itself and the

applicable Lenders, has been or may hereafter be granted liens or security interests to obtain the

full and indefeasible repayment of all Obligations. Notwithstanding anything to the contrary, any

action that Agent is otherwise permitted to take pursuant to this Interim Order to (i) terminate the

commitments under the Financing Agreements, (ii) accelerate the Loans, (iii) send blocking

notices or activation notices pursuant to the terms of any Deposit Account Control Agreement,

(iv) repay any amounts owing in respect of the Obligations (including, without limitation, fees,

indemnities and expense reimbursements) and (v) cash collateralize Letters of Credit and/or

Bank Products issued pursuant to the Financing Agreements, in each case, shall not require any

advance notice to the Debtors. During the Default Notice Period, the Debtors and the Committee

(if appointed) shall be entitled to seek an emergency hearing, and the Agent, and Lenders shall

consent to such emergency hearing, within the Default Notice Period with the Court; provided

that the sole issue that may be raised by the Debtors are whether an Event of Default has

occurred and/or is continuing, and the Debtors hereby waive their right to and shall not be

entitled to seek relief, including under section 105 of the Bankruptcy Code, to the extent that

such relief would in any way impair or restrict the rights and remedies of the Agents or the

Lenders set forth in this Interim Order or the Financing Agreements.




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Section 4.     Representations; Covenants; and Waivers.

               4.1    Objections to Pre-Petition Obligations. Notwithstanding anything to the

contrary in this Interim Order, any action, claim, defense, complaint, motion or other written

opposition (hereinafter, an “Objection”) that seeks to object to, challenge, contest or otherwise

invalidate or reduce, whether by setoff, recoupment, counterclaim, deduction, disgorgement or

claim of any kind: (a) the existence, validity or amount of the Pre-Petition Obligations as of the

Petition Date, or (b) the extent, legality, validity, perfection or enforceability of Agent’s and

Lenders’ pre-petition liens and security interests in the Pre-Petition Collateral shall be properly

filed with the Court on or before the earlier of (x) sixty (60) calendar days from the date of

appointment of the Committee by the U.S. Trustee, or (y) seventy-five (75) calendar days from

the Petition Date; provided, however, that nothing herein shall permit any party to challenge the

extent or validity of the Post-Petition Obligations for any disbursements in excess of the Pre-

Petition Obligations. If any such Objection is timely and properly filed and a final, non-

appealable order is entered by a court of competent jurisdiction sustaining and ordering some or

all of the relief requested in such Objection, then nothing in this Interim Order shall prevent the

Court from granting appropriate relief with respect to the Pre-Petition Obligations or Agent’s or

Lenders’ pre-petition liens on the Pre-Petition Collateral. If no Objection is timely and properly

filed, or if an Objection is timely and properly filed but denied, (i) the Pre-Petition Obligations

shall be deemed allowed in full, shall not be subject to any setoff, recoupment, counterclaim,

deduction or claim of any kind, and shall not be subject to any further objection or challenge by

any party at any time, and Agent’s and Lenders’ pre-petition liens on and security interest in the

Pre-Petition Collateral shall be deemed legal, valid, perfected, enforceable, and non-avoidable

for all purposes and of first and senior priority, subject to only the Carve-Out and Permitted




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Liens, and (ii) the Agent and the Lenders, and each of their respective participants, agents,

officers, directors, employees, attorneys, professionals, successors, and assigns (each in their

respective capacities as such) shall be deemed released and discharged from any and all claims

and causes of action related to or arising out of the Pre-Petition Loan Documents and shall not be

subject to any further objection or challenge relating thereto or arising therefrom by any party at

any time. Nothing contained in this Section 4.1(a) or otherwise shall or shall be deemed or

construed to impair, prejudice or waive any rights, claims or protections afforded to Agent or any

Lenders in connection with all post-petition Loans and Letters of Credit, and any other post-

petition financial and credit accommodations provided by Agent and the Lenders to Debtors in

reliance on section 364(e) of the Bankruptcy Code and in accordance with the terms and

provisions of this Interim Order and the Financing Agreements.

               4.2     Debtors’ Waivers.      Prior to the indefeasible payment in full of all

Obligations on terms and conditions satisfactory to Agent, (x) it shall be an Event of Default if

the Debtors seek further authority, and (y) upon entry of a Final Order, whether or not an Event

of Default has occurred, the Debtors irrevocably waive any right that they may have: (a) to use

Cash Collateral of Agent and Lenders under section 363 of the Bankruptcy Code, (b) to obtain

post-petition loans or other financial accommodations pursuant to section 364(c) or 364(d) of the

Bankruptcy Code, other than as provided in this Interim Order or as may be otherwise expressly

permitted pursuant to the Financing Agreements, (c) to challenge the application of any

payments authorized by this Interim Order as pursuant to section 506(b) of the Bankruptcy Code,

or to assert that the value of the Pre-Petition Collateral is less than the Pre-Petition Obligations,

(d) to propose, support or have a plan of reorganization or liquidation that is either inconsistent

with the Ratification Agreement or does not provide for the indefeasible payment in cash in full




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and satisfaction of all Obligations (other than unmatured indemnity obligations for which claims

have not been asserted and are not reasonably expected to be asserted at any time in the future)

on the effective date of such plan in accordance with the terms and conditions set forth in the

Loan Agreement, or (e) to seek relief under the Bankruptcy Code, including without limitation,

under section 105 of the Bankruptcy Code, to the extent any such relief would in any way restrict

or impair the rights and remedies of Agent or any Lender as provided in this Interim Order and

the Financing Agreements or Agent’s or any Lender’s exercise of such rights or remedies;

provided, however, that Agent may otherwise consent in writing, but no such consent shall be

implied from any other action, inaction, or acquiescence by Agent or any Lender.

               4.3    Section 506(c) Claims. Subject to entry of the Final Order, no costs or

expenses of administration which have or may be incurred in the Cases shall be charged against

Agent or any Lender, their respective claims or the Collateral pursuant to §§ 105 or 506(c) of the

Bankruptcy Code or otherwise without the prior written consent of Agent, and no such consent

shall be implied from any other action, inaction or acquiescence by Agent or any Lender.

               4.4    Collateral Rights. Until all Obligations shall have been indefeasibly paid

and satisfied in full in accordance with the terms of the Loan Agreement and the other Financing

Agreements:

                      (a)     no other party shall foreclose or otherwise seek to enforce any

       junior lien or claim in Collateral; and

                      (b)     upon and after the declaration of the occurrence of an Event of

       Default, and subject to Agent obtaining relief from the automatic stay as provided for

       herein to enforce its rights and remedies against the Collateral, in connection with a

       liquidation of any of the Collateral, Agent (or any of its employees, agents, consultants,




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       contractors or other professionals) shall have the right, at the sole cost and expense of

       Debtors, to: (i) enter upon, occupy and use any real or personal property, fixtures,

       equipment, leasehold interests or warehouse arrangements owned or leased by Debtors

       and (ii) use any and all trademarks, trade names, copyrights, licenses, patents or any other

       similar assets of Debtors, which are owned by or subject to a lien of any third party and

       which are used by Debtors in their businesses. Agent and Lenders will be responsible for

       the payment of any applicable fees, rentals, royalties or other amounts due such lessor,

       licensor or owner of such property for the period of time that Agent actually uses the

       equipment or the intellectual property (but in no event for any accrued and unpaid fees,

       rentals or other amounts due for any period prior to the date that Agent actually occupies

       or uses such assets or properties or for any fees, rentals or other amounts that may

       become due following the end of Agent’s occupation or use).

               4.5    Releases.

                      Upon the entry of the Final Order, and subject to Section 4.1 above, in

consideration of Agent and Lenders permitting Debtors to use the Pre-Petition Collateral

(including Cash Collateral) and providing other credit and financial accommodations to the

Debtors pursuant to the provisions of the Financing Agreements and this Interim Order, each

Debtor, on behalf of itself and its successors and assigns, (collectively, the “Releasors”), shall,

forever release, discharge and acquit Agent, each Lender, and their respective successors and

assigns, and their present and former shareholders, affiliates, subsidiaries, divisions,

predecessors, directors, officers, attorneys, employees and other representatives in their

respective capacities as such (collectively, the “Pre-Petition Releasees”) of and from any and all

claims, demands, liabilities, responsibilities, disputes, remedies, causes of action, indebtedness




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and obligations, of every kind, nature and description, including, without limitation, any so-

called “lender liability” claims or defenses, that any of the Releasors had, have or hereafter can

or may have against Pre-Petition Releasees (or any of them) as of the date hereof, in respect of

events that occurred on or prior to the date hereof with respect to the Debtors, the Obligations,

Financing Agreements and any Loans, Letters of Credit, Bank Products or other financial

accommodations made by Agent and/or the Lenders to Debtors pursuant to the Financing

Agreements.     In addition, upon the repayment of all Obligations (as defined in the Loan

Agreement) owed to the Agent and the Lenders by Debtors and termination of the rights and

obligations arising under the Financing Agreements (which payment and termination shall be on

terms and conditions acceptable to the Agent), the Agent and the Lenders shall be released from

any and all obligations, liabilities, actions, duties, responsibilities and causes of action arising or

occurring on or prior to the date of such repayment or termination in connection with or related

to the Financing Agreements, this Interim Order or the Final Order.

Section 5.     Other Rights and Post-Petition Obligations.

               5.1     No Modification or Stay of This Interim Order. Notwithstanding (a) any

stay, modification, amendment, supplement, vacating, revocation or reversal of this Interim

Order, the Financing Agreements or any term hereunder or thereunder, (b) the failure to obtain a

Final Order pursuant to Bankruptcy Rule 4001(c)(2), or (c) the dismissal or conversion of one or

more of the Cases (each, a “Subject Event”), (x) the acts taken by each of the Agent and the

Lenders in accordance with this Interim Order, and (y) the Post-Petition Obligations incurred or

arising prior to Agent’s actual receipt of written notice from Debtors expressly describing the

occurrence of such Subject Event shall, in each instance, be governed in all respects by the

original provisions of this Interim Order, and the acts taken by Agent and Lenders in accordance




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with this Interim Order, and the liens granted to Agent and Lenders in the Collateral, and all

other rights, remedies, privileges, and benefits in favor of Agent and each Lender pursuant to this

Interim Order and the Financing Agreements shall remain valid and in full force and effect

pursuant to section 364(e) of the Bankruptcy Code. For purposes of this Interim Order, the term

“appeal”, as used in section 364(e) of the Bankruptcy Code, shall be construed to mean any

proceeding for reconsideration, amending, rehearing, or re-evaluating this Interim Order by this

Court or any other tribunal.

               5.2    Power to Waive Rights; Duties to Third Parties. Agent shall have the right

to waive any of the terms, rights and remedies provided or acknowledged in this Interim Order

that are in favor of Agent and Lenders (the “Lender Rights”), and shall have no obligation or

duty to any other party with respect to the exercise or enforcement, or failure to exercise or

enforce, any Lender Right(s). Any waiver by Agent of any Lender Rights shall not be or

constitute a continuing waiver. Any delay in or failure to exercise or enforce any Lender Right

shall neither constitute a waiver of such Lender Right, subject Agent or any Lender to any

liability to any other party, nor cause or enable any party other than the Debtors to rely upon or

in any way seek to assert as a defense to any obligation owed by the Debtors to Agent or any

Lender.

               5.3    Disposition of Collateral. Debtors shall not sell, transfer, lease, encumber

or otherwise dispose of any portion of the Collateral outside the ordinary course of business,

other than pursuant to the terms of the Loan Agreement and the Budget, without the prior written

consent of Agent (and no such consent shall be implied, from any other action, inaction or

acquiescence by the Agent or any Lenders) and, in each case, an order of this Court.




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               5.4     Inventory. Debtors shall not, without the consent of the Agent, (a) enter

into any agreement to return any inventory to any of their creditors for application against any

pre-petition indebtedness under any applicable provision of section 546 of the Bankruptcy Code,

or (b) consent to any creditor taking any setoff against any of its pre-petition indebtedness based

upon any such return pursuant to section 553(b)(1) of the Bankruptcy Code or otherwise.

               5.5     Reservation of Rights.     The terms, conditions and provisions of this

Interim Order are in addition to and without prejudice to the rights of Agent and each Lender to

pursue any and all rights and remedies under the Bankruptcy Code, the Financing Agreements or

any other applicable agreement or law, including, without limitation, rights to seek adequate

protection and/or additional or different adequate protection, to seek relief from the automatic

stay, to seek an injunction, to oppose any request for use of cash collateral or granting of any

interest in the Collateral, as applicable, or priority in favor of any other party, to object to any

sale of assets, and to object to applications for allowance and/or payment of compensation of

Professionals or other parties seeking compensation or reimbursement from the Estates.

               5.6     Binding Effect.

                       (a)    The provisions of this Interim Order and the Financing

Agreements, the Post-Petition Obligations, the Pre-Petition Adequate Protection Superpriority

Claim, the Post-Petition Superpriority Claim and any and all rights, remedies, privileges and

benefits in favor of each of the Agent and the Lenders provided or acknowledged in this Interim

Order, and any actions taken pursuant thereto, shall be effective immediately upon entry of this

Interim Order notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h) and 7062, shall continue in

full force and effect, and shall survive entry of any such other order converting one or more of




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the Cases to any other chapter under the Bankruptcy Code, or dismissing one or more of the

Cases.

                       (b)     Any order dismissing one or more of the Cases under section 1112

or otherwise shall be deemed to provide (in accordance with §§ 105 and 349 of the Bankruptcy

Code) that (a) the Post-Petition Superpriority Claim and Agent’s and Lenders’ liens on and

security interests in the Collateral and all other claims, liens, adequate protections and other

rights granted pursuant to the terms of this Interim Order shall continue in full force and effect

notwithstanding such dismissal until the Obligations are indefeasibly paid and satisfied in full,

and (b) this Court shall retain jurisdiction, notwithstanding such dismissal, for the purposes of

enforcing all such claims, liens, protections and rights.

                       (c)     In the event this Court modifies any of the provisions of this

Interim Order or the Financing Agreements following a Final Hearing, such modifications shall

not affect the rights or priorities of Agent and Lenders pursuant to this Interim Order with respect

to the Collateral or any portion of the Obligations which arises or is incurred or is advanced prior

to such modifications, and this Interim Order shall otherwise remain in full force and effect to

such extent.

                       (d)     This Interim Order shall be binding upon Debtors, all parties in

interest in the Cases and their respective successors and assigns, including any trustee or other

fiduciary appointed in the Cases or any subsequently converted bankruptcy case(s) of any

Debtor. This Interim Order shall also inure to the benefit of Debtors, Agent, Lenders, and each

of their respective successors and assigns.




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               5.7     Restrictions on Cash Collateral Use, Additional Financing, Plan

Treatment.

                       (a)    All post-petition advances and other financial accommodations

under the Loan Agreement and the other Financing Agreements are made in reliance on this

Interim Order and there shall not at any time be entered in the Cases, or in any subsequently

converted case under chapter 7 of the Bankruptcy Code, any order (other than the Final Order)

which (i) authorizes the use of cash collateral of Debtors in which Agent or Lenders have an

interest, or the sale, lease, or other disposition of property of any Debtor’s Estate in which Agent

or Lenders have a lien or security interest, except as expressly permitted hereunder or in the

Financing Agreements, or (ii) authorizes under section 364 of the Bankruptcy Code the obtaining

of credit or the incurring of indebtedness secured by a lien or security interest which is equal or

senior to a lien or security interest in property in which Agent or Lenders hold a lien or security

interest, or which is entitled to priority administrative claim status which is equal or superior to

that granted to Agent and Lenders herein; unless, in each instance (x) Agent shall have given its

express prior written consent with respect thereto, no such consent being implied from any other

action, inaction or acquiescence by Agent or any Lender, or (y) such other order requires that all

Obligations shall first be indefeasibly paid and satisfied in full in accordance with the terms of

the Loan Agreement and the other Financing Agreements (other than unmatured indemnity

obligations for which claims have not been asserted), including, without limitation, all debts and

obligations of Debtors to Agent and Lenders which arise or result from the obligations, loans,

security interests and liens authorized herein, on terms and conditions acceptable to Agent. The

security interests and liens granted to or for the benefit of Agent and Lenders hereunder and the




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rights of Agent and Lenders pursuant to this Interim Order and the Financing Agreements with

respect to the Obligations and the Collateral are cumulative.

               5.8     No Owner/Operator Liability. Subject to the entry of the Final Order

granting such relief, neither the Agent nor any Lender shall be deemed to be in control of the

operations of the Debtors or to be acting as a “responsible person” or “owner or operator” with

respect to the operation or management of the Debtors (as such terms, or any similar terms, are

used in the United States Comprehensive Environmental Response, Compensation and Liability

Act, 29 U.S.C. §§ 9601 et seq., as amended, or any similar federal or state statute).

               5.9     Marshalling. Subject to entry of the Final Order granting such relief, in no

event shall Agent or any Lender be subject to the equitable doctrine of “marshalling” or any

similar doctrine with respect to the Collateral. Agent and Lender shall each be entitled to all of

the rights and benefits of section 552(b) of the Bankruptcy Code, and, subject to entry of the

Final Order, the “equities of the case” exception under section 552(b) of the Bankruptcy Code

shall not apply to Agent or any Lender with respect to proceeds, products, offspring or profits of

any of the Collateral, as applicable.




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               5.10    Right of Setoff. To the extent any funds were on deposit with Agent as of

the Petition Date, including, without limitation, all funds deposited in, or credited to, an account

of any Debtor with Agent or any Lender immediately prior to the filing of the Cases (regardless

of whether, as of the Petition Date, such funds had been collected or made available for

withdrawal by any such Debtor), such funds (the “Deposited Funds”) are subject to rights of

setoff. By virtue of such setoff rights, the Deposited Funds are subject to a lien in favor of Agent

or the applicable Lenders pursuant to §§ 506(a) and 553 of the Bankruptcy Code.

               5.11    Right to Credit Bid. The Agent, on behalf of itself and the Lenders, shall

have the right to “credit bid” the amount of its and their claims that are Obligations arising under

the terms of the Financing Agreements, during any sale of all or substantially all of the Debtors’

assets, including without limitation, sales occurring pursuant to section 363 of the Bankruptcy

Code or included as part of any restructuring plan subject to confirmation under

section 1129(b)(2)(A)(ii)-(iii) of the Bankruptcy Code.

               5.12    Payment and Review of Lender Fees and Expenses. Each Debtor shall

pay all reasonable fees and expenses of the Agent and Lenders to the extent provided in the

Financing Agreements, including, without limitation, the non-refundable payment to the Agent

and the Lenders, as the case may be, including without limitation reasonable and documented

professional fees and legal fees and expenses, whether incurred before or after the Petition Date;

provided, that Debtors shall pay all such reasonable fees and expenses within seven (7) business

days of delivery of a statement or invoice for such fees and expenses (it being understood that

such statements or invoices shall not be required to be maintained in accordance with the U.S.

Trustee Guidelines, nor shall any such counsel or other professional be required to file any

interim or final fee applications with the Court or otherwise seek Court’s approval of any such




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payments) to the Debtors and the Committee (if appointed), unless, within such seven (7)

business day period, the Debtors or the Committee (if appointed) serve a written objection upon

the requesting party, in which case, the Debtors shall immediately pay such amounts that are not

the subject of any objection and pay the withheld amount as subsequently agreed by the parties

or ordered by the Court to be paid.

               5.13   Access to Collateral. Notwithstanding anything contained herein to

the contrary and without limiting any other rights or remedies of the Agent and Lenders

contained in this Interim Order, the Financing Agreements, or otherwise available at law or in

equity, and subject to the terms of the Loan Agreement, upon reasonable prior written notice to

the landlord of any leased premises that an Event of Default has occurred and is continuing, the

Agent may, subject to the applicable notice provisions, if any, in this Interim Order and any

separate applicable agreement by and between such landlord and the Agent enter upon any

leased premises of the Debtors or any other party for the purpose of exercising any remedy with

respect to Collateral located thereon and shall be entitled to all of the Debtors’ rights and

privileges as lessee under such lease without interference from the landlords thereunder,

provided that the Agent shall be obligated only to pay rent of the Debtors that first accrues after

the written notice referenced above and that is payable during the period of such occupancy by

the Agent, calculated on a daily per diem basis. Nothing herein or otherwise shall require the

Agent to assume any lease as a condition to the rights afforded in this paragraph. For the

avoidance of doubt, subject to (and without waiver of) the rights of the Agent under applicable

nonbankruptcy law, the Agent can only enter upon a leased premises after an Event of Default in

accordance with (i) a separate agreement with the landlord at the applicable leased premises, or




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(ii) upon entry of an order of this Court obtained by motion of the Agent on such notice to the

landlord as shall be required by this Court.

               5.14    Notwithstanding anything else contained herein to the contrary, any party

may seek marshalling or seek to assert reclamation claims prior to the Final Hearing, solely to

the extent that any such remedies or claims exist.

               5.15    Term; Termination. Notwithstanding any provision of this Interim Order

to the contrary, the term of the financing arrangements among Debtors, Agent and Lenders

authorized by this Interim Order may be terminated pursuant to the terms of the Loan

Agreement.

               5.16    Limited Effect.     In the event of a conflict between the terms and

provisions of any of the Financing Agreements and this Interim Order, the terms and provisions

of this Interim Order shall govern, interpreted as most consistent with the terms and provisions of

the Financing Agreements.

               5.17    Objections Overruled. All objections to the entry of this Interim Order are

(to the extent not withdrawn, waived, or settled) hereby overruled.

               5.18    Retention of Jurisdiction. The Court retains jurisdiction and power with

respect to all matters arising from or related to the implementation or interpretation of this

Interim Order, the Loan Agreement, and the other Financing Agreements.

Section 6.     Final Hearing and Response Dates.

       The Final Hearing on the Motion pursuant to Bankruptcy Rule 4001(c)(2) is scheduled

for February 7, 2019, at 1:00 p.m. before this Court. Any objections or responses to entry of a

final order on the Motion shall be filed on or before 4:00 p.m., prevailing Central Time on

February 4, 2019. The Debtors shall promptly mail copies of this Interim Order to the Noticed




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Parties, and to any other party that has filed a request for notices with this Court and to any

Committee (if appointed) and such Committee’s counsel, if same shall have filed a request for

notice. Such notice is deemed good and sufficient and that no further notice need be given. Any

party in interest objecting to the relief sought at the Final Hearing shall serve and file written

objections, which objections shall be served upon (a) proposed restructuring counsel to the

Debtors, (i) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654, Attn: Travis M.

Bayer, Esq.; Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn:

Steven Serajeddini, Esq., and (ii) McGrath North, First National Tower, Suite 3700, 1601 Dodge

Street, Omaha, NE 68102, Attn: James J. Niemeier (b) counsel for the Agent, (i) Otterbourg,

P.C., 230 Park Avenue, New York, New York 10169, Attn: Daniel F. Fiorillo, Esq. and Chad B.

Simon, Esq. (E-Mail: dfiorillo@otterbourg.com and csimon@otterbourg.com) and (ii) Baird

Holm LLP, 1700 Farnam St., Suite 1500, Omaha, NE 68102, Attn: T. Randall Wright, Esq. and

Brandon R. Tomjack, Esq. (rwright@bairdholm.com and btomjack@bairdholm.com); (c)

counsel to the Committee (if appointed); and (d) the Office of the United States Trustee for the

District of Nebraska, 111 South 18th Plaza, Suite 1148 Omaha, Nebraska 68102, Attn: Jerry

Jensen, Esq., and shall be filed with the Clerk of the United States Bankruptcy Court for the

District of Nebraska, in each case, to allow actual receipt of the foregoing no later than ten (10)

days prior to the Final Hearing.



Dated: Omaha, Nebraska
       January 18, 2019
                                                /s/Thomas L. Saladino
                                                 UNITED STATES BANKRUPTCY JUDGE




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                                     EXHIBIT 1
                               Ratification Agreement




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                                                                                     [Execution]


                    RATIFICATION AND AMENDMENT AGREEMENT


         This RATIFICATION AND AMENDMENT AGREEMENT (as the same may hereafter
be amended, modified, supplemented, extended, renewed, restated or replaced, the “Ratification
Agreement”), dated as of January 16, 2019, is by and among Wells Fargo Bank, National
Association, successor by merger to Wachovia Bank, National Association, a national banking
association (“Wells Fargo”), in its capacity as agent for the Lenders (as hereinafter defined)
pursuant to the Loan Agreement defined below (in such capacity, “Agent”), Wells Fargo, in its
capacity as agent for the Term Loan B Lenders (in such capacity, “Term Loan B Agent” and
collectively with Agent, the “Agents”), Shopko Note Holding, LLC, a Delaware limited liability
company, successor to Spirit Realty L.P., in its capacity as agent for the Term Loan B-1 Lenders
(in such capacity, “Term Loan B-1 Agent”), the parties to the Pre-Petition Loan Agreement as
lenders (individually, each a “Lender” and collectively, “Lenders”), Wells Fargo, in its capacity
as Collateral Agent (in such capacity, “Collateral Agent”), Wells Fargo, in its capacity as
Issuing Bank (in such capacity, “Issuing Bank”), ShopKo Properties, LLC, a Minnesota limited
liability company, as Debtor and Debtor-in-Possession (“Properties”), Penn-Daniels, LLC, a
Delaware limited liability company, as Debtor and Debtor-in-Possession (“Penn”), ShopKo
Stores Operating Co., LLC, a Delaware limited liability company, as Debtor and Debtor-in-
Possession (“ShopKo Operating”), ShopKo Holding Company, LLC, a Wisconsin limited
liability company formerly known as ShopKo Holding Company, Inc. , as Debtor and Debtor-in-
Possession (“ShopKo Holdco”), ShopKo Optical Manufacturing, LLC, a Wisconsin limited
liability company, as Debtor and Debtor-in-Possession (“Optical”), Specialty Retail Shops
Holding Corp., a Delaware corporation formerly known as SKO Group Holding Corp. , as
Debtor and Debtor-in-Possession (“Parent”), ShopKo Institutional Care Services Co., LLC, a
Delaware limited liability company, as Debtor and Debtor-in-Possession (“ShopKo
Institutional”), Retained R/E SPE, LLC, a Delaware limited liability company, as Debtor and
Debtor-in-Possession (“Retained R/E”), Pamida Stores Operating Co., LLC, a Delaware limited
liability company, as Debtor and Debtor-in-Possession (“Pamida Operating”, and together with
Properties, Penn, ShopKo Operating, ShopKo Holdco, Optical, Parent, ShopKo Institutional and
Retained R/E, each individually a “Borrower” and collectively, “Borrowers”), ShopKo
Finance, LLC, a Delaware limited liability company, as Debtor and Debtor-in-Possession
(“ShopKo Finance”), SVS Trucking, LLC, a Minnesota limited liability company, as Debtor
and Debtor-in-Possession (“SVS”), ShopKo Gift Card Co., LLC, a Minnesota limited liability
company, as Debtor and Debtor-in-Possession (“GiftCard”), Pamida Transportation, LLC, a
Nebraska limited liability company, as Debtor and Debtor-in-Possession (“Transportation”),
and Place’s Associates’ Expansion, LLC, a Missouri limited liability company, as Debtor and
Debtor-in-Possession (“Expansion”, and together with ShopKo Finance, SVS, GiftCard and
Transportation, each individually a “Guarantor” and collectively, “Guarantors”).

                                     W I T N E S S E T H:

        WHEREAS, Borrowers and Guarantors (collectively, the “Debtors”) have commenced
cases under Chapter 11 of the Bankruptcy Code (as defined herein) in the United States
Bankruptcy Court for the District of Nebraska and each Borrower and each Guarantor has
retained possession of its assets and is authorized under the Bankruptcy Code to continue the
operation of its businesses as a debtor-in-possession;


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      WHEREAS, prior to the commencement of the Chapter 11 Case (as defined below),
Agent and Lenders made loans and advances and provided other financial or credit
accommodations to Borrowers secured by substantially all assets and properties of Borrowers
and Guarantors as set forth in the Pre-Petition Financing Agreements (as defined below);

        WHEREAS, the Debtors are requesting that the Bankruptcy Court enter a Financing
Order (defined below) pursuant to which Agent and Lenders may make post-petition loans and
advances, and provide other financial accommodations, to Borrowers secured by substantially all
the assets and properties of Borrowers and Guarantor as set forth in the Financing Order and the
Financing Agreements (as defined below);

        WHEREAS, Borrowers and Guarantors have requested that Agent and Lenders make
post-petition loans and advances and provide other financial or credit accommodations to
Borrowers and make certain amendments to the Pre-Petition Loan Agreement (as defined below)
and the other Pre-Petition Financing Agreements, and Agent and Lenders are willing to do so,
subject to the terms and conditions contained herein; and

         WHEREAS, Borrowers and Guarantors desire to reaffirm their obligations to Agent and
Lenders pursuant to the Pre-Petition Financing Agreements and acknowledge their continuing
liabilities to Agent and Lenders thereunder in order to induce Agent and Lenders to make such
post-petition loans and advances, and provide other financial accommodations, to Borrowers
secured by substantially all the assets and properties of Borrowers and Guarantors set forth in the
Financing Order.

        NOW, THEREFORE, in consideration of the foregoing, the mutual covenants and
agreements contained herein and other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, Agents, Term Loan B-1 Agent, Collateral Agent,
Issuing Banks, Lenders, Borrowers, and Guarantors mutually covenant, warrant and agree as
follows:

            1.   DEFINITIONS.

               1.1     Additional Definitions. As used herein, the following terms shall have the
respective meanings given to them below and the Pre-Petition Loan Agreement and the other
Pre-Petition Financing Agreements shall be deemed and are hereby amended to include, in
addition and not in limitation, each of the following definitions:

                     (a)    “Adequate Protection           Liens”    means     the   “Pre-Petition
Replacement Lien” as defined in the Financing Order.

                      (b)      “Bankruptcy Court” means the United States Bankruptcy Court
or the United States District Court for the District of Nebraska.

                       (c)     “Bankruptcy Code” means the United States Bankruptcy Code,
being Title 11 of the United States Code as enacted in 1978, as the same has heretofore been or
may hereafter be amended, recodified, modified or supplemented, together with all rules,
regulations and interpretations thereunder or related thereto.

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                      (d)   “Bankruptcy Events” means the commencement of the Chapter
11 Cases, the events and conditions leading up to the commencement of the Chapter 11 Cases,
the Store Closing GOB Sales, and the Rx Sale.

                      (e)    “Budget” means the thirteen (13) week budget delivered to Agent
in accordance with Section 5.3 of the Ratification Agreement (a summary of such initial Budget
attached to the Ratification Agreement as Exhibit A, in form and substance approved by the
Agent), together with any subsequent or amended budgets thereto delivered to Agent and
Lenders, in form and substance reasonably satisfactory to Agent (each such subsequent budget, a
“Budget”), in accordance with the terms and conditions of the Ratification Agreement.

                      (f)    “Carve-Out” shall have the meaning set forth in the Financing
Order.

                      (g)    “Chapter 11 Case” or “Chapter 11 Cases” means the cases
under Chapter 11 of the Bankruptcy Code commenced by Debtors which are being jointly
administered under the Bankruptcy Code and are pending in the Bankruptcy Court.

                      (h)    “Committee” means any official committee of unsecured creditors
in the Chapter 11 Case pursuant to Section 1102 of the Bankruptcy Code.

                     (i)    “Debtors” means, collectively, Borrowers and Guarantors, each as
Debtor and Debtor-in-Possession in the Chapter 11 Case.

                      (j)     “DIP Fee Letter” means the Fee Letter, dated as of the
Ratification Closing Date, by and among Borrowers and Agent.

                        (k)   “DIP Milestones” has the meaning specified therefor in Section
5.4 of the Ratification Agreement.

                        (l)    “Excluded Contracts” has the meaning specified therefor in the
definition of Post-Petition Collateral.

                       (m)    “Financing Order” means, as applicable, the Interim Financing
Order, the Permanent Financing Order and such other orders relating thereto or authorizing the
granting of credit by Agent and Lenders to Borrowers on an emergency, interim or permanent
basis pursuant to Section 364 of the Bankruptcy Code as may be issued or entered by the
Bankruptcy Court in the Chapter 11 Case.

                      (n)    “Interim Financing Order” means, the order of the Bankruptcy
Court entered in the Chapter 11 Case after an interim hearing, in the form attached hereto as
Exhibit B and/or otherwise in form and substance satisfactory to the Agent, together with all
supplements, modifications, and amendments thereto consented to by the Agent, which, among
other matters but not by way of limitation, authorizing, on an interim basis, the Borrowers to
execute and perform under the terms of the Pre-Petition Financing Agreements, as amended and
supplemented by the terms and conditions of the Ratification Agreement.



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                      (o)   “Loan Agreement” means, the Pre-Petition Loan Agreement as
ratified, amended, supplemented and otherwise modified by the Ratification Agreement, as the
same now exists or may hereafter be amended from time to time.

                        (p)    “Permanent Financing Order” means, the order of the
Bankruptcy Court entered in the Chapter 11 Case after a final hearing of the Bankruptcy Court,
which order shall be in form and substance satisfactory to the Agent and from which no appeal
or motion to reconsider has been filed, together with all supplements, modifications and
amendments thereto, consented to by the Agent, which among other matters, but not by way of
limitation, authorizes the Borrowers to obtain credit, incur the Post-Petition Obligations, assume
or otherwise “roll-up” all Pre-Petition Obligations, and grant liens therefor and granting super-
priority expense claims to Agent and Lenders with respect to all obligations due Agent and
Lenders, subject to no priority claim or administrative expenses of the Chapter 11 Case or any
other entity (other than the Carve-Out and Pre-Petition Priority Liens).

                         (q)    “Petition Date” means the date of the commencement of the
Chapter 11 Case.

                       (r)     “Plan of Reorganization” has the meaning specified therefor in
Section 5.4 of the Ratification Agreement.

                       (s)     “Post-Petition Collateral” means, collectively, all now existing
and hereafter acquired real and personal property of each Debtor’s estate, wherever located, of
any kind, nature or description, including any such property in which a lien is granted to Agent
or Collateral Agent pursuant to the Financing Agreements, the Financing Order or any other
order entered or issued by the Bankruptcy Court, and shall include, without limitation:

                                (i)      all of the Pre-Petition Collateral;

                                (ii)     all Accounts;

                                (iii)    all general intangibles, including, without limitation, all
Intellectual Property;

                            (iv)     all goods, including, without limitation, Inventory and
Equipment but excluding fixtures (as such term is defined in the UCC);

                                (v)      all Real Property and fixtures;

                                (vi)     all chattel paper, including, without limitation, all tangible
and electronic chattel paper;

                                (vii)    all   instruments,    including,      without   limitation,   all
promissory notes;

                                 (viii) all documents and all credit card sales drafts, credit card
sales slips or charge slips or receipts and other forms of store receipts;


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                               (ix)    all deposit accounts;

                              (x)      all letters of credit, banker’s acceptances and similar
instruments and including all letter-of-credit rights;

                                (xi)     all supporting obligations and all present and future liens,
security interests, rights, remedies, title and interest in, to and in respect of Receivables and other
Collateral, including (A) rights and remedies under or relating to guaranties, contracts of
suretyship, letters of credit and credit and other insurance related to the Collateral, (B) rights of
stoppage in transit, replevin, repossession, reclamation and other rights and remedies of an
unpaid vendor, lienor or secured party, (C) goods described in invoices, documents, contracts or
instruments with respect to, or otherwise representing or evidencing, Receivables or other Post-
Petition Collateral, including returned, repossessed and reclaimed goods, and (D) deposits by and
property of account debtors or other persons securing the obligations of account debtors;

                                (xii) all (A) investment property (including securities, whether
certificated or uncertificated, securities accounts, security entitlements, commodity contracts or
commodity accounts) and (B) monies, credit balances, deposits and other property of each
Debtor now or hereafter held or received by or in transit to any Agent, any Lender or its
Affiliates or at any other depository or other institution from or for the account of each Debtor,
whether for safekeeping, pledge, custody, transmission, collection or otherwise;

                               (xiii) all commercial tort claims, including, without limitation,
those identified in the Information Certificate;

                               (xiv)   to the extent not otherwise described above, all
Receivables;

                               (xv)     all Prescription Files and other Records;

                               (xvi)   all proceeds of any Excluded Contract;

                                (xvii) effective upon entry of a Permanent Financing Order, all
claims, rights, interests, assets and properties recovered by or on behalf of each Borrower and
Guarantor or any trustee of such Borrower or Guarantor (whether in the Chapter 11 Case or any
subsequent case to which any Chapter 11 Case is converted), including, without limitation, all
property recovered as a result of transfers or obligations avoided or actions maintained or taken
pursuant to (among others) Sections 542, 544, 545, 547, 548, 549, 550, 551, 552 and 553 of the
Bankruptcy Code (but not, for the avoidance of doubt, such avoidance actions themselves); and

                              (xviii) all products and proceeds of the foregoing, in any form,
including insurance proceeds and all claims against third parties for loss or damage to or
destruction of or other involuntary conversion of any kind or nature of any or all of the other
Post-Petition Collateral.

Notwithstanding anything herein to the contrary, “Post-Petition Collateral” shall not include any
security interests or liens (i) on any leasehold interest in Real Property that was not previously
encumbered by security interests or liens in favor of Agent or Collateral Agent, for itself and the
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benefit of Secured Parties, as of the Petition Date, but shall instead include all proceeds of such
leasehold interests subject to any valid senior encumbrances; or (ii) any executory contract or
agreement to the extent the contract or agreement does not permit the grant of a lien thereon and
was not previously encumbered by security interest or liens in favor of Agent, for itself and the
benefit of Secured Parties (the items described in clauses (i) and through (ii) above, collectively,
the “Excluded Contracts”).

                          (t)    “Post-Petition Obligations” means all Obligations (as defined in
the Pre-Petition Loan Agreement) of any Debtor arising on and after the Petition Date and
whether arising on or after the conversion or dismissal of the Chapter 11 Case, or before, during
and after the confirmation of any plan of reorganization in the Chapter 11 Case, and whether
arising under or related to this Ratification Agreement, the Loan Agreement, the other Financing
Agreements, a Financing Order, by operation of law or otherwise, and whether incurred by such
Debtor as principal, surety, endorser, guarantor or otherwise and including, without limitation,
all principal, interest, financing charges, letter of credit fees, unused line fees, servicing fees, line
increase fees, debtor-in-possession facility fees, early termination fees, prepayment fees, other
fees, commissions, costs, expenses and attorneys’, accountants’ and consultants’ fees and
expenses incurred in connection with any of the foregoing. For the avoidance of doubt, the Post-
Petition Obligations shall include that portion of the outstanding Pre-Petition Obligations, which
have been “rolled-up” from time to time as provided in the Financing Order.

                         (u)     “Pre-Petition Collateral” means, collectively, (i) all “Collateral”
as such term is defined in the Pre-Petition Loan Agreement as in effect immediately prior to the
Petition Date, (ii) all “Collateral” and “Pledged Property” (and terms of similar import) as such
terms are defined in each of the other Pre-Petition Financing Agreements as in effect
immediately prior to the Petition Date, and (iii) all other security for the Pre-Petition Obligations
as provided in the Pre-Petition Loan Agreement and the other Pre-Petition Financing Agreements
immediately prior to the Petition Date.

                     (v)     “Pre-Petition Financing Agreements” means the Financing
Agreements (as defined in the Pre-Petition Loan Agreement), as in effect immediately prior to
the Petition Date.

                      (w)    “Pre-Petition Loan Agreement” means the Third Amended and
Restated Loan and Security Agreement, dated February 7, 2012, by and among Borrowers,
Guarantors, Lenders, Agents and others, as amended by Amendment No. 1 to Third Amended
and Restated Loan and Security Agreement, dated as of March 29, 2012, Amendment No. 2 to
Third Amended and Restated Loan and Security Agreement, dated as of December 18, 2012,
Amendment No. 3 to Third Amended and Restated Loan and Security Agreement and Consent,
dated as of March 29, 2013, Amendment No. 4 to Third Amended and Restated Loan and
Security Agreement and Consent, dated as of October 2, 2013, Amendment No. 5 to Third
Amended and Restated Loan and Security Agreement, dated as of February 27, 2014,
Amendment No. 6 to Third Amended and Restated Loan and Security Agreement, dated as of
October 1, 2014, Amendment No. 7 to Third Amended and Restated Loan and Security
Agreement, dated as of June 19, 2015, Amendment No. 8 to Third Amended and Restated Loan
and Security Agreement, dated as of January 16, 2018 and Amendment No. 9 to Third Amended


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and Restated Loan and Security Agreement, dated as of December 13, 2018, as in effect
immediately prior to the Petition Date.

                       (x)    “Pre-Petition Obligations” means all Obligations (as such term is
defined in the Pre-Petition Loan Agreement) arising at any time before the Petition Date.

                        (y)    “Pre-Petition Priority Liens” means, collectively, the liens
permitted by the Pre-Petition Financing Agreements, to the extent any such permitted liens are
valid, enforceable, properly perfected, non-avoidable and senior in priority to the liens securing
the Pre-Petition Obligations as of the Petition Date (including any that are perfected subsequent
to the Petition Date as permitted by section 546(b) of the Bankruptcy Code).

                       (z)     “Professionals” means the Debtors’ and any Committee’s
professionals, retained by either of them by final order of the Bankruptcy Court (which order has
not been reversed, vacated or stayed unless such stay is no longer effective) under Sections 327,
328 or 1103(a) of the Bankruptcy Code.

                      (aa) “Ratification Agreement” means the Ratification and
Amendment Agreement, dated as of January 16, 2019, by and among Borrowers, Guarantors,
Agents, Term Loan B-1 Agent, Collateral Agent, Issuing Banks and Lenders, as the same may
hereafter be amended, modified, supplemented, extended, renewed, restated or replaced.

                      (bb) “Ratification Closing Date” means the date on which all of the
conditions precedent in Section 9 of the Ratification Agreement have been satisfied (or waived).

                      (cc) “Rx Auction” has the meaning specified therefor in Section 5.4 of
the Ratification Agreement.

                     (dd)     “Rx Sale” has the meaning specified therefor in Section 5.4 of the
Ratification Agreement.

                       (ee) “Store Closing GOB Sales” has the meaning specified therefor in
Section 5.4 of the Ratification Agreement.

                       (ff)    “Store Closing Liquidation Agreement” has the meaning
specified therefor in Section 5.4 of the Ratification Agreement.

               1.2     Amendments to Definitions.

                     (a)    Applicable Margin. The definition of “Applicable Margin” in the
Pre-Petition Loan Agreement is hereby deleted in its entirety and the following substituted
therefor:

                       “ ‘Applicable Margin’ shall mean, at any time, as to the Interest Rate for
                       Prime Rate Loans the applicable percentage (on a per annum basis) set
                       forth below:

                      Applicable             Applicable             Applicable

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                 Prime Rate Margin for   Prime Rate Margin for   Prime Rate Margin for
                  Revolving Loans A      Revolving Loans A-1         Term Loans B
                        2.75%                   4.00%                   9.50%



                      (b)      Agents and Lenders, etc. All references to the terms “Agent”,
“Term Loan B Agent”, “Term Loan B-1 Agent”, “Collateral Agent”, “Issuing Banks” and
“Lenders” shall include their respective successors and assigns.

                      (c)     Borrowers, Guarantors and Debtors. All references to the terms
“Borrowers”, “Guarantors” or “Debtors” in the Financing Agreements shall be deemed and each
such reference is hereby amended to mean and include (as applicable) the Debtors, each as
defined herein, and their successors and assigns (including any trustee or other fiduciary
hereafter appointed as any Debtor’s legal representative, as applicable, or with respect to any
Debtor the property of the estate of such Debtor whether under Chapter 11 of the Bankruptcy
Code or any subsequent Chapter 7 case or cases and its successor upon conclusion of the Chapter
11 Case of such Debtor, as the case may be).

                        (d)    Collateral. All references to the term “Collateral” in the Loan
Agreement or the other Financing Agreements, or any other term referring to the security for the
Pre-Petition Obligations, shall be deemed, and each such reference is hereby amended to mean,
collectively, the Pre-Petition Collateral and the Post-Petition Collateral. For the avoidance of
doubt, any reference in the Ratification Agreement or any other Financing Agreement to a lien,
security interest or other encumbrance of Agent shall include, without limitation, any lien,
security interest or other encumbrance of Collateral Agent as an agent of Agent; it being
understood that any lien, security interest or other encumbrance of the Collateral Agent shall be
deemed to be also a lien, security interest or encumbrance of Agent.

                        (e)    Debtors. All references to Debtors, including, without limitation,
to the terms “Borrower,” “Borrowers,” “Guarantor” or “Guarantors” in the Loan Agreement or
the other Financing Agreements shall be deemed, and each such reference is hereby amended, to
mean and include the Debtors as defined herein, and their successors and assigns (including any
trustee or other fiduciary hereafter appointed as its legal representative or with respect to the
property of the estate of such Debtor whether under Chapter 11 of the Bankruptcy Code or any
subsequent Chapter 7 case and its successor upon conclusion of the Chapter 11 Case of such
Debtor).

                       (f)    Direct Remittance Period. The definition of “Direct Remittance
Period” in the Pre-Petition Loan Agreement is hereby deleted in its entirety and the following
substituted therefor:

                      “ ‘Direct Remittance Period’ shall mean the period of all times during the
                      Chapter 11 Cases.”

                      (g)   Disqualified Lender. The definition of “Disqualified Lender” in
the Pre-Petition Loan Agreement is hereby amended by deleting the phrase “prior to the date of
Amendment No. 7” and replacing it with “prior to the date of the Ratification Agreement”.

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                       (h)   Eligible Prescription Files. The definition of “Eligible Prescription
Files” in the Pre-Petition Loan Agreement is hereby amended by adding the following new
sentence at the end thereof:

                       “Notwithstanding anything to the contrary contained herein or in any of
                      the other Financing Agreements, no Prescription File shall be deemed to
                      be an Eligible Prescription File unless (i) such Prescription File satisfies
                      the eligibility criteria set forth in the definition of Eligible Prescription
                      Files and (ii) either (A) such Prescription File is the subject of a sale
                      agreement, in form and substance acceptable to Agent, or (B) Agent
                      otherwise deems such Prescription File to be acceptable in its sole
                      discretion.”

                        (i)     Eligible Transferee. The definition of “Eligible Transferee” in the
Pre-Petition Loan Agreement is hereby amended by (i) deleting the phrase “Sections 10.1(a)(i),
10.1(g), 10.1(h) or 10.1(o)” from clause (e) of such definition and replacing it with “Section
10.1(a)(i)” and (ii) deleting the phrase “unless an Event of Default has occurred and is continuing
at the time such assignment is effected hereunder,” from clause (i) of the proviso to such
definition and replacing it with “unless an Event of Default under Section 10.1(a)(i) has occurred
and is continuing at the time such assignment is effected hereunder,”.

                       (j)    Financing Agreements. All references to the term “Financing
Agreements” in the Loan Agreement or the other Financing Agreements shall be deemed, and
each such reference is hereby amended, to include, in addition and not in limitation, this
Ratification Agreement and all of the Pre-Petition Financing Agreements, as ratified, assumed
and adopted by each Borrower and Guarantor pursuant to the terms of the Ratification
Agreement, as amended and supplemented thereby, and the Financing Order, as each of the same
now exists or may hereafter be amended, modified, supplemented, extended, renewed, restated
or replaced.

                    (k)    Indebtedness. The definition of “Indebtedness” in the Pre-Petition
Loan Agreement is hereby amended by deleting clause (b) therein and replacing it with the
following:

                       “(b) representing the balance deferred and unpaid of the purchase price of
                      any property or services (except any such balance that constitutes an
                      account payable to a trade creditor (whether or not an Affiliate) created,
                      incurred, assumed or guaranteed by such Person in the ordinary course of
                      business of such Person or during the pendency of the Chapter 11 Case
                      and, in each case, payable in accordance with the Budget);”

                       (l)    Information Certificate. The definition of “Information
Certificate” in the Pre-Petition Loan Agreement is hereby deleted in its entirety and the
following substituted therefor:

                      “ ‘Information Certificate’ shall mean the Information Certificate of
                      Borrowers and Guarantors constituting Exhibit C to the Ratification

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                      Agreement containing material information with respect to Borrowers and
                      Guarantors, their respective business and assets provided by or on behalf
                      of Borrowers and Guarantors to the Agent in connection with the
                      preparation of this Agreement and the other Financing Agreements and the
                      financing arrangements provided for herein.”

                      (m)   Interest Rate. Clause (a)(vii) of the definition of “Interest Rate” in
the Pre-Petition Loan Agreement is hereby deleted in its entirety and the following substituted
therefor:

                      “(vii) as to Term Loans B-1, a rate equal to fourteen (14.00%) percent per
                      annum.”

                       (n)   Letter of Credit Limit. The definition of “Letter of Credit Limit”
in the Pre-Petition Loan Agreement is hereby deleted in its entirety and the following substituted
therefor:

                      “ ‘Letter of Credit Limit’ shall mean $50,000,000.”

                       (o)    Loan Agreement. All references to the term “Agreement” in the
Pre-Petition Loan Agreement or the term “Loan Agreement” in the other Financing Agreements
shall be deemed, and each such reference is hereby amended, to mean the Loan Agreement (as
defined in the Ratification Agreement), and as ratified, assumed and adopted by each Borrower
and Guarantor pursuant to the terms hereof and the Financing Order.

                        (p)     Material Adverse Effect. All references to the term “Material
Adverse Effect,” “material adverse effect” or “material adverse change” in the Loan Agreement,
the Ratification Agreement or the other Financing Agreements shall be deemed, and each such
reference is hereby amended, to add at the end thereof: “provided, that, the Bankruptcy Events
shall not, individually or collectively, constitute a Material Adverse Effect.”

                    (q)     Maximum Credit. The definition of “Maximum Credit” in the Pre-
Petition Loan Agreement is hereby deleted in its entirety and the following substituted therefor:

                      “ ‘Maximum Credit’ shall mean the amount of $513,471,687.50.”

                       (r)    Obligations. All references to the term “Obligations” in the Loan
Agreement, this Ratification Agreement or the other Financing Agreements shall be deemed, and
each such reference is hereby amended, to mean both the Pre-Petition Obligations and the Post-
Petition Obligations.

                    (s)     Renewal Date. The definition of “Renewal Date” in the Pre-
Petition Loan Agreement is hereby deleted in its entirety and the following substituted therefor:

                      “ ‘Renewal Date’ shall mean the earliest of: (a) the date that is three
                      hundred and sixty-five (365) days after the commencement of the Chapter
                      11 Case, (b) thirty (30) days after the entry of the Interim Financing Order
                      if the Permanent Financing Order has not been entered prior to the

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                      expiration of such thirty (30) day period, (c) the substantial consummation
                      (as defined in Section 1101 of the Bankruptcy Code and which for
                      purposes hereof shall be no later than the “effective date”) of the Plan of
                      Reorganization, or (d) the date of confirmation of a plan of liquidation for
                      Borrowers or Guarantors in the Chapter 11 Cases.”

                     (t)   Reserves. The definition of “Reserves” in the Pre-Petition Loan
Agreement is hereby amended by adding the following clause at the end thereof:

                      “(d) In addition and not in limitation of the foregoing, Agent may establish
                      Reserves in respect of: (i) the Carve-Out, (ii) the amount of any senior
                      liens or claims in or against the Collateral that have priority over the liens
                      and claims of Agent, and (iii) the amount of priority or administrative
                      expense claims that require payment during the Chapter 11 Cases.”

                      (u)    Revolving Loan A Limit. The definition of “Revolving Loan A
Limit” in the Pre-Petition Loan Agreement is hereby deleted in its entirety and the following
substituted therefor:

                      “ ‘Revolving Loan A Limit’ shall mean $400,000,000.”

                    (v)   Term Loan B Limit. The definition of “Term Loan B Limit” in the
Pre-Petition Loan Agreement is hereby deleted in its entirety and the following substituted
therefor:

                      “ ‘Term Loan B Limit’ shall mean $49,055,312.50.”

                       (w)   Term Loan B-1 Limit. The definition of “Term Loan B-1 Limit”
in the Pre-Petition Loan Agreement is hereby deleted in its entirety and the following substituted
therefor:

                      “ ‘Term Loan B-1 Limit’ shall mean $34,416,375.”

                    (x)     Term Loan Priority Collateral Proceeds Event. The definition of
“Term Loan Priority Collateral Proceeds Event” in the Pre-Petition Loan Agreement is hereby
amended by adding the following new sentence at the end thereof:

                      “Notwithstanding anything to the contrary contained herein or in any other
                      Financing Agreement, a Term Loan Priority Collateral Proceeds Event
                      shall be deemed to have occurred and be continuing at all times during the
                      Chapter 11 Cases.”

                        (y)      Term Loans B Action Default. The definition of “Term Loans B
Action Default” in the Pre-Petition Loan Agreement is hereby amended by deleting the reference
to “10.1(f), 10.1(g), 10.1(h),”.




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                        (z)     Term Loans B-1 Action Default. The definition of “Term Loans
B-1 Action Default” in the Pre-Petition Loan Agreement is hereby amended by deleting the
reference to “10.1(f), 10.1(g), 10.1(h),”.

                        (aa) Triggering Event. The definition of “Triggering Event” in the Pre-
Petition Loan Agreement is hereby amended by (i) deleting the phrase “the occurrence and
continuance of an Event of Default under Section 10.1(f), 10.1(g) or 10.1(h) hereof” and
replacing it with “[reserved]” and (ii) adding the following new sentence at the end thereof:

                       “Notwithstanding anything to the contrary contained herein or in any other
                       Financing Agreement, a Triggering Event shall be deemed to have
                       occurred and be continuing at all times during the Chapter 11 Cases.”

                 1.3   Interpretation.

                         (a)    For purposes of this Ratification Agreement, unless otherwise
defined or amended herein, including, but not limited to, those terms used or defined in the
recitals hereto, all terms used herein shall have the respective meanings assigned to such terms in
the Pre-Petition Loan Agreement, as amended, supplemented or otherwise modified by this
Ratification Agreement.

                       (b)     All references to any term in the singular shall include the plural
and all references to any term in the plural shall include the singular unless the context of such
usage requires otherwise.

                        (c)    All terms not specifically defined herein which are defined in the
Uniform Commercial Code, as in effect in the State of New York as of the date hereof, shall
have the meaning set forth therein, except that the term “Lien” or “lien” shall have the meaning
set forth in § 101(37) of the Bankruptcy Code.

            2.   ACKNOWLEDGMENTS.

                2.1    Pre-Petition Obligations.       Each Borrower and Guarantor hereby
acknowledges, confirms and agrees that, as of January 15, 2019, Borrowers are indebted to
Agent and Lenders in respect of all Pre-Petition Obligations in an aggregate principal amount of
not less than $402,699,907.17 consisting of (a) Loans to each Borrower made pursuant to the
Pre-Petition Financing Agreements, together with interest accrued and accruing thereon, and (b)
Letter of Credit Obligations outstanding under the Pre-Petition Loan Agreement together with
interest accrued and accruing thereon, and all costs, expenses, fees (including attorneys’ fees and
legal expenses), plus all other charges now or hereafter owed by Borrowers to Agent and
Lenders, all of which are unconditionally owing by the Borrowers to the Agent and Lenders,
without offset, defense or counterclaim of any kind, nature and description whatsoever.

               2.2     Guaranteed Obligations. Each Guarantor hereby acknowledges, confirms
and agrees that:




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                      (a)    all obligations of such Guarantors under the Pre-Petition Financing
Agreements are unconditionally owing by such Guarantor to Agent and Lenders without offset,
defense or counterclaim of any kind, nature and description whatsoever, and

                       (b)     the absolute and unconditional guarantee of the payment of the
Pre-Petition Obligations by such Guarantor pursuant to the Pre-Petition Financing Agreements
extends to all Post-Petition Obligations.

                2.3     Acknowledgment of Security Interests. Each Borrower and Guarantor
hereby acknowledges, confirms and agrees that Agent and/or Collateral Agent, for the benefit of
itself and the other Secured Parties, has and shall continue to have (a) valid, enforceable and
perfected first priority and senior security interests in and liens upon all Pre-Petition Collateral
heretofore granted to Agent and/or Collateral Agent pursuant to the Pre-Petition Financing
Agreements as in effect immediately prior to the Petition Date to secure all of the Obligations,
and (b) valid and enforceable first priority and senior security interests in and liens upon all Post-
Petition Collateral granted to Agent and/or Collateral Agent, for the benefit of itself and the
Secured Parties, under the Financing Order or hereunder or under any of the other Financing
Agreements or otherwise granted to or held by Agent and/or Collateral Agent, in each case,
subject only Pre-Petition Priority Liens and any other liens or encumbrances expressly permitted
by the Financing Order that may have priority over the liens in favor of Agent.

               2.4    Binding Effect of Documents. Each Borrower and Guarantor hereby
acknowledges, confirms and agrees that: (a) each of the Pre-Petition Financing Agreements to
which it is a party was duly executed and delivered to Agent, Collateral Agent and Lenders by
such Borrower or Guarantor and each is in full force and effect as of the date hereof, (b) the
agreements and obligations of such Borrower or Guarantor contained in the Pre-Petition
Financing Agreements constitute the legal, valid and binding obligations of such Borrower or
Guarantor enforceable against it in accordance with the terms thereof, and such Borrower or
Guarantor has no valid defense, offset or counterclaim to the enforcement of such obligations,
and (c) Agent, Collateral Agent and Lenders are and shall be entitled to all of the rights,
remedies and benefits provided for in (i), subject to the entry and terms of the Financing Order,
the Financing Agreements and (ii) the Financing Order.

            3.   ADOPTION AND RATIFICATION.

         Each Borrower and Guarantor hereby (a) ratifies, assumes, adopts and agrees to be bound
by all of the Pre-Petition Financing Agreements to which it is a party and (b) agrees to pay all of
the Pre-Petition Obligations in accordance with the terms of such Pre-Petition Financing
Agreements, as supplemented and amended by this Ratification Agreement, and in accordance
with the Financing Order. All of the Pre-Petition Financing Agreements are hereby incorporated
herein by reference and hereby are and shall be deemed adopted and assumed in full by
Borrowers and Guarantors, each as Debtor and Debtor-in-Possession and considered as
agreements between such Borrowers or Guarantors, on the one hand, and Agent, Collateral
Agent and Lenders, on the other hand. Each Borrower and Guarantor party hereto hereby
ratifies, restates, affirms and confirms all of the terms and conditions of the Pre-Petition
Financing Agreements, as amended and supplemented pursuant hereto and the Financing Order,


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and each Borrower and Guarantor, as Debtor and Debtor-in-Possession, agrees to be fully bound
by the terms of the Financing Agreements to which such Borrower or Guarantor is a party.

            4.   GRANT OF SECURITY INTEREST.

        As collateral security for the prompt performance, observance and payment in full of all
of the Obligations (including the Pre-Petition Obligations and the Post-Petition Obligations),
Borrowers and Guarantors, each as Debtor and Debtor-in-Possession, hereby grant, pledge and
assign to the Agent, for the benefit of itself and the other Secured Parties, and also confirm,
reaffirm and restate the prior grant to Agent and/or Collateral Agent, for the benefit of itself and
the other Secured Parties of, continuing senior priority security interests in and liens upon, and
rights of setoff against, all of the Collateral.

            5.   ADDITIONAL REPRESENTATIONS, WARRANTIES AND COVENANTS.

        In addition to the representations, warranties and covenants made by Borrowers and
Guarantors to Agent and Lenders, under the Loan Agreement or the other Financing Agreements
(in each case, for the avoidance of doubt, as amended by or provided in this Ratification
Agreement) each Borrower and Guarantor hereby represents, warrants and covenants to Agent
and Lenders the following (which shall survive the execution and delivery of this Ratification
Agreement), the truth and accuracy of which, or compliance with, to the extent such compliance
does not violate the terms and provisions of the Bankruptcy Code, shall be a continuing
condition precedent to the making of Loans by Agent and Lenders or the issuance of Letters of
Credit under the Financing Agreements:

                 5.1   Financing Order.

                      (a)      No Borrower or Guarantor shall seek to have any Financing Order
vacated, modified, reversed on appeal, or vacated or modified by any order of the Bankruptcy
Court (other than with the prior written consent of Agent).

                       (b)     On or before the expiration of the Interim Financing Order, the
Bankruptcy Court shall have entered the Permanent Financing Order authorizing the secured
financing under the Financing Agreements on the terms and conditions contemplated herein,
granting to Agent the security interests and liens and super-priority administrative expense claim
status described in Section 5.9 hereof, modifying the automatic stay and containing other
provisions required by Agent and its counsel. Agent, Lenders, Issuing Bank and other Secured
Parties will not provide any loans or other financial accommodations other than those authorized
under the Interim Financing Order unless, on or before the thirtieth day following the date of the
commencement of the Chapter 11 Cases, such Permanent Financing Order shall have been
entered, there shall be no appeal or other contest with respect to either of such orders and the
time to appeal or contest such orders shall have expired.

                       (c)   Each Borrower and Guarantor hereby represents and warrants
with, to and in favor of Agent and Lenders that each Financing Order has been duly entered, is
valid, subsisting and continuing (and provides for, among other things, a valid, perfected,
continuing, enforceable, non-avoidable first priority lien on the Collateral of each Borrower and
Guarantor in favor of Agent and/or Collateral Agent, subject to the Carve-Out) and except as
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otherwise expressly consented to by the Agent and the Lenders, has not been vacated, modified,
reversed on appeal, or vacated or modified by any Bankruptcy Judge or District Court Judge and
is not subject to any pending stay and on and after the date any other Financing Order is entered
by the Bankruptcy Court, such other Financing Order shall have been duly entered, valid,
subsisting and continuing and shall not have been vacated, modified, reversed on appeal, or
vacated or modified by any Bankruptcy Judge or District Court Judge and shall not be subject to
any pending stay.

                5.2      Use of Proceeds. All Loans and Letters of Credit provided by Agent or
any Lender to Borrowers pursuant to the Financing Order, the Loan Agreement or otherwise,
shall only be used by Debtors for the working capital and general corporate purposes of
Borrowers, including allowed administrative expenses incurred during the Chapter 11 Cases, all
in accordance with the Budget. Except for claims of Professionals in an amount not to exceed
the Carve-Out (which, for the avoidance of doubt, may not be funded with the Revolving Loans
or Letters of Credit for any purpose provided in paragraph 2.5 of the Interim Financing Order),
no portion of the administrative expenses or priority claims in the Chapter 11 Cases, other than
those identified in the Budget to which Agent has specifically agreed in writing shall be funded
with the Revolving Loans or Letters of Credit and the percentages and categories of permitted
allocations of such claims and expenses shall be subject to approval by Agent. Notwithstanding
the foregoing, proceeds shall not be used by Borrowers or Guarantors to affirmatively commence
or support, or to pay any professional fees incurred in connection with, any adversary
proceeding, motion or other action that seeks to challenge, contest or otherwise seek to impair or
object to the validity, extent, enforceability or priority of Agent’s liens, claims and rights.

               5.3    Budget.

                        (a)     Borrowers shall deliver to Agent, in form and substance
satisfactory to Agent, the following, each in form and substance satisfactory to Agent:

                               (i)     on the Petition Date, a 13-week statement of availability,
cash receipts and disbursements for the immediately following consecutive 13 weeks (the
“Initial Budget Period”), set forth on a weekly basis, including the anticipated uses of the
Financing Agreements for such period (the “Budget”, as may be updated, amended or modified
from time to time with the written consent of the Agent); and on or before April 5, 2019 an
amendment to the Budget, in form and substance acceptable to the Agent, updating the Budget to
include the 13-week period immediately following the Initial Budget Period. Subsequent
amendments shall be delivered to the Agent, in form and substance satisfactory to the Agent, two
weeks prior to the final day of the Budget then in effect, updating the Budget to include the
subsequent thirteen (13) week period. Upon approval by the Agent, such budget shall be deemed
to be the Budget for the next thirteen (13) week period;

                              (ii)    commencing on the Wednesday following the second full
week following the Petition Date, a weekly variance/reconciliation report on the Wednesday of
each week setting forth on a weekly basis for the prior week and on a cumulative basis from the
Petition Date through the fourth (4th) full week after the Petition Date and then on a rolling four
(4) week basis at all times thereafter (each of the forgoing, a “Measurement Period”), (i) a
comparison of the actual results to the projected amounts set forth in the Budget during such

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periods for the following line items: (A) total cash receipts, and (B) total disbursements, noting
therein variances from amounts set forth for such periods in the Budget; and (ii) an explanation
for all material variances, in form satisfactory to the Agent and certified by the chief financial
officer of the Company (“DIP Variance Report”); and

                              (iii) a monthly update of financial projections on the 15th day of
each month, setting forth updated projections for each line item of the Budget.

                        (b)   Each Debtor acknowledges, confirms and agrees that the following
covenants shall be tested pursuant to the DIP Variance Report for the applicable Measurement
Period ending as of each Saturday, with such testing commencing on the Wednesday following
the first full two (2) weeks ending after the Petition Date: (i) the actual total cash receipts shall
not be less than eighty five percent (85%) of the projected total cash receipts set forth in the
Budget as set forth in line item of the Budget titled “Total Receipts” in respect of such
Measurement Period, and (ii) the actual total cash disbursements shall not exceed by more than
fifteen percent (15%) the projected total cash disbursements as set forth in line item of the
Budget titled “Total Disbursements” in respect of such Measurement Period.

                        (c)     Each Debtor hereby confirms, acknowledges and agrees that,
unless waived in writing by Agent, (i) a failure to maintain the deviations in the Budget in an
amount equal to or less than the percentage set forth in Section 5.3(b) hereof shall constitute a
material deviation from the Budget and an additional Event of Default (each, a “Material
Budget Deviation”) and (ii) the failure to deliver any reports with respect to any Budget, in form
and substance satisfactory to Agent, as provided in Section 5.3(a) hereof shall constitute an
Event of Default; provided that failure to maintain such deviations on account of Rx Sales
receipts (which shall be deemed to be a variance in the actual proceeds received from Rx Sales
from the projected proceeds from Rx Sales, as set forth in the line item of the Budget titled
“Proceeds from Rx Asset Sales”, in any given Measurement Period in excess of 15%), shall not
constitute an Event of Default but shall result in the implementation of Sale Milestones (as
defined below) reasonably acceptable to Agent. Notwithstanding any approval by Agent of the
Budget or any subsequent or amended Budget(s), Agent and Lenders will not, and shall not be
required to, provide any Loans or Letters of Credit to any Borrower pursuant to the Budget, but
shall only provide Loans and Letters of Credit in accordance with the terms and conditions set
forth in the Loan Agreement as amended by this Ratification Agreement, the other Financing
Agreements and the Financing Order. Agent and Lenders are relying upon the Borrowers’
delivery of, and compliance with, the Budget in accordance with this Section 5.3 in determining
to enter into the post-petition financing arrangements provided for herein.

                        (d)    Notwithstanding any projected amounts set forth in the Budget
relating to the costs and expenses of Agent and the other Secured Parties that are reimbursable by
Borrowers or any other amounts owing by Borrowers to Agent and the Secured Parties
(including, without limitation reasonable attorneys and consulting fees and expenses) in
accordance with the Loan Agreement and the other Financing Agreements, such projections shall
not limit, impair, modify or waive the Debtors’ obligation to pay the actual amounts due to
Agent and/or the other Secured Parties in respect of such costs, expenses and other amounts
owing to Agent and such other Secured Parties in accordance with the Loan Agreement and the
other Financing Agreements and the actual amounts paid in respect of such costs, expenses and

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other amounts other shall not be subject to the variance compliance set forth in Section 5.3(b)
hereof.

               5.4   DIP Milestones. In addition to the continuing representations, warranties
and covenants heretofore and hereafter made by Borrowers and Guarantors to Agent and
Lenders, whether pursuant to the Financing Agreements or otherwise, and not in limitation
thereof, each Borrower and Guarantor represents, warrants and covenants to the following (the
“DIP Milestones”):

       (a)     On or prior to the commencement of the Chapter 11 Cases (“Petition Date”), the
Debtors shall have commenced going out of business sales at the 67 store locations identified on
Schedule 1, attached hereto, on terms and conditions acceptable to Agent;

        (b)     On the Petition Date, the Debtors shall file motions, each in form and substance
satisfactory to the Agent, requesting approval from the Bankruptcy Court:

            (i) to (A) conduct the Debtors’ going out of business sales in accordance with
                Section 363 of the Bankruptcy Code at the 106 store locations identified on
                Schedule 2 attached hereto (as may be amended from time to time with the prior
                written consent of Agent) on terms and conditions acceptable to Agent (the
                “Store Closing GOB Sales”); and (B) to assume Debtors’ prepetition store
                closing liquidation agreement, entered into between Debtors and Gordon
                Brothers (the “Store Closing Liquidation Agreement”), in each case on terms and
                conditions satisfactory to the Agent;

            (ii) of bidding and auction procedures, in form and substance satisfactory to Agent,
                 in connection with the sale or sales of all or substantially all of the Debtors’
                 Pharmacy Inventory and Prescription Files and related assets (the “Rx Bidding
                 Procedures Motion”);

            (iii) of a Disclosure Statement and proposed plan of reorganization pursuant to
                 Chapter 11 of the Bankruptcy Code (the “Plan of Reorganization”), each on terms
                 and conditions satisfactory to Agent (provided that nothing in this clause (iii)
                 shall constitute a vote by Agent or any Lender in favor of the Plan of
                 Reorganization or a commitment by Agent or any Lender to vote in favor of the
                 Plan of Reorganization); and

            (iv) of the senior secured financing under the Financing Agreements on the terms and
                 conditions contemplated by the Loan Agreement, granting to Agent the security
                 interests and liens and super-priority administrative expense claim status
                 described above, modifying the automatic stay and other provisions required by
                 the Agent and its counsel (the “DIP Financing”)

        (c)    On or before the third (3rd) day following the Petition Date, the Bankruptcy Court
shall have entered interim orders, each in form and substance satisfactory to Agent, authorizing
(i) the Store Closing GOB Sales, and the assumption of the Store Closing Liquidation
Agreement, and (ii) the bidding and auction procedures set forth in the Rx Bidding Procedures
Motion (the “Rx Bidding Procedures Order”), and (iii) the DIP Financing, and scheduling a
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hearing to approve the Disclosure Statement;

        (d)     On or before the tenth (10th) day following the Petition Date, the Debtors shall
have conducted an auction (the “Rx Auction”) for the sale or sales of all or substantially all of
the Debtors’ Pharmacy Inventory, Prescription Files and related assets and properties and
selected the winning bid(s) (the “Rx Sale”) and is otherwise in form and substance reasonably
satisfactory to Agent in connection with such Rx Sale;

       (e)     On or before the thirteenth (13th) day following the Petition Date, the Bankruptcy
Court shall have entered a (i) final Rx Bidding Procedures Order, and (ii) a final order approving
the Rx Sale, which order shall be in form and substance acceptable to the Agent;

        (f)     On or before the fourteenth (14th) day following the Petition Date, the Debtors
shall have delivered an amendment to the Budget, in form and substance acceptable to Agent,
solely to reflect adjustments directly arising from the Store Closing Liquidation Agreement.

       (g)      On or before the thirtieth (30th) day following the Petition Date, the Bankruptcy
Court shall have entered final orders, each in form and substance satisfactory to Agent
authorizing (i) the Store Closing GOB Sales, (ii) the assumption of the Store Closing Liquidation
Agreement, and (iii) the DIP Financing.

        (h)    On or before March 1, 2019, the Debtors shall deliver to Agent a business plan for
the Reorganized Debtors in form and substance acceptable to the Agent, including without
limitation any financial projections, assumptions, and calculations reasonably requested by the
Agent.

        (i)    On or before the forty-fifth (45th) day following the Petition Date the Debtors
shall have received court approval to extend the general time period to accept/reject leases from
the permitted 120 day time period to not less than 210 days;

        (j)     If the final Store Closing GOB Sales Order does not allow the Debtors to conduct
going out of business sales for all or substantially all of the Debtors’ remaining assets and
properties, then on or before March 6, 2019, the Debtors shall have selected a “stalking horse”
offer for the sale of all or substantially all of the Debtors’ assets and properties and/or liquidation
of the Debtors’ assets, in form and substance acceptable to Agent;

        (k)     If the final Store Closing GOB Sales Order does not allow the Debtors to conduct
going out of business sales for all or substantially all of the Debtors’ remaining assets and
properties, then on or before March 8, 2019, the Debtors shall have filed in the Bankruptcy Court
a motion (the “Sale Motion”) seeking entry of a final order (the “Bidding Procedures Order”)
approving (A) the stalking horse sale agreement for all or substantially all of the Debtors’
remaining assets (“Stalking Horse APA”) and/or liquidation of the Debtors’ assets, and (B)
bidding and auction procedures (if necessary) in connection with a sale of all or substantially all
remaining assets of each Debtor, pursuant to Section 363 of the Bankruptcy Code, which Sale
Motion (including all deadlines contained therein) shall be reasonably satisfactory to the Agent
(the “363 Sale”);

            (l)   On or before the forty-fifth (45th) day following the Petition Date, the Debtors
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shall have consummated the Rx Sale, pursuant to one or more purchase agreements, in form and
substance acceptable to Agent, entered into among the Debtors and the winning bidder(s) at the
Rx Auction; provided that failure to comply with this milestone shall result in the
commencement of the Sale Milestones (as defined below) and not constitute an Event of Default;

       (m)     The Debtors shall comply with the following milestones (“Plan Milestones”);
provided that failure to comply with these milestones shall result in the commencement of the
Sale Milestones (as defined below) and not constitute an Event of Default:

                  (i) on or before March 14, 2019, Debtors shall deliver to Agent (A) a
                      commitment letter in form and substance reasonably acceptable to Agent
                      from one or more sponsors or other financial institutions reasonably
                      acceptable to Agent (such sponsors or financial institutions referred to
                      herein collectively as the “Sponsor”), reflecting, among other things, such
                      Sponsor’s commitment and financial wherewithal to provide financing
                      sufficient to support the feasibility and confirmation of the Plan, on terms
                      and conditions acceptable to Agent (the “Commitment Letter”) (provided
                      that nothing in this clause (i) shall constitute a vote by Agent or any
                      Lender in favor of the Plan of Reorganization or a commitment by Agent
                      or any Lender to vote in favor of the Plan of Reorganization), or (B) such
                      other financial information and commitments in form and substance
                      acceptable to Agent sufficient to demonstrate that Debtors will have
                      sufficient liquidity and are otherwise likely to consummate the Plan of
                      Reorganization and reorganize, in each case as Agent may determine in its
                      sole discretion;

                  (ii) on or before March 22, 2019, the Debtors shall obtain an order from the
                       Bankruptcy Court approving the Disclosure Statement on terms and
                       conditions reasonably satisfactory to the Agent, and such order is not
                       thereafter vacated, reversed, modified or altered on appeal or by
                       reconsideration without the prior written consent of the Agent;

                  (iii)on or before April 5, 2019, Agent shall have received, in form and
                       substance acceptable to Agent, a proposed order confirming the Plan of
                       Reorganization pursuant to section 1129 of the Bankruptcy Code in form
                       and substance acceptable to Agent (the “Proposed Confirmation Order”),
                       which plan shall include procedures for the orderly wind down and
                       liquidation of the Debtors’ assets and properties in the event the conditions
                       for reorganization are not satisfied (provided that nothing in this clause
                       (iii) shall constitute a vote by Agent or any Lender in favor of the Plan of
                       Reorganization or a commitment by Agent or any Lender to vote in favor
                       of the Plan of Reorganization);

                  (iv) on or before April 12, 2019, the Debtors shall obtain an order from the
                       Bankruptcy Court confirming the Plan of Reorganization pursuant to
                       section 1129 of the Bankruptcy Code in form and substance acceptable to
                       the Agent; and

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                   (v) on or before April 15, 2019, the Effective Date under (and as defined in)
                       the Plan of Reorganization shall occur;

       (n)     If (i) the final Store Closing GOB Sales Order does not allow the Debtors to
conduct going out of business sales for all or substantially all of the Debtors’ remaining assets
and properties, and (ii) Debtors fail to satisfy the Plan Milestone set forth in section (m)(i), then
on or before March 15, 2019, Debtors shall deliver to Agent the Bidding Procedures Order
entered by the Bankruptcy Court in form and substance acceptable to Agent;

        (o)    If (i) Debtors fail to satisfy the Plan Milestone set forth in section (m)(i) above,
and (ii) the Debtors have filed the Sale Motion in accordance with paragraph (k) above, then on
or before March 20, 2019, the Debtors shall have obtained an order from the Bankruptcy Court
approving the 363 Sale in form and substance acceptable to Agent, and providing for, among
other things, the receipt by Agent of all cash proceeds from the 363 Sale to be applied to the
indefeasible payment in full of all Obligations in accordance with Section 6.4 of the Loan
Agreement and Financing Orders (the “363 Sale Order”);

        (p)     Notwithstanding anything to the contrary contained above, if at any time prior to
expiration of the term of the Loan Agreement, (i) an Event of Default occurs and is continuing
under the Loan Agreement without being waived in writing by Agent and, to the extent required
pursuant to the Loan Agreement, by the requisite number of Lenders, (ii) there is a negative
variance in the actual proceeds received from Rx Sales from the projected proceeds from Rx
Sales, as set forth in the line item of the Budget titled “Proceeds from Rx Asset Sales”, in any
given Measurement Period of the Budget in excess of 15% or (iii) Debtors fail to comply with
the Plan Milestones (each of the forgoing, a “Sale Trigger Event”), then Debtors shall comply
with the following milestones (“Sale Milestones”):

                (i) (A) on or before the date that is seven days following the date on which the
Sale Trigger Event occurs, Debtors shall deliver to Agent a new 13-week statement of
availability, cash receipts and disbursements for the immediately following consecutive 13
weeks (“Sale Budget”) in form and substance acceptable to Agent, which upon Agent’s written
acceptance shall be the Budget, and (B) on or before the date that is two days following the date
on which the Sale Trigger Event occurs, the Debtors shall either (i) commence the sale of all or
substantially all of the Debtors’ remaining assets and properties to the extent permitted by the
final Store Closing GOB Sales Order and Store Closing Liquidation Agreement, or (ii) file the
Sale Motion seeking entry of the Bidding Procedures Order in connection with a sale of all or
substantially all remaining assets of each Debtor, pursuant to Section 363 of the Bankruptcy
Code, which Sale Motion (including all deadlines contained therein) shall be satisfactory to the
Agent; and

               (ii) if the final Store Closing GOB Sales Order does not allow the Debtors to
conduct going out of business sales for all or substantially all of the Debtors’ remaining assets
and properties, then:

                                 (A)    on or before the date that is five days following the
date on which the Sale Trigger Event occurs, the Bankruptcy Court shall have entered the
Bidding Procedures Order;

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                                      (B)    on or before the date that is seven days following
the date on which the Sale Trigger Event occurs, the Debtors shall have distributed Bid Packages
(as defined in the Bidding Procedures Order) to each Person meeting the criteria for receipt of a
Bid Package as set forth in the Bidding Procedures Order;

                                      (C)    on or before the date that is ten days following the
date on which the Sale Trigger Event occurs, the Debtors shall have received one or more
qualified bids in form and substance acceptable to Agent;

                                        (D)     on or before the date that is twelve days following
the date on which the Sale Trigger Event occurs, the Debtors shall have conducted an auction for
the sale or sales of all or substantially all of the Debtors’ assets and properties and selected the
winning bid(s) in connection with such 363 Sale;

                                    (E)     on or before the date that is fourteen days following
the date on which Sale Trigger Event occurs, the Bankruptcy Court shall have entered an order
approving the 363 Sale, which order shall be in form and substance acceptable to the Agent and
shall provide for, among other things, the receipt by Agent of all cash proceeds from the 363
Sale to be applied to the indefeasible payment in full of all Obligations in accordance with
Section 6.4 of the Loan Agreement and Financing Orders.

                5.5    Ratification of Deposit Account Control Agreement. To the extent Agent
deems it necessary in its reasonable discretion and promptly upon Agent’s request, Borrowers
and Guarantors shall promptly provide Agent with evidence, in form and substance satisfactory
to Agent, that the Deposit Account Control Agreements (as defined in the Financing Order) and
other deposit account arrangements provided for under Section 6.3 of the Loan Agreement have
been ratified and amended by the parties thereto, or their respective successors in interest to
reflect the commencement of the Chapter 11 Case, that each Borrower and each Guarantor, as
Debtor and Debtor-in-Possession, is the successor in interest to such Borrower or Guarantor, that
the Obligations secured by the Lien relating to each Deposit Account Control Agreement include
both the Pre-Petition Obligations and the Post-Petition Obligations, that the Collateral covered
by each Deposit Account Control Agreement includes both the Pre-Petition Collateral and the
Post-Petition Collateral as provided for in the Ratification Agreement.

               5.6    ERISA. Each Borrower and Guarantor hereby represents and warrants
with, to and in favor of Agent and Lenders that (a) there are no liens, security interests or
encumbrances upon, in or against any assets or properties of any Borrower or Guarantor arising
under ERISA, whether held by the Pension Benefit Guaranty Corporation (the “PBGC”) or the
contributing sponsor of, or a member of the controlled group thereof, any pension benefit plan of
any Borrower or Guarantor and (b) no notice of lien has been filed by the PBGC (or any other
Person) pursuant to ERISA against any assets or properties of any Borrower or Guarantor.

               5.7     Maximum Outstanding Loans and Letters of Credit. Notwithstanding
anything to the contrary contained in the Loan Agreement or the other Financing Agreements,
Agent and Lenders shall have no obligation whatsoever to make any Loan to the Borrowers or
issue any Letters of Credit on behalf of the Borrowers to the extent that, immediately after giving
effect to the making of such Loan or issuance of such Letter of Credit, the then aggregate

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outstanding amount of all Loans and Letter of Credit Obligations would exceed at any time the
Maximum Credit as determined by Agent in its discretion.

               5.8    Financial Advisor.

                       (a)     The Debtors shall retain, at all times during which the Obligations
remain outstanding, Berkeley Research Group LLC as its financial advisor (the “Financial
Advisor”), at the sole cost and expense of the Debtors, on terms and conditions acceptable to
Agent. The Financial Advisor shall, in consultation with the Debtors other advisors, (i) negotiate
the terms of debtor in possession financing facilities for Parent and related adequate protection
arrangements in respect of the Debtors’ credit facilities, (ii) negotiate the terms of any plan or
pre- or post-petition asset purchase agreement, and to enter into binding and definitive
agreement(s) on behalf of the Debtors with respect to the foregoing, and (iii) supervise the
structuring and conduct a sale or plan process for the Debtors, including negotiating the terms of
any competing bids. The Debtors hereby irrevocably authorize and direct the Financial Advisor
to consult with Agent and to share with Agent and Lenders, upon reasonable request therefor by
Agent, all financial reports, budgets and any variances from same, other financial information,
operational issues, matters related to the Collateral, all reports prepared or reviewed by the
Financial Advisor, information on the sale and maintenance of the Debtors’ businesses and assets
and such other matters as the Agent may reasonably request; provided that the Financial Advisor
shall not be required to provide copies of any reports (financial or otherwise) that are in “draft”
or “work product” form or privileged. The Debtors agree to provide the Financial Advisor with
complete access to all of the books and records of the Debtors, all of premises of the Debtors and
to all management and employees of the Debtors as and when deemed necessary by the Financial
Advisor.

                       (b)    Any amendment, modification or termination of the retention
agreement with the Financial Advisor without the prior written consent of Agent shall constitute
an Event of Default. The Debtors acknowledge and agree that the Debtors shall cause the
Financial Advisor, as further described in clause (a) above, (i) to keep Agent fully informed of
the progress of the business and operations of the Debtors and to respond to any reasonable
inquiries of Agent regarding the maintenance of the Borrower’s businesses and the sale of their
assets and (ii) to communicate and cooperate with Agent and share all information, as reasonably
requested thereby, with Agent regarding the Debtors, and the sale and maintenance of the
Debtors’ businesses and assets.

                       (c)    If the Financial Advisor resigns, the Debtors shall immediately
notify Agent in writing and promptly after receipt thereof, provide Agent with a copy of any
notice of resignation from such Financial Advisor. Any replacement or successor Financial
Advisor shall be reasonably acceptable to Agent, shall be retained pursuant to a new retention
agreement on terms and conditions reasonably acceptable to Agent within five (5) Business Days
immediately following the notice of resignation of the resigning Financial Advisor and shall be
approved by the Bankruptcy Court. Failure to comply with the terms and conditions of this
Section shall constitute an Event of Default.

              5.9    Super-Priority Administrative Expense. Each Borrower and Guarantor
hereby represents and warrants with, to and in favor of Agent and Lenders that all amounts

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owing by Borrowers and Guarantors under the Loan Agreement at all times after entry of the
Permanent Financing Order and for all sums advanced by Lenders during the period on and after
the entry of the Interim Financing Order will constitute allowed super-priority administrative
expense claims in the Chapter 11 Cases having priority over all other administrative expenses of
the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, subject only to the
Carve-Out to the extent provided in any Financing Order.

                5.10 Early Termination. Notwithstanding anything to the contrary contained in
this Ratification Agreement, the Loan Agreement or the other Financing Agreements, the parties
hereto acknowledge and agree that, solely for purposes of Sections 3.2(d) and 3.2(e) of the Loan
Agreement, the Events of Default described in Sections 10.1(g) and 10.1(h) of the Pre-Petition
Loan Agreement have occurred and are continuing and survive the execution and effectiveness
of this Ratification Agreement.

            6.   [Reserved].

            7.   AMENDMENTS.

              7.1    Mandatory Prepayments. Section 2.1(d) of the Pre-Petition Loan
Agreement is hereby amended by adding the following sentence at the end thereof:

                        “In addition, in the event that Borrowers fail to meet the DIP Milestones
                        (other than the Plan Milestones), Borrowers shall, upon demand by Agent,
                        which may be made at any time or from time to time, immediately repay
                        Loans and other Obligations to Agent in an amount equal to 100% of the
                        net cash proceeds from asset sales generating during the Chapter 11 Cases,
                        which shall be applied in accordance with Section 6.4 hereof.”

             7.2    Limits and Sublimits. Section 2 of the Pre-Petition Loan Agreement is
hereby amended by adding the following new Section 2.6 at the end of such Section:

                        “2.6 Limit and Sublimit Construction. All limits and sublimits set forth
                        in this Agreement, and any formula or other provision to which a limit or
                        sublimit may apply, shall be determined on an aggregate basis considering
                        together both the Pre-Petition Obligations and the Post-Petition
                        Obligations.”

                 7.3    Elimination of Eurodollar Rate Loans.

                         (a)     Section 3.1(b) of the Pre-Petition Loan Agreement is hereby
deleted in its entirety and the following is substituted therefor “(b) [Reserved].”

                         (b)     Section 3.1(c) of the Pre-Petition Loan Agreement is hereby
deleted in its entirety and the following is substituted therefor “(c) [Reserved].”

                       (c)    Notwithstanding anything to the contrary contained in the Loan
Agreement, (i) all Eurodollar Rate Loans shall automatically convert to Prime Rate Loans as of
the Ratification Closing Date without any action taken or required to be taken by any Person, (ii)

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Borrowers shall not request or have any right to receive any Eurodollar Rate Loans from Agent
and Lenders, and Borrowers shall not request or have any right to convert any Prime Rate Loans
to Eurodollar Rate Loans, and (iii) Agent and Lenders shall not have any obligation to make any
Eurodollar Rate Loans to any Borrower or to convert any Prime Rate Loans into Eurodollar Rate
Loans. Notwithstanding anything to the contrary contained herein or in the Loan Agreement, the
reference to the Adjusted Eurodollar Rate in the definition of “Prime Rate” is only with reference
to determining the Prime Rate and any Loan made in reference to such rate shall not constitute a
Eurodollar Rate Loan such that the provisions under Sections 3.3(b), (c) and (d) would have any
application to the Prime Rate Loans.

              7.4    Letter of Credit Fees. Section 3.2(b) of the Pre-Petition Loan Agreement
is hereby amended by deleting each reference to “which are Eurodollar Rate Loans”.

               7.5    Special Provisions Regarding Collateral. Section 5.3 of the Pre-Petition
Loan Agreement is hereby amended by deleting such Section in its entirety and replacing it with
the following “5.3 [Reserved].”

             7.6    Payments. Section 6.4 of the Pre-Petition Loan Agreement is hereby
amended by adding the following new subsection (h) at the end of such Section:

                      “(h) Notwithstanding anything to the contrary contained in this Agreement
                      or any of the other Financing Agreements, Agent shall, to the extent
                      authorized by the Financing Orders, apply any such payments or proceeds
                      first, to the Pre-Petition Obligations in accordance with Section 6.4 hereof
                      until such Pre-Petition Obligations are paid and satisfied in full and
                      second, to the Post-Petition Obligations in accordance with Section 6.4
                      hereof until such Post-Petition Obligations are paid and satisfied in full.”

              7.7    Collection and Administration. Section 6 of the Pre-Petition Loan
Agreement is hereby amended by adding the following new Section 6.13 at the end of such
Section:

                      “6.13 Misapplied Payments. Notwithstanding anything to the contrary
                      contained in this Agreement, if Agent in good faith determines that any
                      amount of proceeds of Term Loan Priority Collateral have been applied to
                      repay Obligations in accordance with Section 6.4(b):

                            (a) Agent may establish a Reserve in an amount equal to such
                      amount of proceeds, and

                              (b) Borrowers shall be deemed to have requested, automatically
                      and without the need for any further action, the borrowing of Revolving
                      Loans A in an amount equal to such amount of proceeds, which Revolving
                      Loans A shall be applied to repay Obligations in accordance with Section
                      6.4(d).”




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               7.8      Collateral Reporting. Section 7.1(a) of the Pre-Petition Loan Agreement
is hereby amended by (i) deleting the “.” at the end of such section and substituting “;” therefor;
and (ii) adding the following new subsections at the end of Section 7.1(a) as follows:

                       “(viii) daily, on each business day during the Chapter 11 Cases, a “roll-
                       forward” of the Inventory (including without limitation Pharmacy
                       Inventory) and Prescription Files;

                       (ix)    no less frequently than weekly, on the Wednesday of each week
                       during the Chapter 11 Cases, a report, in reasonable detail with respect to
                       all Store Closing GOB Sales, Real Property sales, Rx Sales and sales,
                       proposed sales or assignments of other Collateral outside the ordinary
                       course of Debtors’ businesses that have been made during the prior week
                       including but not limited to all sales of the following categories of
                       Collateral: (A) inventory, (B) furniture, fixtures and equipment,(C) real
                       property (including leases) and (D) intellectual property;

                       (x)     upon Agent’s request, monthly reports of the number of employees
                       of Borrower and Guarantors to which any wage, salary or benefit statute
                       or other law may apply as determined by Agent.

                       (xi)    upon Agent’s request, reports on the status of any sales or
                       proposed sales of Collateral outside the ordinary course of Debtors’
                       businesses, including any “going out of business” sales or pharmacy asset
                       sales conducted prior to or during the Chapter 11 Cases.”

               7.9     Inventory Covenants.

                     (a)    Section 7.3(c) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                       “(c) other than as a result of the Store Closing GOB Sales and the Rx Sale,
                       and except as permitted under Section 9.2 hereof, each Borrower and
                       Guarantor shall not remove any Inventory from the locations set forth or
                       permitted herein, without the prior written consent of Agent, except for
                       sales of Inventory in the ordinary course of its business and except to
                       move Inventory directly from one location set forth or permitted herein to
                       another such location and except for Inventory shipped from the
                       manufacturer thereof to a Borrower or Guarantor which is in transit to the
                       locations set forth or permitted herein;”

                     (b)    Section 7.3(d) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                        “(d) Borrowers shall, deliver or cause to be delivered to Agent written
                       appraisals as to the Inventory in form, scope and methodology acceptable
                       to Agent and by an appraiser acceptable to Agent, addressed to Agent and
                       Lenders and upon which Agent and Lenders are expressly permitted to
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                    rely, (i) one (1) time in any calendar quarter at Borrowers’ expense, (ii)
                    [reserved], (iii) in addition to the appraisals delivered pursuant to clauses
                    (i) and (ii) above, at any time or times as Agent may reasonably request at
                    Borrowers’ expense upon the occurrence and during the continuance of an
                    Event of Default and (iv) in addition to the appraisals delivered pursuant
                    to clauses (i), (ii) and (iii) above, at any additional time or times as Agent
                    may request at the expense of Lenders;”

             7.10   Equipment and Real Property Covenants.

                     (a)    Section 7.4(a) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                    “(a)(i) Borrowers shall, deliver or cause to be delivered to Agent written
                    appraisals as to the Eligible Equipment in form, scope and methodology
                    acceptable to Agent and by an appraiser acceptable to Agent, addressed to
                    Agent and Lenders and upon which Agent and Lenders are expressly
                    permitted to rely, (A) no more than one (1) time in any calendar quarter at
                    Borrowers’ expense upon Agent’s request, (B) [reserved], (C) in addition
                    to the appraisals delivered pursuant to clauses (A) and (B) above, at any
                    time or times as Agent may reasonably request at Borrowers’ expense
                    upon the occurrence and during the continuance of an Event of Default
                    and (D) in addition to the appraisals delivered pursuant to clauses (A), (B)
                    and (C) above, at any additional time or times as Agent may request at the
                    expense of Lenders, and (ii) Borrowers shall, deliver or cause to be
                    delivered to Agent written appraisals as to the Eligible Real Property in
                    form, scope and methodology acceptable to Agent and by an appraiser
                    acceptable to Agent, addressed to Agent and Lenders and upon which
                    Agent and Lenders are expressly permitted to rely, (A) no more than one
                    (1) time in any calendar quarter at Borrowers’ expense upon Agent’s
                    request, (B) [reserved], (C) in addition to the appraisals delivered pursuant
                    to clauses (A) and (B) above, at any time or times as Agent may request at
                    Borrowers’ expense upon the occurrence and during the continuance of an
                    Event of Default and (D) in addition to the appraisals delivered pursuant to
                    clauses (A), (B) and (C) above, at any additional time or times as Agent
                    may request at the expense of Lenders;”

                     (b)    Section 7.4(e) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                    “(e) other than as a result of the Store Closing GOB Sales, and without
                    limitation upon the rights of Borrowers and Guarantors to dispose of
                    Equipment pursuant to Section 9.7(b) hereof, each Borrower and
                    Guarantor shall not remove any Equipment from the locations set forth or
                    permitted herein, except to the extent necessary to have any Equipment
                    repaired or maintained in the ordinary course of its business or to move
                    Equipment directly from one location set forth or permitted herein to

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                      another such location and except for the movement of motor vehicles used
                      by or for the benefit of Borrowers or Guarantors in the ordinary course of
                      business;”

              7.11 Prescription Files Covenants. Section 7.5(c) of the Pre-Petition Loan
Agreement is hereby amended by deleting such subsection in its entirety and replacing it with the
following:

                      “(c) Borrowers shall, deliver or cause to be delivered to Agent written
                      appraisals as to the Prescription Files in form, scope and methodology
                      acceptable to Agent and by an appraiser acceptable to Agent, addressed to
                      Agent and Lenders and upon which Agent and Lenders are expressly
                      permitted to rely, (i) one (1) time in any calendar quarter at Borrowers’
                      expense, (ii) [reserved], (iii) in addition to the appraisals delivered
                      pursuant to clauses (i) and (ii) above, at any time or times as Agent may
                      reasonably request at Borrowers’ expense upon the occurrence and during
                      the continuance of an Event of Default and (iv) in addition to the
                      appraisals delivered pursuant to clauses (i), (ii) and (iii) above, at any
                      additional time or times as Agent may request at the expense of Lenders;”

             7.12 Access to Premises. Section 7.9 of the Pre-Petition Loan Agreement is
hereby amended by deleting such subsection in its entirety and replacing it with the following:

                      “From time to time as requested by Agent, at the cost and expense of
                      Borrowers, (a) Agent or its designee shall have complete access to all of
                      each Borrower’s and Guarantor’s premises during normal business hours
                      and after reasonable notice to Administrative Borrower, or at any time and
                      without notice to Administrative Borrower if an Event of Default exists or
                      has occurred and is continuing, for the purposes of inspecting, verifying
                      and auditing the Collateral and all of each Borrower’s and Guarantor’s
                      books and records, including the Records (it being agreed that unless an
                      Event of Default shall exist or have occurred and be continuing, Agent
                      shall not conduct more than one (1) field audit of the Collateral and books
                      and records, including the Records of Borrowers and Guarantors, in any
                      calendar quarter at the expense of Borrowers, provided, that, Agent may
                      conduct additional field audits of the Collateral and books and records at
                      the expense of Lenders, and (b) each Borrower and Guarantor shall
                      promptly furnish to Agent such copies of such books and records or
                      extracts therefrom as Agent may request, and any Lender’s designee may
                      use during normal business hours such of any Borrower’s and Guarantor’s
                      personnel, equipment, supplies and premises as may be reasonably
                      necessary for the foregoing and if an Event of Default exists or has
                      occurred and is continuing for the collection of Receivables and
                      realization of other Collateral. Notwithstanding the foregoing, Agent may,
                      at the expense of Borrowers, conduct field audits as Agent may reasonably
                      require at any time upon the occurrence and during the continuance of an
                      Event of Default.”

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               7.13 Existence; Power and Authority. Section 8.1 of the Pre-Petition Loan
Agreement is hereby amended by (i) lower casing the word “The” in the second sentence therein
and inserting immediately prior to such second sentence the following phrase “Subject to any
entry of any required orders of the Bankruptcy Court including, without limitation, the entry of
the Interim Financing Order and the Permanent Financing Order, as applicable,” and (ii) lower
casing the word “This” in the third sentence therein and inserting immediately prior to such third
sentence the following phrase “Subject to the entry of the Interim Financing Order and the
Permanent Financing Order, as applicable,”.

              7.14 Litigation. Section 8.6 of the Pre-Petition Loan Agreement is hereby
amended by lower casing the word “Except” in the first sentence therein and inserting
immediately prior to such first sentence the following phrase “Except for the Bankruptcy Events
and”.

                7.15 Compliance with Other Agreements and Applicable Laws. (i) Section
8.7(a) of the Pre-Petition Loan Agreement is hereby amended by inserting immediately prior to
the first sentence therein the following phrase “Other than as a result of the Bankruptcy Event
(the exercise of remedies as a result of which are stayed under the Bankruptcy Code), the” and
(ii) Section 8.7(b) of the Pre-Petition Loan Agreement is hereby amended by inserting
immediately prior to the first sentence therein the following phrase “Subject to the entry of the
Interim Financing Order and the Permanent Financing Order, as applicable, the”.

             7.16 Solvency. Section 8.12 of the Pre-Petition Loan Agreement is hereby
amended by deleting clause (d) of such Section in its entirety and replacing it with “(d)
[Reserved].”

             7.17 Material Contracts. Section 8.15 of the Pre-Petition Loan Agreement is
hereby amended by deleting such section in its entirety and replacing it with the following:

                      “8.15 Material Contracts. Schedule 8.15 to the Information Certificate
                      sets forth all Material Contracts to which any Borrower or Guarantor is a
                      party or is bound as of the date hereof. Borrowers and Guarantors have
                      delivered true, correct and complete copies of such Material Contracts to
                      Agent on or before the date hereof. Other than the Bankruptcy Events,
                      Borrowers and Guarantors are not in breach or in default in any material
                      respect of or under any Material Contract and have not received any notice
                      of the intention of any other party thereto to terminate any Material
                      Contract, except where such breach, default or termination has not had or
                      could not reasonably be expected to have a Material Adverse Effect or
                      would otherwise be stayed by the filing of the Chapter 11 Case.”

               7.18 Credit Card Agreements. Section 8.16 of the Pre-Petition Loan
Agreement is hereby amended (i) by lower casing the word “No” in the fourth sentence therein
and inserting immediately prior to such fourth sentence the following phrase “Other than the
Bankruptcy Events,” and (ii) by lower casing the word “Each” in the fifth sentence therein and
inserting immediately prior to such fifth sentence the following phrase “Other than the
Bankruptcy Events,”.

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             7.19 Payable Practices. Section 8.17 of the Pre-Petition Agreement is hereby
amended by deleting such section in its entirety and replacing it with the following:

                      “8.17 Payable Practices. Each Borrower and Guarantor has not made any
                      material change in the historical accounts payable practices from those in
                      effect immediately prior to the Ratification Closing Date (it being
                      understood that the issuance of a Letter of Credit for the benefit of a
                      vendor shall not, in and of itself, constitute a material change in the
                      historical payable practices), except (i) as in accordance with the Budget,
                      or (ii) with the written consent of the Agent.”

               7.20 Accuracy and Completeness of Information. Section 8.22 of the Pre-
Petition Loan Agreement is hereby amended by lower casing the word “Since” in the last
sentence therein and inserting immediately prior to such last sentence the following phrase
“Other than the Bankruptcy Events,”.

               7.21 Compliance with Laws, Regulations, Etc. Section 9.3(a) of the Pre-
Petition Loan Agreement is hereby amended by lower casing the word “Each” in the first
sentence therein and inserting immediately prior to such first sentence the following phrase
“Except to the extent non-compliance is permitted under the Bankruptcy Code,”.

                 7.22 Financial Statements and Other Information. Section 9.6(b) of the Pre-
Petition Loan Agreement is hereby amended by deleting such section in its entirety and replacing
it with the following:

                      “(b) Borrowers and Guarantors shall promptly notify Agent and (solely
                      in the case of clause (vii) below) Term Loan B Agent and Term Loan B-1
                      Agent in writing of the details of (i) any loss, damage, investigation,
                      action, suit, proceeding or claim relating to Collateral having a value of
                      more than $4,000,000 or which if adversely determined could reasonably
                      be expected to result in a Material Adverse Effect, other than events
                      arising as a result of the filing of the Chapter 11 Case, the exercise of
                      remedies as a result of which are stayed under the Bankruptcy Code, (ii)
                      any Material Contract being terminated or amended or any new Material
                      Contract entered into (in which event Borrowers and Guarantors shall
                      provide Agent with a copy of such Material Contract), (iii) any order,
                      judgment or decree in excess of $4,000,000 shall have been entered
                      against any Borrower or Guarantor any of its or their properties or assets,
                      (iv) any notification of a material violation of laws or regulations received
                      by any Borrower or Guarantor, (v) any ERISA Event, (vi) the occurrence
                      of any Default or Event of Default, and (vii) the sale or other disposition
                      of any Term Loan Priority Collateral during the continuance of a Term
                      Loan Priority Collateral Proceeds Event.”

               7.23 Financial Statements and Other Information. Section 9.6 of the Pre-
Petition Loan Agreement is hereby amended by adding the following new subsection at the end
of such Section:

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                       “(f) Borrowers and Guarantors shall also provide Agent and Lenders with
                       copies of all financial reports, schedules and other materials and
                       information at any time furnished by or on behalf of any Borrower or
                       Guarantor to the Bankruptcy Court (other than those filed on the docket of
                       the Bankruptcy Court), or the U.S. Trustee, or any material information
                       not previously provided to Agent with respect to the Chapter 11 Case that
                       is provided to any creditors’ committee or such Borrower or Guarantor’s
                       shareholders, substantially concurrently with the delivery thereof to the
                       Bankruptcy Court, creditors’ committee, U.S. Trustee or shareholders, as
                       the case may be.”

               7.24    Sale of Assets, Consolidation, Merger, Dissolution, Etc.

                     (a)    Section 9.7(b)(v) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                       “(v) the Store Closing GOB Sales, the Rx Sale and any other sale or
                       disposition of assets of Borrowers or Guarantors in connection with the
                       Chapter 11 Case, in each case, in accordance with this Agreement, the
                       Budget, Financing Orders, and any other order entered by the Bankruptcy
                       Court in form and substance reasonably acceptable to Agent; provided,
                       that, as to any such sale or disposition, Borrowers and Guarantors shall
                       promptly apply all proceeds payable or deliverable to any Borrower or
                       Guarantor in respect of such sale or disposition to the Obligations in
                       accordance with the Loan Agreement ;”

                      (b)      Section 9.7(c) of the Pre-Petition Loan Agreement is hereby
amended by (i) inserting immediately prior to the first sentence therein the following phrase
“other than with respect to the Store Closing GOB Sales,”, and (ii) deleting clause (vii) therein in
its entirety.

               7.25    Encumbrances.

                     (a)    Section 9.8(m) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(m) [reserved];”.

                       (b)    Section 9.8 of the Pre-Petition Loan Agreement is hereby amended
by (i) deleting the period appearing at the end of clause (u) of such definition and replacing it
with a semi-colon, and (ii) adding the following clauses at the end thereof:

                        “(v) all liens existing on the Petition Date that were permitted under the
                       Pre-Petition Loan Agreement to the extent such liens were legal, valid,
                       binding, enforceable and non-avoidable as of the Petition Date (including
                       any that are perfected subsequent to the Petition Date as permitted by
                       section 546(b) of the Bankruptcy Code), and are not otherwise avoided,
                       recharacterized or subordinated after the Petition Date;

                       (w) the Adequate Protection Liens; and
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                       (x) liens on the Collateral in respect of the Carve-Out.”

               7.26 Indebtedness. Notwithstanding anything to the contrary contained in
Section 9.9 of the Loan Agreement or any other provision of the Loan Agreement or any of the
other Financing Agreements, the Borrowers and Guarantors will not, and will not permit any
Subsidiary, after the Ratification Closing Date, to optionally prepay, redeem, defease, purchase,
or otherwise acquire any Indebtedness for borrowed money (other than the Obligations or as
otherwise made in accordance with the Budget) without the prior written consent of the Agent.

               7.27    Loans, Investments, Etc.

                     (a)    Section 9.10(d) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(d) [reserved];”.

                     (b)    Section 9.10(h) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(h) [reserved];”.

                     (c)    Section 9.10(i) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(i) [reserved];”.

                     (d)    Section 9.10(j) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(j) [reserved];”.

                     (e)    Section 9.10(k) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(k) [reserved];”.

                        (f)     Section 9.10 of the Pre-Petition Loan Agreement is hereby
amended by (i) deleting the “and” at the end of clause (m) thereof, (ii) deleting the “.” at the end
of clause (n) thereof and substituting “;” therefor, and (iii) adding the following new subsection
(o) at the end of such Section:

                       “(o) in accordance with an express and separate line item in the Budget
                       entitled “Permitted Investments”.”

               7.28    Dividends and Redemptions.

                     (a)    Section 9.11(d) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(d) [reserved];”.

                     (b)    Section 9.11(e) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with the following:

                       “(e) in accordance with an express and separate line item in the Budget
                       entitled “Permitted Distributions”.”

               7.29    Transactions with Affiliates.



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                     (a)    Section 9.12(b)(iv) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(iv) [reserved];”.

                     (b)    Section 9.12(b)(vi) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(vi) [reserved];”.

                     (c)    Section 9.12(b)(vii) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(vii) [reserved];”.

                     (d)    Section 9.12(b)(viii) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(viii) [reserved];”.

                     (e)    Section 9.12(b)(ix) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(ix) [reserved];”.

                     (f)    Section 9.12(b)(x) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(x) [reserved];”.

                    (g)     Section 9.12 of the Pre-Petition Loan Agreement is hereby
amended by adding the following new clause at the end thereof:

                       “provided, that, any action otherwise prohibited by this Section 9.12 shall
                       be authorized if such action is in accordance with an express and separate
                       line item in the Budget entitled “Permitted Transactions with Affiliates”.”

              7.30 Credit Card Agreements.       Section 9.13 of the Pre-Petition Loan
Agreement is hereby amended by lower casing the word “Each” in the first sentence therein and
inserting immediately prior to such first sentence the following phrase “Other than the
Bankruptcy Events,”.

              7.31 Costs and Expenses. Section 9.22 of the Pre-Petition Loan Agreement is
hereby amended by (i) deleting the “.” at the end of such section and substituting “;” therefor, (ii)
deleting “and” before clause (h) thereof, and (iii) adding the following new subsection (i) at the
end of such Section:

                       “and (i) the reasonable costs and expenses incurred by Agent (including,
                       without limitation attorneys and consulting fees and expenses) in
                       connection with the Chapter 11 Cases.”

              7.32 Minimum Excess Availability. Section 9.25 of the Pre-Petition Loan
Agreement is hereby amended by deleting such Section in its entirety and replacing it with “9.25
[Reserved].”

             7.33 Events of Default. Section 10.1 of the Pre-Petition Loan Agreement is
hereby amended as follows:

                     (a)    Section 10.1(f) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(f) [reserved];”.

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                     (b)    Section 10.1(g) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(g) [reserved];”.

                     (c)    Section 10.1(h) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(h) [reserved];”.

                     (d)     Section 10.1(i) of the Pre-Petition Loan Agreement is hereby
amended by inserting immediately at the beginning thereof the following phrase “other than the
Bankruptcy Events, any of the following shall occur:”.

                     (e)     Section 10.1(j) of the Pre-Petition Loan Agreement is hereby
amended and restated as follows:

                     “(j) any Credit Card Issuer or Credit Card Processor shall send notice to
                     any Borrower that it is ceasing to make or suspending payments
                     (excluding, for the avoidance of doubt, any additional reserves or
                     holdbacks put in place as a result of the Bankruptcy Events) to any
                     Borrower or Guarantor of amounts due or to become due to any Borrower
                     or Guarantor or shall cease or suspend such payments, or shall send notice
                     to any Borrower or Guarantor that it is terminating its arrangements with
                     any Borrower or Guarantor or such arrangements shall terminate as a
                     result of any event of default under such arrangements, which continues
                     for more than the applicable cure period, if any, with respect thereto,
                     unless such Borrower or Guarantor shall have entered into arrangements
                     with another Credit Card Issuer or Credit Card Processor, as the case may
                     be, within sixty (60) days after the date of any such notice;”

                      (f)    Section 10.1 of the Pre-Petition Loan Agreement is hereby
amended by (i) deleting the word “or” at the end of Section 10.1(p), (ii) replacing the period
appearing at the end of Section 10.1(q) with a semicolon, and (iii) adding the following at the
end of such Section:

                     “(r) the occurrence of any condition or event which permits Agent or
                     Lenders to exercise any of the remedies set forth in the Financing Order,
                     including, without limitation, any “Event of Default” (as defined in any
                     Financing Order);

                     (s) the termination or non-renewal of the Financing Agreements as
                     provided for in any Financing Order;

                     (t) any Loan Party suspends or discontinues all or any material part of its
                     business (other than with respect to the Store Closing GOB Sales as
                     defined in and permitted by the Ratification Agreement), or is enjoined by
                     any court or governmental agency from continuing to conduct all or any
                     material part of its business, or a trustee or examiner with expanded
                     powers is appointed for any Loan Party, or any of their respective
                     properties;

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                    (u) any act, condition or event occurring after the Petition Date that has or
                    could reasonably expect to have a Material Adverse Effect;

                    (v) conversion of the Chapter 11 Cases to Chapter 7 case(s);

                    (w) the dismissal of the Chapter 11 Cases (or any subsequent Chapter 7
                    case) either voluntarily or involuntarily;

                    (x) grant of a lien on or other interest in any property of any Loan Party,
                    other than a lien or encumbrance permitted by the Loan Agreement or any
                    Financing Order (including the Carve-Out), which is superior to or ranks
                    in parity with Agent’s security interest in or lien upon the Collateral;

                    (y) the failure of Borrowers or Guarantors to comply with any Financing
                    Order;

                    (z) any Financing Order is revoked, remanded, vacated, reversed, stayed,
                    rescinded, modified, or amended on appeal;

                    (aa) the failure of Borrowers to comply with any of the DIP Milestones
                    (excluding the Plan Milestones);

                    (bb) appointment of a trustee, examiner or disinterested person with
                    expanded powers relating to the operations or the business of Borrowers
                    or Guarantors in the Chapter 11 Cases;

                    (cc) any administrative expense claim is allowed having priority or
                    ranking in parity with the rights of Agent (excluding the Carve-Out);

                    (dd) any plan of reorganization is confirmed without Agent’s and
                    Required Lender’s consent;

                    (ee) any tested line items (other than proceeds from Rx Sales) set forth in
                    the Budget adversely deviate from the projected amounts set forth for such
                    line items by more than 15% for the applicable Measurement Period;

                    (ff) material adverse change in the assets, or business or prospects of
                    Borrowers and Guarantors (taken as a whole) (it being understood that the
                    commencement of the Chapter 11 Cases, and any defaults under
                    agreements that have no effect under the terms of the Bankruptcy Code as
                    a result of the commencement thereof shall not be deemed a material
                    adverse change).”

             7.34   Remedies.

                     (a)    Section 10.2(f) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(f) [Reserved].”


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                     (b)    Section 10.2(j) of the Pre-Petition Loan Agreement is hereby
amended by deleting such subsection in its entirety and replacing it with “(j) [Reserved].”

               7.35 Governing Law; Choice of Forum; Service of Process; Jury Trial Waiver.
Sections 11.1(a) and (b) of the Pre-Petition Loan Agreement are hereby amended by deleting
such Sections in their entirety and replacing them with the following:

                     “(a) The validity, interpretation and enforcement of this Agreement and
                     the other Financing Agreements (except as otherwise provided therein)
                     and any dispute arising out of the relationship between the parties hereto,
                     whether in contract, tort, equity or otherwise, shall be governed by (i) the
                     internal laws of the State of New York but excluding any principles of
                     conflicts of law or other rule of law that would cause the application of the
                     law of any jurisdiction other than the laws of the State of New York, and
                     (ii) to the extent applicable, the Bankruptcy Code.

                     (b)     Borrowers, Guarantors, Agents, Collateral Agent, Term Loan B-1
                     Agent, Lenders and Issuing Bank irrevocably consent and submit to the
                     non-exclusive jurisdiction of the Bankruptcy Court, the Supreme Court of
                     New York County, New York and the United States District Court for the
                     Southern District of New York whichever Agent may elect, and waive any
                     objection based on venue or forum non conveniens with respect to any
                     action instituted therein arising under this Agreement or any of the other
                     Financing Agreements or in any way connected with or related or
                     incidental to the dealings of the parties hereto in respect of this Agreement
                     or any of the other Financing Agreements or the transactions related
                     hereto or thereto, in each case whether now existing or hereafter arising,
                     and whether in contract, tort, equity or otherwise, and agree that any
                     dispute with respect to any such matters shall be heard only in the courts
                     described above (except that Agent and Lenders shall have the right to
                     bring any action or proceeding against any Borrower or Guarantor or its or
                     their property in the courts of any other jurisdiction which Agent deems
                     necessary or appropriate in order to realize on the Collateral or to
                     otherwise enforce its rights against any Borrower or Guarantor or its or
                     their property).”

              7.36 Waiver of Notices, etc. Section 11.2 of the Pre-Petition Loan Agreement
is hereby amended by deleting such Section in its entirety and replacing it with the following:

                     “11.2 Waiver of Notices, etc.      Each Borrower and Guarantor hereby
                     expressly waives:

                     (a) demand, presentment, protest and notice of protest and notice of
                     dishonor with respect to any and all instruments and chattel paper,
                     included in or evidencing any of the Obligations or the Collateral, and any
                     and all other demands and notices of any kind or nature whatsoever with
                     respect to the Obligations, the Collateral and this Agreement, except such

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                     as are expressly provided for herein. No notice to or demand on any
                     Borrower or Guarantor which Agent, Collateral Agent or any Lender may
                     elect to give shall entitle such Borrower or Guarantor to any other or
                     further notice or demand in the same, similar or other circumstances; and

                     (b) any right that any Borrower or Guarantor may have to seek authority
                     (i) to use cash collateral of Agent, Lenders, Issuing Bank or any other
                     Secured Party under Section 363 of the Bankruptcy Code, (ii) to obtain
                     post-petition loans or other financial accommodations pursuant to Sections
                     364(c) or (d) of the Bankruptcy Code without the prior written consent of
                     Agent, (iii) to challenge, contest or otherwise seek to impair or object to
                     the validity, extent, enforceability or priority of Agent’s post-petition liens
                     and claims, (iv) to challenge the application of any payments or
                     collections received by Agent, Lenders, Issuing Bank or any other Secured
                     Party to the obligations of Borrowers and Guarantors as provided for
                     herein, (v) to propose or support a plan of reorganization that does not
                     provide for the indefeasible payment in full in cash and satisfaction of all
                     Obligations on the effective date of such plan, (vi) to surcharge the
                     Collateral pursuant to Section 506(c) of the Bankruptcy Code, or (vii) to
                     seek relief under the Bankruptcy Code, including without limitation, under
                     Section 105, to the extent any such relief would in any way restrict or
                     impair the rights and remedies of Agent or any Lender, Issuing Bank or
                     other Secured Party as provided herein, the Financing Agreements or the
                     Financing Orders.”

             7.37 Amendments and Waivers. Section 11.3 of the Pre-Petition Loan
Agreement is hereby amended by adding the following new subsection at the end of such
Section:

                     “(f) Notwithstanding anything to the contrary contained herein or in any
                     other Financing Agreement, amendments, waivers and consents with
                     respect to the provisions of the Financing Agreements relating to the
                     Budget, Financing Orders, Store Closing GOB Sales, Store Closing
                     Liquidation Agreement, the Rx Auction or Rx Sales, any other sale or
                     disposition of the Collateral, any of the DIP Milestones, any bankruptcy
                     Reserves, or clauses (b), (c) or (d) of the definition of Renewal Date shall
                     not require approval of any Secured Party other than the Agent.”

             7.38 Term. Section 14.1 of the Pre-Petition Loan Agreement is hereby
amended by deleting the phrase “June 19, 2020 (the ‘Renewal Date’)” and replacing it with “the
Renewal Date”.

              7.39 Assignments; Participations. Section 14.7(b) of the Pre-Petition Loan
Agreement is hereby amended by deleting the reference to “$20,000,000” and substituting
“$5,000,000” therefor.



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               7.40 Schedule of Commitments. Schedule 1 to the Loan Agreement is hereby
amended by deleting such Schedule in its entirety and replacing it with Schedule 1 in the form
attached hereto as Exhibit D to this Ratification Agreement.

              7.41 Schedule of Existing Letters of Credit. Schedule 1.79 to the Pre-Petition
Loan Agreement is hereby amended by deleting such Schedule in its entirety and replacing it
with Schedule 1.79 in the form attached hereto as Exhibit E to this Ratification Agreement.

            8.   RELEASE.

                 8.1   Release of Pre-Petition Claims.

                        (a)     Upon the earlier of (i) the entry of the Permanent Financing Order
or (ii) the entry of an Order extending the term of the Interim Financing Order beyond thirty (30)
calendar days after the date of the Interim Financing Order, in consideration of the agreements of
Agent, Lenders and each other Secured Party contained herein and the making of any Loans by
Agent and Lenders, each Borrower and Guarantor, for good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged, on behalf of itself and its respective
successors, assigns, and other legal representatives, hereby absolutely, unconditionally and
irrevocably releases, remises and forever discharges Agents, Term Loan B-1 Agent, Collateral
Agent, each Lender, each other Secured Party and their respective successors and assigns, and
their present and former shareholders, affiliates, subsidiaries, divisions, predecessors, directors,
officers, attorneys, employees and other representatives (Agents, Term Loan B-1 Agent,
Collateral Agent, each Lender, each other Secured Party and all such other parties being
hereinafter referred to collectively as the “Releasees” and individually as a “Releasee”), of and
from all demands, actions, causes of action, suits, covenants, contracts, controversies,
agreements, promises, sums of money, accounts, bills, reckonings, damages and any and all
other claims, counterclaims, defenses, rights of set-off, demands and liabilities whatsoever
(individually, a “Pre-Petition Released Claim” and collectively, “Pre-Petition Released
Claims”) of every name and nature, known or unknown, suspected or unsuspected, both at law
and in equity, which any Borrower or Guarantor, or any of their respective successors, assigns,
or other legal representatives may now or hereafter own, hold, have or claim to have against the
Releasees or any of them for, upon, or by reason of any nature, cause or thing whatsoever which
arises at any time on or prior to the Ratification Closing Date, including, without limitation, for
or on account of, or in relation to, or in any way in connection with the Pre-Petition Loan
Agreement and the other Financing Agreements, as amended and supplemented through the date
hereof.

                        (b)     Upon the earlier of (i) the entry of the Permanent Financing Order
or (ii) the entry of an Order extending the term of the Interim Financing Order beyond thirty (30)
calendar days after the date of the Interim Financing Order, each Borrower and Guarantor, on
behalf of itself and its successors, assigns, and other legal representatives, hereby absolutely,
unconditionally and irrevocably, covenants and agrees with each Releasee that it will not sue (at
law, in equity, in any regulatory proceeding or otherwise) any Releasee on the basis of any Pre-
Petition Released Claim released, remised and discharged by each Borrower and Guarantor
pursuant to this Section 8.1. If any Borrower or Guarantor violates the foregoing covenant,
Borrowers and Guarantors agree to pay, in addition to such other damages as any Releasee may

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sustain as a result of such violation, all attorneys’ fees and costs incurred by any Releasee as a
result of such violation.

                8.2    Release of Post-Petition Claims. Upon the payment in full of all of the
Obligations, in consideration of the agreements of Agents, Term Loan B-1 Agent, Collateral
Agent, Issuing Banks and Lenders contained herein and the making of any Loans by Agent and
Lenders, each Borrower and Guarantor hereby covenants and agrees to execute and deliver in
favor of Agents, Term Loan B-1 Agent, Collateral Agent, Issuing Banks, Lenders and other
Secured Parties a valid and binding termination and release agreement, in form and substance
satisfactory to Agent. If any Borrower or Guarantor violates such covenant, Borrowers and
Guarantors agree to pay, in addition to such other damages as any Releasee may sustain as a
result of such violation, all attorneys’ fees and costs incurred by any Releasee as a result of such
violation.

                 8.3   Releases Generally.

                       (a)     Each Borrower and Guarantor understands, acknowledges and
agrees that the releases set forth above in Sections 8.1 and 8.2 hereof may be pleaded as a full
and complete defense and may be used as a basis for an injunction against any action, suit or
other proceeding which may be instituted, prosecuted or attempted in breach of the provisions of
such releases.

                       (b)    Each Borrower and Guarantor agrees that no fact, event,
circumstance, evidence or transaction which could now be asserted or which may hereafter be
discovered shall affect in any manner the final and unconditional nature of the releases set forth
in Section 8.1 hereof and, when made, Section 8.2 hereof.

            9.   CONDITIONS PRECEDENT.

        The amendments, representations and warranties, covenants, defaults and all other
agreements and obligations contained in Sections 1 through 8 of this Ratification Agreement
shall only become effective upon the satisfaction (or waiver) of all of the following conditions
precedent (the time of such satisfaction (or waiver) referred to herein as the “Ratification
Closing Date”):

              9.1     as of the Petition Date, the Pre-Petition Financing Agreements shall not
have been terminated;

              9.2     Borrowers and Guarantors shall have commenced a voluntary case under
Chapter 11 of the Bankruptcy Code in the Bankruptcy Court having exclusive jurisdiction over
the Chapter 11 Cases by no later than January 16, 2019;

                9.3    Borrowers and Guarantors shall have complied in full with the notice and
other requirements of the Bankruptcy Code in a manner acceptable to Agent and its counsel, with
respect to the Interim Financing Order and Agent shall have received such evidence thereof as it
shall reasonably require;



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              9.4     no trustee, or other disinterested person with expanded powers pursuant to
Section 1104(c) of the Bankruptcy Code, shall have been appointed or designated with respect to
any Borrower or Guarantor or their respective business, properties or assets and no motion shall
be pending seeking any such relief;

                9.5    all of the first day orders shall have been entered by the Bankruptcy Court
by the third (3rd) day following the Petition Date and shall be in form and substance satisfactory
to Agent;

                9.6     a cash management order approving the cash management arrangements
of Borrowers and Guarantors consistent with the requirements under the Financing Agreements
shall have been entered, in form and substance satisfactory to Agent, and shall be in full force
and effect, and has not been vacated, reversed or modified (except as consented to by Agent) and
is not subject to any pending appeal or stay;

               9.7     the Interim Financing Order as entered by the Bankruptcy Court
authorizing the secured financing under the Financing Agreements and, inter alia, modifying the
automatic stay, authorizing and granting the security interests and liens described herein, and
granting a super-priority administrative expense claim to Agent and other Secured Parties with
respect to all obligations to Agent and other Secured Parties, subject to no priority claim or
administrative expenses of the Chapter 11 Cases or any other entity, and any future proceeding
which may develop out of any such cases, including liquidation in bankruptcy, shall have been
entered within three (3) days after the commencement of the Chapter 11 Cases and be in full
force and effect and not have been vacated, reversed, modified, amended or stayed and not be
subject to a pending appeal or motion or motion for leave to appeal or other proceeding to set
aside any such order or the challenge to the relief provided for in it, except as consented to by
Agent;

                9.8    receipt by Agent of a proposed Plan of Reorganization, on terms and
conditions reasonably satisfactory to Agent, which provides for, among other things, either (i)
the entry by Debtors into an exit financing facility on terms and conditions acceptable to Agent
or (ii) the indefeasible payment in full of all Pre-Petition Obligations owing under the Pre-
Petition Financing Agreements and Post-Petition Obligations owing under the Financing
Agreements on or before the “effective date” of the Plan of Reorganization (provided that
nothing in this Section 9.8 shall constitute a vote by Agent or any Lender in favor of the Plan of
Reorganization or a commitment by Agent or any Lender to vote in favor of the Plan of
Reorganization);

                9.9    receipt by Agent, each in form and substance satisfactory to Agent, of (i)
the initial Budget, (ii) any updates or modifications to the projected financial statements of
Borrowers and Guarantors previously received by Agent, in each case in form and substance
satisfactory to Agent, and (iii) copies of satisfactory interim unaudited financial statements for
each month ended since the last audited financial statements for which financial statements are
available;

              9.10 Agent’s completion of its due diligence, with results satisfactory to Agent,
which diligence may include receipt by Agent and Lenders of the documentation and other

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information that is required by regulatory authorities under applicable “know your customer” and
anti-money-laundering rules and regulations, including, without limitation, the Patriot Act.
Agent shall be satisfied with the corporate and capital structure and management of Borrowers
and Guarantors and with all legal, tax, accounting and other matters relating to Borrowers and
Guarantors. Agent and its counsel will have had the opportunity to conduct customary legal due
diligence (the results of which shall be satisfactory to Agent and its counsel);

                 9.11 no material adverse change in the business, operations, profits, assets or
prospects of Borrowers and Guarantors or the Collateral shall have occurred as of the entry of the
Interim Financing Order (it being understood that the commencement of the Chapter 11 Cases,
and any defaults under agreements that have no effect under the terms of the Bankruptcy Code as
a result of the commencement thereof shall not be deemed a material adverse change);

                9.12 no defaults or events of default on the closing date under any of the
Financing Agreements or on any other debt or any material contract of Borrowers or Guarantors
shall exist (other than any defaults under agreements that have no effect under the terms of the
Bankruptcy Code as a result of the commencement thereof);

               9.13 Agent and Lenders shall have received the payment of all fees required to
be paid under the terms hereof or otherwise under the Financing Agreements, including the DIP
Fee Letter executed and delivered in connection herewith;

               9.14 there shall be no material misstatements in or omissions from the materials
previously furnished to Agent by Borrowers and Guarantors;

               9.15 Agent shall not become aware of any material information or other matter
that is inconsistent in a material and adverse manner with any previous due diligence,
information or matter (including any financial information);

              9.16 the receipt by Agent of this Ratification Agreement, executed and
delivered by Borrowers, Guarantors, Lenders and the other parties hereto;

                9.17 the implementation of the terms of this Ratification Agreement and the
other Financing Agreements, as modified pursuant to this Ratification Agreement, all of which
contains provisions, representations, warranties, covenants and Events of Default, as are
satisfactory to Agent and its counsel;

               9.18 the receipt by Agent of the following documents, agreements, or other
information, in each case, in form and substance satisfactory to Agent and executed and
delivered by the parties thereto:

                      (a)     the Information Certificate,

                      (b)     the DIP Fee Letter,

                    (c)     an update to the latest Borrowing Base Certificate that Agent has
received from Borrowers that reflects, on a pro forma basis, the changes to the Financing
Agreements evidenced by this Ratification Agreement,

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                       (d)     the Store Closing Liquidation Agreement,

                       (e)     the Rx Bidding Procedures Order, and

                       (f)     Store Closing GOB Sale Order;

                 9.19 other than the voluntary commencement of the Chapter 11 Case, the Store
Closing GOB Sales, and the Rx Sale, no material impairment of the priority of Agent’s security
interests in the Collateral shall have occurred from the date of the latest field examinations of
Agent to the Petition Date;

              9.20 Borrowers shall have (i) engaged the Financial Advisor in accordance with
Section 5.8 of the Ratification Agreement, and (ii) have provided the Financial Advisor with
such information as they may reasonably require;

                 9.21 Agent, for the benefit of itself and the other Secured Parties, shall hold
perfected, first priority security interests in and liens upon the Collateral (subject to the liens
permitted under Section 9.8 of the Loan Agreement and the Carve-Out) and Agent shall have
received such evidence thereof as it requires; and

               9.22 no Default or Event of Default shall have occurred or be existing under
any of the Financing Agreements, as modified pursuant hereto, and assumed by Borrowers and
Guarantors.

        For the purpose of determining satisfaction with the conditions specified in this Section 9,
each Lender that has signed and delivered this Agreement shall be deemed to have accepted, and
to be satisfied with, each document or other matter required under this Section 9 unless the
Agent shall have received written notice from such Lender prior to the Ratification Closing Date
specifying its objection thereto.

     10.   ADDITIONAL CONDITIONS PRECEDENT TO ALL LOANS AND LETTERS
OF CREDIT.

        In addition to the satisfaction of the conditions precedent under Section 9 of this
Ratification Agreement with respect to the effectiveness of the noted Sections of this Ratification
Agreement and the making of the initial Loans under the Loan Agreement, and the satisfaction of
the conditions precedent in Section 4.2 of the Loan Agreement with respect to all Loans and
other financial accommodations available to Borrowers (such conditions in Section 4.2 shall
remain applicable to the Loans and be applicable to other financial accommodations available to
Borrowers), the following are conditions to Agent’s and Lenders’ obligation to extend further
loans, advances or other financial accommodations to Borrowers pursuant to the Loan
Agreement:

              10.1 with respect to further credit after expiration of the Interim Financing
Order, on or before the expiration of the Interim Financing Order, the Bankruptcy Court shall
have entered the Permanent Financing Order. Neither Agent nor any Lender shall provide any
Loans (or other financial accommodations) other than those authorized under the Interim
Financing Order unless, on or before the expiration of the Interim Financing Order, the
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Permanent Financing Order shall have been entered, and there shall be no appeal or other contest
with respect to either the Interim Financing Order or the Permanent Financing Order and the
time to appeal to contest such order shall have expired;

              10.2 requests for further credit shall only be for purposes and in amounts in
accordance with the Budget for the week in which such requests are made;

               10.3 subject to the Financing Order, all fees and expenses required to be paid to
the Agent and the Lenders pursuant to the Ratification Agreement and the Loan Agreement, as
amended thereby, shall have been paid or shall be paid concurrently with the making of the
Loans after the Ratification Closing Date; and

                10.4 no Default or Event of Default shall have occurred or be existing under
any of the Financing Agreements, as amended, supplemented or otherwise modified pursuant
this Ratification Agreement and assumed by Borrowers and Guarantor.

            11.   MISCELLANEOUS.

               11.1 Amendments and Waivers. Neither this Ratification Agreement nor any
other instrument or document referred to herein or therein may be changed, waived, discharged
or terminated orally, but only by an instrument in writing signed by the party against whom
enforcement of the change, waiver, discharge or termination is sought. Notwithstanding
anything to the contrary contained herein or in any other Financing Agreement, amendments,
waivers and consents with respect to the provisions of this Ratification Agreement or any other
Financing Agreement relating to the Budget, Store Closing GOB Sales, Store Closing
Liquidation Agreement, the Rx Auction or Rx Sales, any other sale or disposition of the
Collateral, any of the DIP Milestones, any bankruptcy Reserves, or clauses (b), (c) or (d) of the
definition of Renewal Date shall not require the approval of any Secured Party other than the
Agent.

                11.2 Further Assurances. Each Borrower and Guarantor shall, at its expense, at
any time or times duly execute and deliver, or shall use its best efforts to cause to be duly
executed and delivered, such further agreements, instruments and documents, and do or use its
best efforts to cause to be done such further acts as may be reasonably necessary or proper in
Agent’s reasonable opinion to evidence, perfect, maintain and enforce the security interests of
Agent and/or Collateral Agent, and the priority thereof, in the Collateral and to otherwise
effectuate the provisions or purposes of this Ratification Agreement, any of the other Financing
Agreements or the Financing Order. Upon the reasonable request of Agent, at any time and from
time to time, each Borrower and Guarantor shall, at its cost and expense, do, make, execute,
deliver and record, register or file updates to the filings of Agent and Collateral Agent with
respect to the Intellectual Property with the United States Patent and Trademark Office or the
United States Copyright Office, the financing statements, and other instruments, acts, pledges,
assignments and transfers (or use its best efforts to cause the same to be done) and will deliver to
Agent and Lenders such instruments evidencing items of Collateral as may be reasonably
requested by Agent.



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               11.3 Headings. The headings used herein are for convenience only and do not
constitute matters to be considered in interpreting this Ratification Agreement.

                11.4 Counterparts. This Ratification Agreement may be executed in any
number of counterparts, each of which shall be deemed to be an original, but all of which shall
together constitute one and the same agreement. In making proof of this Ratification Agreement,
it shall not be necessary to produce or account for more than one counterpart thereof signed by
each of the parties hereto. Delivery of an executed counterpart of this Ratification Agreement by
telefacsimile or other means of electronic transmission shall have the same force and effect as
delivery of an original executed counterpart of this Ratification Agreement. Any party
delivering an executed counterpart of this Ratification Agreement by telefacsimile or other
means of electronic transmission also shall deliver an original executed counterpart of this
Ratification Agreement, but the failure to deliver an original executed counterpart shall not affect
the validity, enforceability, and binding effect of this Ratification Agreement as to such party or
any other party.

               11.5 Additional Events of Default. The parties hereto acknowledge, confirm
and agree that the failure of any Borrower or Guarantor to comply with any of the covenants,
conditions and agreements contained herein or in any other Financing Agreement shall constitute
an Event of Default under the Financing Agreements.

               11.6 Costs and Expenses. Subject to the terms of the Financing Order,
Borrowers shall pay to Agent on demand all costs and expenses that Agent pays or incurs in
connection with the negotiation, preparation, consummation, administration, enforcement, and
termination of this Ratification Agreement and the other Financing Agreements and the
Financing Order. Subject to the terms of the Financing Order, the foregoing shall not be
construed to limit any other provisions of the Financing Agreements regarding costs and
expenses to be paid by Borrowers. Subject to the terms of the Financing Order, all sums
provided for in this Section 11.6 shall be part of the Obligations, shall be payable on demand,
and shall accrue interest after demand for payment thereof at the highest rate of interest then
payable under the Financing Agreements. Agent is hereby irrevocably authorized to charge any
amounts payable hereunder directly to any of the account(s) maintained by Agent with respect to
any Borrower or Guarantor.

                11.7 Effectiveness. This Ratification Agreement shall become effective upon
the satisfaction of the conditions precedent set forth in Section 9 hereof, and the entry of the
Interim Financing Order.

                11.8 Patriot Act. Each Lender subject to the Act hereby notifies Borrowers and
Guarantors that pursuant to the requirements of the Act, it is required to obtain, verify and record
information that identifies each person or corporation who opens an account and/or enters into a
business relationship with it, which information includes the name and address of Borrowers and
Guarantors and other information that will allow such Lender to identify such person in
accordance with the Act. Borrowers and Guarantors are hereby advised that this commitment is
subject to satisfactory results of such verification.

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                              EXHIBIT A
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT

                             SUMMARY BUDGET

                                 (see attached)




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Shopko
DIP Budget
($ in 000s)
                                            Petition
                                              2018        2018         2018         2019         2019         2019         2019         2019         2019         2019         2019         2019     2019
                                             Jan-19      Jan-19       Jan-19       Feb-19       Feb-19       Feb-19       Feb-19       Mar-19       Mar-19       Mar-19       Mar-19       Mar-19   Apr-19          13 Week
                                           01/19/19     01/26/19     02/02/19     02/09/19     02/16/19     02/23/19     03/02/19     03/09/19     03/16/19     03/23/19     03/30/19     04/06/19 04/13/19          Total
I. Cash Flows
      Receipts
1.) Sales Receipts                           23,054       36,626       37,982       39,013       40,438       40,329       33,791       36,599       35,426       36,506       35,038      28,459      31,310         454,573
2.) Proceeds from Rx Asset Sales                -            -            -         28,080       28,080       28,080          -            -            -            -            -           -           -            84,241
3.)     Total Receipts                       23,054       36,626       37,982       67,094       68,518       68,410       33,791       36,599       35,426       36,506       35,038      28,459      31,310         538,813

       Operating Disbursements
4.)    Merchandise Disbursements              (1,978)     (10,161)     (12,446)     (11,416)     (15,686)      (9,961)     (12,733)     (14,279)     (14,579)     (19,006)     (19,645)    (19,614)   (19,160)       (180,665)
5.)    Payroll, Payroll Tax, & Benefits          -         (1,066)     (12,940)      (1,384)     (10,393)        (898)     (10,098)        (968)     (10,428)        (917)      (9,689)     (1,319)   (10,086)        (70,188)
6.)    Sales Tax                                 (15)     (10,670)      (1,336)        (901)      (1,802)      (2,403)        (901)        (732)      (1,463)      (3,658)        (732)       (732)    (1,331)        (26,677)
7.)    Other OpEx                             (1,534)      (4,626)      (7,208)      (5,750)      (7,076)      (5,666)      (8,071)      (7,550)      (6,558)      (6,598)      (7,970)     (6,234)      (906)        (75,746)
8.)       Subtotal                            (3,528)     (26,523)     (33,929)     (19,452)     (34,958)     (18,928)     (31,804)     (23,528)     (33,028)     (30,179)     (38,036)    (27,899)   (31,483)       (353,276)
     Non-Operating Disbursements
9.) Capital Expenditures                         -           (185)        (106)        (216)        (176)        (65)          (74)        (115)         (54)       (291)          (61)        (59)      (197)         (1,600)
10.) Interest & Financing                        (42)         (80)      (3,147)         (53)         (30)        (46)       (1,937)         -           (133)        (61)          (59)     (1,968)       (80)         (7,636)
11.) Restructuring Related                    (6,817)      (1,140)      (1,242)      (1,450)      (3,546)       (250)       (1,477)      (3,270)      (2,751)       (250)       (1,472)     (1,025)    (5,652)        (30,342)
12.) Subtotal                                 (6,859)      (1,406)      (4,494)      (1,719)      (3,751)       (361)       (3,487)      (3,385)      (2,938)       (603)       (1,593)     (3,052)    (5,929)        (39,577)

13.) Total Disbursements                     (10,387)    (27,929)     (38,423)     (21,171)     (38,709)     (19,290)     (35,292)     (26,913)     (35,966)     (30,782)     (39,629)     (30,951)   (37,412)       (392,853)

14.)     Net Cash Flow                       12,667        8,697         (440)      45,923       29,809       49,120        (1,501)      9,686         (540)       5,724        (4,591)     (2,491)    (6,102)        145,960
II. Financing
15.) Beginning Bank Cash                          50           50          50            50           50           50           50           50          50            50           50          50         50              50
16.) Net Cash Flow                            12,667        8,697        (440)       45,923       29,809       49,120       (1,501)       9,686        (540)        5,724       (4,591)     (2,491)    (6,102)        145,960
17.) Revolver Borrowings / (Pay Down)        (12,667)      (8,697)        440       (45,923)     (29,809)     (49,120)       1,501       (9,686)        540        (5,724)       4,591       2,491      6,102        (145,960)
18.) Ending Bank Cash                             50           50          50            50           50           50           50           50          50            50           50          50         50              50
II. Availability
19.) Gross Borrowing Base                   458,519      434,851      421,905      386,705      350,773      340,035      329,829      326,735      323,071      318,851      314,216     313,036     314,531         314,531
20.)   Beginning Revolver Balance           342,480      329,812      321,115      321,555      275,633      245,824      196,704      198,205      188,519      189,059      183,335     187,926     190,418         342,480
21.)   Revolver Borrowings / (Pay Down)     (12,667)      (8,697)         440      (45,923)     (29,809)     (49,120)       1,501       (9,686)         540       (5,724)       4,591       2,491       6,102        (145,960)
22.)   Additional Paid in Capital               -            -            -            -            -            -            -            -            -            -            -           -           -               -
23.)   Ending Revolver Balance              329,812      321,115      321,555      275,633      245,824      196,704      198,205      188,519      189,059      183,335      187,926     190,418     196,519         196,519
24.) + Letters of Credit                     23,930       21,361       21,361       21,361       21,361       21,361       21,361       21,361       21,361       21,361       21,361      21,361      21,361          21,361
25.) + Accrued Interest & Fees                1,872        2,373        1,002        1,458        1,887        2,270          769        1,145        1,522        1,893        2,269         754       1,137           1,137
26.) Total ABL Obligation                   355,615      344,849      343,919      298,452      269,071      220,335      220,334      211,024      211,942      206,589      211,556     212,532     219,017         219,017
27.) ABL Availability                       102,904       90,002       77,986       88,253       81,702      119,699      109,494      115,711      111,130      112,261      102,660     100,504      95,514          95,514
28.) Total Gross Liquidity                  102,954       90,052       78,036       88,303       81,752      119,749      109,544      115,761      111,180      112,311      102,710     100,554      95,564          95,564

29.) - Availability Block [Original]         (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)    (50,000)   (50,000)        (50,000)
30.) Total Net Liquidity                     52,954       40,052       28,036       38,303       31,752       69,749       59,544       65,761       61,180       62,311       52,710      50,554      45,564          45,564


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                              EXHIBIT B
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT

                        Form of Interim Financing Order

                                 (see attached)




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEBRASKA

 ---------------------------------------------------------- X
In re:                                                      : Chapter 11
                                                            :
SPECIALTY RETAIL SHOPS HOLDING                              : Case No. 19-__________ (____)
CORP., et al., 1                                            :
                                                            :
                                     Debtors.               : (Joint Administration Requested)
                                                            :
 ---------------------------------------------------------- X Re: Docket Nos. ________

                                  INTERIM ORDER
                              PURSUANT TO 11 U.S.C.
                       §§ 105, 361, 362, 363, 364, AND 507 AND
                     FED. R. BANKR. P. 2002, 4001 AND 9014 (I)
              AUTHORIZING DEBTORS AND DEBTORS IN POSSESSION
             TO OBTAIN POSTPETITION FINANCING, (II) AUTHORIZING
            THE DEBTORS TO USE CASH COLLATERAL, (III) GRANTING
             LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE
           EXPENSE STATUS, (IV) GRANTING ADEQUATE PROTECTION TO
        THE PREPETITION LENDERS, (V) MODIFYING THE AUTOMATIC STAY,
    (VI) SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

            Upon the motion (the “Motion”) 2             of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) pursuant to §§ 105, 361, 362, 363, 364(c)(1), 364(c)(2)

and 364(c)(3), and 364(d) of title 11 of the United States Code (the “Bankruptcy Code”), Rules

2002, 4001, and 9014 of the Federal Rules of Bankruptcy Procedure (as amended, the

“Bankruptcy Rules”), and Rule 4001-2 of the Local Bankruptcy Rules for the United States



1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
     Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
     R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
     Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
     LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
     (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
2
     Capitalized terms used but not defined in this Order shall have the same meanings ascribed to such terms in the
     Ratification Agreement or Loan Agreement, as applicable.




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Bankruptcy Court for the District of Nebraska (the “Local Rules”), inter alia seeking, among

other things:

       (1)      authorization for ShopKo Properties, LLC, a Minnesota limited liability company

(“Properties”), Penn-Daniels, LLC, a Delaware limited liability company (“Penn”), ShopKo

Stores Operating Co., LLC, a Delaware limited liability company (“ShopKo Operating”),

ShopKo Holding Company, LLC, a Wisconsin limited liability company formerly known as

ShopKo Holding Company, Inc. (“ShopKo Holdco”), ShopKo Optical Manufacturing, LLC, a

Wisconsin limited liability company (“Optical”), Specialty Retail Shops Holding Corp., a

Delaware corporation formerly known as SKO Group Holding Corp. (“Parent” or “Company”),

ShopKo Institutional Care Services Co., LLC, a Delaware limited liability company (“ShopKo

Institutional”), Retained R/E SPE, LLC, a Delaware limited liability company (“Retained R/E”),

and Pamida Stores Operating Co., LLC, a Delaware limited liability company (“Pamida

Operating”, and together with Properties, Penn, ShopKo Operating, ShopKo Holdco, Optical,

Parent, ShopKo Institutional and Retained R/E, each as debtor and debtor-in-possession,

individually a “Borrower” and collectively, “Borrowers”) to obtain, and for ShopKo Finance,

LLC, a Delaware limited liability company (“ShopKo Finance”), SVS Trucking, LLC, a

Minnesota limited liability company (“SVS”), ShopKo Gift Card Co., LLC, a Minnesota limited

liability company (“GiftCard”), Pamida Transportation, LLC, a Nebraska limited liability

company (“Transportation”), and Place’s Associates’ Expansion, LLC, a Missouri limited

liability company (“Expansion”, and together with ShopKo Finance, SVS, GiftCard and

Transportation, each as debtor and debtor-in-possession, individually a “Guarantor” and

collectively, “Guarantors”) to guarantee, unconditionally, on a joint and several basis, post-

petition financing in the form of a revolving credit, letter of credit, and term loan facility in




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accordance with the terms and conditions set forth in the Pre-Petition Loan Agreement (as

defined below), as ratified and amended by that certain Ratification and Amendment Agreement

dated as of January [ • ], 2019 (the “Ratification Agreement”) a copy of which is attached hereto

as Exhibit 1 (as amended, supplemented or otherwise modified from time to time in accordance

with the terms and conditions set forth herein, the “Loan Agreement”), by and among the

Borrowers, the Guarantors, Wells Fargo Bank, National Association, as administrative agent and

collateral agent (as “Prepetition ABL Agent,” “Prepetition Term Loan B Agent,” “ABL Agent,”

“Term Loan B Agent,” or “Agent,” as applicable), and issuing bank (as “Issuing Bank”), the

revolving loan lenders party thereto (the “Prepetition ABL Lenders or “ABL Lenders,” as

applicable); the term loan B lenders party thereto (the “Prepetition Term Loan B Lenders” or

“Term Loan B Lenders,” as applicable and, together with the term loan B-1 lenders under the

Pre-Petition Loan Agreement (the “Term Loan B-1 Lenders”), the “Lenders”), and the other

Financing Agreements (as defined in the Ratification Agreement), and in accordance with this

order (“Interim Order”), secured by perfected senior priority security interests in and liens on the

Collateral (as defined below) pursuant to §§ 364(c)(2) and 364(c)(3), and 364(d) of the

Bankruptcy Code (subject to the Carve-Out and the Permitted Liens (each as defined below));

       (2)     authorization for Borrowers and Guarantors to remit all collections, asset

proceeds and payments to Agent and Lenders for application, or deemed application, first to all

Pre-Petition ABL Obligations (as defined below) until such obligations are fully repaid, and then

to the repayment of all Post-Petition ABL Obligations (as defined below) in accordance with the

Loan Agreement and the other Financing Agreements, and to deem all Pre-Petition Obligations

with respect to Letters of Credit to have been issued or provided, as applicable, under the Loan

Agreement and the other Financing Agreements;




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       (3)      authorization for the Debtors to grant superpriority administrative claim status,

pursuant to § 364(c)(1) of the Bankruptcy Code, to the Agent, for the benefit of itself and the

other Lenders, in respect of all Post-Petition Obligations (subject to the Carve-Out (as defined

below));

       (4)      as set forth below, subject to Section 4.1 of this Interim Order, approval of certain

stipulations by the Debtors as set forth in this Interim Order in connection with the Pre-Petition

Loan Agreement (as each term is defined below);

       (5)      authorizing and directing the Debtors to pay the principal, interest, fees, expenses

and other amounts payable under the Financing Agreements as such become due, including,

without limitation, letter of credit fees (including issuance and other related charges), continuing

commitment fees, closing fees, audit fees, appraisal fees, liquidator fees, structuring fees,

administrative agent’s fees, the reasonable and documented fees and disbursements of the

Agents’ and Lenders’ respective attorneys, advisors, accountants and other consultants, all to the

extent provided in, and in accordance with, the applicable Financing Agreements;

       (6)      as set forth below, authorization to use Cash Collateral and all other Pre-Petition

Collateral and to provide adequate protection to the Agent and the Lenders (each in their

respective capacities under the Pre-Petition Loan Documents (as defined below)) to the extent set

forth herein;

       (7)      as set forth below, authorization to provide adequate protection to the Agent and

the Lenders (each in their respective capacities under the Pre-Petition Loan Documents (as

defined below));




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       (8)     effective only upon entry of a Final Order (as defined below), the waiver of the

Debtors’ right to assert claims to surcharge against the Collateral (as defined below) pursuant to

§ 506(c) of the Bankruptcy Code, to the extent set forth below;

       (9)     the modification of the automatic stay imposed by section 362 of the Bankruptcy

Code to the extent necessary to implement and effectuate the terms and provisions of this Interim

Order to the extent hereinafter set forth;

       (10)    the setting of a final hearing on the Motion (“Final Hearing”) to consider entry of

a final order (the “Final Order”) authorizing, among other things, the borrowing under the

Financing Agreements on a final basis, as set forth in the Motion and the Loan Agreement filed

with the Court, including the granting to Agent and Lenders the senior security interests and liens

described above and super-priority administrative expense claims (subject to the Carve-Out); and

       (11)    related relief.

       The initial hearing on the Motion having been held by this Court on January 16, 2019

(the “Interim Hearing”), and upon the record made by the Debtors at the Interim Hearing,

including the Motion, the Declaration of Russell Steinhorst in Support of First Day Motions (the

“First Day Declaration”), the Declaration of Stephen Spencer in Support of Debtors’ Motion for

Entry of Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, and 507 and

Fed. R. Bankr. P. 2002, 4001 and 9014 (i) Authorizing Debtors and Debtors in Possession to

Obtain Postpetition Financing, (ii) Authorizing the Debtors to Use Cash Collateral, (iii) Granting

Liens and Superpriority Administrative Expense Status, (iv) Granting Adequate Protection to

Prepetition Lenders, (v) Modifying the Automatic Stay, (vi) Scheduling a Final Hearing, and

(viii) Granting Related Relief (the “Spencer Declaration”), and the filings and pleadings in the

above-captioned chapter 11 cases (the “Cases”), the Court having found that the relief requested




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in the Motion is in the best interests of Debtors, their estates, their creditors and other parties in

interest, and represents a sound exercise of the Debtors’ business judgment and is essential for

the continued operation of the Debtors’ businesses; it appearing to the Court that granting the

interim relief requested in the Motion is necessary to avoid immediate and irreparable harm to

the Debtors and their estates pending the Final Hearing; and appropriate notice of the Motion, the

relief requested therein, and the Interim Hearing (the “Notice”) was appropriate under the

circumstances; and the Notice having been served by the Debtors in accordance with Bankruptcy

Rule 4001 and 9014 and the Local Rules on (i) counsel to the Agent; (ii) the office of the U.S.

Trustee; (iii) the holders of the thirty (30) largest unsecured claims, on a consolidated basis,

against the Debtors’ estates (the “30 Largest Unsecured Creditors”); (iv) the Internal Revenue

Service and applicable state taxing authorities; (v) any party that has asserted or may assert a lien

in the Debtors’ assets; (vi) the office of attorneys general for the states in which the Debtors

operate; (viii) the United States Attorney’s Office for the District of Nebraska; (ix) all parties

who have filed a notice of appearance and request for service of papers pursuant to Bankruptcy

Rule 2002; and (x) the United States Securities and Exchange Commission (collectively, the

“Noticed Parties”) and the opportunity for a hearing on the Motion was appropriate and no other

notice need be provided; and after due deliberation sufficient cause appearing therefor;

        THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND

CONCLUSIONS OF LAW 3:




3
  The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the
extent that any of the following findings of fact constitute conclusions of law, they are adopted as such. To the
extent any of the following conclusions of law constitute findings of fact, they are adopted as such.




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       A.      Petition. On January 16, 2019 (the “Petition Date”), each Debtor filed a voluntary

petition (each, a “Petition”) under chapter 11 of the Bankruptcy Code. The Debtors continue to

operate their businesses and manage their properties as debtors-in-possession pursuant to

§§ 1107(a) and 1108 of the Bankruptcy Code.

       B.      Disposition. The Motion is hereby granted in accordance with the terms of this

Interim Order. Any objections to the Motion with respect to the entry of the Interim Order that

have not been withdrawn, waived, resolved, or settled are hereby denied and overruled.

       C.      Jurisdiction and Venue. The Court has jurisdiction of this proceeding and the

parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334. The Motion is a

“core” proceeding as defined in 28 U.S.C. §§ 157(b)(2)(A), (D) and (M). Venue of the Cases

and the Motion in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       D.      Committee Formation. As of the date hereof, the United States Trustee for the

District of Nebraska (the “U.S. Trustee”) has not yet appointed an official committee of

unsecured creditors in these Cases pursuant to section 1102 of the Bankruptcy Code (a

“Committee”). The statutory and legal predicates for the relief sought herein are sections 105,

361, 362, 363, 364 and 507 of the Bankruptcy Code and Bankruptcy Rules 2002, 4001, 9013 and

9014 and the applicable provisions of the Local Rules.

       E.      Notice. Proper, timely, adequate, and sufficient notice of the Motion has been

provided in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules,

and no other or further notice of the Motion with respect to the relief requested at the Interim

Hearing or the entry of this Interim Order shall be required.

       F.      Debtors’ Acknowledgments and Agreements.           After consultation with their

attorneys and financial advisors, and without prejudice to the rights of any Committee appointed




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in these Cases or other parties-in-interest as and to the extent set forth in Section 4.1 of this

Interim Order, the Debtors, on their behalf and on behalf of their estates, admit, stipulate,

acknowledge and agree that:

                (i)      Pre-Petition Loan Documents. Prior to the commencement of the Cases,

Agent and the Lenders made loans, advances and provided other financial accommodations to

Borrowers (the “Pre-Petition Borrowers”), pursuant to the terms and conditions set forth in (1)

the Pre-Petition Loan Agreement (as defined in the Ratification Agreement and referred to herein

as the “Pre-Petition Loan Agreement”); and (2) all other agreements, documents and instruments

executed and/or delivered with, to, or in favor of Agent or any Lender in connection with the

Pre-Petition Loan Agreement, including, without limitation, all security agreements, notes,

guarantees, mortgages, Uniform Commercial Code financing statements and all other related

agreements, documents and instruments executed and/or delivered in connection therewith or

related thereto (all of the foregoing, together with the Pre-Petition Loan Agreement, as all of the

same have heretofore been amended, supplemented, modified, extended, renewed, restated

and/or replaced at any time prior to the Petition Date, collectively, the “Pre-Petition Loan

Documents”).

                      (ii)       Pre-Petition Loan Obligations.   As of the Petition Date, the

Debtors were indebted to Agent and the Lenders under the Pre-Petition Loan Documents in

respect of outstanding Revolving Loans in an aggregate amount of not less than $295 million

(the “Pre-Petition ABL Obligations”), plus all other Loans, Letters of Credit, Bank Products, and

all other Obligations (each as defined in the Pre-Petition Loan Agreement) in an aggregate

outstanding principal amount of not less than $400 million, plus interest accrued and accruing

thereon, together with all costs, fees, expenses (including attorneys’ fees and legal expenses) and




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other charges accrued, accruing or chargeable with respect thereto (collectively, the “Pre-Petition

Obligations”, as such term is further defined in the Ratification Agreement). The Pre-Petition

Obligations constitute allowed, legal, valid, binding, enforceable and non-avoidable obligations

of Debtors, and are not subject to any offset, defense, counterclaim, avoidance,

recharacterization or subordination pursuant to the Bankruptcy Code or any other applicable law,

and Debtors do not possess, shall not assert, hereby forever release, and are forever barred from

bringing any claim, counterclaim, setoff or defense of any kind, nature or description, in any

such case, arising out of, connected with, or relating to any and all acts, omissions or events

occurring prior to the entry of this Interim Order, which would in any way affect the validity,

enforceability and non-avoidability of any of the Pre-Petition Obligations or liens and security

interest securing the same described in clause (F)(iii) below, including, without limitation,

avoidance, disallowance, disgorgement, recharacterization, or subordination (equitable or

otherwise) pursuant to the Bankruptcy Code or applicable non- bankruptcy law. The Debtors

and their estates (a) have no claims, objections, challenges, causes of action, and/or choses in

action, including without limitation, avoidance claims under Chapter 5 of the Bankruptcy Code

or applicable state law equivalents or actions for recovery or disgorgement, against the Agent or

Lenders or any of their respective affiliates, agents, attorneys, advisors, professionals, officers,

directors and employees arising out of, based upon or related to the Pre-Petition Loan

Documents or Pre-Petition Obligations; and (b) have waived, discharged, and released any right

to challenge any of the Pre-Petition Obligations, including the priority of the Pre-Petition

Obligations, and the validity, extent, and priority of the liens securing the Pre-Petition

Obligations.




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           (iii)       Pre-Petition Collateral.        As of the Petition Date, the Pre-Petition

Obligations were fully secured pursuant to the Pre-Petition Loan Documents by valid, perfected,

enforceable and non-avoidable first-priority security interests and liens granted by Debtors for

fair consideration and reasonably equivalent value to Agent, for the benefit of itself and the other

Lenders under the Pre-Petition Loan Documents, in and upon all of the Pre-Petition Collateral

(as defined in the Ratification Agreement and hereinafter referred to as the “Pre-Petition

Collateral”), subject only to the Carve Out, and to the liens specifically permitted under Section

9.8 of the Pre-Petition Loan Agreement to the extent that such security interests, liens or

encumbrances are (A) valid, perfected and non-avoidable security interests, liens or

encumbrances existing as of the Petition Date securing valid, binding and unavoidable debt

permitted under the Pre-Petition Loan Documents (or perfected after the Petition Date pursuant

to section 546(b) of the Bankruptcy Code), and (B) senior to, have not been, and are not subject

to being subordinated to Agent’s and Lenders’ liens on and security interests in the Pre-Petition

Collateral under the Pre-Petition Loan Documents or otherwise avoided, and, in each instance,

only for so long as and to the extent that such encumbrances are and remain senior and

outstanding (hereinafter referred to as the “Permitted Liens”). The Debtors do not possess and

will not assert any claim, counterclaim, setoff or defense of any kind, nature or description which

would in any way affect the validity, enforceability and non-avoidability of any of Agent’s and

Lenders’ liens, claims or security interests in the Pre-Petition Collateral.

            (iv)       Default by the Debtors. The Debtors acknowledge and stipulate that the

Loan Parties are in default of their obligations under the Pre-Petition Loan Documents.

            (v)        Proof of Claim. The acknowledgment by Debtors of the Pre-Petition

Obligations and the liens, rights, priorities and protections granted to or in favor of Agent and




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Lenders in respect of the Pre-Petition Collateral as set forth herein and in the Pre-Petition Loan

Documents shall be deemed a timely filed proof of claim on behalf of Agent and the Lenders in

these Cases.

            (vi)        Intercreditor Agreement. Agent and Sun Retail Finance Holdings, LLC, a

Delaware limited liability company are parties to that certain Intercreditor Agreement dated as of

February 7, 2012 (as amended, supplemented or otherwise modified from time to time, the

“Intercreditor Agreement”), which (x) confirms the senior priority of the security interests of

Agent in the assets and properties of Borrowers and Guarantors to the security interests of Pre-

Petition Junior Lender; (y) acknowledges and confirms the subordination of all liens and claims

held by the Pre-Petition Junior Lender against each Borrower and Guarantor and the Pre-Petition

Collateral to all such liens and claims held by the Agent and Lenders, and (z) provides certain

other rights and obligations between Agent and Lenders, on the one hand, and the Pre-Petition

Junior Lender, on the other hand, relating to the Pre-Petition Collateral.

       G.        Findings Regarding the Post-Petition Financing.

               (i)      Post-Petition Financing. The Debtors have requested from each of the

Agent and the Lenders, and the Agent and Lenders are willing, to extend certain loans, advances

and other financial accommodations on the terms and conditions set forth in this Interim Order,

the Loan Agreement and the other Financing Agreements (as defined in the Ratification

Agreement), respectively.

            (ii)        Need for Post-Petition Financing. The Debtors do not have sufficient

available sources of working capital, including cash collateral, to operate their businesses in the

ordinary course of business without the financing requested in the Motion. The Debtors’ ability

to maintain business relationships with their vendors, suppliers and customers, to pay their




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employees, and to otherwise fund their operations is essential to the Debtors’ continued viability

as the Debtors seek to maximize the value of the assets of the Estates (as defined below). The

ability of the Debtors to obtain sufficient working capital and liquidity through the proposed

post-petition financing arrangements with the Agent and Lenders as set forth in this Interim

Order, the Loan Agreement, and other Financing Agreements, as applicable, is vital to the

preservation and maintenance of the going concern value of each Debtor. Accordingly, the

Debtors have an immediate need to obtain the post-petition financing in order to, among other

things, permit the orderly continuation of the operation of their businesses, minimize the

disruption of their business operations, and preserve and maximize the value of the assets of the

Debtors’ bankruptcy estates (as defined under § 541 of the Bankruptcy Code, the “Estates”) in

order to maximize the value of the Estates.

           (iii)      No Credit Available on More Favorable Terms. The Debtors are unable to

procure financing in the form of unsecured credit allowable as an administrative expense under

§§ 364(a), 364(b), or 503(b)(1) of the Bankruptcy Code or in exchange for the grant of a

superpriority administrative expense, junior liens on encumbered property of the Estates, or liens

on property of the Estates not subject to a lien pursuant to § 364(c)(1), 364(c)(2) or 364(c)(3) of

the Bankruptcy Code. The Debtors have been unable to procure the necessary financing on

terms more favorable, taken as a whole, than the financing offered by each of the Agent and

Lenders pursuant to the Financing Agreements.

           (iv)       Budget. The Debtors have prepared and delivered to Agent and Lenders

an initial 13-week budget (as defined in the Ratification Agreement, the “Budget”) a summary of

which is attached hereto as Exhibit 2. Such Budget has been thoroughly reviewed by the

Debtors and their management and sets forth, among other things, the projected cash receipts and




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disbursements of the Debtors for the periods covered thereby. The Debtors represent that the

Budget is achievable in accordance with the terms of the Financing Agreements and this Interim

Order. The Agent and Lenders are relying upon the Debtors’ compliance with the Budget in

accordance with Section 5.3 of the Ratification Agreement, the other Financing Agreements, and

this Interim Order in determining to enter into the post-petition financing arrangements provided

for herein. For the avoidance of doubt, all references to the Budget shall be subject in all

respects to any permitted variances.

            (v)       Business Judgment and Good Faith Pursuant to § 364(e). The terms of the

Financing Agreements and this Interim Order are fair, just and reasonable under the

circumstances, are ordinary and appropriate for secured financing to debtors-in-possession,

reflect the Debtors’ exercise of their prudent business judgment consistent with their fiduciary

duties, and are supported by reasonably equivalent value and fair consideration. The terms and

conditions of the Financing Agreements and this Interim Order have been negotiated in good

faith and at arms’ length by and among the Debtors and Agent, with all parties being represented

by counsel. Any credit extended under the terms of this Interim Order shall be deemed to have

been extended in good faith by the Agent and Lenders, as that term is used in § 364(e) of the

Bankruptcy Code.

           (vi)       Good Cause. The relief requested in the Motion is necessary, essential

and appropriate, and is in the best interest of and will benefit the Debtors, their creditors and

their Estates, as its implementation will, among other things, provide the Debtors with the

necessary liquidity to (1) minimize disruption to the Debtors’ businesses and ongoing operations,

(2) preserve and maximize the value of the Debtors’ Estates for the benefit of all the Debtors’




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creditors, and (3) avoid immediate and irreparable harm to the Debtors, their creditors, their

businesses, their employees, and their assets.

             (vii)      Immediate Entry.      Sufficient cause exists for immediate entry of this

Interim Order pursuant to Bankruptcy Rule 4001(c)(2). No party appearing in the Cases has

filed or made an objection to the relief sought in the Motion or the entry of this Interim Order, or

any objections that were made (to the extent such objections have not been withdrawn, waived,

resolved, or settled) are hereby overruled.

       Based upon the foregoing, and after due consideration and good cause appearing therefor;

       IT IS HEREBY ORDERED THAT:

Section 1.       Authorization and Conditions to Financing.

                 1.1    Motion Granted. The Motion is granted in accordance with Bankruptcy

Rule 4001(c)(2) to the extent provided in this Interim Order. Except as otherwise expressly

provided in this Interim Order, any objection to the entry of this Interim Order that has not been

withdrawn, waived, resolved or settled, is hereby denied and overruled on the merits.

                 1.2    Authorization to Borrow, Guaranty, and Use Loan Proceeds. Borrowers

are hereby authorized and empowered to immediately borrow and obtain Loans, Letters of Credit

and to incur indebtedness and other Post-Petition Obligations (as defined in the Ratification

Agreement and hereinafter referred to as the “Post-Petition Obligations” and solely as related to

the Revolving Loans A and Revolving Loans A-1, the “Post-Petition ABL Obligations”), and the

Guarantors are hereby authorized to guaranty such Post-Petition Obligations, up to an aggregate

amount equal to the sum of (i) 115% of all disbursements for the Interim Financing Period (as

defined below) in the “Total Disbursements” line item of the Budget, plus (ii) all interest, costs,

and fees, accrued or accruing under the Loan Agreement and other Financing Agreements, all




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pursuant to the terms and conditions of this Interim Order, the Loan Agreement, and the other

Financing Agreements during the period commencing on the date of this Interim Order through

and including the entry of the Final Order (the “Interim Financing Period”). Subject to the terms

and conditions contained in this Interim Order and the Financing Agreements, Borrowers shall

use the proceeds of the Loans, Letters of Credit and other credit and financial accommodations

provided by Agent and Lenders under the Loan Agreement and the other Financing Agreements

solely for payment of expenses set forth in the Budget and amounts owing to Agent and Lenders

and Debtors’ Professionals in accordance with the terms and conditions of the Financing

Agreements and this Interim Order.

               1.3    Financing Documents

                      (a)     Authorization.    Debtors are hereby authorized to enter into,

execute, deliver, perform, and comply with all of the terms, conditions and covenants of the

Loan Agreement and the other Financing Agreements. Upon execution and delivery of the Loan

Agreement and the other Financing Agreements, such agreements and documents shall constitute

valid and binding obligations of the Debtors, enforceable against each Debtor party thereto in

accordance with the terms of such agreements, documents and this Interim Order. Subject to the

rights of the Committee and all other parties in interest under Section 4.1 hereof (as provided in

Section 1.5 hereof), no obligation, payment, transfer or grant of security under the Loan

Agreement, the other Financing Agreements or this Interim Order shall be stayed, restrained,

voidable, or recoverable under the Bankruptcy Code or under any applicable law (including,

without limitation, under § 502(d) of the Bankruptcy Code), or be subject to any defense,

reduction, setoff, recoupment or counterclaim. The Debtors are hereby authorized and directed

to pay, in accordance with this Interim Order, the principal, interest, fees, expenses and other




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amounts described in the Financing Agreements as such become due and without need to obtain

further Court approval, including, without limitation, closing fees, letter of credit fees (including

issuance, fronting, and other related charges), unused facility fees, continuing commitment fees,

backstop fees, exit fees, servicing fees, yield maintenance premiums, audit fees, appraisal fees,

liquidator fees, structuring fees, administrative agent’s fees, the reasonable and documented fees

and disbursements of the Agent’s attorneys, advisors, accountants, and other consultants,

whether or not such fees arose before or after the Petition Date, and whether or not the

transactions contemplated hereby are consummated, to implement all applicable reserves and to

take any other actions that may be necessary or appropriate, all to the extent provided in this

Interim Order or the Financing Agreements. Upon execution and delivery, the Loan Agreement

and other Financing Agreements shall represent valid and binding obligations of the Debtors,

enforceable against each of the Debtors and their estates in accordance with their terms.

                       (b)      Approval; Evidence of Borrowing Arrangements.            All terms,

conditions and covenants set forth in the Financing Agreements (including, without limitation,

the Loan Agreement) are approved to the extent necessary to implement the terms and provisions

of this Interim Order.       All such terms, conditions and covenants shall be sufficient and

conclusive evidence of (a) the borrowing arrangements by and among Debtors, Agent and

Lenders, and (b) each Debtor’s assumption and adoption of all of the terms, conditions, and

covenants of the Loan Agreement and the other Financing Agreements for all purposes,

including, without limitation, to the extent applicable, the payment of all Obligations arising

thereunder, including, without limitation, all principal, interest, fees and other expenses,

including, without limitation, all of Agent’s and Lenders’ consultant fees, professional fees,

attorney fees and legal expenses, as more fully set forth in the Financing Agreements.




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                      (c)    Amendment. Subject to the terms and conditions of the Loan

Agreement and the other Financing Agreements, Debtors and Agent may amend, modify,

supplement or waive any provision of the Financing Agreements (a “DIP Loan Amendment”)

without further approval or order of the Court, so long as (a) such DIP Loan Amendment is not

material (for purposes hereof, a “material” DIP Loan Amendment shall mean any DIP Loan

Amendment that operates to increase the interest rate other than as currently provided in the

Financing Agreements, increase the Maximum Credit, increase or add an additional early

termination fee, prepayment or repayment premium, add specific new events of default or

enlarge the nature and extent of default remedies available to Agent and Lenders following an

event of default) and is undertaken in good faith by Agent, Lenders and Debtors; (b) the Debtors

provide prior written notice of the DIP Loan Amendment (the “DIP Loan Amendment Notice”)

to (i) the U.S. Trustee, and (ii) counsel to any Committee, or in the event no such Committee is

appointed at the time of such DIP Loan Amendment, the 30 Largest Unsecured Creditors

(collectively, the “Notice Parties”), and (c) the Debtors file the DIP Loan Amendment Notice

with the Court; provided, however, that neither consent of the Notice Parties nor approval of the

Court will be necessary to effectuate any such amendment, modification or supplement, and

provided further that such amendment, modification or supplement shall be without prejudice to

the right of any party in interest to be heard. Any material DIP Loan Amendment to the

Financing Agreements must be approved by the Court to be effective.

              1.4     Payment of Pre-Petition Debt. The Debtors are authorized to repay all

Pre-Petition Obligations in accordance with the Loan Agreement, the other Financing

Agreements and this Interim Order, including, without limitation, Sections 1.5 and 1.6 of this

Interim Order. For the avoidance of any doubt, the rights of the Committee with respect to the




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validity, extent, and priority of the Pre-Petition Obligations and the liens securing the Pre-

Petition Obligations are fully reserved and preserved to the extent provided in section 4.1 of this

Interim Order.

                 1.5   Payments and Application of Payments & Collateral Proceeds; Gradual

Roll-Up. The Debtors are authorized to make all payments and transfers of Estate property to

the Agent as provided for, permitted and/or required under the Loan Agreement and the other

Financing Agreements, which payments and transfers shall not be avoidable or recoverable from

the Agent or any Lender under §§ 547, 548, 550, 553 or any other section of the Bankruptcy

Code, or by reason of any other claim, charge, assessment, or other liability, whether by

application of the Bankruptcy Code, other law or otherwise. All proceeds of the Collateral (as

defined herein) received by the Agent or any Lender, and any other amounts or payments

received by the Agent or any Lender in respect of the Post-Petition Obligations, may be applied

or deemed to be applied by the Agent, in its discretion, first to the indefeasible repayment in full

of the Pre-Petition ABL Obligations, and then in repayment of the Post-Petition Obligations, all

in accordance with the Loan Agreement, the other Financing Agreements and this Interim Order.

Without limiting the generality of the foregoing, the Debtors are authorized without further order

of this Court to pay or reimburse Agent and the Lenders for future costs and expenses, including,

without limitation, all professional fees, consultant fees and legal fees and expenses paid or

incurred by the Agent or the Lenders in connection with the financing transactions as provided in

this Interim Order and the Financing Agreements, all of which shall be and are included as part

of the principal amount of the Post-Petition Obligations and secured by the Collateral (as defined

herein).




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               1.6     Continuation of Pre-Petition Procedures. Except to the extent expressly

set forth in the Financing Agreements, all pre-petition practices and procedures for the payment

and collection of proceeds of the Collateral (as defined herein), the turnover of cash, the delivery

of property to the Agent and the Lenders, including the Deposit Account Control Agreements (as

such term is defined in the Loan Agreement) and any other similar lockbox or blocked

depository bank account arrangements, are hereby approved and shall continue without

interruption after the commencement of the Cases.


Section 2.     Post-Petition Lien; Superpriority Administrative Claim Status.

               2.1     Post-Petition Lien.

                       (a)     Post-Petition Lien Granting. To secure the prompt payment and

performance of any and all Post-Petition Obligations (as defined in the Loan Agreement) of

Debtors to the Agent and Lenders of whatever kind, nature or description, absolute or contingent,

now existing or hereafter arising, Agent, for the benefit of itself and the other Lenders, shall have

and is hereby granted, effective as of the Petition Date, valid and perfected first-priority security

interests and liens, superior to all other liens, claims or security interests that any creditor of any

of the Debtors’ Estates may have (but subject to the Carve-Out (as defined below) and the

Permitted Liens), in and upon all of the Collateral (as defined in the Loan Agreement and

referred to herein as the “Collateral”). For the avoidance of doubt, solely for purposes of this

Interim Order, “Collateral” does not include (i) any of the Debtors’ unexpired real property

leases to the extent that such unexpired leases prohibit the non-consensual grant of security

interests or liens in such unexpired leases (in which case, the Collateral shall include the

proceeds of such unexpired leases) and (ii) prior to the entry of the Final Order, any property




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recovered as a result of transfers or obligations avoided or actions maintained or taken Chapter 5

of the Bankruptcy Code (the “Avoidance Actions”).

                       (b)    Lien Priority in Collateral. The liens and security interests of

Agent and Lenders granted under the Financing Agreements and this Interim Order in the

Collateral securing all Post-Petition Obligations (as defined in the Loan Agreement) shall be first

and senior in priority to all other interests and liens of every kind, nature and description,

whether created consensually, by an order of the Court or otherwise, including, without

limitation, liens or interests granted in favor of third parties in conjunction with §§ 363, 364 or

any other section of the Bankruptcy Code or other applicable law; provided, however, that

Agent’s and Lenders’ liens on and security interests in the Collateral shall be subject only to (a)

Permitted Liens, and (b) the Carve-Out (as defined below).

                       (c)    Right of Repayment. The right of Agent and Lenders to repayment

in accordance with the Financing Agreements and this Interim Order from the sale or other

disposition of the Collateral, or any proceeds thereof, shall be first and senior in priority to all

other rights of repayment of every kind, nature, and description (other than the Carve-Out).

                       (d)    Post-Petition Lien Perfection.       This Interim Order shall be

sufficient and conclusive evidence of the priority, perfection and validity of the post-petition

liens and security interests granted herein, effective as of the Petition Date, without any further

act and without regard to any other federal, state or local requirements or law requiring notice,

filing, registration, recording or possession of the Collateral, or other act to validate or perfect

such security interest or lien, including without limitation, control agreements with any financial

institution(s) party to a Deposit Account Control Agreement or holding a Blocked Account (as

defined in the Loan Agreement) or other depository account consisting of Collateral (a




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“Perfection Act”). Notwithstanding the foregoing, if Agent, shall, in its sole discretion, elect for

any reason to file, record or otherwise effectuate any Perfection Act, then Agent is authorized to

perform such act, and the Debtors are authorized to perform such act to the extent necessary or

required by Agent, which act or acts shall be deemed to have been accomplished as of the date

and time of entry of this Interim Order notwithstanding the date and time actually accomplished,

and in such event, the subject filing or recording office is authorized to accept, file or record any

document in regard to such act in accordance with applicable law. Agent may choose to file,

record or present a certified copy of this Interim Order in the same manner as a Perfection Act,

which shall be tantamount to a Perfection Act, and, in such event, the subject filing or recording

office is authorized to accept, file or record such certified copy of this Interim Order in

accordance with applicable law. Should Agent so choose and attempt to file, record or perform a

Perfection Act, no defect or failure in connection with such attempt shall in any way limit, waive

or alter the validity, enforceability, attachment, or perfection of the post-petition liens and

security interests granted herein by virtue of the entry of this Interim Order.

                       (e)     Nullifying Pre-Petition Restrictions to Post-Petition Financing.

Notwithstanding anything to the contrary contained in any pre-petition agreement, contract,

lease, document, note or instrument to which any Debtor is a party or under which any Debtor is

obligated, except as otherwise permitted under the Financing Agreements, any provision that

restricts, limits or impairs in any way any Debtor from granting Agent security interests in or

liens upon any of the Debtors’ assets or properties (including, among other things, any anti-lien

granting or anti-assignment clauses in any leases or other contractual arrangements to which any

Debtor is a party) under the Financing Agreements or this Interim Order, as applicable, or

otherwise entering into and complying with all of the terms, conditions and provisions hereof or




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of the Financing Agreements, shall not (a) be effective and/or enforceable against any such

Debtor(s), Agent or Lender(s), as applicable, or (b) adversely affect the validity, priority or

enforceability of the liens, security interests, claims, rights, priorities and/or protections granted

to Agent and Lenders pursuant to this Interim Order or the Financing Agreements, in each case,

to the maximum extent permitted under the Bankruptcy Code and other applicable law.

               2.2     Superpriority Administrative Expenses. For all Post-Petition Obligations

now existing or hereafter arising pursuant to this Interim Order, the Financing Agreements or

otherwise, Agent, for the benefit of itself and the other Lenders, is granted an allowed

superpriority administrative claim pursuant to § 364(c)(1) of the Bankruptcy Code, having

priority in right of payment over any and all other obligations, liabilities and indebtedness of

Debtors (other than the Carve-Out), whether now in existence or hereafter incurred by Debtors,

and over any and all administrative expenses or priority claims of the kind specified in, or

ordered pursuant to, inter alia, §§ 105, 326, 328, 330, 331, 503(b), 506(c), 507(a), 507(b),

364(c)(1), 546(c), 726, 1113 or 1114 of the Bankruptcy Code (other than the Carve-Out),

whether or not such expenses or claims may become secured by a judgment lien or other non-

consensual lien, levy or attachment, which allowed superpriority administrative claim shall be

payable from and have recourse to all pre-petition and post-petition property of the Debtors and

all proceeds thereof (the “Post-Petition Superpriority Claim”).

               2.3     Carve-Out.

               (a)     Carve-Out. As used in this Interim Order, the “Carve Out” means the sum

of (i) all fees required to be paid to the Clerk of the Court and to the Office of the United States

Trustee under section 1930(a) of title 28 of the United States Code plus interest at the statutory

rate; (ii) all reasonable fees and expenses up to $50,000 incurred by a trustee under section




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726(b) of the Bankruptcy Code (the “Chapter 7 Trustee Carve-Out”); (iii) to the extent allowed

at any time, whether by interim order, procedural order, or otherwise (and, in the case of the

Committee Professionals (as defined below), subject to the Budget), all unpaid fees and expenses

(the “Allowed Professional Fees”) incurred by persons or firms retained by the Debtors pursuant

to section 327, 328, or 363 of the Bankruptcy Code (the “Debtor Professionals”) and, (subject to

the Budget) the Creditors’ Committee pursuant to section 328 or 1103 of the Bankruptcy Code

(the “Committee Professionals” and, together with the Debtor Professionals, the “Professional

Persons”) at any time before or on the first business day following delivery by the Agent of a

Carve Out Trigger Notice (as defined below), whether allowed by the Court prior to or after

delivery of a Carve Out Trigger Notice; and (iv) Allowed Professional Fees of Professional

Persons in an aggregate amount not to exceed $2,500,000 incurred after the first business day

following delivery by the Agent of the Carve Out Trigger Notice, to the extent allowed at any

time, whether by interim order, procedural order, or otherwise (the amounts set forth in this

clause (iv) being the “Post-Carve Out Trigger Notice Cap”). 4 For purposes of the foregoing,

“Carve Out Trigger Notice” shall mean a written notice delivered by email (or other electronic

means) by the Agent to the Debtors, their lead restructuring counsel, the U.S. Trustee, and

counsel to the Creditors’ Committee, which notice may be delivered following the occurrence

and during the continuation of an Event of Default and acceleration of the Post-Petition




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    Notwithstanding the foregoing, up to $500,000 of the Post-Carve Out Trigger Notice Cap may
         be used to pay Allowed Professional Fees of Professional Persons incurred prior to the
         delivery of a Carve Out Trigger Notice to the extent such Allowed Professional Fees
         exceed the Professional Fee Carve Out Cap (as defined below).




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Obligations under the Loan Agreement, respectively, stating that the Post-Carve Out Trigger

Notice Cap has been invoked.

               (b)    Fee Estimates. Not later than 7:00 p.m. New York time on the third

business day of each week starting with the first full calendar week following the Closing Date,

each Professional Person shall deliver to the Debtors a statement setting forth a good-faith

estimate of the amount of fees and expenses incurred during the preceding week by such

Professional Person (through Saturday of such week, the “Calculation Date”) (collectively,

“Estimated Fees and Expenses”), along with a good-faith estimate of the cumulative total amount

of unreimbursed fees and expenses incurred through the applicable Calculation Date and a

statement of the amount of such fees and expenses that have been paid to date by the Debtors

(each such statement, a “Weekly Statement”); provided, that within one business day of the

occurrence of the Termination Declaration Date (as defined below), each Professional Person

shall deliver one additional statement (the “Final Statement”) setting forth a good-faith estimate

of the amount of fees and expenses incurred during the period commencing on the calendar day

after the most recent Calculation Date for which a Weekly Statement has been delivered and

concluding on the Termination Declaration Date. If any Professional Person fails to deliver a

Weekly Statement within three calendar days after such Weekly Statement is due, such

Professional Person’s entitlement (if any) to any funds in the Carve Out Accounts (as defined

below) with respect to the aggregate unpaid amount of Allowed Professional Fees for the

applicable period(s) for which such Professional Person failed to deliver a Weekly Statement

covering such period shall be limited to the aggregate unpaid amount of Allowed Professional

Fees included in the Budget (as defined in the Ratification Agreement, the “Budget”) for such

period for such Professional Person; provided, that such Professional Person shall be entitled to




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be paid any unpaid amount of Allowed Professional Fees in excess of Allowed Professional Fees

included in the Budget for such period for such Professional Person from a reserve to be funded

by the Debtors from all cash on hand as of such date and any available cash thereafter held by

any Debtor pursuant to paragraph 2.3(c) below. Any deemed draw and borrowing pursuant to

paragraph 2.3(c)(i)(x) for amounts under paragraph 2.3(a)(iii) above shall be limited to the

greater of (x) the sum of (I) the aggregate unpaid amount of Estimated Fees and Expenses

included in such Weekly Statements timely received by the Debtors prior to the Termination

Declaration Date plus, without duplication, and (II) the aggregate unpaid amount of Estimated

Fees and Expenses included in the Final Statements timely received by the Debtors pertaining to

the period through and including the Termination Declaration Date, and (y) the aggregate unpaid

amount of Allowed Professional Fees included in the Budget for the period prior to the

Termination Declaration Date (such amount, the Professional Fee Carve Out Cap”). For the

avoidance of doubt, the Agent shall be entitled to maintain at all times a reserve (the “Carve-Out

Reserve”) in an amount (the “Carve-Out Reserve Amount”) equal to the sum of (i) the greater of

(x) the aggregate unpaid amount of Estimated Fees and Expenses included in all Weekly

Statements timely received by the Debtors, and (y) the aggregate amount of Allowed

Professional Fees contemplated to be unpaid in the Budget at the applicable time, plus (ii) the

Post-Carve Out Trigger Notice Cap, plus (iii) an amount equal to the amount of Allowed

Professional Fees set forth in the Budget for the following week occurring after the most recent

Calculation Date, plus (iv) the amounts contemplated under paragraph 2.3(a)(i) and 2.3(a)(ii)

above. Not later than 7:00 p.m. New York time on the fourth business day of each week starting

with the first full calendar week following the Closing Date, the Debtors shall deliver to the ABL

Agent or Term Loan B Agent a report setting forth the Carve-Out Reserve Amount as of such




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time (the “Fee Report”), and, in setting the Carve-Out Reserve, the Agent or Lenders shall be

entitled to rely upon such reports in accordance with the Loan Agreement. Prior to the delivery

of the first report setting forth the Carve-Out Reserve Amount, the Agent shall calculate the

Carve-Out Reserve Amount by reference to the Budget for subsection (i) of the Carve-Out

Reserve Amount.

              (c)     Carve Out Reserves.      The delivery of each Fee Report shall be

accompanied by a formal borrowing request through the CEO portal and shall be (i) deemed a

draw request and notice of borrowing by the Debtors for Revolving Loans under the Loan

Agreement in an amount equal to the difference between (a) the current balance of the Pre-Carve

Out Trigger Notice Reserve (as defined below) and (b) the greater of (x) the aggregate unpaid

amount of Estimated Fees and Expenses included in all Weekly Statements timely received by

the Debtors (as reflected in the Fee Report), and (y) the aggregate amount of Allowed

Professional Fees contemplated to be unpaid in the Budget at the applicable time; and (ii) a

direction from the Debtors to Agent to promptly wire the proceeds of such draw request to the

Pre-Carve Out Trigger Notice Reserve (as defined below); provided that, upon the foregoing

funding, the Agent and Lenders shall have no further obligation to fund the Pre-Carve Out

Trigger Notice Reserve on account of any Allowed Professional Fees incurred through the

Calculation Date for the most recent Fee Report delivered in accordance with Section 2.3(b)

above. On the day on which a Carve Out Trigger Notice is given by the Agent to the Debtors

with a copy to counsel to the Creditors’ Committee (the “Termination Declaration Date”), the

Carve Out Trigger Notice shall be deemed a draw request and notice of borrowing by the

Debtors for Revolving Loans under the Loan Agreement in an amount equal to the sum of (x) the

amounts set forth in paragraphs (a)(i) and (a)(ii), above, and (y) the then unpaid amounts of the




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Allowed Professional Fees up to the Professional Fee Carve Out Cap (any such amounts actually

advanced shall constitute Revolving Loans), and shall also constitute a demand to the Debtors to

utilize all cash on hand as of such date and any available cash thereafter held by any Debtor to

fund a reserve in an amount equal to the then unpaid amounts of the Allowed Professional Fees

(which cash amounts shall reduce, on a dollar for dollar basis, the draw requests and applicable

Revolving Loans pursuant to the foregoing clause of this paragraph (c)). The Debtors shall

deposit and hold such amounts in a segregated account at the Agent (or such other institution as

the Agent and the Debtors agree) in trust exclusively to pay such unpaid Allowed Professional

Fees (the “Pre-Carve Out Trigger Notice Reserve”). On the Termination Declaration Date, the

Carve Out Trigger Notice shall also be deemed a request by the Debtors for (1) Revolving Loans

under the Loan Agreement in an amount equal to the Post-Carve Out Trigger Notice Cap (any

such amounts actually advanced shall constitute Revolving Loans), and shall also constitute a

demand to the Debtors to utilize all cash on hand as of such date and any available cash

thereafter held by any Debtor to fund a reserve in an amount equal to Post-Carve Out Trigger

Notice Cap (which cash amounts shall reduce, on a dollar for dollar basis, the draw requests and

applicable Revolving Loans pursuant to the foregoing clause of this paragraph (c)). The Debtors

shall deposit and hold such amounts in a segregated account at the Agent in trust exclusively to

pay such Allowed Professional Fees benefiting from the Post-Carve Out Trigger Notice Cap (the

“Post-Carve Out Trigger Notice Reserve” and, together with the Pre-Carve Out Trigger Notice

Reserve, the “Carve Out Reserves”). On the third business day following the Termination

Declaration Date and the deemed requests for the making of Revolving Loans as provided in this

paragraph (c), notwithstanding anything in the Loan Agreement to the contrary, including with

respect to (1) the existence of a Default or Event of Default, (2) the failure of the Debtors to




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satisfy any or all of the conditions precedent for the making of any Revolving Loans under the

Loan Agreement, (3) any termination of the Commitments following an Event of Default, or (4)

the occurrence of the Maturity Date, each Lender with an outstanding Commitment shall make

available to the Agent, as applicable, such Lender’s pro rata share of such Loans, as applicable.

For the avoidance of doubt, the Carve Out Reserves shall constitute the primary source for

payment of Allowed Professional Fees entitled to benefit from the Carve Out, and any lien

priorities or superpriority claims granted pursuant to this Interim Order to secure payment of the

Carve Out shall be limited to any shortfall in funding as provided below.

               (d)     Application of Carve Out Reserves. (i) All funds in the Pre-Carve Out

Trigger Notice Reserve shall be used first to pay the obligations set forth in subparagraphs

(a)(i) through (a)(iii) of the definition of Carve Out set forth above (the “Pre-Carve Out

Amounts”), but not, for the avoidance of doubt, the Post-Carve Out Trigger Notice Cap (other

than amounts up to $500,000 to the extent the Pre-Carve Out Amounts exceed the Professional

Fee Carve Out Cap), until paid in full. If the Pre-Carve Out Trigger Notice Reserve has not been

reduced to zero, subject to clause (iii), below, all remaining funds shall be distributed first to the

Agent on account of the applicable Obligations until indefeasibly paid in full, in cash, all

Commitments have been terminated, and all Letters of Credit have been cancelled (or all such

Letters of Credit have been fully cash collateralized or otherwise back-stopped, in each case to

the satisfaction of the applicable Issuing Bank), and thereafter to the Prepetition ABL Lenders

in accordance with their rights and priorities as of the Petition Date.

               (ii)    All funds in the Post-Carve Out Trigger Notice Reserve (other than up to

$500,000, which may be used to pay Pre-Carve Out Amounts to the extent they exceed the

Professional Fee Carve Out Cap) shall be used first to pay the obligations set forth in clause (iv)




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of the definition of Carve Out set forth above (the “Post-Carve Out Amounts”).               If the

Post-Carve Out Trigger Notice Reserve has not been reduced to zero, subject to clause (iii),

below, all remaining funds shall be distributed first to the Agent on account of the applicable

Obligations until indefeasibly paid in full, in cash, all Commitments have been terminated, and

all Letters of Credit have been cancelled (or all such Letters of Credit have been fully cash

collateralized or otherwise back-stopped, in each case to the satisfaction of the applicable Issuing

Bank), and thereafter to the Prepetition ABL Lenders in accordance with their rights and

priorities as of the Petition Date.

                (iii)   Notwithstanding anything to the contrary in the Financing Agreements or

this Interim Order, if either of the Carve Out Reserves is not funded in full in the amounts set

forth in this paragraph (c), then, any excess funds in one of the Carve Out Reserves following the

payment of the Pre-Carve Out Amounts and Post-Carve Out Amounts, respectively, shall be

used to fund the other Carve Out Reserve to the extent of any shortfall in funding prior to making

any payments to the ABL Agent or the Prepetition ABL Lenders, as applicable.

                (iv)    Notwithstanding anything to the contrary in the Financing Agreements or

the Interim Order, following the third business day after delivery of a Carve Out Trigger Notice,

the ABL Agent, the Prepetition ABL Agent, the Term Loan B Agent, and the Prepetition Term

Loan Agent shall not sweep or foreclose on cash (including cash received as a result of the sale

or other disposition of any assets) of the Debtors until the Carve Out Reserves have been fully

funded, but shall have a security interest in any residual interest in the Carve Out Reserves, with

any excess paid as provided in paragraphs (ii) and (iii) above.

                (v)     Notwithstanding anything to the contrary in this Interim Order, (i) the

failure of the Carve Out Reserves to satisfy in full the Allowed Professional Fees shall not affect




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the priority of the Carve Out with respect to any shortfall (as described below), and (ii) subject to

the limitations with respect to the ABL Agent, ABL Lenders, Prepetition ABL Agent and

Prepetition ABL Lenders set forth in paragraph (b), above, in no way shall the Initial Budget,

any Approved Budget, Annual Operating Forecast, Carve Out, Post-Carve Out Trigger Notice

Cap or Carve Out Reserves be construed as a cap or limitation on the amount of the Allowed

Professional Fees due and payable by the Debtors. For the avoidance of doubt and

notwithstanding anything to the contrary herein or in the Loan Agreement, the Carve Out shall

be senior to all liens and claims securing the Loan Agreement, the Adequate Protection Liens,

and the Diminution in Value claims, and any and all other forms of adequate protection, liens, or

claims securing the Post-Petition Obligations or the Pre-Petition Obligations.

       (d)     No Direct Obligation To Pay Allowed Professional Fees. The Agent and the

Lenders shall not be responsible for the payment or reimbursement of any fees or disbursements

of any Professional Person incurred in connection with the Cases or any Successor Cases under

any chapter of the Bankruptcy Code. Nothing in this Final Order or otherwise shall be construed

to obligate the Agent or the Lenders, or any Issuing Bank, in any way, to pay compensation to, or

to reimburse expenses of, any Professional Person or to guarantee that the Debtors have

sufficient funds to pay such compensation or reimbursement.

       (e)     Payment of Allowed Professional Fees Prior to the Termination Declaration

Date. Any payment or reimbursement made prior to the occurrence of the Termination

Declaration Date in respect of any Allowed Professional Fees shall not reduce the Carve Out;

provided that, upon the funding in the first sentence of Section 2.3(c) above, the Agent and

Lenders shall have no further obligation to fund the Pre-Carve Out Trigger Notice Reserve on




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account of any Allowed Professional Fees incurred through the Calculation Date for the most

recent Fee Report delivered in accordance with Section 2.3(b) above.

       (f)     Payment of Carve Out On or After the Termination Declaration Date. Any

payment or reimbursement made on or after the occurrence of the Termination Declaration Date

in respect of any Allowed Professional Fees shall permanently reduce the Carve Out on a dollar-

for-dollar basis. Any funding of the Carve Out shall be added to, and made a part of, the

Obligations secured by the Post-Petition Collateral and shall be otherwise entitled to the

protections granted under this Final Order, the Financing Agreements, the Bankruptcy Code, and

applicable law.

               2.4     Payment of Carve-Out.

                       Payment from the Carve-Out, whether by or on behalf of the Agent or any

Lender, shall not and shall not be deemed to reduce the Post-Petition Obligations, and shall not

and shall not be deemed to subordinate any of any of Agent’s or Lender’s liens and security

interests in the Pre-Petition Collateral, any other Collateral, the Pre-Petition Adequate Protection

Superpriority Claim (as defined below), or the Post-Petition Superpriority Claim to any junior

pre- or post-petition lien, interest or claim in favor of any other party.

               2.5     Excluded Professional Fees.

                       (a)     Notwithstanding anything to the contrary in this Interim Order,

neither the proceeds of Collateral or any Loans, Letters of Credit or any other credit or financial

accommodations provided under or in connection with the Financing Agreements shall be used

to pay any Allowed Professional Fees or any other fees or expenses incurred by any Professional

in connection with any of the following:




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                     (i)     an assertion or joinder in any claim, counter-claim, action,

      proceeding, application, motion, objection, defense or other contested matter seeking any

      order, judgment, determination or similar relief: (A) challenging the legality, validity,

      priority, perfection, or enforceability of (I) the Pre-Petition Obligations or Agent’s and

      any Lender’s liens on and security interests in the Pre-Petition Collateral, or (II) the Post-

      Petition Obligations or Agent’s or any Lender’s liens on and security interests in the

      Collateral; (B) invalidating, setting aside, avoiding, recharacterizing or subordinating, in

      whole or in part, (I) the Pre-Petition Obligations or the Agent’s and Lenders’ liens on and

      security interests in the Pre-Petition Collateral, or (II) the Post-Petition Obligations or

      Agent’s or Lenders’ liens on and security interests in the Collateral; or (C) preventing,

      hindering or delaying Agent’s or Lenders’ assertion or enforcement of any lien, claim,

      right or security interest or realization upon any Collateral in accordance with the terms

      and conditions of the Loan Agreement, the Financing Agreements, and this Interim

      Order;

                     (ii)    a request to use Cash Collateral (as such term is defined in

      section 363 of the Bankruptcy Code) without the prior written consent of Agent;

                     (iii)   a request for authorization to obtain debtor-in-possession financing

      or other financial accommodations pursuant to section 364(c) or § 364(d) of the

      Bankruptcy Code or otherwise incur Indebtedness (as defined in the Loan Agreement)

      without the prior written consent of Agent (except to the extent permitted under the

      Financing Agreements);

                     (iv)    the commencement or prosecution of any action or proceeding of

      any claims, causes of action or defenses against Agent or any Lender or any of their




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       respective officers, directors, employees, agents, attorneys, affiliates, successors or

       assigns, including, without limitation, any attempt to recover or avoid any claim or

       interest or disgorge any payments under chapter 5 of the Bankruptcy Code or any

       applicable state law equivalents;

                      (v)     the cost of investigation into any claims against Agent or any

       Lender arising under or in connection with the Pre-Petition Loan Documents in excess of

       $50,000; or

                      (vi)    any act which has or could directly, materially and adversely

       modify or compromise the rights and remedies of Agent or any Lender under this Interim

       Order, or which directly results in the occurrence of an Event of Default under this

       Interim Order or any Financing Agreements.

               2.6    Limited Use of Cash Collateral; Adequate Protection.

                      (a)     Authorization to Use Cash Collateral. Subject to the terms and

conditions of this Interim Order, the Loan Agreement, the Financing Agreements, and in

accordance with the Budget, Borrowers shall be and are hereby authorized to use the Cash

Collateral (as defined in section 363 of the Bankruptcy Code) for the period commencing on the

date of this Interim Order and terminating upon the date on which the Agent delivers an

Enforcement Notice (as defined below) to counsel for the Debtors, counsel for the Committee (if

appointed), and the U.S. Trustee, subject to the liens and security interests granted to the Agent

and the Lenders; provided that during the Default Notice Period (as defined herein) the Debtors

may use Cash Collateral solely for the following amounts and expenses: (i) to fund the Carve

Out Reserves, as set forth in paragraph 2.3 above; and (ii) to meet payroll obligations and, as

agreed by the Agent, in its sole discretion, to pay expenses critical to the administration of the




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Debtors’ estates Nothing in this Interim Order shall authorize the disposition of any assets of the

Debtors or their Estates outside the ordinary course of business, or any Debtor’s use of Cash

Collateral or other proceeds resulting therefrom, except as expressly permitted in this Interim

Order, the Financing Agreements and in accordance with the Budget.

                       (b)     Replacement Liens. As adequate protection for the diminution in

value of their interests in the Collateral (including Cash Collateral) on account of the Borrowers’

use of such Collateral (including Cash Collateral), the imposition of the automatic stay and the

subordination to the Carve-Out on a dollar-for dollar basis (collectively, the “Diminution in

Value”), the Agent, for the benefit of itself and the Lenders, is hereby granted pursuant to §§ 361

and 363 of the Bankruptcy Code, and solely to the extent of the Diminution in Value, valid,

binding, enforceable and perfected replacement liens upon and security interests in all Collateral

(the “Pre-Petition Replacement Lien”). The Pre-Petition Replacement Lien shall be junior and

subordinate only to (A) the Carve-Out (B) the Permitted Liens, and (C) Agent’s and Lenders’

liens on the Collateral to secure the Post-Petition Obligations, and shall otherwise be senior to all

other security interests in, liens on, or claims against any of the Collateral.

                       (c)     Section 507(b) Priority Claims. As adequate protection for the

Diminution in Value, the Agent, for the benefit of itself and Lenders, is hereby granted as and to

the extent provided by section 507(b) of the Bankruptcy Code, and solely to the extent of the

Diminution in Value, an allowed superpriority administrative expense claim in each of the Cases

and any successor bankruptcy cases (the “Pre-Petition Adequate Protection Superpriority

Claim”). The Pre-Petition Adequate Protection Superpriority Claim shall be junior only to (A)

the Carve-Out, and (B) the Post-Petition Superpriority Claim, and shall otherwise have priority




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over all administrative expense claims and unsecured claims against Debtors and their Estates

now existing or hereafter arising, of any kind or nature whatsoever.

                         (d)    Adequate Protection Payments and Protections.         As further

adequate protection (the “Adequate Protection Payments”) for the Diminution in Value, the

Debtors are authorized and directed to provide adequate protection to the Agent and Lenders in

the form of payment in cash (i) upon entry of this Interim Order of the reasonable fees, expenses,

and disbursements (including without limitation, the reasonable and documented fees, expenses,

and disbursements of counsel and third-party consultants and other vendors, including without

limitation, financial advisors and auditors) incurred by the Agent arising prior to the Petition

Date, and (ii) the reasonable fees, expenses, and disbursements (including without limitation, the

fees, expenses, and disbursements of counsel and third-party consultants and other vendors,

including without limitation, financial advisors and auditors) incurred by the Agent arising

subsequent to the Petition Date.

Section 3.     Default; Rights and Remedies; Relief from Stay.

               3.1       Events of Default. The occurrence of any of the following events shall

constitute an “Event of Default” under this Interim Order: (a) any Debtor’s failure to perform, in

any respect, any of their obligations under this Interim Order; or (b) an “Event of Default” under

the Loan Agreement or any of the other Financing Agreements (except for an Event of Default

under Section 5.4(m) of the Ratification Agreement, neither of which shall not be considered an

“Event of Default”). 5



5
 NTD: Ratification Agreement addresses the EoD pursuant to Section 10.1(g) of the Pre-Petition
Loan Agreement.




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               3.2    Rights and Remedies upon Event of Default. Upon the occurrence of and

during the continuance of an Event of Default, (a) the Debtors shall be bound by all restrictions,

prohibitions and other terms as provided in this Interim Order, the Loan Agreement and the other

Financing Agreements, and (b) the Agent shall be entitled to take any act or exercise any right or

remedy (subject to Section 3.4 below) as provided in this Interim Order or any Financing

Document, as applicable, including, without limitation, declaring all Obligations immediately

due and payable, accelerating the Obligations, ceasing to extend Loans or provide or arrange for

Letters of Credit on behalf of Debtors, setting off any Obligations with Collateral or proceeds in

Agent’s or any Lender’s possession, and enforcing any and all rights with respect to the

Collateral. Agent and Lenders shall have no obligation to lend or advance any additional funds

to or on behalf of Debtors, or provide any other financial accommodations to Debtors,

immediately upon or after the occurrence of an Event of Default or upon the occurrence of any

act, event, or condition that, with the giving of notice or the passage of time, or both, would

constitute an Event of Default.

               3.3    Expiration of Loan Commitment.        Upon the expiration of Borrowers’

authority to borrow or otherwise obtain other credit accommodations from Agent and Lenders

pursuant to the terms of this Interim Order and the Financing Agreements (except if such

authority shall be extended with the prior written consent of Agent, which consent shall not be

implied or construed from any action, inaction or acquiescence by Agent or any Lender), unless

an Event of Default set forth in Section 3.1 above occurs sooner and the automatic stay has been

lifted or modified pursuant to Section 3.4 of this Interim Order, all of the Post-Petition

Obligations shall immediately become due and payable and Agent and Lenders shall have no




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obligation whatsoever to make or extend any loans, advances, provide any financial or credit

accommodations to Debtors or permit the use of Cash Collateral.

               3.4     Modification of Automatic Stay.        The automatic stay provisions of

section 362 of the Bankruptcy Code and any other restriction imposed by an order of the Court

or applicable law are hereby modified without further notice, application or order of the Court to

the extent necessary to permit Agent and each Lender to perform any act authorized or permitted

under or by virtue of this Interim Order or the Financing Agreements, as applicable, including,

without limitation, (a) to implement the post-petition financing arrangements authorized by this

Interim Order and pursuant to the terms of the Financing Agreements, (b) to take any act to

create, validate, evidence, attach or perfect any lien, security interest, right or claim in the

Collateral, (c) to assess, charge, collect, advance, deduct and receive payments with respect to

the Pre-Petition Obligations or the Post-Petition Obligations, as applicable, including, without

limitation, all interests, fees, costs and expenses permitted under the Financing Agreements

(subject to Section 5.12 of this Interim Order) and apply such payments to the Pre-Petition

Obligations or Post-Petition Obligations pursuant to the Financing Agreements and/or this

Interim Order, as applicable, and upon an Event of Default, (d) declare a termination, reduction

or restriction on the ability of the Debtors to use Cash Collateral and (e) to take any other action

and exercise all other rights and remedies provided to it by this Interim Order, the Financing

Agreements or applicable law other than those rights and remedies against the Collateral upon

the expiration of the Default Notice Period (as defined below). In addition, and without limiting

the foregoing, upon the occurrence of an Event of Default and after providing five (5) business

days (the “Default Notice Period”) prior written notice (the “Enforcement Notice”) to (i) counsel

for the Debtors, (ii) counsel for the Committee (if appointed), and (iii) the U.S. Trustee, the




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Agent, acting on behalf of itself and the Lenders, without further notice, application or order of

the Court, shall be entitled to take any action and exercise all rights and remedies provided to it

by this Interim Order, the Financing Agreements or applicable law that Agent may deem

appropriate in its sole discretion to proceed against and realize upon the Collateral or any other

assets or properties of Debtors’ Estates upon which the Agent, for the benefit of itself and the

applicable Lenders, has been or may hereafter be granted liens or security interests to obtain the

full and indefeasible repayment of all Obligations. Notwithstanding anything to the contrary, any

action that Agent is otherwise permitted to take pursuant to this Interim Order to (i) terminate the

commitments under the Financing Agreements, (ii) accelerate the Loans, (iii) send blocking

notices or activation notices pursuant to the terms of any Deposit Account Control Agreement,

(iv) repay any amounts owing in respect of the Obligations (including, without limitation, fees,

indemnities and expense reimbursements) and (v) cash collateralize Letters of Credit and/or

Bank Products issued pursuant to the Financing Agreements, in each case, shall not require any

advance notice to the Debtors. During the Default Notice Period, the Debtors and the Committee

(if appointed) shall be entitled to seek an emergency hearing, and the Agent, and Lenders shall

consent to such emergency hearing, within the Default Notice Period with the Court; provided

that the sole issue that may be raised by the Debtors are whether an Event of Default has

occurred and/or is continuing, and the Debtors hereby waive their right to and shall not be

entitled to seek relief, including under section 105 of the Bankruptcy Code, to the extent that

such relief would in any way impair or restrict the rights and remedies of the Agents or the

Lenders set forth in this Interim Order or the Financing Agreements.




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Section 4.     Representations; Covenants; and Waivers.

               4.1    Objections to Pre-Petition Obligations. Notwithstanding anything to the

contrary in this Interim Order, any action, claim, defense, complaint, motion or other written

opposition (hereinafter, an “Objection”) that seeks to object to, challenge, contest or otherwise

invalidate or reduce, whether by setoff, recoupment, counterclaim, deduction, disgorgement or

claim of any kind: (a) the existence, validity or amount of the Pre-Petition Obligations as of the

Petition Date, or (b) the extent, legality, validity, perfection or enforceability of Agent’s and

Lenders’ pre-petition liens and security interests in the Pre-Petition Collateral shall be properly

filed with the Court on or before the earlier of (x) sixty (60) calendar days from the date of

appointment of the Committee by the U.S. Trustee, or (y) seventy-five (75) calendar days from

the Petition Date; provided, however, that nothing herein shall permit any party to challenge the

extent or validity of the Post-Petition Obligations for any disbursements in excess of the Pre-

Petition Obligations. If any such Objection is timely and properly filed and a final, non-

appealable order is entered by a court of competent jurisdiction sustaining and ordering some or

all of the relief requested in such Objection, then nothing in this Interim Order shall prevent the

Court from granting appropriate relief with respect to the Pre-Petition Obligations or Agent’s or

Lenders’ pre-petition liens on the Pre-Petition Collateral. If no Objection is timely and properly

filed, or if an Objection is timely and properly filed but denied, (i) the Pre-Petition Obligations

shall be deemed allowed in full, shall not be subject to any setoff, recoupment, counterclaim,

deduction or claim of any kind, and shall not be subject to any further objection or challenge by

any party at any time, and Agent’s and Lenders’ pre-petition liens on and security interest in the

Pre-Petition Collateral shall be deemed legal, valid, perfected, enforceable, and non-avoidable

for all purposes and of first and senior priority, subject to only the Carve-Out and Permitted




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Liens, and (ii) the Agent and the Lenders, and each of their respective participants, agents,

officers, directors, employees, attorneys, professionals, successors, and assigns (each in their

respective capacities as such) shall be deemed released and discharged from any and all claims

and causes of action related to or arising out of the Pre-Petition Loan Documents and shall not be

subject to any further objection or challenge relating thereto or arising therefrom by any party at

any time. Nothing contained in this Section 4.1(a) or otherwise shall or shall be deemed or

construed to impair, prejudice or waive any rights, claims or protections afforded to Agent or any

Lenders in connection with all post-petition Loans and Letters of Credit, and any other post-

petition financial and credit accommodations provided by Agent and the Lenders to Debtors in

reliance on section 364(e) of the Bankruptcy Code and in accordance with the terms and

provisions of this Interim Order and the Financing Agreements.

               4.2     Debtors’ Waivers.      Prior to the indefeasible payment in full of all

Obligations on terms and conditions satisfactory to Agent, (x) it shall be an Event of Default if

the Debtors seek further authority, and (y) upon entry of a Final Order, whether or not an Event

of Default has occurred, the Debtors irrevocably waive any right that they may have: (a) to use

Cash Collateral of Agent and Lenders under section 363 of the Bankruptcy Code, (b) to obtain

post-petition loans or other financial accommodations pursuant to section 364(c) or 364(d) of the

Bankruptcy Code, other than as provided in this Interim Order or as may be otherwise expressly

permitted pursuant to the Financing Agreements, (c) to challenge the application of any

payments authorized by this Interim Order as pursuant to section 506(b) of the Bankruptcy Code,

or to assert that the value of the Pre-Petition Collateral is less than the Pre-Petition Obligations,

(d) to propose, support or have a plan of reorganization or liquidation that is either inconsistent

with the Ratification Agreement or does not provide for the indefeasible payment in cash in full




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and satisfaction of all Obligations (other than unmatured indemnity obligations for which claims

have not been asserted and are not reasonably expected to be asserted at any time in the future)

on the effective date of such plan in accordance with the terms and conditions set forth in the

Loan Agreement, or (e) to seek relief under the Bankruptcy Code, including without limitation,

under section 105 of the Bankruptcy Code, to the extent any such relief would in any way restrict

or impair the rights and remedies of Agent or any Lender as provided in this Interim Order and

the Financing Agreements or Agent’s or any Lender’s exercise of such rights or remedies;

provided, however, that Agent may otherwise consent in writing, but no such consent shall be

implied from any other action, inaction, or acquiescence by Agent or any Lender.

               4.3    Section 506(c) Claims. Subject to entry of the Final Order, no costs or

expenses of administration which have or may be incurred in the Cases shall be charged against

Agent or any Lender, their respective claims or the Collateral pursuant to §§ 105 or 506(c) of the

Bankruptcy Code or otherwise without the prior written consent of Agent, and no such consent

shall be implied from any other action, inaction or acquiescence by Agent or any Lender.

               4.4    Collateral Rights. Until all Obligations shall have been indefeasibly paid

and satisfied in full in accordance with the terms of the Loan Agreement and the other Financing

Agreements:

                      (a)     no other party shall foreclose or otherwise seek to enforce any

       junior lien or claim in Collateral; and

                      (b)     upon and after the declaration of the occurrence of an Event of

       Default, and subject to Agent obtaining relief from the automatic stay as provided for

       herein to enforce its rights and remedies against the Collateral, in connection with a

       liquidation of any of the Collateral, Agent (or any of its employees, agents, consultants,




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       contractors or other professionals) shall have the right, at the sole cost and expense of

       Debtors, to: (i) enter upon, occupy and use any real or personal property, fixtures,

       equipment, leasehold interests or warehouse arrangements owned or leased by Debtors

       and (ii) use any and all trademarks, trade names, copyrights, licenses, patents or any other

       similar assets of Debtors, which are owned by or subject to a lien of any third party and

       which are used by Debtors in their businesses. Agent and Lenders will be responsible for

       the payment of any applicable fees, rentals, royalties or other amounts due such lessor,

       licensor or owner of such property for the period of time that Agent actually uses the

       equipment or the intellectual property (but in no event for any accrued and unpaid fees,

       rentals or other amounts due for any period prior to the date that Agent actually occupies

       or uses such assets or properties or for any fees, rentals or other amounts that may

       become due following the end of Agent’s occupation or use).

               4.5    Releases.

                      Upon the entry of the Final Order, and subject to Section 4.1 above, in

consideration of Agent and Lenders permitting Debtors to use the Pre-Petition Collateral

(including Cash Collateral) and providing other credit and financial accommodations to the

Debtors pursuant to the provisions of the Financing Agreements and this Interim Order, each

Debtor, on behalf of itself and its successors and assigns, (collectively, the “Releasors”), shall,

forever release, discharge and acquit Agent, each Lender, and their respective successors and

assigns, and their present and former shareholders, affiliates, subsidiaries, divisions,

predecessors, directors, officers, attorneys, employees and other representatives in their

respective capacities as such (collectively, the “Pre-Petition Releasees”) of and from any and all

claims, demands, liabilities, responsibilities, disputes, remedies, causes of action, indebtedness




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and obligations, of every kind, nature and description, including, without limitation, any so-

called “lender liability” claims or defenses, that any of the Releasors had, have or hereafter can

or may have against Pre-Petition Releasees (or any of them) as of the date hereof, in respect of

events that occurred on or prior to the date hereof with respect to the Debtors, the Obligations,

Financing Agreements and any Loans, Letters of Credit, Bank Products or other financial

accommodations made by Agent and/or the Lenders to Debtors pursuant to the Financing

Agreements.     In addition, upon the repayment of all Obligations (as defined in the Loan

Agreement) owed to the Agent and the Lenders by Debtors and termination of the rights and

obligations arising under the Financing Agreements (which payment and termination shall be on

terms and conditions acceptable to the Agent), the Agent and the Lenders shall be released from

any and all obligations, liabilities, actions, duties, responsibilities and causes of action arising or

occurring on or prior to the date of such repayment or termination in connection with or related

to the Financing Agreements, this Interim Order or the Final Order.

Section 5.     Other Rights and Post-Petition Obligations.

               5.1     No Modification or Stay of This Interim Order. Notwithstanding (a) any

stay, modification, amendment, supplement, vacating, revocation or reversal of this Interim

Order, the Financing Agreements or any term hereunder or thereunder, (b) the failure to obtain a

Final Order pursuant to Bankruptcy Rule 4001(c)(2), or (c) the dismissal or conversion of one or

more of the Cases (each, a “Subject Event”), (x) the acts taken by each of the Agent and the

Lenders in accordance with this Interim Order, and (y) the Post-Petition Obligations incurred or

arising prior to Agent’s actual receipt of written notice from Debtors expressly describing the

occurrence of such Subject Event shall, in each instance, be governed in all respects by the

original provisions of this Interim Order, and the acts taken by Agent and Lenders in accordance




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with this Interim Order, and the liens granted to Agent and Lenders in the Collateral, and all

other rights, remedies, privileges, and benefits in favor of Agent and each Lender pursuant to this

Interim Order and the Financing Agreements shall remain valid and in full force and effect

pursuant to section 364(e) of the Bankruptcy Code. For purposes of this Interim Order, the term

“appeal”, as used in section 364(e) of the Bankruptcy Code, shall be construed to mean any

proceeding for reconsideration, amending, rehearing, or re-evaluating this Interim Order by this

Court or any other tribunal.

               5.2    Power to Waive Rights; Duties to Third Parties. Agent shall have the right

to waive any of the terms, rights and remedies provided or acknowledged in this Interim Order

that are in favor of Agent and Lenders (the “Lender Rights”), and shall have no obligation or

duty to any other party with respect to the exercise or enforcement, or failure to exercise or

enforce, any Lender Right(s). Any waiver by Agent of any Lender Rights shall not be or

constitute a continuing waiver. Any delay in or failure to exercise or enforce any Lender Right

shall neither constitute a waiver of such Lender Right, subject Agent or any Lender to any

liability to any other party, nor cause or enable any party other than the Debtors to rely upon or

in any way seek to assert as a defense to any obligation owed by the Debtors to Agent or any

Lender.

               5.3    Disposition of Collateral. Debtors shall not sell, transfer, lease, encumber

or otherwise dispose of any portion of the Collateral outside the ordinary course of business,

other than pursuant to the terms of the Loan Agreement and the Budget, without the prior written

consent of Agent (and no such consent shall be implied, from any other action, inaction or

acquiescence by the Agent or any Lenders) and, in each case, an order of this Court.




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               5.4     Inventory. Debtors shall not, without the consent of the Agent, (a) enter

into any agreement to return any inventory to any of their creditors for application against any

pre-petition indebtedness under any applicable provision of section 546 of the Bankruptcy Code,

or (b) consent to any creditor taking any setoff against any of its pre-petition indebtedness based

upon any such return pursuant to section 553(b)(1) of the Bankruptcy Code or otherwise.

               5.5     Reservation of Rights.     The terms, conditions and provisions of this

Interim Order are in addition to and without prejudice to the rights of Agent and each Lender to

pursue any and all rights and remedies under the Bankruptcy Code, the Financing Agreements or

any other applicable agreement or law, including, without limitation, rights to seek adequate

protection and/or additional or different adequate protection, to seek relief from the automatic

stay, to seek an injunction, to oppose any request for use of cash collateral or granting of any

interest in the Collateral, as applicable, or priority in favor of any other party, to object to any

sale of assets, and to object to applications for allowance and/or payment of compensation of

Professionals or other parties seeking compensation or reimbursement from the Estates.

               5.6     Binding Effect.

                       (a)    The provisions of this Interim Order and the Financing

Agreements, the Post-Petition Obligations, the Pre-Petition Adequate Protection Superpriority

Claim, the Post-Petition Superpriority Claim and any and all rights, remedies, privileges and

benefits in favor of each of the Agent and the Lenders provided or acknowledged in this Interim

Order, and any actions taken pursuant thereto, shall be effective immediately upon entry of this

Interim Order notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h) and 7062, shall continue in

full force and effect, and shall survive entry of any such other order converting one or more of




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the Cases to any other chapter under the Bankruptcy Code, or dismissing one or more of the

Cases.

                       (b)     Any order dismissing one or more of the Cases under section 1112

or otherwise shall be deemed to provide (in accordance with §§ 105 and 349 of the Bankruptcy

Code) that (a) the Post-Petition Superpriority Claim and Agent’s and Lenders’ liens on and

security interests in the Collateral and all other claims, liens, adequate protections and other

rights granted pursuant to the terms of this Interim Order shall continue in full force and effect

notwithstanding such dismissal until the Obligations are indefeasibly paid and satisfied in full,

and (b) this Court shall retain jurisdiction, notwithstanding such dismissal, for the purposes of

enforcing all such claims, liens, protections and rights.

                       (c)     In the event this Court modifies any of the provisions of this

Interim Order or the Financing Agreements following a Final Hearing, such modifications shall

not affect the rights or priorities of Agent and Lenders pursuant to this Interim Order with respect

to the Collateral or any portion of the Obligations which arises or is incurred or is advanced prior

to such modifications, and this Interim Order shall otherwise remain in full force and effect to

such extent.

                       (d)     This Interim Order shall be binding upon Debtors, all parties in

interest in the Cases and their respective successors and assigns, including any trustee or other

fiduciary appointed in the Cases or any subsequently converted bankruptcy case(s) of any

Debtor. This Interim Order shall also inure to the benefit of Debtors, Agent, Lenders, and each

of their respective successors and assigns.




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               5.7     Restrictions on Cash Collateral Use, Additional Financing, Plan

Treatment.

                       (a)    All post-petition advances and other financial accommodations

under the Loan Agreement and the other Financing Agreements are made in reliance on this

Interim Order and there shall not at any time be entered in the Cases, or in any subsequently

converted case under chapter 7 of the Bankruptcy Code, any order (other than the Final Order)

which (i) authorizes the use of cash collateral of Debtors in which Agent or Lenders have an

interest, or the sale, lease, or other disposition of property of any Debtor’s Estate in which Agent

or Lenders have a lien or security interest, except as expressly permitted hereunder or in the

Financing Agreements, or (ii) authorizes under section 364 of the Bankruptcy Code the obtaining

of credit or the incurring of indebtedness secured by a lien or security interest which is equal or

senior to a lien or security interest in property in which Agent or Lenders hold a lien or security

interest, or which is entitled to priority administrative claim status which is equal or superior to

that granted to Agent and Lenders herein; unless, in each instance (x) Agent shall have given its

express prior written consent with respect thereto, no such consent being implied from any other

action, inaction or acquiescence by Agent or any Lender, or (y) such other order requires that all

Obligations shall first be indefeasibly paid and satisfied in full in accordance with the terms of

the Loan Agreement and the other Financing Agreements (other than unmatured indemnity

obligations for which claims have not been asserted), including, without limitation, all debts and

obligations of Debtors to Agent and Lenders which arise or result from the obligations, loans,

security interests and liens authorized herein, on terms and conditions acceptable to Agent. The

security interests and liens granted to or for the benefit of Agent and Lenders hereunder and the




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rights of Agent and Lenders pursuant to this Interim Order and the Financing Agreements with

respect to the Obligations and the Collateral are cumulative.

               5.8     No Owner/Operator Liability. Subject to the entry of the Final Order

granting such relief, neither the Agent nor any Lender shall be deemed to be in control of the

operations of the Debtors or to be acting as a “responsible person” or “owner or operator” with

respect to the operation or management of the Debtors (as such terms, or any similar terms, are

used in the United States Comprehensive Environmental Response, Compensation and Liability

Act, 29 U.S.C. §§ 9601 et seq., as amended, or any similar federal or state statute).

               5.9     Marshalling. Subject to entry of the Final Order granting such relief, in no

event shall Agent or any Lender be subject to the equitable doctrine of “marshalling” or any

similar doctrine with respect to the Collateral. Agent and Lender shall each be entitled to all of

the rights and benefits of section 552(b) of the Bankruptcy Code, and, subject to entry of the

Final Order, the “equities of the case” exception under section 552(b) of the Bankruptcy Code

shall not apply to Agent or any Lender with respect to proceeds, products, offspring or profits of

any of the Collateral, as applicable.




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               5.10    Right of Setoff. To the extent any funds were on deposit with Agent as of

the Petition Date, including, without limitation, all funds deposited in, or credited to, an account

of any Debtor with Agent or any Lender immediately prior to the filing of the Cases (regardless

of whether, as of the Petition Date, such funds had been collected or made available for

withdrawal by any such Debtor), such funds (the “Deposited Funds”) are subject to rights of

setoff. By virtue of such setoff rights, the Deposited Funds are subject to a lien in favor of Agent

or the applicable Lenders pursuant to §§ 506(a) and 553 of the Bankruptcy Code.

               5.11    Right to Credit Bid. The Agent, on behalf of itself and the Lenders, shall

have the right to “credit bid” the amount of its and their claims that are Obligations arising under

the terms of the Financing Agreements, during any sale of all or substantially all of the Debtors’

assets, including without limitation, sales occurring pursuant to section 363 of the Bankruptcy

Code or included as part of any restructuring plan subject to confirmation under

section 1129(b)(2)(A)(ii)-(iii) of the Bankruptcy Code.

               5.12    Payment and Review of Lender Fees and Expenses. Each Debtor shall

pay all reasonable fees and expenses of the Agent and Lenders to the extent provided in the

Financing Agreements, including, without limitation, the non-refundable payment to the Agent

and the Lenders, as the case may be, including without limitation reasonable and documented

professional fees and legal fees and expenses, whether incurred before or after the Petition Date;

provided, that Debtors shall pay all such reasonable fees and expenses within seven (7) business

days of delivery of a statement or invoice for such fees and expenses (it being understood that

such statements or invoices shall not be required to be maintained in accordance with the U.S.

Trustee Guidelines, nor shall any such counsel or other professional be required to file any

interim or final fee applications with the Court or otherwise seek Court’s approval of any such




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payments) to the Debtors and the Committee (if appointed), unless, within such seven (7)

business day period, the Debtors or the Committee (if appointed) serve a written objection upon

the requesting party, in which case, the Debtors shall immediately pay such amounts that are not

the subject of any objection and pay the withheld amount as subsequently agreed by the parties

or ordered by the Court to be paid.

               5.13   Access to Collateral. Notwithstanding anything contained herein to

the contrary and without limiting any other rights or remedies of the Agent and Lenders

contained in this Interim Order, the Financing Agreements, or otherwise available at law or in

equity, and subject to the terms of the Loan Agreement, upon reasonable prior written notice to

the landlord of any leased premises that an Event of Default has occurred and is continuing, the

Agent may, subject to the applicable notice provisions, if any, in this Interim Order and any

separate applicable agreement by and between such landlord and the Agent enter upon any

leased premises of the Debtors or any other party for the purpose of exercising any remedy with

respect to Collateral located thereon and shall be entitled to all of the Debtors’ rights and

privileges as lessee under such lease without interference from the landlords thereunder,

provided that the Agent shall be obligated only to pay rent of the Debtors that first accrues after

the written notice referenced above and that is payable during the period of such occupancy by

the Agent, calculated on a daily per diem basis. Nothing herein or otherwise shall require the

Agent to assume any lease as a condition to the rights afforded in this paragraph. For the

avoidance of doubt, subject to (and without waiver of) the rights of the Agent under applicable

nonbankruptcy law, the Agent can only enter upon a leased premises after an Event of Default in

accordance with (i) a separate agreement with the landlord at the applicable leased premises, or




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(ii) upon entry of an order of this Court obtained by motion of the Agent on such notice to the

landlord as shall be required by this Court.

               5.14    Notwithstanding anything else contained herein to the contrary, any party

may seek marshalling or seek to assert reclamation claims prior to the Final Hearing, solely to

the extent that any such remedies or claims exist.

               5.15    Term; Termination. Notwithstanding any provision of this Interim Order

to the contrary, the term of the financing arrangements among Debtors, Agent and Lenders

authorized by this Interim Order may be terminated pursuant to the terms of the Loan

Agreement.

               5.16    Limited Effect.     In the event of a conflict between the terms and

provisions of any of the Financing Agreements and this Interim Order, the terms and provisions

of this Interim Order shall govern, interpreted as most consistent with the terms and provisions of

the Financing Agreements.

               5.17    Objections Overruled. All objections to the entry of this Interim Order are

(to the extent not withdrawn, waived, or settled) hereby overruled.

               5.18    Retention of Jurisdiction. The Court retains jurisdiction and power with

respect to all matters arising from or related to the implementation or interpretation of this

Interim Order, the Loan Agreement, and the other Financing Agreements.

Section 6.     Final Hearing and Response Dates.

       The Final Hearing on the Motion pursuant to Bankruptcy Rule 4001(c)(2) is scheduled

for February 7, 2019, at 1:00 p.m. before this Court. The Debtors shall promptly mail copies of

this Interim Order to the Noticed Parties, and to any other party that has filed a request for

notices with this Court and to any Committee (if appointed) and such Committee’s counsel, if




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same shall have filed a request for notice. Such notice is deemed good and sufficient and that no

further notice need be given. Any party in interest objecting to the relief sought at the Final

Hearing shall serve and file written objections, which objections shall be served upon (a)

proposed restructuring counsel to the Debtors, (i) Kirkland & Ellis LLP, 300 North LaSalle,

Chicago, Illinois 60654, Attn: Travis M. Bayer, Esq.; Kirkland & Ellis LLP, 601 Lexington

Avenue, New York, New York 10022, Attn: Steven Serajeddini, Esq., and (ii) McGrath North,

First National Tower, Suite 3700, 1601 Dodge Street, Omaha, NE 68102, Attn: James J.

Niemeier (b) counsel for the Agent, (i) Otterbourg, P.C., 230 Park Avenue, New York, New

York 10169, Attn: Daniel F. Fiorillo, Esq. and Chad B. Simon, Esq. (E-Mail:

dfiorillo@otterbourg.com and csimon@otterbourg.com) and (ii) Baird Holm LLP, 1700 Farnam

St., Suite 1500, Omaha, NE 68102, Attn: T. Randall Wright, Esq. and Brandon R. Tomjack, Esq.

(rwright@bairdholm.com and btomjack@bairdholm.com); (c) counsel to the Committee (if

appointed); and (d) the Office of the United States Trustee for the District of Nebraska, 111

South 18th Plaza, Suite 1148 Omaha, Nebraska 68102, Attn: Jerry Jensen, Esq., and shall be

filed with the Clerk of the United States Bankruptcy Court for the District of Nebraska, in each

case, to allow actual receipt of the foregoing no later than ten (10) days prior to the Final

Hearing.



Dated: Omaha, Nebraska
       January 16, 2019

                                                UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT 1
                             Ratification Agreement




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                                  EXHIBIT 2
                                   Budget




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                              EXHIBIT C
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT

                             Information Certificate

                                  (see attached)




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                            INFORMATION CERTIFICATE
                                        OF
                      SPECIALTY RETAIL SHOPS HOLDING CORP.
                          SHOPKO HOLDING COMPANY, LLC
                              RETAINED R/E SPE, LLC
                              SHOPKO FINANCE, LLC
                        SHOPKO STORES OPERATING CO., LLC
                             SHOPKO PROPERTIES, LLC
                                SVS TRUCKING, LLC
                     SHOPKO INSTITUTIONAL CARE SERVICES, LLC
                                PENN-DANIELS, LLC
                       SHOPKO OPTICAL MANUFACTURING, LLC
                            SHOPKO GIFT CARD CO., LLC
                               AND ITS SUBSIDIARIES

                                                                                 January 16, 2019


Wells Fargo Bank, National Association, successor by merger to Wachovia Bank, National
Association
One Boston Place, Suite 1800
Boston, Massachusetts 02108

In connection with certain financing provided or to be provided or arranged for Wells Fargo
Bank, National Association, successor by merger to Wachovia Bank, National Association
(“Wells Fargo”) and certain other lenders (together with Wells Fargo in its individual capacity,
collectively, “Lenders”) and for whom Wells Fargo will be acting as agent (in such capacity,
“Agent”), each of the undersigned (individually, a “Company” and, collectively, the
“Companies”) jointly and severally represents and warrants to Agent and Lenders the following
information about it, its organizational structure and other matters of interest to Agent and
Lenders:


1.     The full and exact name of each Company as set forth in its certificate of incorporation
       (or its certificate of formation or other organizational document filed with the applicable
       state governmental authority, as the case may be) is as follows:

      Entity Name
 1    Specialty Retail Shops Holding Corp. (f/k/a SKO Group Holding Corp.)
 2    Retained R/E SPE, LLC
 3    ShopKo Finance, LLC
 4    ShopKo Holding Company, LLC
 5    ShopKo Stores Operating Co., LLC
 6    ShopKo Properties, LLC
 7    Penn-Daniels, LLC
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  8   SVS Trucking, LLC
  9   ShopKo Gift Card Co., LLC (f/k/a ShopKo Ventures – Duluth, LLC)
 10   ShopKo Optical Manufacturing, LLC
 11   ShopKo Institutional Care Services Co., LLC
 12   Pamida Stores Operating Co., LLC
 13   Pamida Transportation, LLC
 14   Places’ Associates’ Expansion, LLC

2.     Each Company uses and owns the following trade name(s) in the operation of its business
       (e.g. billing, advertising, etc.; note: do not include names which are product names only):

       Shopko
       Shopko Optical Manufacturing
       Shopko Express Rx
       Shopko Hometown
       Shopko RxCare
       Pamida


3.     Each Company is a registered organization of the following type (for example,
       corporation, limited partnership, limited liability company, etc.):

      Entity Name                 Jurisdiction Type of Organization        Date of Organization

 1    Specialty Retail Shops      DE            Corporation                10/12/05
      Holding Corp.

 2    Retained R/E SPE, LLC       DE            Limited Liability          05/16/06
                                                Company
 3    ShopKo Finance, LLC         DE            Limited Liability          02/02/12
                                                Company
 4    ShopKo Holding              WI            Limited Liability          12/09/05
      Company, LLC                              Company

 5    ShopKo Stores Operating     DE            Limited Liability          10/11/05
      Co., LLC                                  Company

 6    ShopKo Properties, LLC      MN            Limited Liability          12/23/05
                                                Company
 7    Penn-Daniels, LLC           DE            Limited Liability          12/23/05
                                                Company
 8    SVS Trucking, LLC           MN            Limited Liability          12/23/05
                                                Company
 9    ShopKo Gift Card Co.,       MN            Limited Liability          12/23/05
      LLC                                       Company
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10   ShopKo Optical              WI             Limited Liability            10/12/05
     Manufacturing, LLC                         Company

11   Shopko Institutional Care   DE             Limited Liability            01/14/10
     Services Co., LLC                          Company

12   Pamida Stores Operating     DE             Limited Liability            10/11/05
     Co., LLC                                   Company

13   Pamida Transportation,      NE             Limited Liability            12/23/05
     LLC                                        Company

14   Place’s Associates’         MO             Limited Liability            9/11/98
     Expansion, LLC                             Company

4.    The organizational identification number of each Company issued by its jurisdiction of
      organization is as set forth below (or if none is issued by the jurisdiction of organization
      indicate “none”):

                           Company                                  ID No.
          Specialty Retail Shops Holding Corp.                    4044244
          Retained R/E SPE, LLC                                   4151918
          ShopKo Finance, LLC                                     5104066
          ShopKo Holding Company, LLC                             S073100
          ShopKo Stores Operating Co., LLC                        4032226
          ShopKo Properties, LLC                                 1640231-3
          Penn-Daniels, LLC                                       0930434
          SVS Trucking, LLC                                      1640231-2
          ShopKo Gift Card Co., LLC                              1640231-4
          ShopKo Optical Manufacturing, LLC                       S066354
          ShopKo Institutional Care Services                      4777352
          Co., LLC

          Pamida Stores Operating Co., LLC                        4032229
          Pamida Transportation, LLC                             10078892
          Place’s Associates’ Expansion, LLC                    LC0022158


5.    The Federal Employer Identification Number of each Company is as follows:
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                         Company                                 FEIN
          Specialty Retail Shops Holding Corp.               XX-XXXXXXX
          Retained R/E SPE, LLC                              XX-XXXXXXX
          ShopKo Finance, LLC                                XX-XXXXXXX
          ShopKo Holding Company, LLC                        XX-XXXXXXX
          ShopKo Stores Operating Co., LLC                   XX-XXXXXXX
          ShopKo Properties, LLC                             XX-XXXXXXX
          Penn-Daniels, LLC                                  XX-XXXXXXX
          SVS Trucking, LLC                                  XX-XXXXXXX
          ShopKo Gift Card Co., LLC                          XX-XXXXXXX
          ShopKo Optical Manufacturing, LLC                  XX-XXXXXXX
          ShopKo Institutional Care Services                 XX-XXXXXXX
          Co., LLC
          Pamida Stores Operating Co., LLC                   XX-XXXXXXX
          Pamida Transportation, LLC                         XX-XXXXXXX
          Place’s Associates’ Expansion, LLC                 XX-XXXXXXX

6.    [Reserved.]

7.    Since the date of its organization, the name of each Company as set forth in its
      organizational documentation as filed of record with the applicable state authority has
      been changed as follows:

                    Company              Date of Change                 Prior Name
          Specialty Retail Shops       December 6, 2006       SKO Group Holding Corp.
          Holding Corp.

          ShopKo Properties, LLC       December 23, 2005      ShopKo Properties, Inc.
          Penn-Daniels, LLC            December 23, 2005      Penn-Daniels, Incorporated
          SVS Trucking, LLC            December 23, 2005      SVS Trucking, Inc.
          ShopKo Optical               October 11, 2005       SKO Optical Manufacturing,
          Manufacturing, LLC                                  Inc.

          ShopKo Holding               February 6, 2012       ShopKo Holding Company,
          Company, LLC                                        Inc.

          ShopKo Gift Card Co.,        September 25,          ShopKo Ventures-Duluth,
          LLC                          2017                   LLC
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          ShopKo Ventures-              December 23, 2005      ShopKo Ventures-Duluth,
          Duluth, LLC                                          Inc.

          Pamida Transportation,        December 23, 2005      Pamida Transportation
          LLC                                                  Conversion LLC


8.    Since the date of five (5) years prior to the date hereof, each Company has made or
      entered into the following mergers or acquisitions:

          Company                     Merger/Acquisition                     Date

          None.


9.    The chief executive office and mailing address of each Company is located at the address
      indicated for such Company on Schedule 8.2 hereto.

10.   The books and records of each Company pertaining to accounts, contract rights,
      inventory, and other assets are located at the addresses indicated for such Company on
      Schedule 8.2 hereto.

11.   Each Company has other places of business and/or maintains inventory or other tangible
      assets only at the addresses (indicate whether locations are owned, leased or operated by
      third parties and if leased or operated by third parties, their name and address) indicated
      for such Company on Schedule 8.2 hereto.

12.   The places of business or other locations of any assets used by each Company during the
      last four (4) months other than those listed above are as indicated for such Company on
      Schedule 8.2 hereto.

13.   Each Company’s assets are owned and held free and clear of liens, mortgages, pledges,
      security interests, encumbrances or charges except as set forth on Schedule 8.4 hereto or
      as otherwise permitted under Section 9.8 of the Third Amended and Restated Loan and
      Security Agreement, dated as of February 7, 2012 (and as amended through the date
      hereof, the “Loan and Security Agreement”) by and between the Companies, Agent and
      Lenders and except for licenses of intellectual property. Capitalized terms used but not
      defined herein have the meaning provided for in the Loan and Security Agreement.

14.   There are no judgments or material litigation pending by or against any Company, its
      subsidiaries and/or affiliates or any of its officers/principals, except as set forth on
      Schedule 8.6 hereto.

15.   Except as set forth on Schedule 8.8 hereto, each Company
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             (a)     has not generated, used, stored, treated, transported, manufactured,
             handled, produced or disposed of any Hazardous Materials, in any manner which
             at any time violates any applicable Environmental Law or Permit, except for
             violations which could not reasonably be expected to result in a Material Adverse
             Effect, and the operations of Borrowers, Guarantors and any Subsidiary of any
             Borrower or Guarantor comply with all Environmental Laws and all Permits,
             except for such non-compliance which could not be reasonably expected to result
             in a Material Adverse Effect;

             (b)     has not been subject to any investigation by any Governmental Authority
             or any proceeding, complaint, order, directive, claim, citation or notice by any
             Governmental Authority or any other person nor is any pending or to the best of
             any Borrower’s or Guarantor’s knowledge threatened, with respect to any non
             compliance with or violation of the requirements of any Environmental Law by
             any Borrower or Guarantor and any Subsidiary of any Borrower or Guarantor or
             the release, spill or discharge, threatened or actual, of any Hazardous Material or
             the generation, use, storage, treatment, transportation, manufacture, handling,
             production or disposal of any Hazardous Materials or any other environmental,
             health or safety matter, which in any case could reasonably be expected to result
             in a Material Adverse Effect;

             (c)     has no material liability (contingent or otherwise) in connection with a
             release, spill or discharge, threatened or actual, of any Hazardous Materials or the
             generation, use, storage, treatment, transportation, manufacture, handling,
             production or disposal of any Hazardous Materials which in any case could
             reasonably be expected to result in a Material Adverse Effect; and

             (d)     has all Permits required to be obtained or filed in connection with the
             operations of Borrowers and Guarantors under any Environmental Law, except
             where the failure to maintain or have such Permits could not reasonably be
             expected to result in a Material Adverse Effect, and all of such licenses,
             certificates, approvals or similar authorizations and other Permits are valid and in
             full force and effect.

16.   No Company has any deposit accounts, investment accounts, securities account or similar
      accounts with any bank, savings and loan or other financial institution, except as set forth
      on Schedule 8.10 hereto for the purposes and of the types indicated therein.

17.   No Company owns any registered or applied-for trademarks, patents, patent applications,
      or copyright registrations, except as set forth on Schedule 8.11 hereto (indicate type of
      intellectual property, owner, registration or application number, and date of registration
      or filing, as applicable).

18.   Each Company is affiliated with, or has ownership in, the corporations (including
      subsidiaries) and other organizations set forth on Schedule 8.12 hereto.
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19.   The names of the stockholders (or members or partners, including general partners and
      limited partners) of each Company and their holdings are as set forth on Schedule 8.12
      hereto (if stock or other interests are widely held indicate only holders owning 10% or
      more of the voting stock or other interests).

20.   No Company is a party to or bound by an collective bargaining or similar agreement with
      any union, labor organization or other bargaining agent except as set forth on Schedule
      8.13 hereto (indicate date of agreement, parties to agreement, description of employees
      covered, and date of termination).

21.   [Reserved.]

22.   No Company has any “indebtedness” except as set forth on Schedule 9.9 hereto. For this
      purpose, the term “indebtedness” means any liability not otherwise permitted under the
      Loan and Security Agreement, whether or not contingent, (a) in respect of borrowed
      money (whether or not the recourse of the lenders is to the whole of the assets of such
      Company or only to a portion thereof) or evidenced by bonds, notes, debentures or
      similar instruments; (b) representing the balance deferred and unpaid of the purchase
      price of any property or services (except any such balance that constitutes an account
      payable to a trade creditor (whether or not an affiliate) created, incurred, assumed or
      guaranteed by such Company in the ordinary course of business of such Company in
      connection with obtaining goods, materials or services that is not overdue by more than
      ninety (90) days, unless the trade payable is being contested in good faith); (c) all
      obligations as lessee under leases which have been, or should be, in accordance with
      generally accepted accounting principles recorded as capital leases; (d) any contractual
      obligation, contingent or otherwise, of such Company to pay or be liable for the payment
      of any indebtedness described in this definition of another person or entity, including,
      without limitation, any such indebtedness, directly or indirectly guaranteed, or any
      agreement to purchase, repurchase, or otherwise acquire such indebtedness, obligation or
      liability or any security therefor, or to provide funds for the payment or discharge thereof,
      or to maintain solvency, assets, level of income, or other financial condition; (e)
      representing all obligations with respect to redeemable stock and redemption or
      repurchase obligations under any capital stock or other equity securities issued by such
      Company (excluding redemption or repurchase obligations that may be triggered solely at
      the option of such Company unless such obligations have been triggered); (f)
      representing all reimbursement obligations and other liabilities of such Company with
      respect to surety bonds (whether bid, performance or otherwise), letters of credit,
      banker’s acceptances, drafts or similar documents or instruments issued for such
      Company’s account; (g) representing all indebtedness of such Company in respect of
      indebtedness of another person or entity for borrowed money or indebtedness of another
      person or entity otherwise described in this definition which is secured by any consensual
      lien, security interest, collateral assignment, conditional sale, mortgage, deed of trust, or
      other encumbrance on any asset of such Company, whether or not such obligations,
      liabilities or indebtedness are assumed by or are a personal liability of such Company, all
      as of such time: provided, that, to the extent such Indebtedness referred to in this clause
      (g) is non-recourse to such Company, the amount of such Indebtedness shall not be
      deemed to exceed the less or (1) the principal amount of such Indebtedness or (2) the
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      value of assets securing such Indebtedness; (h) representing all obligations, liabilities and
      indebtedness of such Company (marked to market) arising under swap agreements, cap
      agreements and collar agreements and other agreements or arrangements designed to
      protect such person against fluctuations in interest rates or currency or commodity values;
      and (i) all obligations owed by such Company under license agreements with respect to
      non-refundable, advance or minimum guarantee royalty payments.

23.   No Company has made any loans or advances or guaranteed or otherwise become liable
      for the obligations of any others not otherwise permitted under the Loan and Security
      Agreement, except as set forth on Schedule 9.10 hereto.

24.   No Company has any chattel paper (whether tangible or electronic) or instruments as of
      the date hereof.

25.   No Company has any commercial tort claims except as set forth on Schedule 5.2(g)
      hereto.

26.   There is no provision in the certificate of incorporation, certificate of formation, articles
      of organization, by-laws or operating agreement of any Company (as applicable) or the
      other organizational documents of such Company, or in the laws of the State of its
      organization, requiring any vote or consent of it shareholders, members or other holders
      of the equity interests therein to borrow or to authorize the mortgage or pledge of or
      creation of a security interest in any assets of such Company or any subsidiary. Such
      power is vested exclusively in its Board of Directors (or in the case of a limited
      partnership, the general partner that is the signatory hereto, or in the case of a limited
      liability company, the manager that is the signatory hereto).

27.   The officers of each Company and their respective titles are as follows:



Company               Title                                           Name
Specialty Retail      Director and CEO                                Russell Steinhorst
Shops Holding         CFO                                             J. Per Brodin
Corp.                 Secretary                                       Susan A. Buckna
                      Vice President and Assistant Secretary          Michael J. McConvery
                      Vice President and Assistant Treasurer          Melissa Klafter


Retained R/E          CEO                                             Russell Steinhorst
SPE, LLC              CFO and Treasurer                               J. Per Brodin
                      Secretary                                       Susan A. Buckna


ShopKo Finance,       CEO                                             Russell Steinhorst
LLC                   CFO and Treasurer                               J. Per Brodin
                      Secretary                                       Susan A. Buckna
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Company             Title                                        Name


ShopKo Holding      CEO                                          Russell Steinhorst
Company, LLC        CFO and Treasurer                            J. Per Brodin
                    Secretary                                    Susan A. Buckna


ShopKo Stores       CEO                                          Russell Steinhorst
Operating Co.,      Executive Vice President and CFO             J. Per Brodin
LLC                 Executive Vice President, Merchandising      Ronald Ota
                    and Marketing
                    Chief Operations Officer                     Jim DePaul
                    Chief Information Officer                    Ray Petersen
                    Chief Human Resources Officer                Denise Domian
                    Senior Vice President, Finance               Todd Armstrong
                    Senior Vice President, Retail Health         Dilip Sedani
                    Vice President, Associate General Counsel,   Susan A. Buckna
                    Corporate Secretary
                    Vice President, GMM Consumables              Ronald Milligan
                    Vice President, Treasurer                    Gary Gibson
                    Vice President, Merchandise Support          Jon Instefjord
                    Vice President, GMM Home                     Matt Schultz
                    Vice President, GMM Apparel                  Debbie Bentlage
                    Vice President, Inventory Management         Jeff Druley
                    Vice President, Store Development            Donna Capichano
                                                                 Simmons
                    Vice President, Controller                   Kelly Weerts
                    Vice President, Managed Care                 Jannie Paschal
                    Vice President, Shopko.com                   Jimmy Mansker
                    Assistant Secretary                          Jennifer S. McGinnity


ShopKo              Chief Executive Officer                      Russell Steinhorst
Properties, LLC     Chief Financial Officer                      J. Per Brodin
                    Secretary                                    Susan A. Buckna


Penn-Daniels,       CEO                                          Russell Steinhorst
LLC                 Chief Financial Officer, Treasurer           J. Per Brodin
                    Secretary                                    Susan A. Buckna


SVS Trucking,       CEO                                          Russell Steinhorst
LLC                 Chief Financial Officer and Treasurer        J. Per Brodin
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Company              Title                                       Name
                     Secretary                                   Susan A. Buckna


ShopKo Gift          CEO                                         Russell Steinhorst
Card Co., LLC        Chief Financial Officer, Treasurer          J. Per Brodin
                     Secretary                                   Susan A. Buckna


ShopKo Optical       CEO                                         Russell Steinhorst
Manufacturing,       Chief Financial Officer, Treasurer          J. Per Brodin
LLC                  Secretary                                   Susan A. Buckna


ShopKo               CEO                                         Russell Steinhorst
Institutional Care   Chief Financial Officer, Treasurer          J. Per Brodin
Services Co., LLC    Secretary                                   Susan A. Buckna


Pamida Stores        Chief Executive Officer                     Russell Steinhorst
Operating Co.,       Chief Financial Officer                     J. Per Brodin
LLC                  Secretary                                   Susan A. Buckna
                     Treasurer                                   Gary Gibson


Pamida               Chief Executive Officer                     Russell Steinhorst
Transportation,      Chief Financial Officer, Treasurer,         J. Per Brodin
LLC                  Controller
                     Secretary                                   Susan A. Buckna
Place’s              None.
Associates’
Expansion, LLC

      The following will have signatory powers as to all transactions of each Company with
      Agent and Lenders: J. Per Brodin and Russell Steinhorst

28.   The members of the Board of Directors of each Company (or, if the Company is a limited
      partnership, the general partner or, if the Company is a limited liability company, the
      managers) are:
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                   Company                               Directors
    Specialty Retail Shops Holding Corp.   Casey Lanza
                                           Donald Roach
                                           Russell Steinhorst
                                           Mohsin Meghji
                                           Steve Winograd

    Retained R/E SPE, LLC                  ShopKo Holding Company, LLC,
                                           Sole Member and Manager

    ShopKo Finance, LLC                    Specialty Retail Shops Holding
                                           Corp., Sole Member and Manager

    ShopKo Holding Company, LLC            Specialty Retail Shops Holding
                                           Corp., Sole Member and Manager

    ShopKo Stores Operating Co., LLC       ShopKo Holding Company, LLC,
                                           Sole Member and Manager

    ShopKo Properties, LLC                 ShopKo Stores Operating Co., LLC,
                                           Sole Member and Manager

    Penn-Daniels, LLC                      ShopKo Stores Operating Co., LLC,
                                           Sole Member and Manager

    SVS Trucking, LLC                      ShopKo Stores Operating Co., LLC,
                                           Sole Member and Manager

    ShopKo Gift Card Co., LLC              ShopKo Stores Operating Co., LLC,
                                           Sole Member and Manager

    ShopKo Optical Manufacturing, LLC      ShopKo Stores Operating Co., LLC,
                                           Sole Member and Manager

    ShopKo Institutional Care Services     ShopKo Stores Operating Co., LLC,
    Co., LLC                               Sole Member and Manager

    Pamida Stores Operating Co., LLC       ShopKo Stores Operating Co., LLC,
                                           Sole Member and Manager

    Pamida Transportation, LLC             Pamida Stores Operating Co., LLC,
                                           Sole Member and Manager

    Place’s Associates’ Expansion LLC      Pamida Stores Operating Co., LLC,
                                           Sole Member and Manager
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29.   At the present time, there are no delinquent taxes due (including, but not limited to, all
      payroll taxes, personal property taxes, real estate taxes or income taxes).



30.   Current Certified Public Accountants for each Company is the firm of:

      Name:         PricewaterhouseCoopers LLP
      Address:      One North Wacker Drive, Chicago, IL 60606
      Partner Handling Relationship:       Daniel J. Finneran
      Were statements uncertified for any fiscal year?    No.


                                  [SIGNATURE PAGE FOLLOWS]
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                                   SCHEDULE 5.2(g)
                                        to
                              INFORMATION CERTIFICATE

                                   Commercial Tort Claims

Various Companies are investigating potential breach of contract claims against McKesson in
relation to potential overcharging for pharmaceuticals in violation of various agreements.




                                       Schedule 5.2(g)
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                                                    SCHEDULE 8.2
                                                         to
                                              INFORMATION CERTIFICATE

                                                          Locations

A.   Company: Specialty Retail Shops Holding Corp.

1.   Chief Executive Office

     700 Pilgrim Way
     Green Bay, WI 54304

2.   Location of Books and Records

     700 Pilgrim Way
     Green Bay, WI 54304

3.   Locations of Inventory, Equipment and Other Assets

     N/A

4.   Locations of Assets in Prior 4 Months not Listed Above

     N/A

B.   Company: Retained R/E SPE, LLC


1.   Chief Executive Office

     700 Pilgrim Way
     Green Bay, WI 54304


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2.     Location of Books and Records

       700 Pilgrim Way
       Green Bay, WI 54304

3.     Locations of Inventory, Equipment and Other Assets

Address                                    Owner                              Asset Type

Green Bay, WI - East Mason Street                                             1 Outlot parcel – Land only
                                           Retained R/E SPE, LLC
Green Bay, WI 54302

Kenosha, WI - 52nd Street                                                     3 Outlot parcels – Land only
                                           Retained R/E SPE, LLC
Kenosha, WI 53144

Omaha, NE - North 90th Street                                                 2 Outlot parcels – Land only
                                           Retained R/E SPE, LLC
Omaha, NE 68134

00082 - Murray, UT
5959 South State Street                    Retained R/E SPE, LLC              Building only
Murray, UT 84107

00085 - Taylorsville, UT
Midvalley Family Center 5800 South
                                           Retained R/E SPE, LLC              Building only
Redwood Road
Salt Lake City, UT 85123

Rice Lake, WI - Highway O                  Retained R/E SPE, LLC              2 Outlot parcels – Land only
Rice Lake, WI 54868

00142 - Fort Madison, IA                   Retained R/E SPE, LLC              Land and Building
4810 Avenue O
Fort Madison, IA 52627-9667


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4.   Locations of Assets in Prior 4 Months not Listed Above

     None

C.   Company: Shopko Finance, LLC

1.   Chief Executive Office

     700 Pilgrim Way,
     Green Bay, WI 54304

2.   Location of Books and Records

     700 Pilgrim Way
     Green Bay, WI 54304

3.   Locations of Inventory, Equipment and Other Assets

     N/A

4.   Locations of Assets in Prior 4 Months not Listed Above

     N/A

D.   Company: ShopKo Holding Company, LLC

1.   Chief Executive Office

     700 Pilgrim Way,
     Green Bay, WI 54304

2.   Location of Books and Records

                                                       Schedule 8.2-3
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       700 Pilgrim Way
       Green Bay, WI 54303

3.     Locations of Inventory, Equipment and Other Assets

       N/A

4.     Locations of Assets in Prior 4 Months not Listed Above

       N/A

E.     Companies: ShopKo Stores Operating Co., LLC and SVS Trucking, LLC,

1.     Chief Executive Office

       700 Pilgrim Way,
       Green Bay, WI 54304

2.     Location of Books and Records

       700 Pilgrim Way,
       Green Bay, WI 54304

3.     Locations of Inventory, Equipment and Other Assets


 Store # / Address              Lessee                          Landlord

 00001 - Green Bay, WI
                                ShopKo Stores Operating Co.,
 216 South Military Avenue                                      ShopKo West Associates
                                LLC
 Green Bay, WI 54303-2498



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Store # / Address             Lessee                         Landlord

00002- Ashwaubenon, WI
                              ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
301 Bay Park Square
                              LLC                            LLC
Green Bay, WI 54304
00003 - Manitowoc, WI
                              ShopKo Stores Operating Co.,   Robin Manitowoc, LLC and
3415 Calumet Avenue
                              LLC                            BOBO Manitowoc, LLC
Manitowoc, WI 54220
00004 - Green Bay, WI -
                              ShopKo Stores Operating Co.,
2430 East Mason Street                                       Sky Green Bay, LLC
                              LLC
Green Bay, WI 54302-3759
00005 - De Pere, WI -
                              ShopKo Stores Operating Co.,
230 North Broadway                                           Medici Rossmore, LLC
                              LLC
De Pere, WI 54115
00007 - La Crosse, WI -
                              ShopKo Stores Operating Co.,   LaCrosse Shopko Properties,
4344 Mormon Coulee Rd.
                              LLC                            LLC
La Crosse, WI 54601
00008-Main - Rothschild, WI
                              ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
1105 East Grand Avenue
                              LLC                            LLC
Rothschild, WI 54474
00008-Opt. - Rothschild, WI
                              ShopKo Stores Operating Co.,
1039 East Grand Avenue                                       RCM Wausau, LLC
                              LLC
Rothschild, WI 54474
00009 - Marshfield, WI
                              ShopKo Stores Operating Co.,   SMTA Shopko Portfolio I,
1306 North Central Avenue
                              LLC                            LLC
Marshfield, WI 5444
00012 - Wisconsin Rapids,
WI
                              ShopKo Stores Operating Co.,
1100 East Riverview                                          SMTA Shopko Portfolio I, LLC
                              LLC
Expressway
Wisconsin Rapids, WI 54494


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Store # / Address            Lessee                         Landlord

00014 - Beaver Dam, WI
                             ShopKo Stores Operating Co.,
822 Park Avenue                                             Keller Realtors
                             LLC
Beaver Dam, WI 53916
00015 - Appleton, WI
                             ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
1000 West Northland Avenue
                             LLC                            LLC
Appleton, WI 54914-1496
00017 - St. Cloud, MN
                             ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
4161 Second Street South
                             LLC                            LLC
St. Cloud, MN 56301-3761
00018 - West Bend
                             ShopKo Stores Operating Co.,
1710 South Main Street                                      National Retail Properties, LLC
                             LLC
West Bend, WI 53095-4009
00019 - Watertown, WI
                             ShopKo Stores Operating Co.,
701 South Church Street                                     SMTA Shopko Portfolio I, LLC
                             LLC
Watertown, WI 53202
00020-Main - La Crosse, WI
                             ShopKo Stores Operating Co.,
2500 Rose Street                                            EQK Bridgeview Plaza, Inc.
                             LLC
La Crosse, WI 54603
00020-Rx - La Crosse, WI
                             ShopKo Stores Operating Co.,
2438 Rose Street                                            EQK Bridgeview Plaza, Inc.
                             LLC
La Crosse, WI 54603
00022 - Mitchell, SD
                             ShopKo Stores Operating Co.,
1900 North Main Street                                      SMTA Shopko Portfolio I, LLC
                             LLC
Mitchell, SD 57301
00023 - Hutchinson, MN
                             ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
125 Main Street North
                             LLC                            LLC
Hutchinson, MN 55350
00024 - Main - Eau Claire,
                             ShopKo Stores Operating Co.,
WI                                                          WI Cal Mar
                             LLC
955 Clairemont Avenue

                                                     Schedule 8.2-6
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Store # / Address               Lessee                         Landlord

Eau Claire, WI 54701


00024 - Opt. - Eau Claire, WI
                                ShopKo Stores Operating Co.,
955 Clairemont Avenue                                          Eau Claire Associates L.P.
                                LLC
Eau Claire, WI 54701
00025 - Marshall, MN
                                ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
1200 Susan Drive
                                LLC                            LLC
Marshall, MN 56258-1622
00026 - Beloit, WI
                                ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
2761 Prairie Avenue
                                LLC                            LLC
Beloit, WI 53511
00027 - Racine, WI
                                ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
4810 Washington Ave.
                                LLC                            LLC
Racine, WI 53406
00028 - Kimberly, WI
                                ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
800 East Maes Street
                                LLC                            LLC
Kimberly, WI 54136
00029 - Madison, WI
                                ShopKo Stores Operating Co.,   7401 Mineral Point Road
7401 Mineral Point Road
                                LLC                            Owner, LLC
Madison, WI 53717
00030 - Janesville, WI
                                ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
2500 US Highway 14
                                LLC                            LLC
Janesville, WI 53547
00031 - Kenosha, WI
                                ShopKo Stores Operating Co.,
5300 52nd Street                                               SMTA Shopko Portfolio I, LLC
                                LLC
Kenosha, WI 53144-2398
00032 - Monona, WI
                                ShopKo Stores Operating Co.,
2101 West Broadway                                             Jeanine Landsinger
                                LLC
Monona, WI 53713


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Store # / Address            Lessee                         Landlord

00033-Main - Menasha, WI
                             ShopKo Stores Operating Co.,   Alexander & Bishop 1, LLC
1578 Appleton Road
                             LLC
Menasha, WI 54952
00033-Opt. - Menasha, WI
                             ShopKo Stores Operating Co.,
1640 Appleton Road                                          RMD Menasha, LLC
                             LLC
Menasha, WI 54952
00037 - Chippewa Falls, WI
                             ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
2677 State Highway 53
                             LLC                            LLC
Chippewa Falls, WI 54729
00040 - Sioux City, IA
                             ShopKo Stores Operating Co.,
3025 Hamilton Boulevard                                     Marketplace LLC
                             LLC
Sioux City , IA 51104
00042 - Oshkosh, WI
                             ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
1300 Koeller Road
                             LLC                            LLC
Oshkosh, WI 54901
00044-Opt. Omaha, NE
                             ShopKo Stores Operating Co.,   Frederick Square Limited
3044 South 84th Street
                             LLC                            Partnership
Omaha, NE 68124
00048 - Norfolk, NE
                             ShopKo Stores Operating Co.,   SMTA Shopko Portfolio I, LLC
2005 Krenzien Street
                             LLC
Norfolk, NE 68701
00050 - Fond du Lac, WI
                             ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
616 West Johnson Street
                             LLC                            LLC
Fond du Lac, WI 54935
00051 - Fort Atkinson, WI
                             ShopKo Stores Operating Co.,   SMTA Shopko Portfolio I, LLC
1425 Janesville Avenue
                             LLC
Fort Atkinson, WI 53538
00052 - Mason City, IA
                             ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
615 South Monroe
                             LLC                            LLC
Mason City, IA 50401-2061

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Store # / Address           Lessee                         Landlord

00053 - North Platte, NE
                            ShopKo Stores Operating Co.,
510 East Phillip Avenue                                    NEB Furst, LLC
                            LLC
North Platte, NE 69101
00054 - Watertown, SD
                            ShopKo Stores Operating Co.,   SMTA Shopko Portfolio I, LLC
700 9th Avenue SE
                            LLC
Watertown, SD 57201
00055 - Stevens Point, WI
                            ShopKo Stores Operating Co.,   SMTA Shopko Portfolio I, LLC
1200 Main Street
                            LLC
Stevens Point, WI 54481
00056 - Omaha, NE                                          Lund 144 Center, LLC &
                            ShopKo Stores Operating Co.,
14445 West Center Road                                     Overland Wolf Building
                            LLC
Omaha, NE 68114                                            Partnership
00059 - Fairmont, MN
                            ShopKo Stores Operating Co.,    Capview Income & Value Fund
1001 South Highway 15
                            LLC                            IV, LP
Fairmont, MN 56031
00060 - Albert Lea, MN
                            ShopKo Stores Operating Co.,   SMTA Shopko Portfolio I, LLC
2610 North Bridge Avenue
                            LLC
Albert Lea, MN 56007
00063 - Chubbuck, ID
                            ShopKo Stores Operating Co.,
4215 Yellowstone Highway                                   Haile & Hiwot Tekle
                            LLC
Chubbuck, ID 83202
00076 - Sioux Falls, SD
                            ShopKo Stores Operating Co.,
1601 West 41st Street                                      Retail on 41st Street, LLC
                            LLC
Sioux Falls, SD 57105
00078 - Rapid City, SD
                            ShopKo Stores Operating Co.,   RCSD Retail, LLC & RCAA
1845 Haines Avenue
                            LLC                            Owner, LLC
Rapid City, SD 57701
00079 - Wausau, WI
                            ShopKo Stores Operating Co.,
200 South 18th Street                                      P.J. Investments
                            LLC
Wausau, WI 54401

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Store # / Address           Lessee                         Landlord

00080 - Madison, WI
                            ShopKo Stores Operating Co.,
2201 Zeier Road                                            Flintlock Capital, LLC
                            LLC
Madison, WI 53704
00082 - Murray, UT
                            ShopKo Stores Operating Co.,   Retained R/E SPE, LLC
5959 South State Street
                            LLC                            (affiliate)
Murray, UT 84107
00083 - Sandy City, UT
                            ShopKo Stores Operating Co.,
2165 East 9400 South                                       RS Sandy Partners, LLC
                            LLC
Sandy City, UT 84093
00084 - West Jordan, UT
                            ShopKo Stores Operating Co.,   Retreat on Roslyn, LLC
1553 West 9000 South
                            LLC
West Jordan, UT 84088
00085 - Taylorsville, UT
Midvalley Family Center     ShopKo Stores Operating Co.,   Retained R/E SPE, LLC
5800 South Redwood Road     LLC                            (affiliate)
Salt Lake City, UT 85123
00087 - Ogden, UT
                            ShopKo Stores Operating Co.,   CRG Boise, LLC and The
1018 Washington Boulevard
                            LLC                            Ridge, L.P.
Ogden, UT 84404
00088 - Layton, UT
                            ShopKo Stores Operating Co.,   2DF No. 2, L.C. and Orbit 1,
1150 North Main
                            LLC                            LLC
Layton, UT 84041
00090 - Grafton, WI
                            ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
1771 Wisconsin Avenue
                            LLC                            LLC
Grafton, WI 53204
00091 - Logan, UT
                            ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
1341 North Main Street
                            LLC                            LLC
Logan, UT 84321
00092 - Kennewick, WA       ShopKo Stores Operating Co.,
                                                           Corvalis WA, LLC
867 N. Columbia Center      LLC

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Store # / Address            Lessee                         Landlord

Boulevard
Kennewick, WA 98336

00093 - Bend, OR
60 NE Bend River Mall        ShopKo Stores Operating Co.,
                                                            Atlas ShopKo-Bend, LLC
Avenue                       LLC
Bend, OR 97701
00096 - Redding, CA
                             ShopKo Stores Operating Co.,
55 Lake Boulevard                                           Encinal Shopko Redding, LLC
                             LLC
Redding, CA 96003
00097 - West Valley City,
UT                           ShopKo Stores Operating Co.,
                                                            Bridgeport Retail – Utah, LLC
4850 West 3500 South         LLC
West Valley City, UT 84120
00098 - Eugene, OR
                             ShopKo Stores Operating Co.,
2815 Chad Drive                                             Atlas ShopKo-Eugene, LLC
                             LLC
Eugene, OR 97408
00099 - Onalaska, WI
                             ShopKo Stores Operating Co.,   Paradise Wisconsin Properties,
9366 State Highway 16
                             LLC                            LLC
Onalaska, WI 54650
00100 - Neenah, WI
                             ShopKo Stores Operating Co.,
699 Green Bay Road                                          CHL Neenah, LLC
                             LLC
Neenah, WI 54956
00101 - Sioux Falls, SD
4501 East Arrowhead          ShopKo Stores Operating Co.,   PAL, Inc. and H. Lauren Lewis
Parkway                      LLC                            Living Trust
Sioux Falls, SD 57103
00102 - Marinette, WI
                             ShopKo Stores Operating Co.,    Capview Income & Value Fund
2741 Roosevelt Road
                             LLC                            IV, LP
Marinette, WI 54143


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00104 - Brigham City, UT
                            ShopKo Stores Operating Co.,
747 South Main                                             1st Avenue Self Storage, LLC
                            LLC
Brigham , UT 84302
00105 - Orem, UT
                            ShopKo Stores Operating Co.,
125 South State Street                                     RS Orem Partners, LLC
                            LLC
Orem, UT 84058
00106 - Billings, MT
                            ShopKo Stores Operating Co.,   905 South 24th Street West
905 South 24 West
                            LLC                            Owner, LLC
Billings, MT 59102
00108 - Spanish Fork, UT
955 North Main Street       ShopKo Stores Operating Co.,   Thompson Associates
Spanish Fork, UT 84660-     LLC
1150
00109 - Riverdale, UT
                            ShopKo Stores Operating Co.,
4060 Riverdale Road                                        National Retail Properties, LP
                            LLC
Riverdale, UT 84405
00111 - Salem, OR
                            ShopKo Stores Operating Co.,
1230 Lancaster Drive SE                                    Atlas ShopKo-Salem, LLC
                            LLC
Salem, OR 97301
00112 - Helena, MT
                            ShopKo Stores Operating Co.,   SMTA Shopko Portfolio I, LLC
3101 Montana Avenue
                            LLC
Helena, MT 59601-7813
00113 - Lacey, WA
                            ShopKo Stores Operating Co.,
5500 Martin Way                                            RS Lacey Partners, LLC
                            LLC
Lacey, WA 98506
00114 - Duluth, MN
                            ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
801 West Central Entrance
                            LLC                            LLC
Duluth, MN 55811-5468
00116 - Sheboygan, WI       ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
518 South Taylor Drive      LLC                            LLC

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Store # / Address            Lessee                         Landlord

Sheboygan, WI 53081


00119 - Dixon, IL
                             ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
1350 North Galleria Avenue
                             LLC                            LLC
Dixon, IL 61021
00120 - Monroe, WI
                             ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
405 West Eight Street
                             LLC                            LLC
Monroe, WI 53566
00122 - Wenatchee, WA
1340 North Wenatchee         ShopKo Stores Operating Co.,   Kellogg Shopco Properties,
Avenue                       LLC                            LLC
Wenatchee, WA 98801
00125 - Freeport, IL
                             ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
555 West South Street
                             LLC                            LLC
Freeport, IL 61032
00127 - Delavan, WI
                             ShopKo Stores Operating Co.,    Capview Income & Value Fund
1450 East Geneva Street
                             LLC                            IV, LP
Delavan, WI 53115
00128 - Kalispell, MT
                             ShopKo Stores Operating Co.,
1370 Highway 2 East                                         Smithlin, McIntire & Young
                             LLC
Kalispell, MT 59901
00129 - Spokane, WA
                             ShopKo Stores Operating Co.,
4515 South Regal Street                                     SHS Building, LLC
                             LLC23
Spokane, WA 992
00130 - River Falls, WI
                             ShopKo Stores Operating Co.,   SMTA Shopko Portfolio I, LLC
1777 Paulson Road
                             LLC
River Falls, WI 54022
00132 - Rice Lake, WI
                             ShopKo Stores Operating Co.,
320 Highway O, P.O. Box                                     OB Investors, LLC
                             LLC
289
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Store # / Address            Lessee                         Landlord

Rice Lake, WI 54868


00133 - Belvidere, IL
                             ShopKo Stores Operating Co.,   SMTA Shopko Portfolio I, LLC
1400 Big Thunder Boulevard
                             LLC
Belvidere, IL 61008
00134 - Pullman, WA
                             ShopKo Stores Operating Co.,
South 1450 Grand Avenue                                     Elizabeth Trainor, LLC
                             LLC
Pullman, WA 99163
00164 - Dubuque, IA
                             ShopKo Stores Operating Co.,
225 John F. Kennedy Road                                    KRC Dubuque 847, Inc.
                             LLC
Dubuque, IA 52002-5313
00170 - Rhinelander, WI
East Point Centre            ShopKo Stores Operating Co.,
                                                            Concord 6, LLC
2200 Lincoln Street          LLC
Rhinelander, WI 54501
00171 - Plover, WI                                          Friedman Brokerage Company-
                             ShopKo Stores Operating Co.,
1800 Plover Road                                            WI, LLC
                             LLC
Plover, WI 54467
00172 - Lincoln, NE
                             ShopKo Stores Operating Co.,   Menard, Inc.
3400 North 27th Street
                             LLC
Lincoln, NE 68521-1314
00175 - Lincoln, NE (S)
                             ShopKo Stores Operating Co.,
6845 South 27th Street                                      OLP Lincoln LLC
                             LLC
Lincoln, NE 68512-4823
00177 – Suamico, WI
                             ShopKo Stores Operating Co.,   Realty Income Properties 28,
2320 Lineville Road
                             LLC                            LLC
Green Bay, WI 54313
00178 – Sussex, WI
                             ShopKo Stores Operating Co.,   Realty Income Properties 28,
N66 W25201 CTH VV
                             LLC                            LLC
Sussex, WI 53089
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Store # / Address           Lessee                         Landlord

00179 – North Branch, MN
                            ShopKo Stores Operating Co.,
5630 St. Croix Trail                                       St. Croix Trail, LLC
                            LLC
North Branch, MN 55056
00200 – Chino Valley, AZ    ShopKo Stores Operating Co.,
                                                           PD2
1950 N. Highway 89          LLC
Chino Valley, AZ 86323
00201 – Emmetsburg, IA      ShopKo Stores Operating Co.,
                                                           Lucky 13, LLC
3402 Main Street            LLC
Emmetsburg, IA 50536-1515
00202 – Clifton, TX         ShopKo Stores Operating Co.,
                                                           WG REG Clifton LLC
927 North Avenue G          LLC
Clifton, TX 76634
00203 – Jacksboro, TX       ShopKo Stores Operating Co.,
124 Lumar Drive             LLC                            ARG Lumar, LLC
Jacksboro, TX 76458
00205 – Delta, UT           ShopKo Stores Operating Co.,
                                                           Joseph Gallo Farms
94 North 900 East           LLC
Delta, UT 84624-9467
00206 – Ely, NV             ShopKo Stores Operating Co.,
                                                           H&M Ely, LLC.
701 Great Basin Boulevard   LLC
Ely, NV 89301-2069
00207 – Oldtown, ID         ShopKo Stores Operating Co.,
                                                           L & C DG Investments, LLC
67 Selkirk Way              LLC
Oldtown, ID 83822-8546
00208 – Seymour, TX         ShopKo Stores Operating Co.,
                                                           CGP Seymour, Ltd.
711 S. Main Street          LLC
Seymour, TX 76380
00209 – Tulia, TX           ShopKo Stores Operating Co.,
                                                           CGSK Tulia, Ltd.
908 NW 6th Street           LLC
Tulia, TX 79088

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Store # / Address            Lessee                         Landlord

00211 – Estherville, IA      ShopKo Stores Operating Co.,   Next Generation Properties of
2401 Central Avenue          LLC                            Nebraska, LLC
Estherville, IA 51334-2770
00212 – Gordon, NE           ShopKo Stores Operating Co.,
                                                            Don Levin Trust
301 E Highway 20             LLC
Gordon, NE 69343
00213 – Littlefield, TX      ShopKo Stores Operating Co.,
                                                            SMT Littlefield Partners
705 W. Marshall Howard       LLC
                                                            Limited
Blvd
Littlefield, TX 79339
00520 – Albion, NE           ShopKo Stores Operating Co.,
2585 State Highway 14 NE,    LLC                            W.A. Enterprises, LLC
NE
68620-2820
00532 New Town, ND           ShopKo Stores Operating Co.,
                                                            PALCO Investments, LLC
102 College Drive            LLC
New Town, ND 58763-9114
00534 – Rolla, ND            ShopKo Stores Operating Co.,
                                                            Nicmeyer, Inc.
602 Main Avenue West         LLC
Rolla, ND 58367-7606
00535 – Bowman, ND           ShopKo Stores Operating Co.,
                                                            PALCO Investments, LLC
320 Highway 12 East          LLC
Bowman, ND 58623
00536 – Ulysses, KS          ShopKo Stores Operating Co.,
515 East Oklahoma            LLC                            Rayne Company, Inc
Ulysses, KS 67880-2817
00537 – Beloit, KS
                             ShopKo Stores Operating Co.,   Westwind Plaza, Inc.
102 N. Independence Avenue
                             LLC
Beloit, KS 67420-2147


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Store # / Address           Lessee                         Landlord

00538 – Anthony, KS         ShopKo Stores Operating Co.,
                                                           FIDC 50 LLC
710 N LL and G Avenue       LLC
Anthony, KS 67003-2814
00539 – Monahans, TX        ShopKo Stores Operating Co.,
                                                           THE BLOCH FAMILY 2005
1907 South Stockton         LLC
                                                           PARTNERSHIP, L.P.,
Monahans, TX 79756-6507

00540 – Kermit, TX          ShopKo Stores Operating Co.,   Zhangusa Investments, LLC
334 E Highway 302           LLC                            d/b/a ZiMart Kermit, LLC
Kermit, TX 79745-5105
00541 – Dalhart, TX         ShopKo Stores Operating Co.,
                                                           ICA Properties, Inc.
509 Blair Street            LLC
Dalhart, TX 79022-2557
00542 – Perryton, TX        ShopKo Stores Operating Co.,
                                                           ICA Properties, Inc.
1301 S Main Street          LLC
Perryton, TX 79070-4709
00543 – Wolf Point, MT      ShopKo Stores Operating Co.,   Parks Retail Investment
600 US Highway 2E           LLC                            Montana, LLC
Wolf Point, MT 59201
00544 – Sidney, MT          ShopKo Stores Operating Co.,
                                                           Pontus SK Portfolio, LLC
500 North Central Street    LLC
Sidney, MT 59270-4200
00545 – Mobridge, SD        ShopKo Stores Operating Co.,
                                                           Chaffin, Inc.
2008 West Highway 12        LLC
Mobridge, SD 57601-4801
00546 – Burlington, CO      ShopKo Stores Operating Co.,
                                                           Donald and Marlyn Herman
333 S Lincoln               LLC
Burlington, CO 80807-2104
00547 – Moose Lake, MN      ShopKo Stores Operating Co.,   Stephen S. Leung and Helena S.
4791 County Road 10         LLC                            Leung

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Store # / Address           Lessee                         Landlord

Moose Lake, MN 55767-
9221

00548 – Mahnomen, MN        ShopKo Stores Operating Co.,
                                                           4CZECHS, LLC
416 US Highway 59           LLC
Mahnomen, MN 56557-4630
00549 – Hardin, MT          ShopKo Stores Operating Co.,
                                                           NLD Hardin, LLC
1001 North Central Avenue   LLC
Hardin, MT 59034
00550 – Dillon, MT          ShopKo Stores Operating Co.,
                                                           Beaver Development, LLC
100 East Helena Street      LLC
Dillon, MT 59725-2611
00551 – DeMott, IN          ShopKo Stores Operating Co.,
                                                           Hamstra Builders, Inc.
334 N Hallek Street         LLC
DeMott, IN 46310-9419
00552 – Oakes, ND           ShopKo Stores Operating Co.,   DAKOTA UPREIT LIMITED
1420 North 7th Street       LLC                            PARTNERSHIP
Oakes, ND 58474
00553 – Abilene, KS         ShopKo Stores Operating Co.,
                                                           Mr. Leslie K. Halbert
1903 N Buckeye Avenue       LLC
Abilene, KS 67410-1505
00554 – Andrews, TX         ShopKo Stores Operating Co.,
                                                           LEECO Properties, Inc
1203 N Main Street          LLC
Andrews, TX 79714-3630
00555 – Moab, UT            ShopKo Stores Operating Co.,   Davidson Children's Trust I and
1145 South US Highway 191   LLC                            II
Moab, UT 84532-3062
00556 Prosser, WA           ShopKo Stores Operating Co.,   The Patton Group Limited
471 Wine Country Road       LLC                            Partnership
Prosser, WA 99350-9555


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Store # / Address             Lessee                         Landlord

00557 – Nephi, UT             ShopKo Stores Operating Co.,   Ensign Development Group,
1174 North Main Street        LLC                            LLC
Nephi, UT 84648-1008
00558 – Redfield, SD          ShopKo Stores Operating Co.,   L & S Properties of Redfield,
614 West 3rd Street           LLC                            LLC
Redfield, SD 57469-1042
00559 – Orofino, ID           ShopKo Stores Operating Co.,
                                                             CGP Orofino, LLC
429 SE Michigan Avenue        LLC
Orofino, ID 83544
00560 - Fairview, OK          ShopKo Stores Operating Co.,
                                                             Cornelsen Leasing Co
816 E State Road              LLC
Fairview, OK 73737-2601
00561 – Cokato, MN            ShopKo Stores Operating Co.,
                                                             VEREIT SH Cokato MN, LLC
145 Broadway Avenue N         LLC
Cokato, MN 55321-4376
00562 – Stanley, ND           ShopKo Stores Operating Co.,
                                                             Lakeside Storage, LLC
702 Westview Lane             LLC
Stanley, ND 58784
00563 – Mauston, WI           ShopKo Stores Operating Co.,
                                                             East Med LLC
406 Gateway Avenue            LLC
Mauston, WI 53948-1401
00564 – Webster City, IA      ShopKo Stores Operating Co.,   VEREIT, SH Webster City IA,
200 Red Bull Division Dr      LLC                            LLC
Webster City, IA 50595-7505
00565 – Cherokee, IA          ShopKo Stores Operating Co.,
                                                             VEREIT SH Cherokee IA, LLC
1610 North 2nd Street         LLC
Cherokee, IA 51012-2230
00566 – Warroad, MN           ShopKo Stores Operating Co.,
                                                             Realty Income Corporation
216 Main Avenue NE            LLC
Warroad, MN 56763-2344

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Store # / Address            Lessee                         Landlord

00567 – Paynesville, MN      ShopKo Stores Operating Co.,
                                                            Realty Income Corporation
810 Diekmann Drive           LLC
Paynesville, MN 56362-4657
00568 – New Prague, MN       ShopKo Stores Operating Co.,
                                                            Dakota UPREIT Limited
200 10th Avenue              LLC
                                                            Partnership
New Prague, MN 56071-
1975
00569 – Milbank, SD          ShopKo Stores Operating Co.,   L & S Properties of Milbank,
1400 Morningside Drive       LLC                            LLC
Milbank, SD 57252-1532
00570 – Wagner, SD           ShopKo Stores Operating Co.,
                                                            East Dakota Properties
95 W SD Highway 46           LLC
Wagner, SD 57380-9376
00571 – Webster, SD          ShopKo Stores Operating Co.,   L & S Properties of Webster,
620 E Highway 12             LLC                            LLC
Webster, SD 57274-1135
00572 – Leadville, CO        ShopKo Stores Operating Co.,
                                                            Leadville Holdings, LLC
401 US Highway 24            LLC
Leadville, CO 80461-3974
00573 – Russell, KS          ShopKo Stores Operating Co.,
                                                            KLEMA PLAZA, INC.
87 S Fossil Street           LLC
Russell, KS 67665-3007
00574 – Lowell, IN           ShopKo Stores Operating Co.,
                                                            Regency North Indiana LLC
2052 E Commercial Avenue     LLC
Lowell, IN 46356-2116
00575 – Lovington, NM        ShopKo Stores Operating Co.,
                                                            TMM Investments LTD.
908 W Avenue D               LLC
Lovington, NM 88260-3808
00576 – Alpine, TX           ShopKo Stores Operating Co.,   Rockstep Alpine, LLC
2500 E Highway 90            LLC

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Store # / Address            Lessee                         Landlord

Alpine, TX 79830-4107


00577 – Canadian, TX         ShopKo Stores Operating Co.,
                                                            CGP CANADIAN, LTD.
308 S 2ND ST                 LLC
Canadian, TX 79014
00578 – Buena Vista, CO      ShopKo Stores Operating Co.,
415 US Highway 24 N          LLC                            Running Dogs Properties LLC
Buena Vista, CO 81211-9651
00579 – Yuma, CO             ShopKo Stores Operating Co.,
                                                            PPG Yuma, LLC
502 E 8th Avenue             LLC
Yuma, CO 80759-2140
00580 – Carrington, ND       ShopKo Stores Operating Co.,
                                                            Central Dakota Investment, Inc
6717 Highway 200             LLC
Carrington, ND 58421-8701
00581 – Lisbon, ND           ShopKo Stores Operating Co.,
                                                            Jay, Inc.
1809 Main Street             LLC
Lisbon, ND 58054
00582 – Presidio, TX         ShopKo Stores Operating Co.,   Realty Income Texas Properties
1000 US Business 67          LLC                            1, LLC
Presidio, TX 79845
00583 – Blanding, UT         ShopKo Stores Operating Co.,
                                                            W.A. Enterprises, LLC
860 S Main Street            LLC
Blanding, UT 84511-3911
00584 – Bonners Ferry, ID    ShopKo Stores Operating Co.,
6355 Main Street             LLC                            Almond Blossom, LLC
Bonners Ferry, ID 83805-
8519
00585 – Mayville, ND         ShopKo Stores Operating Co.,
                                                            Realty Income Corporation
935 3rd Street SE            LLC
Mayville, ND 58257-1630
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Store # / Address           Lessee                         Landlord

00586 – Phillipsburg, KS    ShopKo Stores Operating Co.,
                                                           Realty Income Corporation
1401 State Street           LLC
Phillipsburg, KS 67661
00587 – Clarinda, IA        ShopKo Stores Operating Co.,
                                                           Realty Income Corporation
1180 South 16th Street      LLC
Clarinda, IA 51632-2917
00588 – Beaver, UT          ShopKo Stores Operating Co.,
                                                           Davidson Properties
660 North Main Street       LLC
Beaver, UT 84713-7725
00589 – Cresco, IA          ShopKo Stores Operating Co.,
22422 Highway 9             LLC                            Cresco Shopko LLC
Cresco, IA 52136-8267
00592 – Comanche, TX        ShopKo Stores Operating Co.,
1300 E Central Avenue       LLC                            Mohave Valley DG, LLC

Comanche, TX 76442
00594 – Chamberlain, SD     ShopKo Stores Operating Co.,
                                                           ShopkoCham LLC
1951 E King Avenue          LLC
Chamberlain, SD 57325
00596 – Dell Rapids, SD     ShopKo Stores Operating Co.,
                                                           Shopko Dell LLC
1208 N Highway 77           LLC
Dell Rapids, SD 57022
00597 – Ord, NE             ShopKo Stores Operating Co.,
                                                           Don Levin Trust
133 Trotter Avenue          LLC
Ord, NE 68862
00598 – Springerville, AZ   ShopKo Stores Operating Co.,
                                                           Springerville Plaza, LLC
207 S Mountain Avenue       LLC
Springerville, AZ 85938
00600 – Vinton, IA          ShopKo Stores Operating Co.,   Performance Systems, L.C.
911 South K Avenue          LLC

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Store # / Address           Lessee                         Landlord

Vinton, IA 52349-1073


00611 – Saint Peter, MN     ShopKo Stores Operating Co.,
                                                           FIDC XXIII LLC
201 S 3rd Street            LLC
Saint Peter, MN 56082
00613 – Winneconne, WI      ShopKo Stores Operating Co.,
                                                           ENJG, Ltd.
916 E. Main Street          LLC
Winneconne, WI 54986-9782
00788 – Columbus, WI        ShopKo Stores Operating Co.,   Columbus Commerce Center,
200 Commerce Drive          LLC                            LLC
Columbus, WI 53925-9567
00789 – Waupaca, WI         ShopKo Stores Operating Co.,
                                                           Pfefferle Management
825 West Fulton Street      LLC
Waupaca, WI 54981-1471
00790 – Stanley, WI         ShopKo Stores Operating Co.,   Theodore A & Evangeline
409 Junction Avenue         LLC                            Laliotis 2012 Revocable Trust
Stanley, WI 54768-8011
00792 – Tomahawk, WI        ShopKo Stores Operating Co.,
                                                           SKHT Tomahawk LLC
79 Hometown Road            LLC
Tomahawk, WI 54487-3301
00793 – Mayville, WI        ShopKo Stores Operating Co.,
                                                           Mayville 2013 Shopko LLC
2050 Horicon Street         LLC
Mayville, WI 53050-1423
00794 – Quincy, WA          ShopKo Stores Operating Co.,
                                                           Quincy 28-13, LLC
814 13th Avenue SW          LLC
Quincy, WA 98848
00795 – Salmon, ID          ShopKo Stores Operating Co.,
                                                           FIDC XXXVI LLC
1026 South Challis Street   LLC
Salmon, ID 83467-5441


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Store # / Address             Lessee                         Landlord

00796 – Kasson, MN            ShopKo Stores Operating Co.,
                                                             Kranthi Realty, LLC
301 S Mantorville Avenue      LLC
Kasson, MN 55944
00797 – Whitefish, MT         ShopKo Stores Operating Co.,
6475 Hwy 93 South             LLC                            Argo Whitefish, LLC
Suite #15
Whitefish, MT 59937-8265
00798 – Ballard, UT           ShopKo Stores Operating Co.,   VEREIT SH BALLARD UT,
1635 E Highway 40             LLC                            LLC
Ballard, UT 84066
00799 – Tremonton, UT         ShopKo Stores Operating Co.,
                                                             CH Ag, LLC
440 West Main Street          LLC
Tremonton, UT 84337
00501 - Ledgeview, WI
                              ShopKo Stores Operating Co.,    Capview Income & Value Fund
3705 Monroe Road
                              LLC                            IV, LP
De Pere, WI 54115
00502 - Howard, WI
                              ShopKo Stores Operating Co.,
2585 Lineville Road                                          2585 Lineville Green Bay LLC
                              LLC
Green Bay, WI 54313
00503 - Port Washington, WI
                              ShopKo Stores Operating Co.,   1011 North Wisconsin Street
1011 N. Wisconsin Street
                              LLC                            Owner, LLC
Port Washington, WI 53074
00504 – Appleton, WI
                              ShopKo Stores Operating Co.,
W3208 Van Roy Road                                           JBOK Enterprises, LLC
                              LLC
Appleton, WI 54915
00505 – Appleton, WI
                              ShopKo Stores Operating Co.,   BTS Properties, LLC & Trip
2101 East Evergreen Drive
                              LLC                            Investments, LLC
Appleton, WI 54913
00215 – Rx - Shawano, WI      ShopKo Stores Operating Co.,
                                                             Theda Care
100 Country Road              LLC

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Store # / Address            Lessee                         Landlord

Shawano, WI 54166-7072


00216 – Opt – Mequon, WI
10996 N. Port Washington     ShopKo Stores Operating Co.,
                                                            Brixmor SPE 1, LLC
Road                         LLC
Mequon, WI 53092-5031
00217 – Opt – Waukesha, WI
1166 West Sunset Dr,         ShopKo Stores Operating Co.,
                                                            Ramco Properties
Suite F 100                  LLC
Waukesha, WI 53189-8420
00218 – Opt – Oshkosh, WI
                             ShopKo Stores Operating Co.,   Fair Acres Station, LLC –
1810 Jackson Street
                             LLC                            Phillip Edison
Oshkosh, WI 54901-2204
00510 – RX - Waupaca, WI
                             ShopKo Stores Operating Co.,
800 Riverside Drive                                         Riverside Medical Center, Inc.
                             LLC
Waupaca, WI 54981-1943
00526 – Afton, WY
                             ShopKo Stores Operating Co.,
679 S Washington Street                                     FIDC XXX, LLC
                             LLC
Afton, WY 83110
00601 – Kewaunee, WI
                             ShopKo Stores Operating Co.,   Holly Plaza, LLC
802 N. Main Street
                             LLC
Kewaunee, WI 54216
00602 – Oconto, WI
                             ShopKo Stores Operating Co.,   Holly Plaza, LLC
126 Charles Street
                             LLC
Oconto, WI 54154
00604 – Abbotsford, WI
                             ShopKo Stores Operating Co.,
1011 E. Spruce Street                                       Chelt Development LLC
                             LLC
Abbotford, WI 54405



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Store # / Address             Lessee                         Landlord

00605 – Mora, MN
                              ShopKo Stores Operating Co.,   Kamin Realty Co.
340 South Highway 65
                              LLC
Mora, MN 55051
00606 – Calumet, MI
                              ShopKo Stores Operating Co.,   M.A.K. Rentals, LLC
5350 Station Drive
                              LLC
Calumet, MI 49913
00607 – Seymour, WI                                          Backyard Properties of Rock
                              ShopKo Stores Operating Co.,
1010 South Mainline Drive                                    County, LLC
                              LLC
Seymour, WI 54165
00608 – Brillion, WI
                              ShopKo Stores Operating Co.,   R. Lewis & R. Lewis Brillion,
1014 W. Ryan Street
                              LLC                            Inc.
Brillion, WI 54110
00609 – Kiel, WI
                              ShopKo Stores Operating Co.,
1120 S.T.H. 67                                               Pontus SK Portfolio, LLC
                              LLC
Kiel, WI53042
00610 – Ishpeming, MI
                              ShopKo Stores Operating Co.,
650 US Highway 41 West                                       Marquette Marine LLC
                              LLC
Ishpeming, MI49849
00980 - Optical Lab
                              ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
1450 W. Main Avenue
                              LLC                            LLC
Green Bay, WI 54304
00998 - Omaha, NE - D.C.
                              ShopKo Stores Operating Co.,   LCN SKO Omaha (Multi),
10808 South 132nd Street
                              LLC                            LLC
Omaha, NE 68138
[00999 - De Pere, WI- D. C.
                              ShopKo Stores Operating Co.,   LCN SKO Omaha (Multi),
1717 Lawrence Drive
                              LLC                            LLC
De Pere , WI 54115]
G.O. - General Office700
                              ShopKo Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
Pilgrim Way, PO Box 19060
                              LLC                            LLC
Green Bay, WI 54304

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OWNED PROPERTY

                                OWNED PROPERTY

00533 – Tioga, Shopko Stores    6527 Highway 40          Tioga, ND   58852 Inactive
ND             Operating Co.,                                        -9213
               LLC

Freight Forwarders/         Company                         Contact Information
Transloaders/CustomsBrokers

Transloaders                    Performance Team            11204 Norwalk Blvd
                                                            Santa Fe Springs, CA 90670
                                                            Jim Snodgrass
                                                            Phone # 562-345-2217
                                                            Fax #562-741-2501
                                                            E-Mail jim.snodgrassPtgt.Net
                                Triangle International      9 South Hackensack Ave. Bldg 43
                                LLC                         Kearney, NJ 07032
                                                            Caryn Bland
                                                            Phone # 480-980-3114
                                                            Fax # 973-466-3870
                                                            E-Mail
                                                            cblanc@thetrianglegroup.com
Freight Forwarder               Yusen Logistics             300 Lighting Way – 4th Floor
                                (Americas), Inc.            Secaucus, NJ 07094
                                successor by merger to      Ron Marotto
                                NYK Logistics               Phone: 201-553-3803
Customs Broker                  Carmichael                  533 Glendal Blvd
                                International Services      Los Angeles, CA 90026-5097




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4.      Locations of Assets in Prior 4 Months not Listed Above

None.

F.      Company: ShopKo Properties, LLC

1.      Chief Executive Office

        700 Pilgrim Way
        Green Bay, WI 54304

2.      Location of Books and Records

        700 Pilgrim Way
        Green Bay, WI 54304

3.      Locations of Inventory, Equipment and Other Assets



 Store # / Address               Lessee                          Landlord

 00010 - Marquette, MI
                                 Shopko Stores Operating Co.,    SMTA Shopko Portfolio I, LLC
 1150 West Washington
                                 LLC
 Marquette, MI 49855
 00011 - Kingsford, MI
                                 Shopko Stores Operating Co.,    SMTA Shopko Portfolio I, LLC
 500 South Carpenter Avenue
                                 LLC
 Kingsford, MI 49802-4597
 00016 - Escanaba, MI
                                 Shopko Stores Operating Co.,    SMTA Shopko Portfolio I, LLC
 2530 First Avenue North
                                 LLC
 Escanaba, MI 49829-1396



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Store # / Address          Lessee                         Landlord

00021 - Mankato, MN
                           Shopko Stores Operating Co.,   Spirit SPE Portfolio 2006-2,
1850 Madison Avenue
                           LLC                            LLC
Mankato, MN 56001
00035 - Rochester, MN
                           Shopko Stores Operating Co.,   Spirit SPE Portfolio 2006-2,
2820 Highway 63 South
                           LLC                            LLC
Rochester, MN 55904
00036 - Rochester, MN
                           Shopko Stores Operating Co.,   Spirit SPE Portfolio 2006-2,
3708 Highway 63 North
                           LLC                            LLC
Rochester, MN 55904
00038 - Grand Island, NE
                           Shopko Stores Operating Co.,    Raymond J O’Conner Trust &
2208 North Webb Road
                           LLC                            Jennifer’s O’Conner Trust
Grand Island, NE 68803
00039 - Lincoln, NE
                           Shopko Stores Operating Co.,
4200 South 27th Street                                    Red Bishop Heights JV, LLC
                           LLC
Lincoln, NE 68502
00041 - Austin, MN
                           Shopko Stores Operating Co.,   Spirit SPE Portfolio 2006-2,
1209 18th Avenue NW
                           LLC                            LLC
Austin, MN 55912
00045 - Bellevue, NE
                           Shopko Stores Operating Co.,
601 Galvin Road South                                     Devmar Properites, LLC
                           LLC
Bellevue, NE 68005
00047 - Lincoln, NE
                           Shopko Stores Operating Co.,
100 South 66th Street                                     SFI Limited Partnership 100
                           LLC
Lincoln, NE 68510
00049 - Aberdeen, SD
                           Shopko Stores Operating Co.,   SMTA Shopko Portfolio I, LLC
500 North Highway 281
                           LLC
Aberdeen, SD 57401
00057 - Winona, MN
                           Shopko Stores Operating Co.,
405 Cottonwood Drive                                      CHL Winona, LLC
                           LLC
Winona, MN 55987

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Store # / Address            Lessee                         Landlord

00058 - Worthington, MN
1755 North Humiston          Shopko Stores Operating Co.,   Spirit SPE Portfolio 2006-2,
Avenue                       LLC                            LLC
Worthington, MN 56187
00061 - St. Cloud, MN
                             Shopko Stores Operating Co.,   Spirit SPE Portfolio 2006-2,
501 Highway 10 South
                             LLC                            LLC
St. Cloud, MN 56304
00062 - Great Falls, MT
                             Shopko Stores Operating Co.,
301 Northwest Bypass                                        GFS Building, LLC
                             LLC
Great Falls, MT 59404-4125
00064 - Nampa, ID
                             Shopko Stores Operating Co.,
2100 Caldwell Boulevard                                     Well Nampa, LLC
                             LLC
Nampa, ID 83651-1510
00065 - Boise, ID
                             Shopko Stores Operating Co.,
8105 Fairview Avenue                                        RS Boise Partners, LLC
                             LLC
Boise, ID 83704-8426
00066 - Spokane, WANorth
9520 Newport                 Shopko Stores Operating Co.,
                                                            National Retail Properties, LP
HighwaySpokane, WA           LLC
99218
00067 - Twin Falls, ID
                             Shopko Stores Operating Co.,   Spirit SPE Portfolio 2006-2,
1649 Pole Line Road East
                             LLC                            LLC
Twin Falls, ID 83301-8397
00068 - Idaho Falls, ID
                             Shopko Stores Operating Co.,
800 East 17th Street                                        ID Furst, Shop, LLC
                             LLC
Idaho Falls, ID 83404
00069 - Coeur d'Alene, ID
                             Shopko Stores Operating Co.,
217 West Ironwood Drive                                     Foothill Shadows, LLC
                             LLC
Coeur d' Alene, ID 83814


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Store # / Address           Lessee                         Landlord

00070 - Spokane, WA
                            Shopko Stores Operating Co.,   Spirit SPE Portfolio 2006-1,
East 13414 Sprague Avenue
                            LLC                            LLC
Spokane, WA 99216
00072 - Lewiston, ID
                            Shopko Stores Operating Co.,   Spirit SPE Portfolio 2006-2,
2120 Thain Grade
                            LLC                            LLC
Lewiston, ID 83501
00073 - Union Gap, WA                                      Spirit SPE Portfolio 2006-2,
                            Shopko Stores Operating Co.,
2530 Rudkin                                                LLC
                            LLC
Union Gap, WA 98903                                        & Yakima Theaters, Inc.
00075 - Missoula, MT
                            Shopko Stores Operating Co.,   Spirit SPE Portfolio 2006-2,
2510 South Reserve Street
                            LLC                            LLC
Missoula, MT 59801
00081 - Yakima, WA
                            Shopko Stores Operating Co.,
5801 Summitview Avenue                                     Summit Northwest, LLC
                            LLC
Yakima, WA 98908
00089 - Walla Walla, WA
                            Shopko Stores Operating Co.,
1600 West Rose Street                                      Table Rock Mobile Estates, Inc.
                            LLC
Walla Walla, WA 99362
00095 - Boise, ID
2655 South Broadway         Shopko Stores Operating Co.,
                                                           M Group, LLC
Avenue                      LLC
Boise, ID 83706
00123 - Houghton, MI
                            Shopko Stores Operating Co.,   SMTA Shopko Portfolio I, LLC
900 West Memorial Drive
                            LLC
Houghton, MI 49931
00997 - Boise, ID D.C.
                            Shopko Stores Operating Co.,   LCN SKO Omaha (Multi),
1001 E. Gowen Road
                            LLC                            LLC
Boise, ID 83705




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Freight Forwarders/Transloaders/Customs Brokers:

       None.

4.     Locations of Assets in Prior 4 Months not Listed Above

       None.

G.     Company: Penn-Daniels, LLC

1.     Chief Executive Office

       700 Pilgrim Way
       Green Bay, WI 54304

2.     Location of Books and Records

       700 Pilgrim Way
       Green Bay, WI 54304

3.     Locations of Inventory, Equipment and Other Assets


 Store # / Address              Lessee                          Landlord

 00139 - Quincy, IL
                                Shopko Stores Operating Co.,
 3200 Broadway                                                  THBH SL, LLC
                                LLC
 Quincy, IL 62301
 00140 - Jacksonville, IL
                                Shopko Stores Operating Co.,    Spirit SPE Portfolio 2006-1,
 1964 West Morton Avenue
                                LLC                             LLC
 Jacksonville, IL 62650
 00141 - Burlington, IA
                                Shopko Stores Operating Co.,
 313 North Roosevelt Avenue                                     SVK Capital, LLC
                                LLC
 Burlington, IA 52601-1757

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 Store # / Address              Lessee                          Landlord

 00142 - Fort Madison, IA
 4810 Avenue O                  ShopKo Stores Operating Co.,    Retained R/E SPE, LLC
 Fort Madison, IA 52627-        LLC                             (affiliate)
 9667
 00145 - Monmouth, IL
                                Shopko Stores Operating Co.,    SMTA Shopko Portfolio I, LLC
 1190 North Sixth Street Road
                                LLC
 Monmouth, IL 61462


       Freight Forwarders/Transloaders/Customs Brokers:

       None.

4.     Locations of Assets in Prior 4 Months not Listed Above

       None.

H.     Company: ShopKo Optical Manufacturing, LLC

1.     Chief Executive Office

       700 Pilgrim Way
       Green Bay, WI 54304

2.     Location of Books and Records

       700 Pilgrim Way
       Green Bay, WI 54304

3.     Locations of Inventory, Equipment and Other Assets


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 Store # / Address              Lessee                          Landlord

 Optical Lab
                                Shopko Stores Operating Co.,    Spirit SPE Portfolio 2006-1,
 1450 W. Main Ave.
                                LLC                             LLC
 De Pere, WI 54115-5970


4.     Locations of Assets in Prior 4 Months not Listed Above

       None.

I.     Company: ShopKo Institutional Care Services Co., LLC

1.     Chief Executive Office

       700 Pilgrim Way,
       Green Bay, WI 54304

2.     Location of Books and Records

       700 Pilgrim Way
       Green Bay, WI 54304

3.     Locations of Inventory, Equipment and Other Assets

       N/A

4.     Locations of Assets in Prior 4 Months not Listed Above

       N/A

J. Company: Pamida Stores Operating Co., LLC


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1.       Chief Executive Office

         700 Pilgrim Way
         Green Bay, WI 54304

2.       Location of Books and Records

         700 Pilgrim Way
         Green Bay, WI 54304

3.       Locations of Inventory, Equipment and Other Assets

         See Table that follows.

Lessor          Store #, City      Lessee           Legal Address        City, State   Zip   Property
                & State
Spirit SPE      00625-             Pamida Stores    1201 12th Avenue     Dyersville,   52040 Active
Portfolio 2006- Dyersville,        Operating Co.,   SE                   IA
3, LLC          IA                 LLC

Spirit SPE      00671-     Pamida Stores            819 11th Ave. S.W.   Waukon, IA 52353 Active
Portfolio 2006- Waukon, IA Operating Co.,           P.O. Box 469
3, LLC                     LLC

Spirit SPE      00680 -            Pamida Stores    1305 141st Street    Perry, IA     50220 Active
Portfolio 2006- Perry, IA          Operating Co.,   P.O. Box 610
3, LLC                             LLC

Spirit SPE      00716- Mt.         Pamida Stores    1520 W. 9th Street   Mt. Carmel, 62863 Active
Portfolio 2006- Carmel, IL         Operating Co.,                        IL
3, LLC                             LLC




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Spirit SPE      00638-      Pamida Stores      200 W. Burnside      Monticello, 61856 Active
Portfolio 2006- Monticello, Operating Co.,     Drive P.O. Box 647   IL
3, LLC          IL          LLC

Spirit SPE      00640-        Pamida Stores    700 Progress         Tuscola, IL   61953 Active
Portfolio 2006- Tuscola, IL   Operating Co.,   Boulevard
3, LLC                        LLC

Spirit SPE      00637 -       Pamida Stores    1215 E. Main Street Attica, IN     47918 Active
Portfolio 2006- Attica, IN    Operating Co.,   P.O. Box 4
3, LLC                        LLC

Spirit SPE      00639 -       Pamida Stores    840 North U.S. 41,   Rockville,    47872 Active
Portfolio 2006- Rockville,    Operating Co.,   P.O. Box 20          IN
3, LLC          IN            LLC

Spirit SPE      00621 -     Pamida Stores      815 E. Lakeshore     Manistique, 49854 Active
Portfolio 2006- Manistique, Operating Co.,     Drive                MI
3, LLC          MI          LLC

Terminal Court 00642 -      Pamida Stores      540 Jenner Drive     Allegan, MI 49010 Active
LLC             Allegan, MI Operating Co.,
                            LLC
Spirit SPE      00643 -     Pamida Stores      91 West Pine Lake    Newaygo,      49337 Active
Portfolio 2006- Newaygo,    Operating Co.,     Road                 MI
3, LLC          MI          LLC

Spirit SPE      00644 -       Pamida Stores    11250 North Mission Clare, MI      48617 Active
Portfolio 2006- Clare, MI     Operating Co.,   Road
3, LLC                        LLC




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Spirit SPE      00650-       Pamida Stores     56419 Pokagon       Dowagiac,    49047 Active
Portfolio 2006- Dowagiac,    Operating Co.,    Street/P.O. Box 599 MI
3, LLC          MI           LLC

Spirit SPE      00651 - Hart, Pamida Stores    2278 N. Comfort      Hart, MI    49420 Active
Portfolio 2006- MI            Operating Co.,   Drive
3, LLC                        LLC

Spirit SPE      00733 -       Pamida Stores    226 E. Lincoln       Fergus Falls, 56538 Active
Portfolio 2006- Fergus Falls, Operating Co.,   Avenue               MN
3, LLC          MN            LLC

Spirit SPE      00739 -      Pamida Stores     710 County Road 21 Glenwood,     56334 Active
Portfolio 2006- Glenwood,    Operating Co.,    S P.O. Box 69      MN
3, LLC          MN           LLC

Spirit SPE      00768 -      Pamida Stores     804 Highway 2 West Glasgow,      59230 Active
Portfolio 2006- Glasgow,     Operating Co.,    P.O. Box 1210      MT
3, LLC          MT           LLC

Spirit SPE      00717 -     Pamida Stores      825 Valley Street    Minerva, OH 44657 Active
Portfolio 2006- Minerva, OH Operating Co.,     Route 183
3, LLC                      LLC

Spirit SPE      00719 -     Pamida Stores      378 Lewisville Road Woodsfield, 43793 Active
Portfolio 2006- Woodsfield, Operating Co.,     P.O. Box 651        OH
3, LLC          OH          LLC

Spirit SPE      00746       Pamida Stores      800 S. Washington    Madison, SD 57042 Active
Portfolio 2006- Madison, SD Operating Co.,     Avenue
3, LLC                      LLC



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East "E" Street 00759 -     Pamida Stores      2105 Lazelle St.,    Sturgis, SD   57785 Active
Realty, LLC     Sturgis, SD Operating Co.,     P.O. Box 760
                            LLC
Spirit SPE      00630 -     Pamida Stores      1625 E. Blaschko     Arcadia, WI 54612 Active
Portfolio 2006- Arcadia, WI Operating Co.,     Ave., P.O. Box 340
3, LLC                      LLC

Spirit SPE      00626 -       Pamida Stores    1625 Highway 61      Lancaster,    53813 Active
Portfolio 2006- Lancaster,    Operating Co.,   North                WI
3, LLC          WI            LLC

Spirit SPE      00615 -       Pamida Stores    291 S. Main, P.O.    Clintonville, 54929 Active
Portfolio 2006- Clintonville, Operating Co.,   Box 117              WI
3, LLC          WI            LLC

Spirit SPE      00756 -    Pamida Stores       1255 West Main       Lander, WY 82520 Active
Portfolio 2006- Lander, WY Operating Co.,      Street
3, LLC                     LLC

Spirit SPE      00772 -    Pamida Stores       Hwy. 14 West, P.O. Powell, WY 82435 Active
Portfolio 2006- Powell, WY Operating Co.,      Box 945
3, LLC                     LLC

A. J. Palmgren 00675-         Pamida Stores    402 E. Hwy. 92, P.O. Winterset ,   50273 Active
Winterset       Winterset,    Operating Co.,   Box 558              IA
Wages, L.C.     IA            LLC
3517 University
Ave., Suite B
Des Moines, IA
50311
(515) 778-8000



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Sharon Solberg, 00786 - Red Pamida Stores      801 Broadway        Red Oak, IA 51566 Active
Ruth E. Nelson Oak, IA      Operating Co.,
Revocable Trust             LLC
706 W. 2nd St.
P.O. Box 455
Red Oak, IA
51566

Gordon           00676 -      Pamida Stores    1900 W. Court       Chariton, IA 50049 Active
Sudbeck          Chariton, IA Operating Co.,
Noddle                        LLC
Development
Company
Chariton
Properties, Inc.
P.O. Box 24169
2285 S. 67th
St., Suite 250
Omaha, NE
68106
(402) 496-1616

Jim Prysiazny 00664 -        Pamida Stores     511 10th Avenue N, Humboldt,    50548 Active
Humbolt Plaza Humboldt,      Operating Co.,    P.O. Box 612       IA
Associates c/o IA            LLC
The Lerner Co.
10855 West
Dodge Road
Omaha, NE
68154-2610
(402) 690-1790




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James R.       00665 -     Pamida Stores    Hwy. 65 South P.O. Hampton, IA 50441 Active
Bingham        Hampton, IA Operating Co.,   Box 210
Nottingham                 LLC
Partners
1515 W. Maple
Ave.
Red Wing, MN
55066-3022
(888) 767-0903

Ron            00677 -     Pamida Stores    2220 Hwy 175 West Onawa, IA   51040 Active
Christenson    Onawa, IA   Operating Co.,
Onawa-Pam, a               LLC
Minnesota
Limited
Partnership
12 S. 6th St.,
Suite 715
Minneapolis,
MN 55402
(612) 338-7173
(612) 867-3104
(C)
(612) 338-7236
(F)




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Heritage       00791 -      Pamida Stores    616 E. US Highway Forest City, 51436 Active
Investment     Forest City, Operating Co.,   9                 IA
Properties     IA           LLC
Attn: Torsten
or Lisa Arnold
P.O. Box 675
Algona, IA
50511

Marvin &       00667 -     Pamida Stores     1501 Park Street     Sheldon, IA 51201 Active
Dorothy        Sheldon, IA Operating Co.,
Uittenbogaard              LLC
712 17th Ave.
Sheldon, IA
51201
(712) 324-2033

Roger Croell   00668 - New Pamida Stores     ST. Hwy. 18 at       New         50659 Active
Croell Redi-   Hampton, IA Operating Co.,    Sherman, P.O. Box    Hampton, IA
Mix, Inc.                  LLC               26
2010 Kenwood
Ave.
P.O. Box 430
New Hampton,
IA 50659
(641) 394-6789




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J.T. Bolger     00669 -     Pamida Stores    1345 S. Frederick   Oelwein, IA 50662 Active
David F. Bolger Oelwein, IA Operating Co.,   P.O. Box 601
Revocable Trust             LLC
79 Chestnut
Street
Ridgewood, NJ
07450
(201) 670-9685
(201) 670-9685
(F)

Robert C.      00679 -      Pamida Stores    S. County Road P.O. Toledo, IA   52342 Active
Moorman        Toledo, IA   Operating Co.,   Box 189
P.O. Box 1101               LLC
Cedar Rapids,
IA 52406-1101
Donald H.
Pfeiler
Toledo Ventrue
3221 Park View
Court SE
Cedar Rapids,
IA 52403
(319) 362-0711




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Richard &      00681- Ida   Pamida Stores    202 Oak Grove Plaza Ida Grove,    51445 Active
Donna Mau      Grove, IA    Operating Co.,                       IA
3002 Okoboji                LLC
Blvd.
Milford, IA
71351
(712) 332-5460
(305) 853-4753
(C)

Jim Prysiazny 00682 -       Pamida Stores    Hwy. 59 & 44         Harlan, IA   51537 Active
Lerner Harland Harlan, IA   Operating Co.,
Partnership                 LLC
10855 West
Dodge Road
Omaha, NE
68154
(402) 690-1790

Paul Schwabe 00635 -        Pamida Stores    251 S. 4th Street    Savanna, IL 61074 Active
Pamida Two,     Savanna, IL Operating Co.,
LLC                         LLC
1818 N. Farwell
Ave.
Milwaukee, WI
53202
(414) 283-2605




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William C.     00720 -      Pamida Stores    100 Cross Country   Batesville,   47006 Active
McMenamy, Jr. Batesville,   Operating Co.,   Plaza               IN
McMenamy Ad IN              LLC
Corp. c/o
Sentry
Properties Co.
81 S. 5th St.,
Suite 120D
Columbus, OH
43215
(614) 228-6321
(614) 565-2652
(C)
(614) 228-7502
(F)

Ignatius & Ivy 00647-       Pamida Stores    1101 Indiana Ave.   Syracuse, IN 46567 Active
Lam            Syracuse, IN Operating Co.,
9611 Rockpoint              LLC
Dr.
Huntington
Beach, CA
92646
(714) 751-3826
(714) 478-4617
(C)
(714) 751-3928




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Paul Schwabe 00693- Clay Pamida Stores      821 West Crawford   Clay Center, 67432 Active
Pamida Five,   Center, KS Operating Co.,                        KS
LLC                       LLC
1818 North
Farwell Ave.
Milwaukee, WI
53202
(414) 283-2605

Norton Area    00696 -     Pamida Stores    505 W. Holmes P.O. Norton, KS   67654 Active
Development, Norton, KS    Operating Co.,   Box 361
LLC                        LLC
418 E. Holmes
Norton, KS
67654-1412
(785) 877-5833
(785) 877-5833

Jeffrey B.     00729 -     Pamida Stores    777 ByPass Road     Brandenburg 40108 Active
Austin         Brandenburg Operating Co.,                       , KY
809 West       , KY        LLC
Spring Street
Brownstown,
IN 47220
(812) 358-4382
(812) 278-4909
(C)




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Andy J. Moyle    00622 -      Pamida Stores    E9916 M28 East      Wetmore,   49895 Active
Moyle            Wetmore,     Operating Co.,                       MI
Development      MI           LLC
P.O. Box 399
Houghton, MI
49931
(906) 482-3000
Daniel G.        00646 -      Pamida Stores    3825 S. Huron Road Standish, MI 48658 Active
Kamin            Standish, MI Operating Co.,
Daniel G.                     LLC
Kamin Realty
Co.
P.O. Box 10234
Pittsburgh, PA
15232
(412) 661-5233
(O)
(412) 661-8160
(F)

D.J. Martin    00648-         Pamida Stores    2656 East Monroe   Tecumseh,   49286 Active
Donald Martin Tecumseh,       Operating Co.,   Road, P.O. Box 306 MI
Family LP      MI             LLC
145 W. Chicago
Blvd.
Tecumseh, MI
49286
(517) 423-
02065




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Marshall Hess 00649 -        Pamida Stores    1995 South Cedar    Imlay City,   48444 Active
MRG, Ltd.      Imlay City,   Operating Co.,   P.O. Box 97         MI
3003 N. Mercer MI            LLC
St.
New Castle, PA
16105
(724) 658-3335
(724) 658-6630
(F)

Margie G.       00652 -      Pamida Stores    400 South Main       Brooklyn,    49230 Active
Simon           Brooklyn,    Operating Co.,   Street, P.O. Box 340 MI
M.G. Simon      MI           LLC
Properties
784 W. Lake
Lansing Road
East Lansing,
MI 48823

Paul Schwabe 00653 -      Pamida Stores       174 James Robertson Gladwin, MI 48624 Active
Pamida Seven, Gladwin, MI Operating Co.,      Drive, P.O. Box 391
LLC                       LLC
1818 N. Farwell
Ave.
Milwaukee, WI
53202
(414) 283-2605




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Don Bastianello 00623 - Iron Pamida Stores    890 Riverside Plaza Iron River,   49935 Active
Angeli Foods River, MI       Operating Co.,   P.O. Box 272        MI
Company                      LLC
P.O. Box 312
Iron River, MI
49935

Guy Laverty    00628 - Two Pamida Stores      1009 7th Ave. P.O.   Two         55616 Active
Two Harbors    Harbors, MN Operating Co.,     Box 358              Harbors, MN
First, LLC                 LLC
48-554 Vista
Palomino
LaQuinta, CA
92253
(760) 584-8952
(760) 564-8955
(F)

Kenneth L.     00735 -    Pamida Stores       Highway 169, P.O.    Aitkin, MN 56431 Active
Kellar         Aitkin, MN Operating Co.,      Box 348
Security State            LLC
Bank
402 Minnesota
Ave.
Box 170
Aitkin, MN
56431
(218) 927-2539




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Wayne Lee      00738-    Pamida Stores      300 Jake Street SE   Perham, MN 56573 Active
3110 Van Ave. Perham, MN Operating Co.,     P.O. Box 10
NE                       LLC
Alexandria, MN
56308
(612) 763-3053
Mathias F.
Breitbach
Breitbach
Construction
1841 Adams
Drive
Sauk Centre,
MN 56378
(320) 352-5103

Omer & Evelyn 00732 -      Pamida Stores    3225 10th St. East   Glencoe,   55336 Active
Templin        Glencoe,    Operating Co.,                        MN
2021 Louden    MN          LLC
Ave.
North Glencoe,
MN 55336

Michael        00740-     Pamida Stores     106 East Highway 28 Morris, MN 56267 Active
Gunderson      Morris, MN Operating Co.,    & 59
Hangun                    LLC
Properties
714 Lake Ave.
Plaza
Detroit Lakes,
MN 56501
(218) 847-1028


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The Christensen 00747 -      Pamida Stores    405 W. Interstate    Luverne,     56156 Active
Corporation     Luverne,     Operating Co.,   Drive P.O. Box 958   MN
P.O. Box 628 MN              LLC
108 W.
Crawford St.
Luverne, MN
56156-0628
(507) 283-4267

The Christensen 00748 -      Pamida Stores    1002 7th Street SE   Pipestone,   56164 Active
Corporation     Pipestone,   Operating Co.,                        MN
P.O. Box 628 MN              LLC
108 W.
Crawford St.
Luverne, MN
56156-0628
(507) 283-4267

Tom Mayberry 00749 - St.     Pamida Stores    301 1st Avenue       St. James,   56081 Active
Mayberry       James, MN     Operating Co.,   South                MN
Realty                       LLc
119 S. 7th St.
St. James, MN
56081
(507) 375-3171
(507) 375-5400
(F)




                                                      Schedule 8.2-50
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Daniel G.      00750 -       Pamida Stores     2155 1st Ave.       Windom,     56101 Active
Kamin          Windom,       Operating Co.,                        MN
Daniel G.      MN            LLC
Kamin
Standish, LLC
P.O. Box 10234
Pittsburgh, PA
15232
(412) 661-5233

Michael J.       00742 - East Pamida Stores    421 Gateway Dr. NE East Grand   56721 Active
Gunderson        Grand Forks, Operating Co.,                      Forks, MN
HanGun           MN           LLC
Properties, Inc.
714 Lake
Avenue
Detroit Lakes,
MN 56501
(218) 847-1028

Michael J.       00744 -    Pamida Stores      Hwy. 11 West P.O.   Roseau, MN 56751 Active
Gunderson        Roseau, MN Operating Co.,     Box 340
HanGun                      LLC
Properties, Inc.
714 Lake Ave.
Detroit Lakes,
MN 56501
(218) 847-1028




                                                       Schedule 8.2-51
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Jerome& Betty 00705 -      Pamida Stores     2001 E. 9th St.      Trenton, MO 64683 Active
Beary          Trenton, MO Operating Co.,
1325 1st Ave.              LLC
East Newton,
IA 50208
(641) 792-4332
(641) 792-2427
(F)

Christenson    00766        Pamida Stores    1950 Roosevelt       Shelby, MT 59474 Active
Construction   - Shelby, MT Operating Co.,   Hwy., PO Box 920
Management                  LLC
Shelby-Pam
Limited
Partnership
12 S. 6th St.,
Suite 715
Minneapolis,
MN 55402
(612) 338-7173
(612) 338-7236
(F)




                                                      Schedule 8.2-52
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Jack R. Clark 00769 -      Pamida Stores    1153-1159 South     Sidney, MT 59270 Active
Richland Center Sidney, MT Operating Co.,   Central Ave.
Joint Venture              LLC
1708 S. Cooper
Arlington, TX
76013
(817) 275-3226
(817) 975-0690
(C)
(817) 274-3719
(F)

Gordon          00773 -    Pamida Stores    825 NE Main, P.O.   Lewistown, 59457 Active
Sudbeck         Lewistown, Operating Co.,   Box 699             MT
N&K             MT         LLC
Investments
Company
c/o Noddle
Companies
1125 S.
103rdSt., Suite
450
P.O. Box 24169
Omaha, NE
68124-0169
(402) 496-1616




                                                    Schedule 8.2-53
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Richard         00774 -       Pamida Stores    100 W. Washington Livingston,   59047 Active
Kvanbeck        Livingston,   Operating Co.,                     MT
IRET            MT            LLC
Properties, A
North Dakota
Ltd Partnership
10050
Crosstown Cr.,
Suite 105
Eden Prairie,
MN 55344
(952) 401-6600

Paul Schwabe 00775-           Pamida Stores    1600 Hwy. 2 W.,     Libby, MT   59923 Active
Pamida Two,     Libby, MT     Operating Co.,   P.O. Box 1526
LLC                           LLC
1818 N. Farwell
Ave.
Milwaukee, WI
53202
(414) 283-2605

Neil Fedje     00734 -      Pamida Stores      601 Division Avenue Cavalier, ND 58220 Active
Cavalier       Cavalier, ND Operating Co.,     S P.O. Box 66
Improvements                LLC
Inc.
P.O. Box 131
Cavalier, ND
58220
(701) 265-8484




                                                       Schedule 8.2-54
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Tom Henning 00736-          Pamida Stores    727 14th Avenue SW Valley City, 58072 Active
Henning Group, Valley City, Operating Co.,   P.O. Box 564       ND
Inc.           ND           LLC
20109 Old
Ranch Loop
Nathrop, CO
81236
(719) 395-3284
(303) 919-8462
(C)

Irving D.      00737 -     Pamida Stores     932 12th Street West Grafton, ND 58237 Active
Bakken         Grafton, ND Operating Co.,
Western Plaza,             LLC
LLC
40534 County
Hwy. 56
Frazee, MN
56544

Randy Westby 00741 -        Pamida Stores    225 Hwy 2 SE, P.O. Rugby, ND    58368 Active
216 Broadway Rugby, ND      Operating Co.,   Box 386
#202                        LLC
Minot, ID
58701
(701) 837-1031




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Randy Westby 00743 -    Pamida Stores         1900 Hwy. 49 North Beulah, ND 58523 Active
216 Broadway Beulah, ND Operating Co.,        P.O. Box 1239
#202                    LLC
Minot, ID
58701
(701) 837-1031

Downtown       00704 - Falls Pamida Stores    1300 Stone Street,   Falls City,   68355 Active
Modernization City, NE       Operating Co.,   P.O. Box 590         NE
Inc.                         LLC
P.O. Box 155
Falls City, NE
68355
(402) 245-2486

Gordon         00690 -       Pamida Stores    1533 Burlington      Holdrege,     68949 Active
Sudbeck        Holdrege,     Operating Co.,                        NE
N & K, Inc.    NE            LLC
c/o Noddle
Development
Co.
1125 S. 103rd
St., Suite 450
P.O. Box 24169
Omaha, NE
68124-0169
(402) 496-1616




                                                       Schedule 8.2-56
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Paul Schwabe 03113 -       Pamida Stores      100 Texas Trail     Ogallala, NE 69153 Inactive
Pamida Three, Ogallala, NE Operating Co.,     Drive
LLC                        LLC
1818 N. Farwell
Ave.
Milwaukee, WI
53202
(414) 283-2605

Paul Schwabe 00692 -         Pamida Stores    Hwy. 8 & Noren,     Superior, NE 68978 Active
Pamida One,     Superior, NE Operating Co.,   P.O. Box 6
LLC                          LLC
1818 N. Farwell
Ave.
Milwaukee, WI
53202
(414) 283-2605

J.T. Bolger     00670 - Pamida Stores         615 Dearborn        Wayne, NE 68787 Active
Bolger & Co., Wayne, NE Operating Co.,        Hwy. 35 East
Inc.                    LLC
David F. Bolger
Revocable Trust
79 Chestnut St.
Ridgewood, NJ
07450
(201) 670-9270
(201) 670-9685
(F)




                                                      Schedule 8.2-57
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Phillip        00658 -      Pamida Stores    123 N. 24th Street    Beatrice, NE 68310 Active
Stettinger     Beatrice, NE Operating Co.,
S&V                         LLC
Homebuilders
P.O. Box 80467
Lincoln, NE
68501
(402) 477-3515
(O)
(402) 477-1893
(F)

Hinky Dinky    00659 -    Pamida Stores      2410 Dahlke Avenue Auburn , NE 68305 Active
Auburn LLC     Auburn, NE Operating Co.,     P.O. Box 306
3012 Paysphere            LLC
Circle
Chicago, IL
60674

C. Blaine &    00694-       Pamida Stores    3rd & Flack Street,   Alliance ,   69301 Active
Marilyn        Alliance, NE Operating Co.,   P.O. Box 720          NE
McVicker                    LLC
Box 7152
Pueblo West,
CO 81007-
0152
(719) 547-0787




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Pelstar        00695 -  Pamida Stores       2353 South E Street Broken Bow, 68822 Active
Development Broken Bow, Operating Co.,                          NE
LLC            NE       LLC
5620 Ames
Ave., Omaha,
NE 68104
(402) 932-7777
ext 1

D&L            00661 -  Pamida Stores       500 Plaza Drive     West Point, 68788 Active
Development West Point, Operating Co.,                          NE
LLC            NE       LLC
2299 Hwy. 275
Lot 2
West Point, NE
68788

Cathy Phillips 00672 -     Pamida Stores    404 E. Hwy 20       O'Neill, NE 68763 Active
Spirit Finance O'Neill, NE Operating Co.,
Corporation                LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)




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Alan Peterson 00662 -        Pamida Stores    211 South 23rd Street Plattsmouth, 68048 Active
8839 Verdon     Plattsmouth, Operating Co.,                         NE
Circle          NE           LLC
Plattsmouth, NE
68040
(402) 235-2535

Albert Casey   00745 -    Pamida Stores       1140 E. 5th St. P.O. Winner, SD 57580 Active
Olathe         Winner, SD Operating Co.,      Box 70
Development               LLC
Co.
c/o Central
Realty LLC
331 West
Thornton Ave.
Saint Louis,
MO 63119
(O) (314) 862-
5557
(F) (314) 862-
7796

KGL Rentals, 00753 - Hot Pamida Stores        2701 Hwy. 18 West   Hot Springs, 57747 Active
Inc.            Springs, SD Operating Co.,                        SD
P.O. Box 629                LLC
Hot Springs, SD
57747
(605) 745-6415




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Roger Croell   00757 -     Pamida Stores       1 North 5th Avenue   Belle       57717 Active
Croell Redi-   Belle       Operating Co.,                           Fourche, SD
Mix Inc.       Fourche, SD LLC
2010 Kenwood
Ave.
P.O. Box 430
New Hampton,
IA 50659
(641) 394-6789
(O)
(641) 394-3735
(F)

Richard Kelly 00627 -        Pamida Stores     1008 E. Division,    Neillsville,   55456 Active
65334 Swalley Neillsville,   Operating Co.,    P.O. Box 385         WI
Road           WI            LLC
Bend, OR
97701
(541) 312-9805

Phillip Kilinski 00620 -      Pamida Stores    750 Hwy. 45 N.       Eagle River, 54521 Active
Pickruhn &       Eagle River, Operating Co.,                        WI
Kilinski         WI           LLC
Enterprise
P.O. Box 926
Wausau, WI
54402-0926
(715) 675-3194




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Lewis &        00617 -      Pamida Stores    Hwy. 21 & 73 P.O.    Wautoma,     54982 Active
Barbara        Wautoma,     Operating Co.,   Box 1409             WI
Krueger        WI           LLC
N. 9581
Cemetery Road
Brillion, WI
54110
(920) 738-5437
(920) 738-5435
(F)

Rick Callahan 00618 -       Pamida Stores    1515 East Main       Reedsburg,   53959 Active
1515 East Main Reedsburg,   Operating Co.,   Street               WI
St. LLC c/o RR WI           LLC
Callahan Co.
1702 Halstead
St., Chicago, IL
60608
(312) 666-8093

Rollie Winter & 00619-      Pamida Stores    220 Lincoln Street   Adams, WI    53910 Active
Associates      Adams, WI   Operating Co.,   P.O. Box 1299
3315A N.                    LLC
Ballard Road
Appleton, WI
54911
(920) 739-0101
(O)
(920) 739-1366
(F)




                                                      Schedule 8.2-62
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Michael        00632 -     Pamida Stores       651 West           Spooner, WI 54801 Active
Dilworth       Spooner, WI Operating Co.,      Beaverbook Avenue,
Mike's No. 2               LLC                 P.O. Box 7
LLC
7300 S. 13th
St., Suite 101
Oak Creek, WI
53154
(414) 764-7800
(414) 764-7900
(F)

Phillip Kilinski 00633 - Park Pamida Stores    1333 South 4th       Park Falls,   54552 Active
Pickruhn &       Falls, WI    Operating Co.,   Avenue P.O. Box      WI
Kilinski                      LLC              526
Enterprise
P.O. Box 926
Wausau, WI
54402-0926
(715) 675-3194

J.T. Bolger     00767 -      Pamida Stores     100 South 20th Street Worland,     82401 Active
Bolger & Co., Worland,       Operating Co.,                          WY
Inc.            WY           LLC
David F. Bolger
Revocable Trust
79 Chestnut St.
Ridgewood, NJ
07450
(201) 670-9270
(201) 670-9685
(F)


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J.T. Bolger     00752 -       Pamida Stores    1100 E. Valley Road Torrington,   82240 Active
Bolger & Co., Torrington,     Operating Co.,                       WY
Inc.            WY            LLC
David F. Bolger
Revocable Trust
79 Chestnut
Street
RidgeJ 07450
(201) 670-9270
(201) 670-9685
(F)

William R.       00755 -      Pamida Stores    1701 16th Street     Wheatland,   8221 Active
Jones            Wheatland,   Operating Co.,                        WY
Sixteenth Street WY           LLC
Development
718 9th St.
P.O. Box 189
Wheatland, WY
82201
(307) 322-2882
(307) 322-3075
(F)

Randy George 00758 -          Pamida Stores    1950 East Richards   Douglas,     82633 Active
Douglas        Douglas,       Operating Co.,                        WY
Venture        WY             LLC
P.O. Drawer V
Douglas, WY
82633
(307) 358-2881




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Dale Jones      00760 -     Pamida Stores     1105 Bridge Drive   Green River, 82935 Active
Phoenix, Plaza Green River, Operating Co.,                        WY
LC              WY          LLC
51 North
Eastridge Drive
St. George, UT
84790

Paul Schwabe 00761 -         Pamida Stores    205 Boyd Ave.       Newcastle,   82701 Active
Pamida Two,     Newcastle,   Operating Co.,                       WY
LLC             WY           LLC
1818 N. Farwell
Ave.
Milwaukee, WI
53202
(414) 283-2605

Arch Andersen 00683 -     Pamida Stores       109 North Market    Audubon, IA 50025 Active
802 Brookside Audubon, IA Operating Co.,
Drive                     LLC
Audubon, IA
50025
(712) 563-
3111(O)
(712) 563-2171
(F)




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Cathy Phillips 00684 -     Pamida Stores     106 Smith Street    Bloomfield, 52537 Active
Spirit Finance Bloomfield, Operating Co.,                        IA
Corporation     IA         LLC]
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)

Eldora         00685 -      Pamida Stores    1425 Edgington      Eldora, IA   50627 Active
Industrial     Eldora, IA   Operating Co.,   Avenue
Development                 LLC
The
Corporation
1442
Washington St.
Eldora, IA
50627
(641) 939-3241




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Albert Casey   00686 -     Pamida Stores    902 South Locust    Glenwood,     51534 Active
Glenwood Plaza Glenwood,   Operating Co.,                       IA
Development IA             LLC
Company
c/o Central
Realty
331 West
Thronton Ave.
Saint Louis,
MO 63119
(314) 862-5557

Community      00687 -     Pamida Stores    202 S. W. Kent      Greenfield,   50849 Active
Development Greenfield,    Operating Co.,                       IA
Corporation of IA          LLC
Greenfield
P.O. Box 61
Greenfield, IA
50849
(641) 743-6184

Ronald D.      00688 -     Pamida Stores    413 Huron Street    Missouri      51555 Active
Hogan          Missouri    Operating Co.,                       Valley, IA
c/o Ronald D. Valley, IA   LLC
Hogan, Trustee
Oferon Family
Trust
P.O. Box 2342
LaMesa, CA
91943-2342




                                                    Schedule 8.2-67
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Cathy Phillips 00708 -       Pamida Stores    812 Harvest Hills Dr. Carrollton,   64633 Active
Spirit Finance Carrollton,   Operating Co.,                         MO
Corporation     MO           LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 35-3589
(480) 606-0286
(F)

Donald Wood 00709 - El Pamida Stores          1307 Hwy 32 South El Dorado 64744 Active
Woods Super Dorado         Operating Co.,                       Springs, MO
Markets, Inc.  Springs, MO LLC
c/o Woods
Plaza Shopping
Ctr
P.O. Box 880
Bolivar, MO
65613-0880
(417) 326-7603




                                                       Schedule 8.2-68
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Cathy Phillips    00674 -       Pamida Stores    1003 Central Ave.   Clarion, IA   50525 Active
Spirit Finance    Clarion, IA   Operating Co.,   West
Corporation                     LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)
Cathy Phillips    00689 -    Pamida Stores       201 N. Fillmore     Mount Ayr, 50854 Active
Spirit Finance    Mount Ayr, Operating Co.,                          IA
Corporation       IA         LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)




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Cathy Phillips 00703 -       Pamida Stores    300 Cross Street     Burlington,   66839 Active
Spirit Finance Burlington,   Operating Co.,                        KS
Corporation     KS           LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)

Cathy Phillips 00707 -    Pamida Stores       101 S. Polk          Albany, MO 64402 Active
Spirit Finance Albany, MO Operating Co.,
Corporation               LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)




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Cathy Phillips 00710 -      Pamida Stores    212 North Main      Gallatin, MO 64640 Active
Spirit Finance Gallatin, MO Operating Co.,   Street
Corporation                 LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)

Cathy Phillips 00711 -      Pamida Stores    Highway 136 East    Memphis,    63555 Active
Spirit Finance Memphis,     Operating Co.,                       MO
Corporation     MO          LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)




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Cathy Phillips 00673 –      Pamida Stores    1511 East 4th St.    Ainsworth,   69210 Active
Spirit Finance Ainsworth,   Operating Co.,                        NE
Corporation     NE          LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)

Pelstar        00764 –  Pamida Stores        129 Harmony          Buffalo, WY 82834 Active
Development Buffalo, WY Operating Co.,
LLC                     LLC
5620 Ames
Ave.
Omaha, NE
68104
(402) 932-7777
ext 1




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Pelstar Custer 00763 –      Pamida Stores    1135 Mount          Custer, SD   57730 Active
LLC c/o        Custer, SD   Operating Co.,   Rushmore Rd.
Pelstar                     LLC
Development
LLC
5620 Ames
Ave.
Omaha, NE
68104
(402) 932-7777
ext 1

Mitchell Drug, 00529 – Rx Pamida Stores      125 E. Glendale     Dillon, MT   59725 Active
Inc.           – Dillon, MT Operating Co.,
P.O. Box 145                LLC
Dillon, MT
59725


Pelstar        00706 –      Pamida Stores    111 Leroux St.      Doniphan,    63935 Active
Doniphan LLc Doniphan,      Operating Co.,                       MO
c/o Pelstar    MO           LLC
Development
LLC
5620 Ames
Ave.
Omaha, NE
68104
(402) 932-7777
ext 1




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Anding Dwight 00641 –        Pamida Stores    110 Watters Dr.     Dwight, IL   60420 Active
LLC           Dwight, IL     Operating Co.,
c/o Anding                   LLC
Realty
5900 Monona
Dr., #401
Monona, WI
53716


JMW             00512 –      Pamida Stores    598 Lucas Ln.       Ellsworth,   54011 Active
Development     Ellsworth,   Operating Co.,                       WI
LLC             WI           LLC
5402 Parkside
Dr. #280
Minneapolis,
MN 55416


JMW             00629 – Ely, Pamida Stores    1500 E. Sheridan St. Ely, MN     55731 Active
Development     MN           Operating Co.,
LLC                          LLC
5402 Parkside
Dr. #280
Minneapolis,
MN 55416




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Cathy Phillips 00698 –     Pamida Stores     718 4th St.          Gothenburg, 68138 Active
Spirit Finance Gothenburg, Operating Co.,                         NE
Corporation     NE         LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)

Ron’s           00776 –     Pamida Stores    925 N. Sixth St.     Greybull,   82426 Active
Supermarket,    Greybull,   Operating Co.,                        WY
Inc.            WY          LLC
P.O. Box 272
Greybull, WY
82426


Catt’s Realty   00656 –     Pamida Stores    784 S. Cedar St.     Kalkaska,   49646 Active
Company         Kalkaska,   Operating Co.,                        MI
829 W. Main     MI          LLC
St., Suite C
Gaylord, MI
49735




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Pelstar Kimball 00700 –     Pamida Stores      1217 S. Hwy. 71      Kimball, NE 69145 Active
LLC c/o         Kimball, NE Operating Co.,
Pelstar                     LLC
Development
LLC
5620 Ames
Ave.
Omaha, NE
68104
(402) 932-7777
ext 1

Moyle Real       00624 –    Pamida Stores      15900 Picture Bay    L’Anse, MI 49946 Active
Estate &         L’Anse, MI Operating Co.,     Trail
Development                 LLC
Co.
46702 Hwy. M-
26
P.O. Box 414
Houghton, MI
49931
Pelstar Larned   00702 –      Pamida Stores    746 E. 14th St.      Larned, KS   67550 Active
LLC c/o          Larned, KS   Operating Co.,
Pelstar                       LLC
Development
LLC
5620 Ames
Ave.
Omaha, NE
68104
(402) 932-7777
ext 1


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Pelstar Lyons    00701 –      Pamida Stores    1212 West Main      Lyons, KS    67554 Active
LLC c/o          Lyons, KS    Operating Co.,
Pelstar                       LLC
Development
LLC
5620 Ames
Ave.
Omaha, NE
68104
(402) 932-7777
ext 1
Pelstar          00765 –      Pamida Stores    1080 Hwy. 414       Mountain     82939 Active
Mountain View    Mountain     Operating Co.,                       View, WY
LLC c/o          View, WY     LLC
Pelstar
Development
LLC
5620 Ames
Ave.
Omaha, NE
68104
(402) 932-7777
ext 1
Jorgensen Drug   00528 – Rx Pamida Stores      148 Main St.        Roundup,     59072 Active
Inc.             – Roundup, Operating Co.,                         MT
606 3rd St.      MT         LLC
West
Roundup, MT
59072
Wilport LLC      00697 –      Pamida Stores    1710 North St.      Seneca, KS   66538 Active
208 Marsh St.    Seneca, KS   Operating Co.,
Beaufort, NC                  LLC
28516

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JMW                00751 –      Pamida Stores     1712 SD Hwy. 10     Sisseton, SD 57262 Active
Development        Sisseton, SD Operating Co.,
LLC                             LLC
5402 Parkside
Dr. #280
Minneapolis,
MN 55416
Krist Properties   00616 –       Pamida Stores    2541 South Bayshore Sister Bay,   54234 Active
P.O. Box 64        Sister Bay,   Operating Co.,   Dr.                 WI
Ephriam, WI        WI            LLC
54211
Cathy Phillips     00762 –      Pamida Stores     142 S. Hwy. 20      Thermopolis, 82443 Active
Spirit Finance     Thermopolis, Operating Co.,                        WY
Corporation        WY           LLC
14631 N.
Scottsdale
Road, Suite 200
Scottsdale, AZ
85254
(480) 315-3589
(480) 606-0286
(F)

Richard L.         00523 –       Pamida Stores    272 N. Main St.     Valentine,    69201 Active
Terry              Valentine,    Operating Co.,                       NE
P.O. Box 176       NE            LLC
Valentine, NE
69201




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                                      Owned Properties
Pamida 00514 – Lake    Pamida Stores    1960 S. Morey Rd.       Lake City,    49651 Inactive
       City, MI        Operating Co.,                           MI
                       LLC

Pamida 03658 –       Pamida Stores       800 Giesau Dr.         Ontonagon, 49953 Inactive
       Ontonagon, MI Operating Co.,                             MI
                     LLC

Pamida 00699 – Scott   Pamida Stores     1702 Main St.          Scott City,   67871 Active
       City, KS        Operating Co.,                           KS
                       LLC

Pamida 00771 –         Pamida Stores     117 1st Avenue West Plentywood, 59254 Active
       Plentywood,     Operating Co.,                        MT
       MT              LLc

                                             Assets Held By Others
    Entity               Relationship to Assets                                 Address
Performance Freight Forwarder                            11204 Norwalk Blvd.
Team Freight                                             Santa Fe Springs, CA 90670
System
Werner         Freight Forwarder                         14507 Frontier Rd
Enterprises                                              Omaha, NE 68138
J.B. Hunt      Freight Forwarder                         615 J.B. Hunt Corporate Drive
Transport                                                Lowell, AR 72745
Services, Inc.
FedEx          Freight Forwarder                         942 S. Shady Grove Rd.
Corporation                                              Memphis, TN 38120
United Parcel Freight Forwarder                          55 Glenlake Pkwy. NE
Service, Inc.                                            Atlanta, GA 30328



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Duke Secured Bailee                                    8888 Keystone Cross, Suite 1200
Financing                                              Indianapolis, IN 46240
2006, LLC


4.    Locations of Assets in Prior 4 Months not Listed Above

      None.

K.    Company: Pamida Transportation, LLC, Place’s Associates’ Expansion, LLC

1.    Chief Executive Office

      700 Pilgrim Way
      Green Bay, WI 54304

2.    Location of Books and Records

      700 Pilgrim Way
      Green Bay, WI 54304

3.    Locations of Inventory, Equipment and Other Assets

      None.

4.    Locations of Assets in Prior 4 Months not Listed Above

      None.


L. Company: ShopKo Gift Card Co., LLC


1.    Chief Executive Office

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     4161 Second Street South
     St. Cloud, MN 56301


2.   Location of Books and Records

     700 Pilgrim Way,
     Green Bay, WI 54304


3.   Location of Inventory, Equipment and Other Assets

     On file with ShopKo Gift Card Co., LLC


4.   Location of Assets in Prior 4 Months not Listed Above


     On file with ShopKo Gift Card Co., LLC




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                                       SCHEDULE 8.4
                                            to
                                 INFORMATION CERTIFICATE

                                         Existing Liens

                                    ShopKo Properties, LLC
None.


                                       Penn-Daniels, LLC
                                             None.




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                                                         ShopKo Stores Operating Co., LLC

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                          THRU
Secretary of State,       UCC          6097213 3       SHOPKO STORES     AMERICAN            Inventory heretofore or hereafter consigned to the
Delaware               11/19/2018      03/22/2006      OPERATING CO.,    GREETINGS           Debtor, wherever located, including, without limitation,
                                                       LLC               CORPORATION         everyday and seasonable counter cards, everyday
                                                                                             alternative cards, everyday and seasonable stickers,
                                                       700 PILGRIM WAY   ONE AMERICAN ROAD everyday and seasonal cellos, everyday gift wrap,
                                                       GREEN BAY, WI     CLEVELAND, OH 44144 everyday bows, seasonal gift wrap, seasonal bows,
                                                       54307-9060                            seasonal accessories, stationery, seasonal plush;
                                                                                             DesignWare branded party goods, party accessories,
                                                                                             party favors, crepe, latex balloons, and birthday candles;
                                                                                             and other Goods, together with all proceeds thereof,
                                                                                             including, without limitation, cash, accounts,
                                                                                             instruments, chattel paper, general intangibles and letter-
                                                                                             of-credit rights.
Secretary of State,      CONT         2011 0280480                                                 Continuation.
Delaware               11/19/2018      01/25/2011




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                          THRU
Secretary of State,     AMEND         2012 2460113                                                Restatement of collateral:
Delaware               11/19/2018      06/26/2012
                                                                                                  INVENTORY HERETOFORE OR HEREAFTER
                                                                                                  DELIVERED FROM TIME TO TIME BY SECURED
                                                                                                  PARTY TO DEBTOR, ITS DIVISIONS AND
                                                                                                  SUBSIDIARIES, WHEREVER LOCATED, ON A
                                                                                                  DIRECT-TO-STORE DELIVERY BASIS PURSUANT
                                                                                                  TO SCAN-BASED TRADING AND CONSIGNMENT
                                                                                                  METHOD, INCLUDING, WITHOUT LIMITATION:
                                                                                                  EVERYDAY AND SEASONAL COUNTER CARDS
                                                                                                  AND EVERYDAY ALTERNATIVE CARDS;
                                                                                                  EVERYDAY AND SEASONAL STICKERS;
                                                                                                  EVERYDAY AND SEASONAL CELLS; EVERYDAY
                                                                                                  AND SEASONAL GIFT WRAP AND BOWS;
                                                                                                  SEASONAL ACCESSORIES; SEASONAL PLUSH;
                                                                                                  STATIONERY; AND DESIGNWARE BRANDED
                                                                                                  PARTY GOODS, PARTY ACCESSORIES, PARTY
                                                                                                  FAVORS, CREPE, LATEX BALLOONS, AND
                                                                                                  BIRTHDAY CANDLES; INCLUDING ALL CASH
                                                                                                  AND NON-CASH PROCEEDS FROM THE SALE
                                                                                                  THEREOF, INCLUDING ACCOUNTS, CONTRACT
                                                                                                  RIGHTS, CHATTEL PAPER AND ANY OTHER
                                                                                                  RIGHTS OT [sic] THE PAYMENT OF MONEY AND
                                                                                                  SECURITY THEREFORE.
Secretary of State,      CONT         20161135522                                                 Continuation.
Delaware               11/19/2018      02/25/2016
Secretary of State,     AMEND         20165106081                        American Greetings       Secured Party information change to:
Delaware               11/19/2018      08/22/2016                        Corporation
                                                                                                  American Greetings Corporation
                                                                         One American Boulevard
                                                                         Cleveland, OH 44145      One American Boulevard
                                                                                                  Cleveland, OH 44145




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                          THRU
Secretary of State,       UCC         2013 4969276     SHOPKO STORES     IBM CREDIT LLC      Specific equipment.
Delaware               11/19/2018      12/16/2013      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2013 5087029     SHOPKO STORES     IBM CREDIT LLC      Specific equipment.
Delaware               11/19/2018      12/23/2013      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2013 5109146     SHOPKO STORES     IBM CREDIT LLC      Specific equipment.
Delaware               11/19/2018      12/24/2013      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 0111534     SHOPKO STORES     IBM CREDIT LLC      Specific equipment.
Delaware               11/19/2018      01/09/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 0130708     SHOPKO STORES     MJ HOLDING          See Exhibit A attached to financing statement for the
Delaware               11/19/2018      01/10/2014      OPERATING CO.,    COMPANY, LLC        collateral description.
                                                       LLC
                                                                         7001 SOUTH HARLEM
                                                       700 PILGRIM WAY   AVENUE
                                                       GREEN BAY, WI     BEDFORD PARK, IL
                                                       54304             60638
Secretary of State,      CONT         2018 6919001                                           Continuation.
Delaware               11/19/2018      10/05/2018



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                          THRU
Secretary of State,       UCC         2014 0194225     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      01/15/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 0272112     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      01/22/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 0621623     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/18/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 0629949     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/18/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 0806802     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/03/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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                          THRU
Secretary of State,       UCC         2014 0969501     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/12/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 1029263     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/17/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 1258946     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/31/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 1675420     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      04/29/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 1701531     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      04/30/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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                          THRU
Secretary of State,       UCC                          SHOPKO STORES     IBM CREDIT LLC           Specific equipment.
Delaware               11/19/2018     2014 1802859     OPERATING CO, LLC
                                       05/07/2014                        1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 1899012     SHOPKO STORES     IBM CREDIT LLC           Specific equipment.
Delaware               11/19/2018      05/14/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 1986363     SHOPKO STORES     IBM CREDIT LLC           Specific equipment.
Delaware               11/19/2018      05/20/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 2422814     SHOPKO STORES     CISCO SYSTEMS       Lease of specific equipment.
Delaware               11/19/2018      06/19/2014      OPERATING CO, LLC CAPITAL
                                                                         CORPORATION
                                                       700 PILGRIM WAY
                                                       GREEN BAY, WI     170 W. TASMAN DRIVE
                                                       54304             MS SJ13-3
                                                                         SAN JOSE, CA 95134

Secretary of State,       UCC         2014 2460830     SHOPKO STORES     IBM CREDIT LLC           Specific equipment.
Delaware               11/19/2018      06/23/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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                          THRU
Secretary of State,       UCC         2014 3082229     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      08/01/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 3184512     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      08/08/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 3333390     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      08/19/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 3376142     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      08/21/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 3587334     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      09/08/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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                          THRU
Secretary of State,       UCC         2014 3851417     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      09/25/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 3875200     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      09/26/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 4775912     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      11/25/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2014 5214671     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      12/22/2014      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 0528363     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/05/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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Secretary of State,       UCC         2015 0590066     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/10/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 0649789     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/13/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 0717719     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/19/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 0809755     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/26/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 0809763     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/26/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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                          THRU
Secretary of State,       UCC         2015 0809771     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/26/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 0809789     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/26/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 0812940     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/26/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 0812957     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      02/26/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 0915859     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/04/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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 JURISDICTION         FILING TYPE/   FILE NUMBER/          DEBTOR          SECURED PARTY              COLLATERAL DESCRIPTION
                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC         2015 1124527     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/17/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 1215309     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/23/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 1310696     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/27/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 1350395     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/31/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 1392322     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      04/01/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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 JURISDICTION         FILING TYPE/   FILE NUMBER/          DEBTOR          SECURED PARTY              COLLATERAL DESCRIPTION
                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC         2015 1658466     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      04/17/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 1751980     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      04/23/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 1776474     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      04/24/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 1798627     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      04/27/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 1823359     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      04/28/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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                          THRU
Secretary of State,       UCC         2015 1883676     SHOPKO STORES     IBM CREDIT LLC      Specific equipment.
Delaware               11/19/2018      05/01/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 1883684     SHOPKO STORES     IBM CREDIT LLC      Specific equipment.
Delaware               11/19/2018      05/01/2015      OPERATING CO, LLC
                                                                         1 NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 2919883     SHOPKO STORES     PAPYRUS-RECYCLED     INVENTORY HERETOFORE OR HEREAFTER
Delaware               11/19/2018      07/07/2015      OPERATING CO, LLC GREETINGS, INC.      SOLD OR DELIVERED BY SECURED PARTY TO
                                                                                              DEBTOR ON A DIRECT TO STORE DELIVERY
                                                       700 PILGRIM WAY   111 N. CANAL STREET, BASIS PURSUANT TO SCAN-BASED TRADING
                                                       GREEN BAY, WI     SUITE 700            METHOD OF SALES FOR SALE FROM TIME TO
                                                       54304             CHICAGO, IL 60606    TIME WHEREVER LOCATED.
Secretary of State,     AMEND         2018 0997854                       PAPYRUS-RECYCLED    Secured Party information change to:
Delaware               11/19/2018      02/12/2018                        GREETINGS, INC.
                                                                                             PAPYRUS-RECYCLED GREETINGS, INC.
                                                                         240 GATEWAY ROAD
                                                                         WEST                240 GATEWAY ROAD WEST
                                                                         NAPA, CA 94558      NAPA, CA 94558
Secretary of State,       UCC         2015 3554317     SHOPKO STORES     IBM CREDIT LLC      Specific equipment.
Delaware               11/19/2018      08/17/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC         2015 3554473     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      08/17/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 3630869     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      08/20/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 3630927     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      08/20/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 3631206     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      08/20/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 3921771     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      09/08/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC         2015 5376537     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      11/16/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 5536064     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      11/23/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 6166374     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      12/21/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 6166689     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      12/21/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2015 6295801     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      12/29/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




                                                                 Schedule 8.4-16
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 JURISDICTION         FILING TYPE/   FILE NUMBER/          DEBTOR         SECURED PARTY               COLLATERAL DESCRIPTION
                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC         2015 6295975     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      12/29/2015      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2016 0430353     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      01/22/2016      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2016 0430379     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      01/22/2016      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2016 1670544     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/21/2016      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2016 1670569     SHOPKO STORES     IBM CREDIT LLC     Specific equipment.
Delaware               11/19/2018      03/21/2016      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304




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                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC         2016 1970381     SHOPKO STORES     IBM CREDIT LLC                 Specific equipment.
Delaware               11/19/2018      04/04/2016      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2016 3931084     Shopko Stores         Payless ShoeSource, Inc.   All assets (including inventory) of licensee subject to the
Delaware               11/19/2018      06/29/2016      Operating Co., LLC                               License Agreement, dated as of July 23, 1999 (as
                                                                             3231 SE Sixth Avenue       amended from time to time), between Shopko Stores
                                                       700 Pilgrim Way       Topeka, KS 66607           Operating Co., LLC (as successor in interet [sic] to
                                                       Green Bay, WI 54304                              Shopko Stores, Inc.), as licensor and Payless
                                                                                                        ShoeSource, Inc., and all proceeds thereof.




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 JURISDICTION         FILING TYPE/   FILE NUMBER/            DEBTOR              SECURED PARTY                            COLLATERAL DESCRIPTION
                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC         2016 3946900     Shopko Stores         The News Group, L.P., as          All frequencies and categories of magazines, comic
                                                                             Representative
Delaware               11/19/2018      06/30/2016      Operating Co., LLC                                      books, calendars, puzzles and other periodicals, and
                                                                             1955 Lake Park Drive, Suite 400   other publications from time to time consigned by
                                                                             Smyrna, GA 30080
                                                       700 Pilgrim Way                                         Secured Party to Debtor, whether located at, on order
                                                       Green Bay, WI 54307   Benjamin News Group, Inc.         for, in transit to or otherwise intended for sale at any of
                                                                             1701 Rankin Street PO Box 16147
                                                                                                               Debtor’s retail, distribution and other locations,
                                                                             Missoula, MT 59808                wherever located, and all proceeds thereof. Secured
                                                                                                               Party has a purchase money security interest in the
                                                                             Cowley Distributing, Inc.
                                                                                                               foregoing consigned goods and retains title to such
                                                                             732 Heisinger Road                goods until sold to Debtor or its customers.
                                                                             Jefferson City, MO 65109

                                                                             Dakota News, Inc.

                                                                             221 S. Petro Avenue
                                                                             Sioux Falls, SD 57107-0572

                                                                             Kent News Company, L.L.C.

                                                                             100511 Airport Road
                                                                             Scottsbluff, NE 69361

                                                                             Rushmore News, Inc.

                                                                             924 East Saint Andrew St.
                                                                             Rapid City, SD 57701-3931

                                                                             Saks News, Inc.

                                                                             2210 E Broadway PO Box 1857
                                                                             Bismarck, ND 58501

                                                                             Southern Wisconsin News, Inc.

                                                                             1858 Artisan Drive
                                                                             Edgerton, WI 53534

                                                                             Valley News Company

                                                                             1305 Stadium Road
                                                                             Mankato, MN 56001

                                                                             TNG GP

                                                                             1955 Lake Park Drive, Suite 400
                                                                             Smyrna, GA 30080




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                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC         2017 4220544     SHOPKO STORES     IBM CREDIT LLC              Specific equipment.
Delaware               11/19/2018      06/27/2017      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Secretary of State,       UCC         2017 5050965     SHOPKO STORES     IBM CREDIT LLC              Specific equipment.
Delaware               11/19/2018      07/31/2017      OPERATING CO, LLC
                                                                         ONE NORTH CASTLE
                                                       700 PILGRIM WAY   DRIVE
                                                       GREEN BAY, WI     ARMONK, NY 10504
                                                       54304
Department of             UCC         060009185932     SHOPKO STORES     American Bank Note          The Consigned Goods are all United States Postal
Financial              11/21/2018       6/14/2006      OPERATING CO.,    Company, as agent for the   Service postage delivered to Consignee for sale to the
Institution,                                           LLC               United States Postal        public from all establishments maintained by Consignee,
Wisconsin                                                                Service                     including, but not limited to, First Class postage,
                                                       700 PILGRIM WAY                               Express Mail postage, Priority Mail postage, bricks of
                                                       GREEN BAY, WI     2520 Metropolitan Drive     postage for dispensing in automated teller machines and
                                                       54304             Trevose, PA 19053           such other postage as Consignor may deliver to
                                                                                                     Consignee, as well as all proceeds thereof.
Department of            CONT         110006939229                                                   Continuation.
Financial              11/21/2018       6/6/2001
Institution,
Wisconsin
Department of            CONT         160003119721                                                   Continuation.
Financial              11/21/2018       3/8/2016
Institution,
Wisconsin




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 JURISDICTION          FILING TYPE/   FILE NUMBER/             DEBTOR            SECURED PARTY             COLLATERAL DESCRIPTION
                        SEARCHED        FILE DATE
                           THRU
Circuit Court,             LIT         2017cv001414      Defendant:           Plaintiff:         Civil Case. Other - Personal Injury. Open Case.
Brown County,           11/13/2018      10/24/2017
Wisconsin                                                ABC Insurance        Palet, Lauri L.
                                                         Company (An
                                                         Unknown Insurance
                                                         Company)

                                                         Shopko Stores
                                                         Operating Company,
                                                         LLC
U.S. District Court,       LIT         1:17-cv-01755     Defendant:           Plaintiff:         Civil Case. Job Discrimination (age).
Wisconsin Eastern       11/16/2018       12/18/2017
                                                         Shopko Stores        Randall P Check
                                                         Operating Co LLC




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                                 ShopKo Holding Company, LLC

None.

                               Specialty Retail Shops Holding Corp.
None.

                               ShopKo Optical Manufacturing, LLC
None.

                            ShopKo Institutional Care Services Co., LLC
None.




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                                                         Pamida Stores Operating Co., LLC

 JURISDICTION         FILING TYPE/   FILE NUMBER/           DEBTOR         SECURED PARTY                      COLLATERAL DESCRIPTION
                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC          6128335 7       PAMIDA STORES     AMERICAN            Inventory heretofore or hereafter consigned to the
Delaware               11/19/2018      04/17/2006      OPERATING CO.,    GREETINGS           Debtor, wherever located, including without limitation,
                                                       LLC               CORPORATION         greeting cards, stickers, gift wrap, bows, stationery,
                                                                                             party goods, party accessories, party favors, crepe, latex
                                                       8800 F STREET     ONE AMERICAN ROAD balloons, birthday candles, plush, social expression
                                                       OMAHA, NE 68127   CLEVELAND, OH 44144 products and other Goods, together with all cash and
                                                                                             non-cash proceeds from the sale thereof, including,
                                                                                             without limitation, accounts, contract rights, chattel
                                                                                             paper, and any other rights to the payments of money
                                                                                             and security therefor.
Secretary of State,      CONT         2011 0282239                                                 Continuation.
Delaware               11/19/2018      01/25/2011
Secretary of State,      CONT         20161134541                                                  Continuation.
Delaware               11/19/2018      02/25/2016
Secretary of State,     AMEND         20165106057                        American Greetings        Secured Party information change to:
Delaware               11/19/2018      08/22/2016                        Corporation
                                                                                                   American Greetings Corporation
                                                                         One American Boulevard
                                                                         Cleveland, OH 44145       One American Boulevard
                                                                                                   Cleveland, OH 44145
Secretary of State,     AMEND         2013 0843483     PAMIDA STORES                               Debtor information change to:
Delaware               11/19/2018      03/05/2013      OPERATING CO.,
                                                       LLC                                         PAMIDA STORES OPERATING CO., LLC

                                                       700 PILGRIM WAY                             700 PILGRIM WAY
                                                       GREEN BAY, WI                               GREEN BAY, WI 54304
                                                       54304
Secretary of State,     AMEND         2011 2021031                                                 Deletion of collateral:
Delaware               11/19/2018      05/26/2011
                                                                                                   Specific equipment. Please refer to financing statement
                                                                                                   and financing statement addendum for a full description.



                                                                  Schedule 8.4-23
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 JURISDICTION         FILING TYPE/   FILE NUMBER/           DEBTOR         SECURED PARTY                   COLLATERAL DESCRIPTION
                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC         2007 3878591     PAMIDA STORES     DELL FINANCIAL          All computer equipment and peripherals (collectively
Delaware               11/19/2018      10/15/2007      OPERATING CO.,    SERVICES L.P.           "Equipment") wherever located, financed under and
                                                       LLC                                       described in the Master Lease Agreement ("MLA")
                                                                         12234 N. IH-35 BLDG B   entered into between Lessee and Lessor and all of
                                                       8800 F ST         AUSTIN, TX 78753        Lessee's rights, title and interest in and to use any
                                                       OMAHA, NE 68127                           software and services (collectively "Software") financed
                                                                                                 under and described in the MLA, along with any
                                                                                                 modifications or supplements to the MLA which are
                                                                                                 incorporated or evidenced in writing and all
                                                                                                 substitutions, additions, assessions and replacements to
                                                                                                 the Equipment or Software now or hereafter installed in,
                                                                                                 affixed to, or used in conjunction with the Equipment or
                                                                                                 Software and the proceeds thereof together with all
                                                                                                 payments, insurance proceeds, credits or refunds
                                                                                                 obtained by Lessee from a manufacturer, licensor or
                                                                                                 service provider, or other proceeds and payments due
                                                                                                 and to become due and arising from or relating to such
                                                                                                 Equipment, Software or the MLA.
Secretary of State,      CONT         2012 3530765                                               Continuation.
Delaware               11/19/2018      09/13/2012
Secretary of State,      CONT         2017 6232984                                               Continuation.
Delaware               11/19/2018      09/19/2017




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 JURISDICTION         FILING TYPE/   FILE NUMBER/           DEBTOR         SECURED PARTY                      COLLATERAL DESCRIPTION
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                          THRU
Secretary of State,       UCC         2007 4600671     PAMIDA STORES     DELL FINANCIAL             All computer equipment and peripherals (collectively
Delaware               11/19/2018      12/05/2007      OPERATING CO.,    SERVICES L.P.              "Equipment") wherever located, financed under and
                                                       LLC                                          described in the Master Lease Agreement ("MLA")
                                                                         12234 N. IH-35 BLDG B      entered into between Lessee and Lessor and all of
                                                       8800 F. STREET    AUSTIN, TX 78753           Lessee's rights, title and interest in and to use any
                                                       OMAHA, NE 68127                              software and services (collectively "Software") financed
                                                                                                    under and described in the MLA, along with any
                                                                                                    modifications or supplements to the MLA which are
                                                                                                    incorporated or evidenced in writing and all
                                                                                                    substitutions, additions, assessions and replacements to
                                                                                                    the Equipment or Software now or hereafter installed in,
                                                                                                    affixed to, or used in conjunction with the Equipment or
                                                                                                    Software and the proceeds thereof together with all
                                                                                                    payments, insurance proceeds, credits or refunds
                                                                                                    obtained by Lessee from a manufacturer, licensor or
                                                                                                    service provider, or other proceeds and payments due
                                                                                                    and to become due and arising from or relating to such
                                                                                                    Equipment, Software or the MLA.
Secretary of State,     ASSGN         2008 1916194                       Citicorp Vendor Finance,   Secured Party Partial Assignment (specific equipment)
Delaware               11/19/2018      05/23/2008                        Inc.                       to:

                                                                         1255 Wrights Lane          Citicorp Vendor Finance, Inc.
                                                                         West Chester, PA 19380
                                                                                                    1255 Wrights Lane
                                                                                                    West Chester, PA 19380
Secretary of State,     ASSGN         2008 1916228                       Banc of America Leasing    Secured Party Partial Assignment (specific equipment)
Delaware               11/19/2018      05/23/2008                        & Capital, LLC - Troy      to:

                                                                         305 W. Big Beaver, Suite   Banc of America Leasing & Capital, LLC - Troy
                                                                         400
                                                                         Troy, MI 48085             305 W. Big Beaver, Suite 400
                                                                                                    Troy, MI 48085
Secretary of State,      CONT         2012 4009751                                                  Continuation.
Delaware               11/19/2018      10/17/2012



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                          THRU
Secretary of State,      CONT         2017 7206867                                            Continuation.
Delaware               11/19/2018      10/31/2017
Secretary of State,       UCC         2010 4185470     PAMIDA STORES     DELL FINANCIAL       All computer equipment, peripherals, and other
Delaware               11/19/2018      11/30/2010      OPERATING CO.,    SERVICES L.L.C.      equipment (collectively "Equipment") wherever located,
                                                       LLC                                    financed under and described in the Master Lease
                                                                         MAIL STOP-PS2DF-23   Agreement ("MLA") between Lessee and Lessor and all
                                                       8800 F. STREET    ONE DELL WAY         of Lessee's rights, title and interest in and to use any
                                                       OMAHA, NE 68127   ROUND ROCK, TX       software and services (collectively "Software") financed
                                                                         78682                under and described in the MLA, along with any
                                                                                              modifications or supplements to the MLA which are
                                                                                              incorporated or evidenced in writing and all
                                                                                              substitutions, additions, accessions and replacements to
                                                                                              the Equipment or Software now or hereafter installed in,
                                                                                              affixed to, or used in conjunction with the Equipment or
                                                                                              Software and the proceeds thereof together with all
                                                                                              payments, insurance proceeds, credits or refunds
                                                                                              obtained by Lessee from a manufacturer, licensor or
                                                                                              service provider, or other proceeds and payments due
                                                                                              and to become due and arising from or relating to such
                                                                                              Equipment, Software or the MLA.
Secretary of State,      CONT         201547345959                                            Continuation.
Delaware               11/19/2018      10/16/2015
Secretary of State,     AMEND         2013 0843525     PAMIDA STORES                          Debtor information change to:
Delaware               11/19/2018      03/05/2013      OPERATING CO.,
                                                       LLC                                    PAMIDA STORES OPERATING CO., LLC

                                                       700 PILGRIM WAY                        700 PILGRIM WAY
                                                       GREEN BAY, WI                          GREEN BAY, WI 54304
                                                       54304
Secretary of State,      CONT         20170424256                                             Continuation.
Delaware               11/19/2018      01/19/2017
Secretary of State,       FTL                                                                 CLEAR
Delaware               11/19/2018



                                                                  Schedule 8.4-26
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                                                                  SVS Trucking, LLC

 JURISDICTION         FILING TYPE/   FILE NUMBER/            DEBTOR            SECURED PARTY                       COLLATERAL DESCRIPTION
                       SEARCHED        FILE DATE
                          THRU
Secretary of State,       UCC         815929101340     SVS Trucking, LLC     Flex Financing              All equipment and other personal property, including but
Minnesota              11/16/2018      03/09/2015                                                        not limited to, furniture, fixtures and equipment subject
                                                       700 Pilgrim Way       P.O. BOX 15270              to that certain Agreement Number LA#211267-000
                                                       Green Bay, WI 54304   Irvine, CA 92623-5270       dated 1/6/2015, between Secured Party as
                                                                                                         Lessor/Creditor and Debtor as Lessee/Debtor, and
                                                                                                         subject to any and all existing and future schedules
                                                                                                         entered into pursuant to and incorporating said
                                                                                                         Agreement, together with all accessories, parts,
                                                                                                         attachments and appurtenances appertaining to attached
                                                                                                         to any of the Equipment, and all substitutions, trade-ins,
                                                                                                         proceeds, renewals and replacements of, and
                                                                                                         improvements and accessions to the Equipment.
                                                                                                         LA#211267-000
Secretary of State,     ASSGN         818604302823                           Susquchanna Commercial Secured Party assignment to:
Minnesota              11/16/2018      03/25/2015                            Finance, Inc.
                                                                                                    Susquchanna Commercial Finance, Inc.
                                                                             2 Country View Road,
                                                                             Suite 300              2 Country View Road, Suite 300
                                                                             Malvern, PA 19355      Malvern, PA 19355
Secretary of State,       UCC         835723800386     SVS Trucking, LLC     Balboa Capital            All equipment and other personal property, including but
Minnesota              11/16/2018      08/06/2015                            Corporation               not limited to, furniture, fixtures and equipment subject
                                                       700 Pilgrim Way                                 to that certain Agreement Number LA# 211267-00l
                                                       Green Bay, WI 54304   2010 Main St., Suite 1100 dated 6/11/2015, between Secured Party as
                                                                             Irvine, CA 92614          Lessor/Creditor and Debtor as Lessee/Debtor, and
                                                                                                       subject to any and all existing and future schedules
                                                                                                       entered into pursuant to and incorporating said
                                                                                                       Agreement, together with all accessories, parts,
                                                                                                       attachments and appurtenances appertaining or attached
                                                                                                       to any of the Equipment, and all substitutions, trade-ins,
                                                                                                       proceeds, renewals and replacements of, and
                                                                                                       improvements and accessions to the Equipment. LA#
                                                                                                       211267-001




                                                                    Schedule 8.4-27
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 JURISDICTION         FILING TYPE/   FILE NUMBER/          DEBTOR         SECURED PARTY                     COLLATERAL DESCRIPTION
                       SEARCHED        FILE DATE
                          THRU
Secretary of State,     ASSGN         837035700712                      Pacific Western           Secured Party assignment to:
Minnesota              11/16/2018      08/18/2015                       Equipment Finance
                                                                                                  Pacific Western Equipment Finance
                                                                        6975 Union Park Center,
                                                                        Suite 200                 6975 Union Park Center, Suite 200
                                                                        Cottonwood Heights, UT    Cottonwood Heights, UT 84047
                                                                        84047
Secretary of State,     ASSGN         889713800033                      Engs Commercial Finance Secured Party assignment to:
Minnesota              11/16/2018      05/24/2016                       Co.
                                                                                                Engs Commercial Finance Co.
                                                                        P.O. Box 4062
                                                                        Lisle, IL 60532-4062    P.O. Box 4062
                                                                                                Lisle, IL 60532-4062




                                                                 Schedule 8.4-28
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                           ShopKo Gift Card Co., LLC

 None.

                            Retained R/E SPE, LLC
 None.


                          Pamida Transportation, LLC
 None.


                       Place’s Associates’ Expansion, LLC

 None.

                             ShopKo Finance, LLC

 None.



                           SKO Group Holding, LLC
 None.




 2065998.2
DB1/ 68895452.3                 Schedule 8.4-29
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                               SCHEDULE 8.6
                                    to
                         INFORMATION CERTIFICATE

                               Pending Litigation


None.




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                                      SCHEDULE 8.8
                                           to
                                INFORMATION CERTIFICATE

                                   Environmental Compliance

Shopko received a notice from the Nebraska DEQ in March, 2018, regarding the requirement to
perform a Tier 1 investigation with respect to a release that occurred at a distribution center that
was formerly owned by Shopko in La Vista, Nebraska. In cooperation with Shopko’s
environmental consultant, a work plan was submitted and samples were taken for testing. The
testing revealed that petroleum concentration levels are below the NDEQ’s risk-based screening
levels. A 30-day public comment period is required, but after that step Shopko will pursue final
closure of the matter by NDEQ.




                                          Schedule 8.8-1
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                                         SCHEDULE 8.10
                                              to
                                    INFORMATION CERTIFICATE

                                  Deposit Accounts; Investment Accounts


      (a)    Part 1 - Deposit Accounts

             (i) Non-Store Deposit Accounts

Name of          Bank Name      Bank Address                              Account No.      Purpose
Company
ShopKo Stores    Associated     On file with ShopKo Stores Operating      22223044807      Depository
Operating Co.,   Bank           Co., LLC
LLC
ShopKo Stores    US Bank        On file with ShopKo Stores Operating      153910632253     Depository
Operating Co.,                  Co., LLC
LLC
ShopKo Stores    Wells Fargo    On file with ShopKo Stores Operating      4128648789       Depository
Operating Co.,                  Co., LLC
LLC
ShopKo Stores    Wachovia       On file with ShopKo Stores Operating      42913108         Receipts
Operating Co.,   Back Office    Co., LLC
LLC
ShopKo Stores    Bank of        On file with ShopKo Stores Operating      4602292403       Medicare
Operating Co.,   America        Co., LLC                                                   Optical -
LLC                                                                                        Receipts
ShopKo Stores    Associated     On file with ShopKo Stores Operating      2223050366       ACH
Operating Co.,   Bank           Co., LLC                                                   deposit-
LLC                                                                                        receipts
ShopKo Stores    Associated     On file with ShopKo Stores Operating      2223069416       Optical LBX
Operating Co.,   Bank           Co., LLC                                                   - receipts
LLC
ShopKo Stores    Associated     On file with ShopKo Stores Operating      2173324662       Pharmacy
Operating Co.,   Bank           Co., LLC                                                   LBX-
LLC                                                                                        receipts
ShopKo Stores    Associated     On file with ShopKo Stores Operating      2173324647       Pharmacy
Operating Co.,   Bank           Co., LLC                                                   (Medicare/
LLC                                                                                        Medicaid)
                                                                                           LBX -
                                                                                           receipts
ShopKo Stores    Associated     On file with ShopKo Stores Operating      2173324654       Vendor LBX
Operating Co.,   Bank           Co., LLC                                                   - receipts
LLC


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ShopKo Stores    Bank of        On file with ShopKo Stores Operating   004602290719      Receipts
Operating Co.,   America        Co., LLC
LLC
ShopKo Stores    Associated     On file with ShopKo Stores Operating   2223057528        Receipts
Operating Co.,   Bank           Co., LLC
LLC
ShopKo Stores    Associated     On file with ShopKo Stores Operating   2223064102        IL Lottery
Operating Co.,   Bank           Co., LLC                                                 Trust -
LLC                                                                                      receipts and
                                                                                         clearings
ShopKo Stores    Associated     On file with ShopKo Stores Operating   2223053485        Lottery
Operating Co.,   Bank           Co., LLC                                                 Account -
LLC                                                                                      receipts and
                                                                                         clearings
ShopKo Stores    Associated     On file with ShopKo Stores Operating   002223135654      Liquor Acct -
Operating Co.,   Bank           Co., LLC                                                 clearings
LLC
ShopKo Stores    Wells Fargo    On file with ShopKo Stores Operating   5000000030295     Capital
Operating Co.,                  Co., LLC                                                 Finance
LLC
ShopKo Stores    Bank of        On file with ShopKo Stores Operating   9428400778        Operating
Operating Co.,   America        Co., LLC
LLC
ShopKo Stores    Bank of        On file with ShopKo Stores Operating   002220001696      Shopko
Operating Co.,   America        Co., LLC                                                 Merchandise-
LLC                                                                                      CD
ShopKo Stores    Bank of        On file with ShopKo Stores Operating   002220001688      Shopko
Operating Co.,   America        Co., LLC                                                 Expense- CD
LLC
ShopKo Stores    Bank of        On file with ShopKo Stores Operating   002220001670      Shopko
Operating Co.,   America        Co., LLC                                                 Capital Exp.
LLC                                                                                      - CD
ShopKo Stores    Bank of        On file with ShopKo Stores Operating   000080216134      SVS
Operating Co.,   America        Co., LLC                                                 Trucking-
LLC                                                                                      CD
ShopKo Stores    Bank of        On file with ShopKo Stores Operating   004611647337      ADP Payroll-
Operating Co.,   America        Co., LLC                                                 disbursement
LLC
ShopKo Stores    Bank of        On file with ShopKo Stores Operating   009419400151      Tax
Operating Co.,   America        Co., LLC                                                 payments -
LLC                                                                                      disbursement
ShopKo Stores    Bank of        On file with ShopKo Stores Operating   463-605-9586      Prepaid Card
Operating Co.,   America        Co., LLC                                                 Funding
LLC
ShopKo Stores    Bank of        On file with ShopKo Stores Operating   464-044-6347      Fintech
Operating Co.,   America        Co., LLC                                                 Liquor

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LLC                                                                                        Funding


            (ii) Store Deposit Accounts


Name of    Bank Name            Bank Address                                 Account No.
Company
001        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
002        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
003        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
004        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
005        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
007        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
008        Associated Bank      303 South First Avenue, Wausau, WI 54402     2223044807
009        Associated Bank      400 South Chestnut A, Marshfield, WI 5449    2223044807
010        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944598994
                                LLC
011        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4945159432
                                LLC
012        Associated Bank      303 South First Avenue, Wausau, WI 54402     2223044807
014        Associated Bank      201 Park Ave, Beaver Dam, WI 53916           2223044807
015        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944154111
                                LLC
016        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944599000
                                LLC
017        Associated Bank      On file with ShopKo Stores Operating Co.,    2223044807
                                LLC
018        Associated Bank      401 E Kilbourn Ave, Milwaukee, WI 53202      2223044807
019        Associated Bank      633 S Church Street, Watertown, WI 53094     2223044807
020        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
021        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944154129
                                LLC
022        US Bank              On file with ShopKo Stores Operating Co.,    153910632535
                                LLC
023        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944219500
                                LLC
024        Associated Bank      4217 Southtowne Dr, Eau Claire, WI 54701     2223044807
025        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4945159440
                                LLC
026        Associated Bank      612 N Main St, Rockford, IL 61103            2223044807
027        Associated Bank      5439 Durand Avenue, Suite 100, Racine, WI    2223044807
                                53406
028        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
029        Associated Bank      1720 Monroe Street, Madison, WI 53711        2223044807
030        Associated Bank      2720 N. Lexington Dr. Janesville, WI 53545   2223044807

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031        Associated Bank      401 E Kilbourn Ave, Milwaukee, WI 53202     2223044807
032        Associated Bank      1720 Monroe Street, Madison, WI 53711       2223044807
033        Associated Bank      200 N. Adams Green Bay, WI 54307            2223044807
035        Associated Bank      On file with ShopKo Stores Operating Co.,   2223044807
                                LLC
036        Associated Bank      On file with ShopKo Stores Operating Co.,   2223044807
                                LLC
037        Associated Bank      4217 Southtowne Dr, Eau Claire, WI 54701    2223044807
038        Wells Fargo Bank     304 West 3rd Street, Grand Island           4944219518
039        Wells Fargo Bank     1248 O Street, Lincoln, NE                  4944219528
040        US Bank              501 Pierce Street, Sioux City, IA 51101     153910632543
041        Associated Bank      On file with ShopKo Stores Operating Co.,   2223044807
                                LLC
042        Associated Bank      200 N. Adams Green Bay, WI 54307            2223044807
044        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944972884
                                LLC
045        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944972892
                                LLC
047        Wells Fargo Bank     1248 O Street, Lincoln, NE                  4944219534
048        Wells Fargo Bank     304 W. 3rd Street, Norfolk, NE              4944219542
049        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944154137
                                LLC
050        Associated Bank      200 N. Adams Green Bay, WI 54307            2223044807
051        Associated Bank      1720 Monroe Street, Madison, WI 53711       2223044807
052        US Bank              On file with ShopKo Stores Operating Co.,   153910632295
                                LLC
053        US Bank              On file with ShopKo Stores Operating Co.,   153910632550
                                LLC
054        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4945159457
                                LLC
055        Associated Bank      303 South First Avenue, Wausau, WI 54402    2223044807
056        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944972918
                                LLC
057        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4945159465
                                LLC
058        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219559
                                LLC
059        Associated Bank      On file with ShopKo Stores Operating Co.,   2223044807
                                LLC
060        Associated Bank      On file with ShopKo Stores Operating Co.,   2223044807
                                LLC
061        Associated Bank      On file with ShopKo Stores Operating Co.,   2223044807
                                LLC
062        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944922129
                                LLC

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063        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219567
                                LLC
064        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219575
                                LLC
065        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219583
                                LLC
066        US Bank              On file with ShopKo Stores Operating Co.,   153910632329
                                LLC
067        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219591
                                LLC
068        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219609
                                LLC
069        Wells Fargo Bank     301 Sherman, Coeur D' Alene                 4944219617
070        US Bank              On file with ShopKo Stores Operating Co.,   153910632337
                                LLC
072        Wells Fargo Bank     303 Thain Road, Lewiston, ID                4944219625
073        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944717701
                                LLC
075        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944922137
                                LLC
076        US Bank              141 N. Main Avenue, Sioux Falls, SD 57104   153910632576
078        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944154145
                                LLC
079        Associated Bank      303 South First Avenue, Wausau, WI 54402    2223044807
080        Associated Bank      2001 Londonderry Drive, Madison, WI 53704   2223044807
081        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944717719
                                LLC
082        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219633
                                LLC
083        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219641
                                LLC
084        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219294
                                LLC
085        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219302
                                LLC
087        Wells Fargo Bank     260 N. Charles Lindbergh Drive, Salt Lake   4944219328
                                City Vault
088        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944219336
                                LLC
089        US Bank              1221 N. Columbia Ctr Blvd Kennewick, WA     153910632345
                                99336
090        Associated Bank      1930 Wisconsin Ave, Grafton, WI 53024       2223044807
091        Wells Fargo Bank     5th South & Main Street, Logan Branch       4944219344
092        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,   4944717727
                                LLC


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093        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944154251
                                LLC
095        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944219351
                                LLC
096        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944154293
                                LLC
097        Wells Fargo Bank     260 N. Charles Lindbergh Drive, Salt Lake    4944219369
                                City Vault
098        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944154277
                                LLC
099        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
100        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
101        US Bank               141 N. Main Avenue, Sioux Falls, SD 57104   153910632584
102        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
104        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944219377
                                LLC
105        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944219385
                                LLC
106        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944922145
                                LLC
108        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944219401
                                LLC
109        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944219419
                                LLC
111        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944154285
                                LLC
112        US Bank              302 N Last Chance Gulch St Helena, MT        153910632592
                                59601
113        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944717735
                                LLC
114        Wells Fargo Bank     230 W. Superior Street, Duluth               4944219435
116        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
119        US Bank              98 S Galena Ave Dixon, IL 91021              153910632352
120        Associated Bank      1420 11th Street, Monroe, WI 53566           2223044807
122        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944717743
                                LLC
123        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944219450
                                LLC
125        Associated Bank      612 N Main St, Rockford, IL 61103            2223044807
127        Associated Bank      709 E Geneva Street, Delavan, WI 53115       2223044807
128        Wells Fargo Bank     On file with ShopKo Stores Operating Co.,    4944922152
                                LLC
129        US Bank              On file with ShopKo Stores Operating Co.,    153910632360
                                LLC
130        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807

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132        Associated Bank      On file with ShopKo Stores Operating Co.,    2223044807
                                LLC
133        Associated Bank      612 N Main St, Rockford, IL 61103            2223044807
134        US Bank              On file with ShopKo Stores Operating Co.,    153910632386
                                LLC
139        US Bank              On file with ShopKo Stores Operating Co.,    153910807087
                                LLC
140        US Bank              322 W. Morton Avenue, Jacksonville, IL       153910632394
                                62650
141        US Bank              3104 West Avenue, Burlington, IA 52601       153910632402
142        US Bank              1704 West 2nd Street, Davenport, IA          153910632410
145        Wells Fargo Bank     100 South Main Street, Monmouth, IL 61462-   4945176958
                                1752
164        US Bank              270 W. 7th Street, Dubuque, IA, 52001        153910632451
170        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
171        US Bank              5673 US Highway 10 E., Stevens Point, WI     153910632469
                                54481
172        Wells Fargo Bank     1248 O Street, Lincoln, NE                   4944219484
175        US Bank              4000 South 27th Street, Lincoln, NE 68502    153910632477
177        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
178        Associated Bank      N64 W23710 Main Street, Sussex, WI 53089     2223044807
179        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
214        US Bank              450 E Main St Wautoma, WI 54982              153911727490
215        Associated Bank      129 E Division St Shawano WI                 2223044807
501        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
502        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
503        Associated Bank      222 N Wisconsin St, Port Washington, WI      2223044807
                                53074
504        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
505        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
509        Associated Bank      Bank Vault Associated Bank Green Bay, on     2223044807
                                file with ShopKo Stores Operating Co., LLC
510        Associated Bank      200 N. Adams Green Bay, WI 54307             2223044807
201        Wells Fargo Bank     1101 Broadway St Emmetsburg, IA 50536        4941014730
202        US Bank              On file with ShopKo Stores Operating Co.,    153911680376
                                LLC
203        US Bank              Bank Vault Dallas, TX, on file with ShopKo   153911674833
                                Stores Operating Co., LLC
205        Wells Fargo Bank     225 W Main St Delta, UT 84624                4466565579
206        US Bank              Bank Vault Reno NV, on file with ShopKo      153911680384
                                Stores Operating Co., LLC
207        US Bank              Bank Vault Spokane, WA, on file with         153911680392
                                ShopKo Stores Operating Co., LLC
211        US Bank              US Banch branch Mason City, IA               153911635644
212        Bank of the West     205 N Main St Gordon, NE 69343               45822616

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213        US Bank             Bank Vault Lubbock, TX, on file with ShopKo   153911674841
                               Stores Operating Co., LLC
512        Associated Bank     420 East Main St Ellsworth, WI 54011          2223044807
520        US Bank             1710 Market Ln Norfolk, NE 68701              153911325881
523        Wells Fargo Bank 105 N. Main St Valentine, NE 69201               4122285182
526        Wells Fargo Bank Cash vault in Salt Lake City, UT, on file with   4122285190
                               ShopKo Stores Operating Co., LLC
528        Wells Fargo Bank 12 Main St Roundup, MT 59072                     4945732188
529        Wells Fargo Bank 20 N. Montana St Dillon, MT 59725                4122285216
532        US Bank             17 1st Ave SW Minot, ND 58701                 153911089586
534        Dacotah Bank        15 Main Ave West Rolla, ND 58367              810091763
535        Wells Fargo Bank 13 E Divide Bowman, ND 58623                     4128648789
536        Grant County Bank 201 S Main St Ulysses, KS 67880                 008834
537        First National      101 E Main St Beloit, KS 67420                0246700
           Bank of Beloit
538        Banc Central        203 W Main St Anthony, KS 67003               235202
539        Wells Fargo Bank 11211 Pellicano Dr El Paso, TX 79935             4941601619
                               (Lubbock TX Cash Vault)
540        Wells Fargo Bank 11211 Pellicano Dr El Paso, TX 79935             4941601627
                               (Lubbock TX Cash Vault)
541        Wells Fargo Bank 1641 Tennessee Ave Dalhart, TX 79022             4128648789
542        Wells Fargo Bank 11211 Pellicano Dr El Paso, TX 79935             4941601635
                               (Lubbock TX Cash Vault)
543        Western Bank of     111 3rd Ave South Wolf Point, MT 59201        1015528
           Wolf Point
544        Wells Fargo Bank 500 N Central Ave Sidney MT 59270                4128648789
545        Wells Fargo Bank 405 N Main St Mobridge, SD 57601                 4128648789
546        Bank of the West    502 14 St Burlington, CO 80807                036917476
547        First National      400 Elm Ave Moose Lake, MN 55767              84172201
           Bank of Moose
           Lake
548        United Valley       103 N. Main Mahnomen, MN 56557                134201
           Bank
549        Little Horn State   618 N Center Ave Hardin, MT 59034             3051033018
           Bank
550        Wells Fargo Bank 20 N Montana St Dillon, MT 59725                 4128648789
551        DeMotte State       210 S Halleck St DeMotte, IN 46310            1049403
           Bank
552        First State Bank of 620 Main Ave Oakes, ND 58474                  5505796
           North Dakota
553        First Bank of       1410 N. Buckeye Abilene, KS 67410             0007385692
           Kansas
554        Wells Fargo Bank 11211 Pellicano Dr El Paso, TX 79935             4941595886
                               (Lubbock TX Cash Vault)
555        Wells Fargo Bank 4 N Main St Moab, UT 84532                       4128648789

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556        US Bank              1022 Meade Ave Prosser, WA 99350              153911258926
557        US Bank              1070 W Parkway Ave Salt Lake City, UT         153911259759
                                84119 (Salt Lake City Cash Vault)
558        Wells Fargo Bank     25 W 6th Ave Redfield, SD 57469               4128648789
559        US Bank              428 W Riverside Ave Spokane, WA               153911258124
                                99201(Spokane WA Vault)
560        Farmers &            312 N Main St Fairview, OK 73737              223492
           Merchants
           National Bank
561        Wells Fargo Bank     1200 Energy Park Dr St Paul, MN 55108 (St     4941122301
                                Paul MN Cash Vault)
562        US Bank              1200 Energy Park Dr St Paul, MN 55108 (St     153911258934
                                Paul MN Cash Vault)
563        US Bank              1 S Pinckney St Madison, WI 53703 (Madison    153911259767
                                WI Cash Vault)
564        US Bank              714 E 2nd St Des Moines, IA 50309 (Des        153911258967
                                Moines IA Cash Vault)
565        Wells Fargo Bank     1700 Farnam St Omaha, NE 68102 (Omaha         4940918527
                                Cash Vault)
566        Security State       502 Lake St NE Warroad, MN 56763              025668
           Bank
567        Wells Fargo Bank     1200 Energy Park Dr St Paul, MN 55108 (St     4942836669
                                Paul MN Cash Vault)
568        US Bank              111 Central Ave N New Prague, MN 56071        153911089578
569        Wells Fargo Bank     402 S Main St Milbank, SD 57252               4128648789
570        First Dakota         10 High Ave SW Wagner, SD 57380               50031317
           National Bank
571        Great Western        1301 Main St Webster, SD 57274                13481188
           Bank
572        Wells Fargo Bank     1515 Arapahoe St Denver, CO 80202 (Denver     4942836677
                                Cash Vault)
573        Wells Fargo Bank     1700 Farnam St Omaha, NE 68102 (Omaha         4942836685
                                Cash Vault)
574        Wells Fargo Bank     601 Lively Blvd Elk Grove Village, IL 60007   4942836693
                                (Chicago Cash Vault)
575        US Bank              11211 Pellicano Dr El Paso, TX 79935          153911089560
                                (Lubbock TX Cash Vault)
576        US Bank              11114 Cedar Park Ave Baton Rouge, LA          153911259775
                                (Baton Rouge LA Vault)
577        US Bank              2909 Ave C Lubbock, TX 79404 (Lubbock TX      153911258942
                                Cash Vault)
578        US Bank              1515 Arapahoe St Denver, CO 80202 (Denver     153911259783
                                Cash Vault)
579        TBK Bank             615 W 8th Ave Yuma, CO 80759                  1854754528
580        Wells Fargo Bank     1200 Energy Park Dr St Paul, MN 55108 (St     4940918535
                                Paul MN Cash Vault)
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581        US Bank               902 Main St Lisbon, ND 58054                153910632253
582        1st Presidio Bank     601 North Erma Presidio, TX 79845           308339
583        Wells Fargo Bank      55 S. Main St Blanding, UT 84511            4128648789
584        Wells Fargo Bank      6764 Main St Bonners Ferry, ID              4466565561
585        US Bank               212 W Caldeonia Ave Hillsboro, ND 58045     153911325899
586        Wells Fargo Bank      21 W 21st St Kearney, NE 68847              4942351594
587        US Bank               600 Chestnut St Atlantic, IA 50022          153911325907
588        Wells Fargo Bank      640 N. Main St Beaver, UT 84713             4942351586
589        US Bank               300 N Main St Stewartville, MN 55976        153911325915
592        US Bank               405 N Hwy 171 Godley, TX 76044              153911325923
594        Wells Fargo Bank      201 S. Main Street, in Chamberlain          4926841032
596        Wells Fargo Bank      317 E. 4th Street in Dell Rapids.           4926841040
597        US Bank               US Bank cash vault in Omaha, NE, on file    153911629001
                                 with ShopKo Stores Operating Co., LLC
598        US Bank               1551 E White Mountain Blvd Pinetop, AZ      153911325949
                                 85935
600        US Bank               110 W 4th St Vinton, IA 52349               153911325873
601        Associated Bank       200 N. Adams Green Bay, WI 54307            2223044807
602        Associated Bank       200 N. Adams Green Bay, WI 54307            2223044807
604        Associated Bank       607 E Spruce Street, Abbotsford, WI 54405   2223044807
605        Associated Bank       On file with ShopKo Stores Operating Co.,   2223044807
                                 LLC
606        Wells Fargo Bank      On file with ShopKo Stores Operating Co.,   4947823860
                                 LLC
607        Associated Bank       200 N. Adams Green Bay, WI 54307            2223044807
608        Associated Bank       200 N. Adams Green Bay, WI 54307            2223044807
609        Associated Bank       200 N. Adams Green Bay, WI 54307            2223044807
610        Wells Fargo Bank      On file with ShopKo Stores Operating Co.,   4947823878
                                 LLC
611        Associated Bank       200 N. Adams Green Bay, WI 54307            2223044807
613        Associated Bank       200 N. Adams Green Bay, WI 54307            2223044807
615        Bank First            135 S Main St Clintonville, WI 54929        23200
616        Associated Bank       10440 Townline Dr Sister Bay, WI 54234      2223044807
617        US Bank               450 E Main St Wautoma, WI 54982             153910810362
618        Associated Bank       750 Viking Dr Reedsburg, WI 53959           2223044807
619        Adams                 501 N. Main St. Adams, WI 53910             5135204
           Community Bank
620        Associated Bank       711 N. Railroad St Eagle River, WI 54521    2223044807
621        mBank                 Po Box 369 Manistique, MI 49854             209457
622        People State Bank     100 E Superior St Munising, MI 49862        0027169
623        Miners State Bank     Po Box 351 Iron River, MI 49935             8180309
624        Superior National     1 E Broad St L'Anse, MI 49946               909101775
           Bank & Trust
625        American Trust &      Po Box 307 Dyersville, IA 52040             2357502638
           Savings

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626        First National        10 Keystone Pkwy Platteville, WI 53818        125890
           Bank of Platteville
627        Associated Bank       509 N Grand Av Neillsville, WI 54456          2223044807
628        Wells Fargo Bank      622 1st Ave Two Harbors, MN 55616             4126124064
629        Wells Fargo Bank      104 E. Chapman St Ely, MN 55731               4126124072
630        State Bank of         131 West Main St Arcadia,WI 54612             115756
           Arcadia
632        Johnson Bank          Po Box 129 Spooner, WI 54801                  1001507398
633        Associated Bank       1156 4th Ave South Park Falls, WI 54552       2223044807
635        Savanna Thomson       302 Main St Savanna, IL 61074                 318652
           State Bank
637        The Fountain Trust    427 E Main Attica, IN 47918                   0411849901
           Company
638        Central Illinois      204 S Market St Monticello, IL 61856          1283154
           Bank
639        Fountain Trust        1250 North Lincoln Rd Rockville, IN 47872     0929873901
640        Arcola/Tuscola        127 South Oak Arcola, IL 61910                10013555
           First National
           Bank
641        First National        122 W Main St Dwight, IL 60420                319108
           Bank of Dwight
642        Wells Fargo Bank      On file with ShopKo Stores Operating Co.,     4943567214
                                 LLC
643        Choice One Bank       246 W River Valley Dr Newaygo, MI 49337       71006185
644        Firstbank             806 N McEwan Clare, MI 48617                  2810144945
646        Chemical Bank         Po Box 696 Standish, MI 48658                 2550397117
           and Trust Co.
647        Lake City Bank        502 South Hungtington St Syracuse, IN 46567   1011415615
648        Old National Bank     1208 W Chicago Blvd Tecumseh, MI 49286        1100050113
649        Tri-County Bank       6730 Newark Rd Imlay City, MI 48444           497281
650        Wells Fargo Bank      On file with ShopKo Stores Operating Co.,     4943567222
                                 LLC
651        West Shore Bank       Po Box 151 Hart, MI 49420                     20019556
652        CP Federal Credit     400 Main St Brooklyn, MI 49230                8158543
           Union
653        Chemical Bank         1016 E Cedar Ave Gladwin, MI 48624            2550396820
656        Northwestern Bank     Po Box 120 Kalkaska, MI 49646                 610265042
658        US Bank               200 N. 6th St Beatrice, NE 68310              153910810388
659        US Bank               1301 J St Auburn, NE 68305                    153910863817
661        Wells Fargo Bank      142 S Main St West Point, NE 68788            4126124080
662        Sac Federal Credit    Po Box 1149 Bellevue, NE 68005                2300291954613
           Union
664        US Bank               701 Summer Ave Humboldt, IA 50548             153910841037
665        First National        211 First Ave N.W. Hampton, IA 50441          2641291
           Bank of Hampton

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667        Northwestern Bank 934 3rd Ave Sheldon, IA 51201               147737
668        Bank Iowa         606 W. Milwaukee St New Hampton, IA         3000212937
                             50659
669        Fidelity Bank     201 S Frederick Ave Oelwein, IA 50692       88003124
670        State National    122 Main St Wayne, NE 68787                 584142
           Bank & Trust
671        Waukon State      22 West Main St Waukon, IA 52172            214051
           Bank
672        Great Western     702 E Douglas O'Neill, NE 68763             11224110
           Bank
673        First National    PO Box 45 Ainsworth, NE 69210               766139
           Bank (Ainsworth)
674        Wells Fargo Bank 119 Central Ave West Clarion, IA 50525       4945721694
675        Farmers &         101 West Jefferson Winterset, IA 50273      025283
           Merchants State
           Bank
676        Great Western     201 N. Main Chariton, IA 50049              11224161
           Bank
677        US Bank           1030 10th St Onawa, IA 51040                153910841045
679        State Bank of     Po Box 309 Toledo, IA 52342                 201278
           Toledo
680        Wells Fargo Bank 1224 1st Ave Perry, IA 50220                 4945721686
681        First State Bank  200 Moorehead Ave Ida Grove, IA 51445       151696
           (Ida Grove)
682        Shelby County     508 Court St Harlan, IA 51537               0959502
           State Bank
683        Audubon State     Po Box 149 Audubon, IA 50025                262178
           Bank
684        Bank of the West  105 N. Washington St Bloomfield, IA         028303172
685        Great Western     11 North First Ave Marshalltown, IA 50158   11224209
           Bank
686        Great Western     201 S Locust St Glenwood, IA 51534          11224217
           Bank
687        First National    101 NE Hayes Greenfield, IA 50849           90029414
           Bank (Greenfield
           IA)
688        Great Western     205 E Erie St Missouri Valley, IA 51555     11224065
           Bank
689        Great Western     100 E. South St Mount Ayr, IA 50854         11224081
           Bank
690        Great Western     321 Burlington St Holdrege, NE 68949        11224153
           Bank
691        Pinnacle Bank     Po Box 179 Ogallala, NE 69153               2900452056
692        Central National  Po Box 268 Superior, NE 68978               251500740
           Bank


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693        Union State Bank     PO Box 518 Clay Center, KS 67432           1019791
694        Wells Fargo Bank     1204 W 3rd Alliance, NE 69301              4945721702
695        Nebraska State       Po Box 688 Broken Bow, NE 68822            387185
           Bank
696        The First State      PO Box 560 Norton, KS 67654                103 071 7
           Bank (Norton)
697        United Bank &        PO Box 208 Seneca, KS 66538                1430259860
           Trust
698        1st State Bank       914 Lake Ave Gothenburg, NE 69138          332168
           (Gothenburg)
699        First National       501 Main St Scott City, KS 67871           1142550
           Bank (Scott City)
700        Points West          201 S Chestnut St Kimball, NE 69145        30311724
           community Bank
701        First Bank of Lyon   PO Box 60 Lyons, KS 67554                  083550
702        American State       320 Broadway Larned, KS 67550              28002
           Bank and Trust Co.
703        Central National     Po Box 185 Burlington, KS 66839            355001179
           Bank
704        Great Western        114 W 15th St Falls City, NE 68355         11224073
           Bank
705        US Bank              1801 E 9th St Trenton, MO 64683            153910806048
706        US Bank              1407 Walnut St Doniphan, MO 63935          153910806030
707        Great Western        224 West Wood St Albany, MO 64402          11224196
           Bank
708        Carroll County       2 South Folger Carrollton, MO 64633        355-436-9
           Trust
709        Mid-Missouri         118 Hwy 54 West El Dorado Springs, MO      261132156
           Bank                 64744
710        Bethany Trust Co.    3606 Miller Bethany, MO 64424              1025001
711        Exchange Bank of     304 E Grand Ave Memphis, MO 63555          0704080287
           NE MO
716        First National       301 East Main Allendale, IL 62410          1192210
           Bank of Allendale
717        Consumer National    614 E Lincoln Way Minerva, OH 44657        102037664
           Bank
719        The Citizens         Po Box 230 Woodsfield, OH 43793            10-18560
           National Bank
720        FNC Bank             1060 State Rd 229 N Batesville, IN 47006   10168162
729        First Federal        Po Box 307 Brandenburg, KY 40108           702720020
           Savings Bank
732        Security Bank &      735 11th St E Glencoe, MN 55336            00-1984-4
           Trust Co.
733        US Bank              501 W Lincoln Ave Fergus Falls, MN 56537   153910832721
734        United Valley        Po Box 170 Cavalier, ND 58220              6841021140

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           Bank
735        Security State        402 Minnesota Ave N Aitkin, MN 56431        1023781
           Bank
736        US Bank               220 4th St NE Valley City, ND 58072         153910839643
737        US Bank               1038 Hill Ave Grafton, ND 58237             153910839619
738        United Community      301 West Main St Perham, MN 56573           320397
           Bank
739        Glenwood State        5 E Minnesota Ave Glenwood, MN 56334        1011428
           Bank
740        United Farmers &      4 Atlantic Ave Morris, MN 56267             815829
           Merchants
741        Merchants Bank        210 South Main Ave Rugby, ND 58368          309227
742        US Bank               314 14th St NE East Grand Forks, MN 56721   153910832713
743        US Bank               113 1st Ave NW Beulah, ND 58523             153910839627
744        Citizens State        Po Box 160 Roseau, MN 56751                 026708
           Bank
745        Wells Fargo Bank      425 S. Main St Winner, SD 57580             4946324985
746        Great Western         301 N. Egan Ave Madison, SD 57042           11224145
           Bank
747        First Farmers &       PO Box 989 Luverne, MN 56156                4581026744
           Merchants Bank
748        First Bank & Trust    101 NW Second St Pipestone, MN 56164        4100113320
749        Pioneer Bank          123 Armstrong Blvd. S St James, MN 56081    2105411
750        United Prairie        1545 1st Ave Windom, MN 56101               20300005143
           Bank
751        Wells Fargo Bank      501 Veterans Ave Sisseton, SD 57262         4946324993
752        US Bank               2034 W B St Torrington, WY 82240            153910839635
753        Wells Fargo Bank      101 S Chicago St Hot Springs, SD 57747      4945684348
755        Wells Fargo Bank      874 Gilchrist St Wheatland, WY 82201        4945684363
756        US Bank               505 Main St Lander, WY 82520                153910841052
757        Wells Fargo Bank      600 State St Belle Fourche, SD 57717        4945684355
758        Points West           1632 E Richards Douglas, WY 82633           90909706
           Community Bank
759        Wells Fargo Bank      1040 Main St Sturgis, SD 57785              4945721710
760        US Bank               285 Uinta Dr Green River, WY 82935          153910841060
761        First State Bank of   24 N Sumner Newcastle, WY 82701             166-113
           Newcastle
762        Central Bank &        435 Arapahoe St. Thermopolis, WY 82443      126287
           Trust
763        Black Hills Federal   PO Box 1420 Rapid City, SD 57709            141899002
           Credit Union
764        First National        141 S Main St Buffalo, WY 82834             11501952
           Bank of Buffalo
765        Wells Fargo Bank      111 W Owen Ave Lyman, WY 82937              4945721728
766        US Bank               301 Main St Shelby, MT 59474                153910832705

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767            US Bank               100 S 15th St Worland, WY 82401              153910839601
768            Wells Fargo Bank      623 2nd Ave S Glasgow, MT 59230              4946324969
769            Wells Fargo Bank      101 2nd Ave SW Sidney, MT 59270              4946324977
771            Stockman Bank         Po Box 384 Plentywood, MT 59254              3110003139
772            Wells Fargo Bank      102 E 2nd St Powell, WY 82435                4945684371
773            Wells Fargo Bank      404 W Broadway St Lewistown, MT 59457        4945684322
774            Wells Fargo Bank      323 W Park St Livingston, MT 59047           4945684330
775            First Montana         504 Mineral Ave Libby, MT 59923              102266458
               Bank
776            Bank of Greybull      601 Greybull Ave Greybull, WY 82426          0610001859
786            Houghton State        116 E Coolbaugh Red Oak, IA 51566            292494
               Bank
788            Associated Bank       200 N. Adams Green Bay, WI 54307             2223044807
789            Associated Bank       200 N. Adams Green Bay, WI 54307             2223044807
790            Associated Bank       200 N. Adams Green Bay, WI 54307             2223044807
791            Titonka Savings       101 Highway 69 N. Forest City, IA 50436      200102504
               Bank
792            Associated Bank       200 N. Adams Green Bay, WI 54307             2223044807
793            Associated Bank       200 N. Adams Green Bay, WI 54307             2223044807
794            US Bank               On file with ShopKo Stores Operating Co.,    153910932885
                                     LLC
795            US Bank               On file with ShopKo Stores Operating Co.,    153911084397
                                     LLC
796            Associated Bank       2665 Commerce Dr NW Rochester MN             2223044807
797            US Bank               428 W Riverside Ave Spokane, WA              153911259791
                                     99201(Spokane WA Vault)
798            Wells Fargo Bank      10 N 200 E Roosevelt, UT 84066               4128648789
799            Wells Fargo Bank      140 W Main St Tremonton, UT 84337            4128648789




         (b)    Part 2 - Investment and Other Accounts

                         Name and Address
      Name of                of Broker                                             Types of
      Company            or Other Institution     Account No.       Purpose      Investments

 None.




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                                SCHEDULE 8.11
                                     to
                           INFORMATION CERTIFICATE

                                 Intellectual Property

Trademark Registrations and Applications

                                       Serial No./       Reg. No./   Current Owner of
Mark                    Jurisdiction   Filing Date       Reg. Date   Record
NORTHCREST              U.S.           88209058          —           ShopKo Stores
                                       11/28/2018                    Operating Co.,
                                                                     LLC
TRIMMERRY               U.S.           87348580          —           ShopKo Stores
                                       2/24/2017                     Operating Co.,
                                                                     LLC
ENVISION STUDIO         U.S.           87348690          5649914     ShopKo Stores
                                       2/24/2017         1/8/2019    Operating Co.,
                                                                     LLC
GREEN SODA              U.S.           88041415          —           ShopKo Stores
                                       7/17/2018                     Operating
                                                                     Company, LLC
SHOPKO REWARDS          U.S.           88000210          —           ShopKo Stores
                                       6/14/2018                     Operating Co.,
                                                                     LLC
SIMPLE. FRIENDLY.       U.S.           87932024          —           ShopKo Stores
LOCAL.                                 5/22/2018                     Operating Co.,
                                                                     LLC
A&I                     U.S.           87831901          —           ShopKo Stores
                                       3/13/2018                     Operating Co.,
                                                                     LLC
HOMETOWN VALUE          U.S.           87825664          —           ShopKo Stores
                                       3/8/2018                      Operating Co.,
                                                                     LLC
STUDIO BY ENERGY        U.S.           87693201          —           ShopKo Stores
ZONE                                   11/21/2017                    Operating Co.,
                                                                     LLC
SHOPKO MARKET           U.S.           87418247          —           ShopKo Stores
                                       4/20/2017                     Operating Co.,
                                                                     LLC




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Mark                   Jurisdiction   Filing Date   Reg. Date    Record
A&I and Design         U.S.           87386469      —            ShopKo Stores
                                      3/27/2017                  Operating Co.,
                                                                 LLC




HOMETOWN VALUE         U.S.           87373248      —            ShopKo Stores
                                      3/16/2017                  Operating Co.,
                                                                 LLC
PEANUT & OLLIE         U.S.           87348565      —            ShopKo Stores
                                      2/24/2017                  Operating Co.,
                                                                 LLC
CELEBRATE THE          U.S.           87348590      —            ShopKo Stores
SEASON                                2/24/2017                  Operating Co.,
                                                                 LLC
HOMETOWN VALUE         U.S.           87348679      —            ShopKo Stores
and Design                            2/24/2017                  Operating Co.,
                                                                 LLC



CLUB GRAND             U.S.           87348770      —            ShopKo Stores
                                      2/24/2017                  Operating Co.,
                                                                 LLC
SHOPKO                 U.S.           87340313      —            ShopKo Stores
                                      2/17/2017                  Operating Co.,
                                                                 LLC
SHOPKO GOOD            U.S.           87139991      —            ShopKo Stores
CHOICES                               8/16/2016                  Operating Co.,
                                                                 LLC
7TH SENSE              U.S.           87547377      5571806      ShopKo Stores
                                      7/28/2017     9/25/2018    Operating Co.,
                                                                 LLC
WILDPACK               U.S.           87547554      5596802      ShopKo Stores
                                      7/28/2017     10/30/2018   Operating Co.,
                                                                 LLC




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Mark                   Jurisdiction   Filing Date   Reg. Date    Record
A&I and Design         U.S.           87979065      5634675      ShopKo Stores
                                      3/27/2017     12/18/2018   Operating Co.,
                                                                 LLC




A&I                    U.S.           87978610      5597650      ShopKo Stores
                                      3/27/2017     10/30/2018   Operating Co.,
                                                                 LLC
A&I                    U.S.           87377825      5633553      ShopKo Stores
                                      3/20/2017     12/18/2018   Operating Co.,
                                                                 LLC
A&I                    U.S.           87978426      5582431      ShopKo Stores
                                      3/20/2017     10/9/2018    Operating Co.,
                                                                 LLC
HOMETOWN VALUE         U.S.           87977912      5526448      ShopKo Stores
                                      3/16/2017     7/24/2018    Operating Co.,
                                                                 LLC
ENVISION STUDIO        U.S.           87978060      5547607      ShopKo Stores
                                      2/24/2017     8/21/2018    Operating Co.,
                                                                 LLC
URBANOLOGY             U.S.           87348559      5623334      ShopKo Stores
                                      2/24/2017     12/4/2018    Operating Co.,
                                                                 LLC
STUDIO BY ENERGY       U.S.           87348539      5392923      ShopKo Stores
ZONE                                  2/24/2017     1/30/2018    Operating Co.,
                                                                 LLC
BAILEY'S PT.           U.S.           87348598      5509393      ShopKo Stores
                                      2/24/2017     7/3/2018     Operating Co.,
                                                                 LLC
NORTHCREST and         U.S.           87348709      5644150      ShopKo Stores
Design                                2/24/2017     1/1/2019     Operating Co.,
                                                                 LLC




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                                      Serial No./   Reg. No./    Current Owner of
Mark                   Jurisdiction   Filing Date   Reg. Date    Record
EZ ENERGY ZONE in      U.S.           87348718      5318819      ShopKo Stores
Stylized Letters                      2/24/2017     10/24/2017   Operating Co.,
                                                                 LLC




NORTHCREST             U.S.           87348729      5644151      ShopKo Stores
                                      2/24/2017     1/1/2019     Operating Co.,
                                                                 LLC
ENERGY ZONE            U.S.           87348751      5607747      ShopKo Stores
                                      2/24/2017     11/13/2018   Operating Co.,
                                                                 LLC
HOTEL BY CLUB          U.S.           87348783      5591068      ShopKo Stores
GRAND                                 2/24/2017     10/23/2018   Operating Co.,
                                                                 LLC
NORTHCREST and         U.S.           87977826      5526424      ShopKo Stores
Design                                2/24/2017     7/24/2018    Operating Co.,
                                                                 LLC

TRIMMERY               U.S.           87977719      5537405      ShopKo Stores
                                      2/24/2017     8/7/2018     Operating Co.,
                                                                 LLC
URBANOLOGY             U.S.           87977529      5510074      ShopKo Stores
                                      2/24/2017     7/3/2018     Operating Co.,
                                                                 LLC
CLUB GRAND             U.S.           87977185      5460860      ShopKo Stores
                                      2/24/2017     5/1/2018     Operating Co.,
                                                                 LLC
CELEBRATE THE          U.S.           87977956      5547595      ShopKo Stores
SEASON                                2/24/2017     8/21/2018    Operating Co.,
                                                                 LLC
HOTEL BY GRAND         U.S.           87977184      5460859      ShopKo Stores
CLUB                                  2/24/2017     5/1/2018     Operating Co.,
                                                                 LLC
NORTHCREST             U.S.           87977751      5515649      ShopKo Stores
                                      2/24/2017     7/10/2018    Operating Co.,
                                                                 LLC

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                                      Serial No./   Reg. No./    Current Owner of
Mark                   Jurisdiction   Filing Date   Reg. Date    Record
HOMETOWN VALUE         U.S.           87978457      5588210      ShopKo Stores
and Design                            2/24/2017     10/16/2018   Operating Co.,
                                                                 LLC



ENERGY ZONE            U.S.           87977528      5499650      ShopKo Stores
                                      2/24/2017     6/19/2018    Operating Co.,
                                                                 LLC
CLUB GRAND             U.S.           87978562      5608753      ShopKo Stores
                                      2/24/2017     11/13/2018   Operating Co.,
                                                                 LLC
PEANUT & OLLIE         U.S.           87976665      5439892      ShopKo Stores
                                      2/24/2017     4/3/2018     Operating Co.,
                                                                 LLC
SHOPKO                 U.S.           87977467      5504975      ShopKo Stores
                                      2/17/2017     6/26/2018    Operating Co.,
                                                                 LLC
SHOPKO PANTRY          U.S.           87314838      5325735      ShopKo Stores
                                      1/26/2017     10/31/2017   Operating Co.,
                                                                 LLC
SHOPKO BUCKS           U.S.           87271768      5419383      ShopKo Stores
                                      12/16/2016    3/6/2018     Operating Co.,
                                                                 LLC
SHOPKO                 U.S.           87269564      5245182      ShopKo Stores
                                      12/15/2016    7/18/2017    Operating Co.,
                                                                 LLC
HOMETOWN VALUE         U.S.           87211170      5366058      ShopKo Stores
                                      10/21/2016    12/26/2017   Operating Co.,
                                                                 LLC




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                                      Serial No./   Reg. No./    Current Owner of
Mark                   Jurisdiction   Filing Date   Reg. Date    Record
STUDIO BY ENERGY       U.S.           87041267      5370898      ShopKo Stores
ZONE and Design                       5/18/2016     1/2/2018     Operating Co.,
                                                                 LLC




CELEBRATE THE          U.S.           86748505      5069882      ShopKo Stores
SEASON                                9/4/2015      10/25/2016   Operating Co.,
                                                                 LLC
OUR CUSTOMERS          U.S.           86728315      5120463      ShopKo Stores
COUNT                                 8/18/2015     1/10/2017    Operating Co.,
                                                                 LLC
REWARDS COUNT          U.S.           86727347      5023991      ShopKo Stores
                                      8/17/2015     8/16/2016    Operating Co.,
                                                                 LLC
SHOPKO CASH            U.S.           86727368      5023992      ShopKo Stores
                                      8/17/2015     8/16/2016    Operating Co.,
                                                                 LLC
SHOPKO THE STUFF       U.S.           86658424      5142506      ShopKo Stores
THAT COUNTS EST.                      6/10/2015     2/14/2017    Operating Co.,
1962 and Design                                                  LLC




THE STUFF THAT         U.S.           86656724      5004744      ShopKo Stores
COUNTS                                6/9/2015      7/19/2016    Operating Co.,
                                                                 LLC



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                                      Serial No./   Reg. No./    Current Owner of
Mark                   Jurisdiction   Filing Date   Reg. Date    Record
SHOPKO THE STUFF       U.S.           86656776      5105881      ShopKo Stores
THAT COUNTS EST.                      6/9/2015      12/20/2016   Operating Co.,
1962 and Design                                                  LLC




ASHER & IVY            U.S.           86456049      4768588      ShopKo Stores
                                      11/17/2014    7/7/2015     Operating Co.,
                                                                 LLC
HOMETOWN PANTRY U.S.                  86317383      4765853      ShopKo Stores
                                      6/23/2014     6/30/2015    Operating Co.,
                                                                 LLC
WILLOW BAY             U.S.           86306719      4671428      ShopKo Stores
                                      6/11/2014     1/13/2015    Operating Co.,
                                                                 LLC
TREND.SPIRE            U.S.           86976680      4787531      ShopKo Stores
                                      6/9/2014      8/4/2015     Operating Co.,
                                                                 LLC
SHOPKO CASH GRAB       U.S.           86304276      4809729      ShopKo Stores
                                      6/9/2014      9/8/2015     Operating Co.,
                                                                 LLC
HOMETOWN VALUE         U.S.           85902271      4569383      ShopKo Stores
                                      4/12/2013     7/15/2014    Operating Co.,
                                                                 LLC
HOMETOWN VALUE         U.S.           85979954      4412346      ShopKo Stores
                                      5/17/2012     10/1/2013    Operating Co.,
                                                                 LLC
HOMETOWN VALUE         U.S.           85628076      4704111      ShopKo Stores
                                      5/17/2012     3/17/2015    Operating Co.,
                                                                 LLC
TOSS & TURN            U.S.           85627094      4314751      ShopKo Stores
                                      5/16/2012     4/2/2013     Operating Co.,
                                                                 LLC
SHOPKO HOMETOWN U.S.                  85148148      3988889      ShopKo Stores
                                      10/8/2010     7/5/2011     Operating Co.,
                                                                 LLC


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                                      Serial No./   Reg. No./    Current Owner of
Mark                   Jurisdiction   Filing Date   Reg. Date    Record
TRIMMERY               U.S.           85013609      3967671      ShopKo Stores
                                      4/14/2010     5/24/2011    Operating Co.,
                                                                 LLC
GOURMETLIVING          U.S.           85975728      4057731      ShopKo Stores
                                      4/14/2010     11/15/2011   Operating Co.,
                                                                 LLC
GOURMETLIVING          U.S.           85013919      4238110      ShopKo Stores
                                      4/14/2010     11/6/2012    Operating Co.,
                                                                 LLC
BAILEY'S PT.           U.S.           77898045      3921778      ShopKo Stores
                                      12/21/2009    2/22/2011    Operating Co.,
                                                                 LLC
SOFT SENSATIONS        U.S.           77828990      3784156      ShopKo Stores
                                      9/17/2009     5/4/2010     Operating Co.,
                                                                 LLC
ENVISION STUDIO        U.S.           77759466      3838981      ShopKo Stores
                                      6/15/2009     8/24/2010    Operating Co.,
                                                                 LLC
PEANUT & OLLIE         U.S.           77742538      3832839      ShopKo Stores
                                      5/21/2009     8/10/2010    Operating Co.,
                                                                 LLC
SHOPKO                 U.S.           77639130      3650890      ShopKo Stores
                                      12/23/2008    7/7/2009     Operating Co.,
                                                                 LLC
EZ ENERGY ZONE and U.S.               77639142      3650891      ShopKo Stores
                                      12/23/2008    7/7/2009     Operating Co.,
                                                                 LLC




Design
PEANUT & OLLIE and     U.S.           77426129      3644548      ShopKo Stores
                                      3/19/2008     6/23/2009    Operating Co.,
Design                                                           LLC




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                                                     Serial No./        Reg. No./         Current Owner of
    Mark                           Jurisdiction      Filing Date        Reg. Date         Record
    PEANUT & OLLIE                 U.S.              77426134           3644550           ShopKo Stores
                                                     3/19/2008          6/23/2009         Operating Co.,
                                                                                          LLC
    MY SHOPKO                      U.S.              77151599           3477556           ShopKo Stores
    REWARDS1                                         4/9/2007           7/29/2008         Operating Co.,
                                                                                          LLC
    SHOPKO                         U.S.              77261833           3547779           ShopKo Stores
                                                     8/22/2007          12/16/2008        Operating Co.,
                                                                                          LLC
    SHOPKO in Stylized             U.S.              77153193           3502417           ShopKo Stores
                                                     4/10/2007          9/16/2008         Operating Co.,
                                                                                          LLC

    Letters
    GREEN SODA                     U.S.              76604075           3109799           ShopKo Stores
                                                     7/26/2004          6/27/2006         Operating Co.,
                                                                                          LLC
    NORTHCREST HOME                U.S.              76599207           3043724           ShopKo Stores
    in Stylized Letters                              6/21/2004          1/17/2006         Operating Co.,
                                                                                          LLC

    EERIE ALLEY                    U.S.              76571820           3008257           ShopKo Stores
                                                     1/26/2004          10/25/2005        Operating Co.,
                                                                                          LLC
    STUDIO A                       U.S.              76533115           3004765           ShopKo Stores
                                                     7/28/2003          10/4/2005         Operating Co.,
                                                                                          LLC
    SHOPKO EXPRESS RX U.S.                           76529304           2972029           ShopKo Stores
                                                     7/14/2003          7/19/2005         Operating Co.,
                                                                                          LLC
    URBANOLOGY                     U.S.              76976052           2841380           ShopKo Stores
                                                     6/5/2002           5/11/2004         Operating Co.,
                                                                                          LLC
    WONDERLIGHT PLUS               U.S.              76078671           2538654           ShopKo Stores
                                                     6/22/2000          2/12/2002         Operating Co.,
                                                                                          LLC



1
    Has been abandoned and may not be valid or enforceable. Registration will be abandoned on 1/29/2019.

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Mark                   Jurisdiction   Filing Date   Reg. Date    Record
WONDERLIGHT PLUS       U.S.           76078673      2611538      ShopKo Stores
                                      6/22/2000     8/27/2002    Operating Co.,
                                                                 LLC
NORTHCREST             U.S.           75366035      2274947      ShopKo Stores
                                      9/30/1997     8/31/1999    Operating Co.,
                                                                 LLC
NORTHCREST             U.S.           75978474      2339297      ShopKo Stores
                                      7/24/1997     4/4/2000     Operating Co.,
                                                                 LLC
ENERGY ZONE            U.S.           75976839      2159748      ShopKo Stores
                                      5/2/1996      5/19/1998    Operating Co.,
                                                                 LLC
SOFT SENSATIONS        U.S.           74600116      2016241      ShopKo Stores
                                      11/17/1994    11/12/1996   Operating Co.,
                                                                 LLC
HOMETOWN VALUE         U.S.           74473449      2012231      ShopKo Stores
                                      12/27/1993    10/29/1996   Operating Co.,
                                                                 LLC
SHOPKO                 U.S.           74441207      1847974      ShopKo Stores
                                      9/28/1993     8/2/1994     Operating Co.,
                                                                 LLC
NORTHCREST             U.S.           74250183      1820673      ShopKo Stores
                                      2/27/1992     2/8/1994     Operating Co.,
                                                                 LLC
WILLOW BAY             U.S.           74250192      1841376      ShopKo Stores
                                      2/27/1992     6/21/1994    Operating Co.,
                                                                 LLC
SHOPKO                 U.S.           73581403      1408068      ShopKo Stores
                                      2/5/1986      9/2/1986     Operating Co.,
                                                                 LLC
PAMIDA                 U.S.           73152084      1124616      Pamida Stores
                                      12/14/1977    9/4/1979     Operating Co.,
                                                                 LLC




                                 Schedule 8.11-10
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                                     SCHEDULE 8.12
                                          to
                                INFORMATION CERTIFICATE

                               Subsidiaries; Affiliates; Investments

       (a)    Subsidiaries (More than 50% owned by Company indicated)

                                                                  Jurisdiction of   Percentage
 Company                     Subsidiary                           Incorporation       Owned
 Specialty Retail Shops      ShopKo Finance, LLC                  Delaware          100%
 Holding Corp.

 Specialty Retail Shops      ShopKo Holding Company, LLC          Wisconsin         100%
 Holding Corp.

 ShopKo Holding              ShopKo Stores Operating Co.,         Delaware          100%
 Company, LLC                LLC

 ShopKo Holding              Retained R/E SPE, LLC                Delaware          100%
 Company, LLC

 ShopKo Stores               ShopKo Properties, LLC               Minnesota         100%
 Operating Co., LLC

 ShopKo Stores               Pamida Stores Operating Co.,         Delaware          100%
 Operating Co., LLC          LLC

 ShopKo Stores               Penn-Daniels, LLC                    Delaware          100%
 Operating Co., LLC

 ShopKo Stores               SVS Trucking, LLC                    Minnesota         100%
 Operating Co., LLC

 ShopKo Stores               ShopKo Gift Card Co., LLC            Minnesota         100%
 Operating Co., LLC

 ShopKo Stores               ShopKo Optical Manufacturing,        Wisconsin         100%
 Operating Co., LLC          LLC

 ShopKo Stores               Shopko Institutional Care            Delaware          100%
 Operating Co., LLC          Services Co., LLC

 Pamida Stores               Place’s Associates’ Expansion,       Missouri          100%
 Operating Co., LLC          LLC


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 Pamida Stores                   Pamida Transportation, LLC                  Nebraska            100%
 Operating Co., LLC

       (b)       Affiliates (Less than 50% Owned by Company)

                                                        Jurisdiction of                     Percentage
 Company                        Affiliate               Incorporation                        Owned
 None



       (c)       Affiliates (Subject to common ownership with Company)

                                                      Jurisdiction of                               Percentage
Company                            Affiliate          Incorporation                Parent            Owned
None




       (d)       Shareholders (If widely held, only holders with more than 10%)

                                                                 Jurisdiction of             Percentage
Company                       Shareholders                       Incorporation*               Owned
Specialty Retail Shops        SKO Group Holding,                 Delaware                    100%
Holding Corp.                 LLC

ShopKo Finance, LLC           Specialty Retail Shops             Delaware                    100%
                              Holding Corp.

ShopKo Holding                Specialty Retail Shops             Delaware                    100%
Company, LLC                  Holding Corp.

ShopKo Stores                 ShopKo Holding                     Wisconsin                   100%
Operating Co., LLC            Company, LLC

Retained R/E SPE,             ShopKo Holding                     Delaware                    100%
LLC                           Company, LLC

Pamida Stores                 ShopKo Stores                      Delaware                    100%
Operating Co., LLC            Operating Co., LLC

ShopKo Properties,            ShopKo Stores                      Delaware                    100%
LLC                           Operating Co., LLC


             *
              If shareholders are individuals, indicate “N/A”.

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Penn-Daniels, LLC         ShopKo Stores          Delaware           100%
                          Operating Co., LLC

SVS Trucking, LLC         ShopKo Stores          Delaware           100%
                          Operating Co., LLC

ShopKo Gift Card Co.,     ShopKo Stores          Delaware           100%
LLC                       Operating Co., LLC

ShopKo Optical            ShopKo Stores          Delaware           100%
Manufacturing, LLC        Operating Co., LLC

ShopKo Institutional      ShopKo Stores          Delaware           100%
Care Services Co.,        Operating Co., LLC
LLC

Pamida Stores             ShopKo Stores          Delaware           100%
Operating Co., LLC        Operating Co., LLC

Place’s Associates’       Pamida Stores          Delaware           100%
Expansion, LLC            Operating Co., LLC

Pamida Transportation,    Pamida Stores          Delaware           100%
LLC                       Operating Co., LLC




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                                      SCHEDULE 8.13
                                           to
                                 INFORMATION CERTIFICATE

                                         Labor Matters


None.




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                                             SCHEDULE 9.9
                                                  to
                                       INFORMATION CERTIFICATE

                                             Existing Indebtedness*



         A. Capital Leases and Other Obligations in the aggregate amount of $6,315,842.46.

                        Name/Address          Principal Balance
 Company                    of Payee          as of 1/15/2019          Nature of Debt          Term
 Enterprise FM          P.O. Box 800089       $846,859.87              Car Leases              Various through
 Trust                  Kansas City, MO                                Capital Lease           12/31/20
                        64180-0089
 HIGI                   150 North Wacker      $372,434.88              Blood Pressure          12/31/2019
                        Drive                                          Monitoring
                        Suite 1120                                     Machines
                        Chicago, IL 60606
 CISCO Capital          170 West Tasman       $80,335.71               Computer                Various though
                        Drive                                          Equipment               9/30/2019
                        San Jose, CA
                        95134
 Neopost USA            478 Whellers          $185,858.00              Postage machines in     3/1/2022
                        Farms Road                                     stores
 Xerox                  PO Box 660501         $4,830,354.00            Copy machines at        7/1/2023
                        Dallas, TX 75266-                              the Store Support
                        0501                                           Center



         B. Other debt obligations:

                          Name/Address          Principal Balance
      Company                 of Payee           as of 1/15/2019         Nature of Debt             Term
 ShopKo Operating       US Bank               $5,679,769.66            Senior Unsecured        03/15/2022
 Co., LLC               Corporate Trust                                Bond
                        Services
                        Attn: Darlene
                        Garsteig
                        EP-MN-WS3C

         *
        Do not indicate debt of existing lender to be repaid with proceeds of initial disbursements of loans
under Wachovia facility, if any. The nature of debt might be: “purchase money”, “term”, “capital lease”,
“revolving”, etc.


                                                 Schedule 9.9-1
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                            60 Livingston Ave
                            St Paul, MN
                            55107-2292

    IBM Global              North Castle Drive        $6,937,639.67               Leasing of IT        9/30/2021
    Financing               Armonk, NY                                            Equipment &
                            10504                                                 Software
    City of Estherville     2 North 7th Street        60,000.00                   Refundable           1/14/19
                            PO Box 417                                            Development
                            Estherville, IA                                       Agreement
                            51334




          C.      Intercompany Debt

         Company              Name/Address of          Principal balance as          Nature of Debt         Term
                                  Payee                     of 1/15/19

    Pamida Stores           ShopKo Finance,              $52,116,646.97           Subordinated            5/8/20173
    Operating Co.,          LLC                                                   Secured Promissory
    LLC2                                                                          Note




2
       Subordinate and subject to the Pamida Operating Subordination Agreement.
3
       Intended by Company to be outstanding. Company is going through process of extending.

                                                         Schedule 9.9-2
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                                           SCHEDULE 9.10
                                                to
                                      INFORMATION CERTIFICATE

                                        Loans/Advances/Guarantees

A. Loans and Advances

                   Name/Address          Outstanding Principal
    Company          of Debtor          Amount as of 1/15/2019      Secured/Unsecured          Due Date

 ShopKo Stores     Pharmacy Intern      $92,386.00                Unsecured                Variable
 Operating Co.,    Notes Receivable
 LLC


B. Guarantees

      In connection with the acquisition of P.M. Place Stores Company in 2000, ShopKo Stores Operating
      Co., LLC assumed the following guaranty obligations previously made by P.M. Place Stores Company
      or its former principal shareholder:

          (i)     Corporate Guaranty of Small Business Administration loan in 1999 to the Grundy Center
                  Development Corporation (Place’s landlord for Grundy Center, IA store), in the original
                  amount of $207,000.




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                                                    EXHIBIT D
                                                        to
                                     RATIFICATION AND AMENDMENT AGREEMENT

                                                              Schedule 1

                                                          Commitments


                               Revolving Loan A   Revolving Loan A-1       Term Loan B      Term Loan B-1          Total
Wells Fargo Bank, National
Association                     $83,882,583.17      $9,305,479.45          $23,005,250.00         -          $116,193,312.62
PNC Bank, National
Association                     $41,643,835.62      $3,123,287.67          $7,104,562.50          -          $51,871,685.79
CIT Bank, N.A.                  $13,142,857.14      $4,000,000.00          $2,029,875.00          -          $19,172,732.14
Bank of America, N.A.           $72,571,428.57      $6,000,000.00                -                -          $78,571,428.57
Citizens Business Capital, a
division of Citizens Asset
Finance, Inc.                   $35,616,438.35      $2,671,232.88                -                -          $38,287,671.23
Bank of Montreal                $67,428,571.43      $4,900,000.00                -                -          $72,328,571.43
TD Bank, N.A.                   $28,571,428.57            -                      -                -          $28,571,428.57
JPMorgan Chase Bank, N.A.       $37,142,857.14            -                      -                -          $37,142,857.14
US Bank National Association    $20,000,000.00            -                      -                -          $20,000,000.00
Gordon Brothers Finance
Company, LLC                          -                   -                $16,915,625.00         -          $16,915,625.00
Shopko Note Holding, LLC              -                   -                      -          $34,416,375.00   $34,416,375.00

            TOTAL              $400,000,000.00      $30,000,000.00         $49,055,312.50   $34,416,375.00   $513,471,687.50




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                              EXHIBIT E
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT


                                  Schedule 1.79

                            Existing Letters of Credit

                                  (see attached)




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Product Sub Type Name   Instrument Ref #       Liability Amount           Issue Date   Current Expiry Date        Customer Name        Beneficiary Name


                                                                                                                  PAMIDA STORES        GENERAL ELECTRIC CREDIT
Financial               SC0102813U             216,700.00                 26-Apr-11    14-Oct-19
                                                                                                                  OPERATING CO., LLC   CORPORATION
                                                                                                                  PAMIDA STORES        UNITED STATES FIDELITY &
Financial               SM227521               133,960.00                 28-Aug-07    1-Aug-19
                                                                                                                  OPERATING CO., LLC   GUARANTY
                                                                                                                  SHOPKO STORES        ACE AMERICAN INSURANCE
Financial               SC101817U              6,946,469.00               26-Feb-08    1-Dec-19
                                                                                                                  OPERATING CO         COMPANY
                                                                                                                  SHOPKO STORES        LIBERTY MUTUAL INSURANCE
Financial               SC100799U              174,217.00                 26-Jan-06    28-Dec-19
                                                                                                                  OPERATING CO         COMPANY
                                                                                                                  SHOPKO STORES
Financial               SC102120U              750,000.00                 9-Dec-08     1-May-19                                        NINTENDO OF AMERICA INC
                                                                                                                  OPERATING CO
                                                                                                                  SHOPKO STORES        SENTRY INSURANCE A
Financial               SC100798U              300,000.00                 24-Jan-06    30-Jan-20
                                                                                                                  OPERATING CO         MUTUAL COMPANY
                                                                                                                  SHOPKO STORES
Financial               SC100942U              2,248,781.90               17-May-06    1-Mar-19                                        SUPERVALU, INC.
                                                                                                                  OPERATING CO
                                                                                                                  SHOPKO STORES        THE CIT GROUP/COMMERCIAL
Financial               SC7004857W             6,000,000.00               18-Aug-17    15-May-19
                                                                                                                  OPERATING CO         SERVICES, INC
                                                                                                                  SHOPKO STORES
Financial               SC7005474W             50,000.00                  16-Aug-18    31-Aug-19                                       ADTN INTERNATIONAL LTD.
                                                                                                                  OPERATING CO
                                                                                                                  SHOPKO STORES
Financial               IS000064693U           2,100,000.00               6-Dec-18     1-Dec-19                                        BANK OF AMERICA, N.A.
                                                                                                                  OPERATING CO
                                                                                                                  SHOPKO STORES
Financial               SC7005433W             500,000.00                 11-Jul-18    31-Jul-19                                       CERTCO, INC.
                                                                                                                  OPERATING CO
                                                                                                                  SHOPKO STORES
Financial               IS000066508U           127,200.00                 14-Dec-18    31-Dec-19                                       RPT REALTY, L.P.
                                                                                                                  OPERATING CO
                                                                                                                  SHOPKO STORES        VF JEANSWEAR LIMITED
Financial               IS000040450U           30,078.72                  9-May-18     9-May-19
                                                                                                                  OPERATING CO         PARTNERSHIP
Total Standby                                  19,577,406.62
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L/C Bank Reference   L/C Cust Reference     Site   Trans   Beneficiary                         Country        Opening Date   Expiry Date   Balance

IC0597897HK          18041K14A              HK     IMLC    SENSIO INC                          CA             43420          43467               95,654.42 USD
IC0597898HK          18041K14B              HK     IMLC    SENSIO INC                          CA             43420          43464              266,119.58 USD
IC0597899HK          18041J30A              HK     IMLC    SENSIO INC                          CA             43430          43478               27,864.36 USD
IC0597900HK          18046K23A              HK     IMLC    INTEX DEVELOPMENT COMPANY LIMITED   HK             43431          43502              436,964.32 USD
IC0597901HK          18041K27A              HK     IMLC    SENSIO INC                          CA             43437          43497              156,948.00 USD
IC0597902HK          18041K27B              HK     IMLC    SENSIO INC                          CA             43437          43497              191,781.00 USD
IC0597903HK          18102J16A              HK     IMLC    FISHER-PRICE BRANDS-A DIVISION OF   HK             43437          43490               56,595.00 USD
IC0597904HK          18051K29A              HK     IMLC    SPINMASTER TOYS FAR EAST LTD.       HK             43441          43481               32,645.01 USD
IC0597905HK          18051K29B              HK     IMLC    SPINMASTER TOYS FAR EAST LTD.       HK             43451          43514              115,279.52 USD
IC0597906HK          18014K14C              HK     IMLC    INSIDE OUT INTERNATIONAL LLC        US             43448          43494             1,283,008.54 USD
IC0597907HK          18014L03C              HK     IMLC    INSIDE OUT INTERNATIONAL LLC        US             43448          43499              620,566.82 USD
IC0597908HK          18101L12A              HK     IMLC    HASBRO INTERNATIONAL TRADING B.V.   HK             43451          43485               72,068.35 USD
IC0597909HK          18041L12A              HK     IMLC    SENSIO INC                          CA             43451          43508              113,580.00 USD
IC0597910HK          18013K27A              HK     IMLC    INSIDE OUT INTERNATIONAL LLC        US             43451          43497              406,182.21 USD
IC0597911HK          18014K14A              HK     IMLC    INSIDE OUT INTERNATIONAL LLC        US             43451          43499              142,179.84 USD
IC0597912HK          18014K14B              HK     IMLC    INSIDE OUT INTERNATIONAL LLC        US             43451          43499              262,284.88 USD
IC0597913HK          18013L12A              HK     IMLC    INSIDE OUT INTERNATIONAL LLC        US             43451          43497               14,839.20 USD
IC0597914HK          18041L21A              HK     IMLC    SENSIO INC                          CA             43468          43510               58,002.24 USD
Total Doc                                                                                                                                      4,352,563.29
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                             SCHEDULE 1
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT


                       Pre-Petition Store Closing GOB Sales

                                  (see attached)




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                                                                         Case 19-80064-TLS    Doc 89 Filed 01/18/19 Entered 01/18/19 12:19:13    Desc Main
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Shopko GOB
Pre Petition Closures


Count     Store #       Sqft.           Open Date       Address 1                            Address 2       Address 3 City              State       Zip           Lease Termination   Expected Store Close
   1)         129           99,279           07-Mar-95 4515 SOUTH REGAL STREET                                         SPOKANE           WA                99223       11/30/2034           3/3/2019
   2)         172          109,963            04-Apr-00 3400 NORTH 27TH STREET                                         LINCOLN           NE                68521       1/30/2021            3/3/2019
   3)         205           22,734            05-Oct-16 94 NORTH 400 EAST                                              DELTA             UT                84624       11/30/2031           3/3/2019
   4)         538           21,953            21-Jun-15 710 N LL AND G AVENUE                                          ANTHONY           KS                67003       2/28/2030            3/3/2019
   5)         548           25,614           27-Mar-15 416 U.S. HIGHWAY 59                                             MAHNOMEN          MN                56557       2/28/2023            3/3/2019
   6)         552           25,614           27-Mar-15 1420 NORTH 7TH STREET                                           OAKES             ND                58474       10/31/2022           3/3/2019
   7)         557           25,869           20-Sep-15 1174 N. MAIN STREET                                             NEPHI             UT                84648       9/30/2030            3/3/2019
   8)         558           21,450            21-Jun-15 614 W 3RD STREET                                               REDFIELD          SD                57469       3/31/2020            3/3/2019
   9)         563           25,860            04-Oct-15 406 GATEWAY AVENUE                                             MAUSTON           WI                53948       10/31/2030           3/3/2019
   10)        564           25,860            29-Oct-15 200 RED BULL DIVISION DRIVE                                    WEBSTER CITY      IA                50595       10/31/2030           3/3/2019
   11)        565           25,860            29-Oct-15 1620 N. 2ND STREET                                             CHEROKEE          IA                51012       10/31/2030           3/3/2019
   12)        567           22,317            21-Jun-15 810 DIEKMANN DRIVE                                             PAYNESVILLE       MN                56362       6/30/2025            3/3/2019
   13)        570           22,000            21-Jun-15 905 W SD HIGHWAY 46                                            WAGNER            SD                57380       4/30/2025            3/3/2019
   14)        571           22,000            21-Jun-15 620 E HIGHWAY 12                                               WEBSTER           SD                57274       3/31/2020            3/3/2019
   15)        572           25,614            21-Jun-15 401 US HIGHWAY 24                                              LEADVILLE         CO                80461       3/31/2025            3/3/2019
   16)        573           21,000            21-Jun-15 87 S FOSSIL ST                                                 RUSSELL           KS                67665       3/31/2025            3/3/2019
   17)        575           40,000            21-Jun-15 908 WEST AVENUE D                                              LOVINGTON         NM                88260       3/31/2022            3/3/2019
   18)        578           23,029            04-Oct-15 415 US HIGHWAY 24 N                  PO BOX 5275               BUENA VISTA       CO                81211       7/31/2025            3/3/2019
   19)        581           22,000            04-Oct-15 1709 MAIN STREET                                               LISBON            ND                58054       8/31/2025            3/3/2019
   20)        582           20,303            31-Jan-16 1000 US BUSINESS 67                                            PRESIDIO          TX                79845       1/31/2026            3/3/2019
   21)        583           20,337            31-Jan-16 860 S MAIN STREET                                              BLANDING          UT                84511       1/31/2026            3/3/2019
   22)        585           20,633           13-Mar-16 935 3RD STREET SE                                               MAYVILLE          ND                58257       1/31/2026            3/3/2019
   23)        586           20,900           13-Mar-16 1401 STATE STREET                                               PHILLIPSBURG      KS                67661       1/31/2026            3/3/2019
   24)        588           29,985           13-Mar-16 660 N MAIN ST                                                   BEAVER            UT                84713       2/28/2031            3/3/2019
   25)        596           22,773            08-Jun-16 1208 N HIGHWAY 77                                              DELL RAPIDS       SD                57022       7/31/2031            3/3/2019
   26)        597           22,773            08-Jun-16 133 TROTTER AVENUE                                             ORD               NE                68862       7/31/2031            3/3/2019
   27)        641           27,398           06-Aug-12 110 WATTERS DRIVE                                               DWIGHT            IL                60420       5/31/2024            3/3/2019
   28)        685           24,600           30-Dec-12 1425 EDGINGTON AVENUE                                           ELDORA            IA                50627       9/19/2022            3/3/2019
   29)        693           42,456           19-Nov-12 821 WEST CRAWFORD STREET                                        CLAY CENTER       KS                67432       6/30/2023            3/3/2019
   30)        700           26,000           30-Dec-12 1217 SOUTH HIGHWAY 71                                           KIMBALL           NE                69145       7/31/2023            3/3/2019
   31)        701           32,880           19-Nov-12 1212 W. MAIN STREET                                             LYONS             KS                67554       8/31/2023            3/3/2019
   32)        702           27,659           19-Nov-12 908 E. 14TH STREET                    P.O. BOX 450              LARNED            KS                67550       8/31/2023            3/3/2019
   33)        707           16,925           30-Dec-12 101 S. POLK                                                     ALBANY            MO                64402       5/31/2021            3/3/2019
   34)        771           12,659           10-Sep-12 117 WEST 1ST AVENUE                                             PLENTYWOOD        MT                59254        OWNED               3/3/2019
   35)        776           21,207            15-Oct-12 925 NORTH 6TH STREET                                           GREYBULL          WY                82426       1/31/2024            3/3/2019
   36)         65           90,539            14-Jul-86 8105 W FAIRVIEW AVENUE                                         BOISE             ID                83704       1/31/2027            3/17/2019
   37)         83           94,092           12-Sep-88 2165 EAST 9400 SOUTH                                            SANDY CITY        UT                84093       1/31/2027            3/17/2019
   38)         85           94,136           12-Sep-88 5800 SOUTH REDWOOD ROAD                                         SALT LAKE CITY    UT                84123       2/23/2024            3/17/2019
   39)        105          100,734            03-Oct-90 125 S STATE STREET                                             OREM              UT                84058       1/31/2027            3/17/2019
   40)        113           98,034            15-Oct-93 5500 MARTIN WAY E                                              LACEY             WA                98516       1/31/2027            3/17/2019
   41)        646           37,899           10-Sep-12 3825 S. HURON ROAD                                              STANDISH          MI                48658       4/30/2022            3/17/2019
   42)         20           60,776            20-Oct-72 2400 ROSE STREET                                               LA CROSSE         WI                54603       10/18/2019           4/8/2019
   43)         33           81,171           16-Nov-81 1578 APPLETON RD                                                MENASHA           WI                54952       6/30/2021            4/8/2019
   44)         81           94,237            24-Oct-88 5801 SUMMIT VIEW AVE                                           YAKIMA            WA                98908       11/30/2029           4/8/2019
   45)         82           94,013           12-Sep-88 5959 SOUTH STATE STREET                                         MURRAY            UT                84107       2/27/2038            4/8/2019
   46)         90           83,363            12-Jul-89 1771 WISCONSIN AVE                                             GRAFTON           WI                53024       12/31/2031           4/8/2019
   47)         95          100,843           24-Sep-89 2655 SOUTH BROADWAY AVE                                         BOISE             ID                83706       11/30/2029           4/8/2019
   48)        178           81,740            08-Oct-08 N 66 W 25201 COUNTY VV                                         SUSSEX            WI                53089       1/27/2029            4/8/2019
   49)        203           22,734           30-Aug-16 124 LUMAR DR                                                    JACKSBORO         TX                76458       10/31/2031           1/19/2019
   50)        211           25,154            26-Jul-16 2402 CENTRAL AVE.                                              ESTHERVILLE       IA                51334       8/31/2021            4/8/2019
   51)        504               9,412         07-Jul-08 W3208 VAN ROY ROAD                                             APPLETON          WI                54915        2/3/2029            2/15/2019
   52)        543           25,614           27-Mar-15 600 US HIGHWAY 2E                                               WOLF POINT        MT                59201       12/31/2031           4/8/2019
   53)        600           20,694           13-Mar-16 911 S K AVE                                                     VINTON            IA                52349       10/31/2030           4/8/2019
   54)        607           35,000           03-Dec-10 1010 SOUTH MAINLINE DR                                          SEYMOUR           WI                54165       9/30/2026            4/8/2019
   55)        622           34,502           06-Aug-12 E 9916 M28 EAST                       P.O. BOX 110              WETMORE           MI                49895       10/18/2019           4/8/2019
   56)        639           34,923           06-Aug-12 840 NORTH U.S. 41                     P.O. BOX 20               ROCKVILLE         IN                47872       5/31/2021            4/8/2019
   57)        650           35,551            15-Oct-12 56419 POKAGON STREET                                           DOWAGIAC          MI                49047       5/31/2021            4/8/2019
   58)        662           46,556           06-Aug-12 211 S. 23RD STREET                                              PLATTSMOUTH       NE                68048       12/31/2028           4/8/2019
   59)        703           26,400           19-Nov-12 300 CROSS STREET                                                BURLINGTON        KS                66839       5/31/2021            4/8/2019
   60)        708           27,000            02-Jul-12 812 HARVEST HILLS DRIVE                                        CARROLLTON        MO                64633       5/31/2021            4/8/2019
   61)        716           58,150           30-Dec-12 1520 W. 9TH STREET                                              MT. CARMEL        IL                62863       5/31/2021            4/8/2019
   62)        717           35,551           30-Dec-12 825 VALLEY STREET                     ROUTE 183                 MINERVA           OH                44657       5/31/2021            4/8/2019
   63)        719           36,047           30-Dec-12 378 LEWISVILLE ROAD                   P.O. BOX 651              WOODSFIELD        OH                43793       5/31/2021            4/8/2019
   64)        720           43,200            02-Jul-12 100 CROSS COUNTRY PLAZA                                        BATESVILLE        IN                47006        6/5/2022            4/8/2019
   65)        743           41,354            15-Oct-12 1900 HWY 49                          P.O. BOX 1239             BEULAH            ND                58523       4/30/2021            4/8/2019
   66)        762           31,583           19-Nov-12 142 S HWY 20                          PO BOX 1351               THERMOPOLIS       WY                82443       7/31/2029            4/8/2019
   67)        763           27,300           19-Nov-12 1135 MT. RUSHMORE ROAD                                          CUSTER            SD                57730       12/31/2023           4/8/2019




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                                                                                                SUBJECT TO MATERIAL CHANGE                                                                             Page 1 of 2
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                             SCHEDULE 2
                                  to
               RATIFICATION AND AMENDMENT AGREEMENT


                            Store Closing GOB Sales

                                 (see attached)




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                                                                         Case 19-80064-TLS    Doc 89 Filed 01/18/19 Entered 01/18/19 12:19:13    Desc Main
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Shopko GOB
Pre Petition Closures


Count     Store #       Sqft.           Open Date       Address 1                            Address 2       Address 3 City              State       Zip           Lease Termination   Expected Store Close
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   3)         205           22,734            05-Oct-16 94 NORTH 400 EAST                                              DELTA             UT                84624       11/30/2031           3/3/2019
   4)         538           21,953            21-Jun-15 710 N LL AND G AVENUE                                          ANTHONY           KS                67003       2/28/2030            3/3/2019
   5)         548           25,614           27-Mar-15 416 U.S. HIGHWAY 59                                             MAHNOMEN          MN                56557       2/28/2023            3/3/2019
   6)         552           25,614           27-Mar-15 1420 NORTH 7TH STREET                                           OAKES             ND                58474       10/31/2022           3/3/2019
   7)         557           25,869           20-Sep-15 1174 N. MAIN STREET                                             NEPHI             UT                84648       9/30/2030            3/3/2019
   8)         558           21,450            21-Jun-15 614 W 3RD STREET                                               REDFIELD          SD                57469       3/31/2020            3/3/2019
   9)         563           25,860            04-Oct-15 406 GATEWAY AVENUE                                             MAUSTON           WI                53948       10/31/2030           3/3/2019
   10)        564           25,860            29-Oct-15 200 RED BULL DIVISION DRIVE                                    WEBSTER CITY      IA                50595       10/31/2030           3/3/2019
   11)        565           25,860            29-Oct-15 1620 N. 2ND STREET                                             CHEROKEE          IA                51012       10/31/2030           3/3/2019
   12)        567           22,317            21-Jun-15 810 DIEKMANN DRIVE                                             PAYNESVILLE       MN                56362       6/30/2025            3/3/2019
   13)        570           22,000            21-Jun-15 905 W SD HIGHWAY 46                                            WAGNER            SD                57380       4/30/2025            3/3/2019
   14)        571           22,000            21-Jun-15 620 E HIGHWAY 12                                               WEBSTER           SD                57274       3/31/2020            3/3/2019
   15)        572           25,614            21-Jun-15 401 US HIGHWAY 24                                              LEADVILLE         CO                80461       3/31/2025            3/3/2019
   16)        573           21,000            21-Jun-15 87 S FOSSIL ST                                                 RUSSELL           KS                67665       3/31/2025            3/3/2019
   17)        575           40,000            21-Jun-15 908 WEST AVENUE D                                              LOVINGTON         NM                88260       3/31/2022            3/3/2019
   18)        578           23,029            04-Oct-15 415 US HIGHWAY 24 N                  PO BOX 5275               BUENA VISTA       CO                81211       7/31/2025            3/3/2019
   19)        581           22,000            04-Oct-15 1709 MAIN STREET                                               LISBON            ND                58054       8/31/2025            3/3/2019
   20)        582           20,303            31-Jan-16 1000 US BUSINESS 67                                            PRESIDIO          TX                79845       1/31/2026            3/3/2019
   21)        583           20,337            31-Jan-16 860 S MAIN STREET                                              BLANDING          UT                84511       1/31/2026            3/3/2019
   22)        585           20,633           13-Mar-16 935 3RD STREET SE                                               MAYVILLE          ND                58257       1/31/2026            3/3/2019
   23)        586           20,900           13-Mar-16 1401 STATE STREET                                               PHILLIPSBURG      KS                67661       1/31/2026            3/3/2019
   24)        588           29,985           13-Mar-16 660 N MAIN ST                                                   BEAVER            UT                84713       2/28/2031            3/3/2019
   25)        596           22,773            08-Jun-16 1208 N HIGHWAY 77                                              DELL RAPIDS       SD                57022       7/31/2031            3/3/2019
   26)        597           22,773            08-Jun-16 133 TROTTER AVENUE                                             ORD               NE                68862       7/31/2031            3/3/2019
   27)        641           27,398           06-Aug-12 110 WATTERS DRIVE                                               DWIGHT            IL                60420       5/31/2024            3/3/2019
   28)        685           24,600           30-Dec-12 1425 EDGINGTON AVENUE                                           ELDORA            IA                50627       9/19/2022            3/3/2019
   29)        693           42,456           19-Nov-12 821 WEST CRAWFORD STREET                                        CLAY CENTER       KS                67432       6/30/2023            3/3/2019
   30)        700           26,000           30-Dec-12 1217 SOUTH HIGHWAY 71                                           KIMBALL           NE                69145       7/31/2023            3/3/2019
   31)        701           32,880           19-Nov-12 1212 W. MAIN STREET                                             LYONS             KS                67554       8/31/2023            3/3/2019
   32)        702           27,659           19-Nov-12 908 E. 14TH STREET                    P.O. BOX 450              LARNED            KS                67550       8/31/2023            3/3/2019
   33)        707           16,925           30-Dec-12 101 S. POLK                                                     ALBANY            MO                64402       5/31/2021            3/3/2019
   34)        771           12,659           10-Sep-12 117 WEST 1ST AVENUE                                             PLENTYWOOD        MT                59254        OWNED               3/3/2019
   35)        776           21,207            15-Oct-12 925 NORTH 6TH STREET                                           GREYBULL          WY                82426       1/31/2024            3/3/2019
   36)         65           90,539            14-Jul-86 8105 W FAIRVIEW AVENUE                                         BOISE             ID                83704       1/31/2027            3/17/2019
   37)         83           94,092           12-Sep-88 2165 EAST 9400 SOUTH                                            SANDY CITY        UT                84093       1/31/2027            3/17/2019
   38)         85           94,136           12-Sep-88 5800 SOUTH REDWOOD ROAD                                         SALT LAKE CITY    UT                84123       2/23/2024            3/17/2019
   39)        105          100,734            03-Oct-90 125 S STATE STREET                                             OREM              UT                84058       1/31/2027            3/17/2019
   40)        113           98,034            15-Oct-93 5500 MARTIN WAY E                                              LACEY             WA                98516       1/31/2027            3/17/2019
   41)        646           37,899           10-Sep-12 3825 S. HURON ROAD                                              STANDISH          MI                48658       4/30/2022            3/17/2019
   42)         20           60,776            20-Oct-72 2400 ROSE STREET                                               LA CROSSE         WI                54603       10/18/2019           4/8/2019
   43)         33           81,171           16-Nov-81 1578 APPLETON RD                                                MENASHA           WI                54952       6/30/2021            4/8/2019
   44)         81           94,237            24-Oct-88 5801 SUMMIT VIEW AVE                                           YAKIMA            WA                98908       11/30/2029           4/8/2019
   45)         82           94,013           12-Sep-88 5959 SOUTH STATE STREET                                         MURRAY            UT                84107       2/27/2038            4/8/2019
   46)         90           83,363            12-Jul-89 1771 WISCONSIN AVE                                             GRAFTON           WI                53024       12/31/2031           4/8/2019
   47)         95          100,843           24-Sep-89 2655 SOUTH BROADWAY AVE                                         BOISE             ID                83706       11/30/2029           4/8/2019
   48)        178           81,740            08-Oct-08 N 66 W 25201 COUNTY VV                                         SUSSEX            WI                53089       1/27/2029            4/8/2019
   49)        203           22,734           30-Aug-16 124 LUMAR DR                                                    JACKSBORO         TX                76458       10/31/2031           1/19/2019
   50)        211           25,154            26-Jul-16 2402 CENTRAL AVE.                                              ESTHERVILLE       IA                51334       8/31/2021            4/8/2019
   51)        504               9,412         07-Jul-08 W3208 VAN ROY ROAD                                             APPLETON          WI                54915        2/3/2029            2/15/2019
   52)        543           25,614           27-Mar-15 600 US HIGHWAY 2E                                               WOLF POINT        MT                59201       12/31/2031           4/8/2019
   53)        600           20,694           13-Mar-16 911 S K AVE                                                     VINTON            IA                52349       10/31/2030           4/8/2019
   54)        607           35,000           03-Dec-10 1010 SOUTH MAINLINE DR                                          SEYMOUR           WI                54165       9/30/2026            4/8/2019
   55)        622           34,502           06-Aug-12 E 9916 M28 EAST                       P.O. BOX 110              WETMORE           MI                49895       10/18/2019           4/8/2019
   56)        639           34,923           06-Aug-12 840 NORTH U.S. 41                     P.O. BOX 20               ROCKVILLE         IN                47872       5/31/2021            4/8/2019
   57)        650           35,551            15-Oct-12 56419 POKAGON STREET                                           DOWAGIAC          MI                49047       5/31/2021            4/8/2019
   58)        662           46,556           06-Aug-12 211 S. 23RD STREET                                              PLATTSMOUTH       NE                68048       12/31/2028           4/8/2019
   59)        703           26,400           19-Nov-12 300 CROSS STREET                                                BURLINGTON        KS                66839       5/31/2021            4/8/2019
   60)        708           27,000            02-Jul-12 812 HARVEST HILLS DRIVE                                        CARROLLTON        MO                64633       5/31/2021            4/8/2019
   61)        716           58,150           30-Dec-12 1520 W. 9TH STREET                                              MT. CARMEL        IL                62863       5/31/2021            4/8/2019
   62)        717           35,551           30-Dec-12 825 VALLEY STREET                     ROUTE 183                 MINERVA           OH                44657       5/31/2021            4/8/2019
   63)        719           36,047           30-Dec-12 378 LEWISVILLE ROAD                   P.O. BOX 651              WOODSFIELD        OH                43793       5/31/2021            4/8/2019
   64)        720           43,200            02-Jul-12 100 CROSS COUNTRY PLAZA                                        BATESVILLE        IN                47006        6/5/2022            4/8/2019
   65)        743           41,354            15-Oct-12 1900 HWY 49                          P.O. BOX 1239             BEULAH            ND                58523       4/30/2021            4/8/2019
   66)        762           31,583           19-Nov-12 142 S HWY 20                          PO BOX 1351               THERMOPOLIS       WY                82443       7/31/2029            4/8/2019
   67)        763           27,300           19-Nov-12 1135 MT. RUSHMORE ROAD                                          CUSTER            SD                57730       12/31/2023           4/8/2019




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Post Petition Closures


Count        Store #     Sqft.           Open Date      Address 1                        Address 2     Address 3   City               State        Zip           Lease Termination   Expected Store
     1)           1          82,815           04-Apr-62 216 S. MILITARY AVE.                                       GREEN BAY          WI                 54303       2/25/2023            4/15/2019
     2)           3          87,954           07-Nov-77 3415 CALUMET AVE.                                          MANITOWOC          WI                 54220       12/31/2035           4/15/2019
     3)           18         94,130           22-Mar-72 1710 S. MAIN ST.                                           WEST BEND          WI                 53095       11/30/2029           4/15/2019
     4)           29         99,101           15-Sep-80 7401 MINERAL POINT RD.                                     MADISON            WI                 53717       12/31/2038           4/15/2019
     5)           35         90,499           13-Sep-82 2820 HWY 63 SOUTH                                          ROCHESTER          MN                 55904       5/31/2026            4/15/2019
     6)           39         86,739            18-Jul-83 4200 SOUTH 27TH STREET          BISHOP HEIGHTS SHOPPING CELINCOLN            NE                 68502       11/30/2029           4/15/2019
     7)           45         67,256           15-Oct-84 601 GALVIN ROAD SOUTH                                      BELLEVUE           NE                 68005       5/31/2026            4/15/2019
     8)           47         83,369           15-Oct-84 100 SOUTH 66TH STREET                                      LINCOLN            NE                 68510       2/29/2020            4/15/2019
     9)           55         90,334           05-Aug-85 1200 MAIN STREET                                           STEVENS POINT      WI                 54481       12/31/2031           4/15/2019
    10)           59         66,781           30-Sep-85 1001 HIGHWAY 15 SOUTH                                      FAIRMONT           MN                 56031       12/31/2035           4/15/2019
    11)           64         90,526            14-Jul-86 2100 CALDWELL BLVD.                                       NAMPA              ID                 83651       11/30/2029           4/15/2019
    12)           76         90,585           19-Oct-87 1601 W. 41ST ST                                            SIOUX FALLS        SD                 57105       12/31/2035           4/15/2019
    13)           80         94,120          18-May-88 2201 ZEIER RD.                                              MADISON            WI                 53704       11/30/2029           4/15/2019
    14)           84         94,230           12-Sep-88 1553 WEST 9000 S                                           WEST JORDAN        UT                 84088       5/31/2026            4/15/2019
    15)           87         94,230           12-Sep-88 1018 WASHINGTON BOULEVARD                                  OGDEN              UT                 84404       5/31/2026            4/15/2019
    16)           93        100,840           27-Sep-89 60 NE BEND RIVER MALL AVE                                  BEND               OR                 97703       1/31/2027            4/15/2019
    17)           97         94,336           23-Sep-89 4850 WEST 3500 SOUTH                                       WEST VALLEY CITY   UT                 84120       12/31/2031           4/15/2019
    18)          100         94,225            05-Jul-90 699 S GREEN BAY ROAD                                      NEENAH             WI                 54956       12/31/2031           4/15/2019
    19)          101         94,230            05-Jul-90 4501 EAST ARROWHEAD PARKWAY                               SIOUX FALLS        SD                 57110        8/3/2019            4/15/2019
    20)          104         71,340            05-Jul-90 747 SOUTH MAIN                                            BRIGHAM CITY       UT                 84302       5/31/2026            4/15/2019
    21)          108         71,345           06-Mar-91 955 NORTH MAIN STREET                                      SPANISH FORK       UT                 84660       11/30/2029           4/15/2019
    22)          134         77,559            09-Jul-96 1450 SOUTH GRAND AVE.                                     PULLMAN            WA                 99163       5/31/2026            4/15/2019
    23)          141         80,327            24-Jul-98 313 NORTH ROOSEVELT AVE                                   BURLINGTON         IA                 52601       11/30/2029           4/15/2019
    24)          142         65,709            24-Jul-98 4810 AVENUE O                                             FORT MADISON       IA                 52627        OWNED               4/15/2019
    25)          171         90,804           04-Apr-00 1800 PLOVER ROAD                                           PLOVER             WI                 54467       1/31/2025            4/15/2019
    26)          175        111,142           03-Oct-00 6845 SOUTH 27TH STREET                                     LINCOLN            NE                 68512       1/30/2021            4/15/2019
    27)          505             9,315         07-Jul-08 2101 EAST EVERGREEN DRIVE                                 APPLETON           WI                 54913        2/3/2029            2/28/2019
    28)          534         28,600           27-Mar-15 602 MAIN AVENUE WEST                                       ROLLA              ND                 58367       3/31/2021            4/15/2019
    29)          546         24,800           27-Mar-15 333 S. LINCOLN                                             BURLINGTON         CO                 80807       3/31/2021            4/15/2019
    30)          566         22,347           21-Jun-15 216 MAIN AVENUE NE                                         WARROAD            MN                 56763       6/30/2025            4/15/2019
    31)          574         20,250           21-Jun-15 2052 E COMMERCIAL AVE                                      LOWELL             IN                 46356       12/31/2025           4/15/2019
    32)          587         28,373           13-Mar-16 1180 S 16TH ST                                             CLARINDA           IA                 51632       1/31/2026            4/15/2019
    33)          637         34,994           06-Aug-12 1215 E. MAIN STREET              P.O. BOX 4                ATTICA             IN                 47918       5/31/2021            4/15/2019
    34)          665         24,320           19-Nov-12 808 4TH ST. SOUTHEAST            PO BOX 210                HAMPTON            IA                 50441       1/31/2023            4/15/2019
    35)          676         30,000           30-Dec-12 1901 COURT AVENUE                                          CHARITON           IA                 50049       11/30/2022           4/15/2019
    36)          677         42,456           19-Nov-12 2220 HWY 175 WEST                PO BOX 149                ONAWA              IA                 51040        2/6/2023            4/15/2019
    37)          684         24,900           30-Dec-12 106 SMITH STREET                                           BLOOMFIELD         IA                 52537       10/31/2021           4/15/2019
    38)          699         32,600           19-Nov-12 1702 MAIN STREET                                           SCOTT CITY         KS                 67871        OWNED               4/15/2019
    39)          711         27,565            02-Jul-12 459 GRAND AVE                   PO BOX 139B               MEMPHIS            MO                 63555       7/31/2029            4/15/2019




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                                  EXHIBIT 2
                                   Budget




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Shopko
DIP Budget
($ in 000s)
                                            Petition
                                              2018        2018         2018         2019         2019         2019         2019         2019         2019         2019         2019         2019     2019
                                             Jan-19      Jan-19       Jan-19       Feb-19       Feb-19       Feb-19       Feb-19       Mar-19       Mar-19       Mar-19       Mar-19       Mar-19   Apr-19          13 Week
                                           01/19/19     01/26/19     02/02/19     02/09/19     02/16/19     02/23/19     03/02/19     03/09/19     03/16/19     03/23/19     03/30/19     04/06/19 04/13/19          Total
I. Cash Flows
      Receipts
1.) Sales Receipts                           23,054       36,626       37,982       39,013       40,438       40,329       33,791       36,599       35,426       36,506       35,038      28,459      31,310         454,573
2.) Proceeds from Rx Asset Sales                -            -            -         28,080       28,080       28,080          -            -            -            -            -           -           -            84,241
3.)     Total Receipts                       23,054       36,626       37,982       67,094       68,518       68,410       33,791       36,599       35,426       36,506       35,038      28,459      31,310         538,813

       Operating Disbursements
4.)    Merchandise Disbursements              (1,978)     (10,161)     (12,446)     (11,416)     (15,686)      (9,961)     (12,733)     (14,279)     (14,579)     (19,006)     (19,645)    (19,614)   (19,160)       (180,665)
5.)    Payroll, Payroll Tax, & Benefits          -         (1,066)     (12,940)      (1,384)     (10,393)        (898)     (10,098)        (968)     (10,428)        (917)      (9,689)     (1,319)   (10,086)        (70,188)
6.)    Sales Tax                                 (15)     (10,670)      (1,336)        (901)      (1,802)      (2,403)        (901)        (732)      (1,463)      (3,658)        (732)       (732)    (1,331)        (26,677)
7.)    Other OpEx                             (1,534)      (4,626)      (7,208)      (5,750)      (7,076)      (5,666)      (8,071)      (7,550)      (6,558)      (6,598)      (7,970)     (6,234)      (906)        (75,746)
8.)       Subtotal                            (3,528)     (26,523)     (33,929)     (19,452)     (34,958)     (18,928)     (31,804)     (23,528)     (33,028)     (30,179)     (38,036)    (27,899)   (31,483)       (353,276)
     Non-Operating Disbursements
9.) Capital Expenditures                         -           (185)        (106)        (216)        (176)        (65)          (74)        (115)         (54)       (291)          (61)        (59)      (197)         (1,600)
10.) Interest & Financing                        (42)         (80)      (3,147)         (53)         (30)        (46)       (1,937)         -           (133)        (61)          (59)     (1,968)       (80)         (7,636)
11.) Restructuring Related                    (6,817)      (1,140)      (1,242)      (1,450)      (3,546)       (250)       (1,477)      (3,270)      (2,751)       (250)       (1,472)     (1,025)    (5,652)        (30,342)
12.) Subtotal                                 (6,859)      (1,406)      (4,494)      (1,719)      (3,751)       (361)       (3,487)      (3,385)      (2,938)       (603)       (1,593)     (3,052)    (5,929)        (39,577)

13.) Total Disbursements                     (10,387)    (27,929)     (38,423)     (21,171)     (38,709)     (19,290)     (35,292)     (26,913)     (35,966)     (30,782)     (39,629)     (30,951)   (37,412)       (392,853)

14.)     Net Cash Flow                       12,667        8,697         (440)      45,923       29,809       49,120        (1,501)      9,686         (540)       5,724        (4,591)     (2,491)    (6,102)        145,960
II. Financing
15.) Beginning Bank Cash                          50           50          50            50           50           50           50           50          50            50           50          50         50              50
16.) Net Cash Flow                            12,667        8,697        (440)       45,923       29,809       49,120       (1,501)       9,686        (540)        5,724       (4,591)     (2,491)    (6,102)        145,960
17.) Revolver Borrowings / (Pay Down)        (12,667)      (8,697)        440       (45,923)     (29,809)     (49,120)       1,501       (9,686)        540        (5,724)       4,591       2,491      6,102        (145,960)
18.) Ending Bank Cash                             50           50          50            50           50           50           50           50          50            50           50          50         50              50
II. Availability
19.) Gross Borrowing Base                   458,519      434,851      421,905      386,705      350,773      340,035      329,829      326,735      323,071      318,851      314,216     313,036     314,531         314,531
20.)   Beginning Revolver Balance           342,480      329,812      321,115      321,555      275,633      245,824      196,704      198,205      188,519      189,059      183,335     187,926     190,418         342,480
21.)   Revolver Borrowings / (Pay Down)     (12,667)      (8,697)         440      (45,923)     (29,809)     (49,120)       1,501       (9,686)         540       (5,724)       4,591       2,491       6,102        (145,960)
22.)   Additional Paid in Capital               -            -            -            -            -            -            -            -            -            -            -           -           -               -
23.)   Ending Revolver Balance              329,812      321,115      321,555      275,633      245,824      196,704      198,205      188,519      189,059      183,335      187,926     190,418     196,519         196,519
24.) + Letters of Credit                     23,930       21,361       21,361       21,361       21,361       21,361       21,361       21,361       21,361       21,361       21,361      21,361      21,361          21,361
25.) + Accrued Interest & Fees                1,872        2,373        1,002        1,458        1,887        2,270          769        1,145        1,522        1,893        2,269         754       1,137           1,137
26.) Total ABL Obligation                   355,615      344,849      343,919      298,452      269,071      220,335      220,334      211,024      211,942      206,589      211,556     212,532     219,017         219,017
27.) ABL Availability                       102,904       90,002       77,986       88,253       81,702      119,699      109,494      115,711      111,130      112,261      102,660     100,504      95,514          95,514
28.) Total Gross Liquidity                  102,954       90,052       78,036       88,303       81,752      119,749      109,544      115,761      111,180      112,311      102,710     100,554      95,564          95,564

29.) - Availability Block [Original]         (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)     (50,000)    (50,000)   (50,000)        (50,000)
30.) Total Net Liquidity                     52,954       40,052       28,036       38,303       31,752       69,749       59,544       65,761       61,180       62,311       52,710      50,554      45,564          45,564


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